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                      Nos. 2023-1983, 2023-1985, 2023-1988, 2023-2028

                                   In The
                       United States Court of Appeals
                           for the Federal Circuit
 _________________________________________________________________

                                           XEROX CORP.,

                                                        Appellant,
                                                  v.

                                             SNAP INC.,

                                                        Cross-Appellant,
                                   FACEBOOK, INC., X CORP.,

                                                        Appellees.

   _______________________________________________________________
   Appeals from the United States Patent and Trademark Office, Patent Trial and
     Appeal Board in Nos. IPR2021-00987, IPR2021-01294, IPR2021-01458.
   ______________________________________________________________

                   BRIEF FOR XEROX CORPORATION
  _______________________________________________________________
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                                    Xerox Corporation

                                           November 17, 2023


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                 U.S. Patent No. 8,489,599 B2 (the ’599 Patent)

What is claimed is:

      1. A method for delivering context-based content to a first user, the method
      comprising:
         receiving at least one content package, wherein the content package
                includes at least one content piece and a set of rules associated
                with the content package, wherein the set of rules includes a trigger
                condition and an expected response, and wherein the trigger
                condition specifies a context that triggers a presentation of the
                content piece;
         receiving a set of contextual information with respect to the first user;
         processing the contextual information to determine a current context for
                the first user;
         determining whether the current context satisfies the trigger condition;
         in response to the trigger condition being satisfied, presenting the content
                piece to the first user;
         receiving a response from the first user corresponding to the presented
                content piece;
         determining whether the received response matches the expected
                response; and
         performing an action based on an outcome of the determination.

      2. The method of claim 1, wherein the method further comprises creating the
      content package for the first user, wherein creating the content package
      involves:
         recording the content piece that is provided by the first user;
         creating an entry in a content database for the recorded content piece,
                wherein the entry includes one or more trigger conditions; and
         associating the one or more trigger conditions for the entry with a user-
                defined context; and
         wherein the method further comprises:
         continuously comparing previously defined trigger conditions for the
                entry with the ongoing context of the first user; and
         in response to the one or more trigger conditions being met, retrieving the
                content piece, and presenting the retrieved content piece to the first
                user.


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3. The method of claim 2, wherein the method further comprises creating a
shareable content piece for the first user, wherein creating the sharable
content piece involves:
   recording the sharable content piece that is provided by the first user; and
   creating a content package for the recorded sharable content piece,
          wherein the content package includes the recorded sharable content
          piece, and wherein the content package includes one or more
          trigger conditions;
   wherein the content package allows a recipient of the content package to
          insert, modify, and/or remove content or trigger conditions from
          the content package.

4. The method of claim 1, wherein the method further comprises defining a
context by:
   creating one or more context entries in a context manager; and
   associating a respective context entry with a set of contextual
          information.

5. The method of claim 4, wherein the method further comprises updating
entries in the content database and updating the context entries in the context
manager responsive to actions performed by the first user.

6. The method of claim 1, wherein the context is defined as a combination of
at least a high-level abstraction which corresponds to one or more low-level
contextual information values, wherein the low-level contextual information
values can correspond to one or more measurable parameters.

7. The method of claim 1, wherein a respective rule is defined with one or
more high-level abstractions.

8. The method of claim 7, further comprising allowing the first user to share
the rules with a second user, wherein the second user can redefine the shared
rules based on the second user’s low-level contextual parameters.

9. The method of claim 1, wherein presenting the content piece comprises
sharing the content piece with a remote device.

10. The method of claim 1, wherein the contextual information includes one
or more of time, date, location, proximity to a system-detectable tag, device
orientation, velocity, direction, distance, vibration, altitude, temperature,

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pressure, humidity, sound, luminous intensity, camera image, and video
stream.

11. The method of claim 1, wherein the content piece includes one or more
of audio clip, image, video stream, language lesson, e-mail, weather report,
calendar reminder, news feed, rich site summary (RSS) feed, information
update from a Web 2.0 application, and Internet blog.

12. A computer-readable storage medium storing instructions that when
executed by a computer cause the computer to perform a method for
delivering context-based content to a first user, the method comprising:
   receiving at least one content package, wherein the content package
          includes at least one content piece and a set of rules associated
          with the content package, wherein the set of rules includes a trigger
          condition and an expected response, and wherein the trigger
          condition specifies a context that triggers a presentation of the
          content piece;
   receiving a set of contextual information with respect to the first user;
   processing the contextual information to determine a current context for
          the first user;
   determining whether the current context satisfies the trigger condition;
   in response to the trigger condition being satisfied, presenting the content
          piece to the first user;
   receiving a response from the first user corresponding to the presented
          content piece;
   determining whether the received response matches the expected
          response; and
   performing an action based on an outcome of the determination.

13. The computer-readable storage medium of claim 12, wherein the method
further comprises creating the content package for the first user, wherein
creating the content package involves:
   recording the content piece that is provided by the first user;
   creating an entry in a content database for the recorded content piece,
          wherein the entry includes one or more trigger conditions; and
   associating the one or more trigger conditions for the entry with a user-
          defined context; and
   wherein the method further comprises:
   continuously comparing previously defined trigger conditions for the
          entry with the ongoing context of the first user; and

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   in response to the one or more trigger conditions being met, retrieving the
          content piece and presenting the retrieved content piece to the first
          user.

14. The computer-readable storage medium of claim 13, wherein the method
further comprises creating a shareable content piece for the first user,
wherein creating the sharable content piece involves:
   recording the sharable content piece that is provided by the first user; and
   creating a content package for the recorded sharable content piece,
          wherein the content package includes the recorded sharable content
          piece, and wherein the content package includes one or more
          trigger conditions;
   wherein the content package allows a recipient of the content package to
          insert, modify, and/or remove content and/or trigger conditions
          from the content package.

15. The computer-readable storage medium of claim 12, wherein the method
further comprises defining a context by:
   creating one or more context entries in a context manager; and
   associating a respective context entry with a set of contextual
          information.

16. The computer-readable storage medium of claim 15, wherein the method
further comprises updating entries in the content database and updating the
context entries in the context manager responsive to actions performed by
the first user.

17. The computer-readable storage medium of claim 12, wherein the
contextual information includes one or more of: time, date, location,
proximity to a system-detectable tag, device orientation, velocity, direction,
distance, vibration, altitude, temperature, pressure, humidity, sound,
luminous intensity, camera image, and video stream.

18. The computer-readable storage medium of claim 12, wherein the content
piece includes one or more of audio clip, image, video stream, language
lesson, e-mail, weather report, calendar reminder, news feed, rich site
summary (RSS) feed, information update from a Web 2.0 application, and
Internet blog.



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19. An apparatus for delivering context-based content to a first user,
comprising:
   a processor;
   an input mechanism configured to receive a set of contextual information
         with respect to the first user;
   a receiving mechanism configured to receive at least one content
         package, wherein the content package includes at least one content
         piece and a set of rules associated with the content package,
         wherein the set of rules includes a trigger condition and an
         expected response, and wherein the trigger condition specifies a
         context that triggers a presentation of the content piece;
   a content delivery mechanism configured to present the context-based
         content to a first user; and
   a context manager configured to process the contextual information to
         determine a current context for the first user, and to determine
         whether the current context satisfies the trigger condition;
   wherein in response to the trigger condition being satisfied, the content
         delivery mechanism is configured to present the content piece to
         the first user and
   wherein while presenting the content piece to the first user, the content
         delivery mechanism is further configured to:
      receive a response from the first user corresponding to the presented
            content piece,
      determine whether the received response matches the expected
            response, and
      perform an action based on an outcome of the determination.

20. The apparatus of claim 19, wherein the apparatus further comprises a
content management mechanism configured to create the content package
for the first user, wherein creating the content package involves:
   recording the content piece that is provided by the first user;
   creating an entry in a content database for the recorded content piece,
           wherein the entry includes one or more trigger conditions;
   associating the one or more trigger conditions for the entry with a user-
           defined context;
   continuously comparing previously defined trigger conditions for the
           entry with the ongoing context of the first user; and
   in response to the one or more trigger conditions being met, retrieving the
           content piece and presenting the retrieved content piece to the first
           user.

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21. The apparatus of claim 20, wherein the content management mechanism
is further configured to create a shareable content piece for the first user,
wherein creating the sharable content piece involves:
    recording the sharable content piece that is provided by the first user; and
    creating a content package for the recorded sharable content piece,
           wherein the content package includes the recorded sharable content
           piece, and wherein the content package includes one or more
           trigger conditions;
    wherein the content package allows a recipient of the content package to
           insert, modify, and/or remove content or trigger conditions from
           the content package.

22. The apparatus of claim 19, wherein the context manager defines a
context by:
   creating one or more context entries for the context; and
   associating a respective context entry with a set of contextual
          information.

23. The apparatus of claim 22, wherein the apparatus is further configured to
update entries in the content database and update the user-defined context
entries in the context manager responsive to actions performed by the first
user.

24. The apparatus of claim 19, wherein the contextual information includes
one or more of: time, date, location, proximity to a system-detectable tag,
device orientation, velocity, direction, distance, vibration, altitude,
temperature, pressure, humidity, sound, luminous intensity, camera image,
and video stream.

25. The apparatus of claim 19, wherein the content piece includes one or
more of audio clip, image, video stream, language lesson, e-mail, weather
report, calendar reminder, news feed, rich site summary (RSS) feed,
information update from a Web 2.0 application, and Internet blog.




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FORM 9. Certificate of Interest                                                    Form 9 (p. 1)
                                                                                    March 2023


                          UNITED STATES COURT OF APPEALS
                             FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

 Case Number                                    2023-1983, 2023-1985, 2023-1988, 2023-
                                                2028
 Short Case Caption                             Xerox Corp. v. Snap Inc.

 Filing Party/Entity                            Xerox Corporation


 Instructions:
    1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).



 I certify the following information and any attached sheets are accurate and
 complete to the best of my knowledge.

 Date: November 17, 2023                       Signature: /s/ Joel L. Thollander

                                               Name:       Joel L. Thollander




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FORM 9. Certificate of Interest                                                       Form 9 (p. 2)
                                                                                       March 2023


      1. Represented                  2. Real Party in             3. Parent Corporations
          Entities.                       Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).        Fed. Cir. R. 47.4(a)(2).             Fed. Cir. R.
                                                                        47.4(a)(3).
 Provide the full                 Provide the full names of       Provide the full names of
 names of all entities            all real parties in interest    all parent corporations
 represented by                   for the entities. Do not        for the entities and all
 undersigned counsel              list the real parties if they   publicly held companies
 in this case.                    are the same as the             that own 10% or more
                                  entities.                       stock in the entities.

                                                                   None/Not Applicable
                                   None/Not Applicable
 Xerox Corporation                                                Xerox         Holdings
                                                                  Corporation    (wholly
                                                                  owns Xerox Corporation)




          ADDITIONAL PAGES ATTACHED
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FORM 9. Certificate of Interest                                                   Form 9 (p. 3)
                                                                                   March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

  None/Not Applicable                       Additional pages attached
 McKool Smith, P.C.               Kevin L. Burgess, David Sochia, Joel L. Thollander,
                                  James E. Quigley, Alexandra F. Easley, George T.
                                  Fishback, Jr., Kyle N. Ryman, Carra Rentie, Ashley
                                  Moore (no longer with the firm)


 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

  Yes (file separate notice; see below)  No  N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that
 complies with Fed. Cir. R. 47.5(b). Please do not duplicate information. This
 separate Notice must only be filed with the first Certificate of Interest or,
 subsequently, if information changes during the pendency of the appeal. Fed.
 Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

  None/Not Applicable                       Additional pages attached




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                     STATEMENT OF RELATED CASES

      Pursuant to FED. CIR. R. 47.5, Appellant provides as follows:

      (a) There have been no other previous appeals in these cases; and

      (b) The following cases are related and may be directly affected by this

Court’s decision in the pending appeal:

          Case No. 2:20-cv-10753 AB, Xerox Corp. v. Meta Platforms, Inc.

            (C.D. Cal.);

          Case No. 2:20-cv-10754-AB, Xerox Corp. v. X Corp., F/K/A Twitter,

            Inc. (C.D. Cal.); and

          Case No. 2:20-cv-10755-AB, Xerox Corp. v. Snap, Inc. (C.D. Cal.).




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                      STATEMENT OF JURISDICTION

      On March 24, 2023, the Patent Trial and Appeal Board (the Board) issued its

consolidated final written decision in IPR2021-00987, IPR2021-01294, and

IPR2021-01458. Appx1. The Board found the ’599 patent’s claims 1-25

unpatentable as anticipated or obvious under 35 U.S.C. §§ 102 and 103. On May

24, 2023, Xerox Corporation (Xerox) timely filed its Notices of Appeal in this

Court. 37 C.F.R. § 90.3(a)(1); 35 U.S.C. § 142; FED. CIR. R. 15(a)(1). Dkt. 1-2.

The Court has exclusive jurisdiction. 35 U.S.C. § 141(c).1




1
 After the Board issued its final written decision, then-patent owner Palo Alto
Research Center LLC (PARC) assigned all of its interest in the ’599 patent to
Xerox. Xerox then donated PARC to another research institute.
                                         1
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                         STATEMENT OF THE ISSUES

      1. Whether the Board properly applies the Phillips claim construction

standard—which turns on claim language, the specification, and the file history—

when the Board finds the claimed response does not include the possibility of an

unexpected response despite (a) the claims expressly distinguishing between a

response and an expected response, (b) the specification and file history supporting

the possibility of an unexpected response, and (c) the Board finding that a response

includes the possibility of a “not . . . expected response”?

      2. Whether the Board erred in finding Xerox’s claims anticipated and

obvious despite the patent challengers’ prior art not teaching every claimed

limitation?

      3. Whether the Board may find claims obvious when no reasonable fact

finder would agree that a person of ordinary skill in the art (skilled artisan) would

have combined the patent challenger’s references?




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                          STATEMENT OF THE CASE

I.    Preliminary Statement.
      The Board’s decision should not stand. It lacks a reasoned basis, suffering

from the erroneous application of standard claim construction principles,

conclusory reasoning, and factual findings that no reasonable fact finder would

agree with. The Court should reverse.

      Xerox is an innovative company. Over the years, thousands of patents have

been issued to Xerox and its former subsidiary PARC. One of those was the ’599

patent, which Xerox now owns. See supra note 1. The ’599 patent claims new and

useful techniques for “determin[ing] when and how to best provide [mobile-

device] users with information or suitable entertainment content.” Appx171 (1:43-

45). Xerox’s claims are the product of an extraordinarily talented researcher, Dr.

Victoria Bellotti, who had spent nearly 20 years in the industry by the time she

applied for the ’599 patent—including at companies like Apple and PARC. See

Appx5168-Appx5169.

      The “Accused Infringers”—Snap, Facebook, and X Corp.—all derive value

from those improvements. Yet they refuse to compensate Xerox for them, leaving

Xerox with no other choice but to sue the Accused Infringers for infringing the

’599 patent. Over the course of just under four months, the Accused Infringers

responded with an avalanche of petitions for inter partes review, collectively


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requesting that the Board cancel the ’599 patent’s claims. The Board mistakenly

obliged. It instituted four out of five of the Accused Infringers’ petitions and found

all Xerox’s claims unpatentable. Because the Board failed to give a reasoned basis

for its findings, its determinations should be reversed.

      First, the Board rejected the plain meaning of the claims, which require the

possibility of the claimed response being either expected or unexpected. The Board

did so by drawing a hyperliteral (and unsupported) distinction between an

unexpected response and a “not . . . expected response.” According to the Board,

Xerox’s claims—which expressly distinguish between a response and an expected

response—do not require the possibility of an unexpected response, but do require

the possibility of a “not . . . expected response.” This reasoning makes no sense at

all: the Board has no support for a distinction so fine. And the Board made no

effort to assert otherwise. Simply put, the claim language, specification, and file

history all support that the claims require that the received response could be either

an unexpected (or “not . . . expected”) or expected response.

      Second, applying a proper claim construction resolves this appeal: Xerox’s

claims are neither anticipated nor obvious. No reasonable fact finder would agree

with the Board that Facebook’s and X Corp.’s combinations teach a properly

construed response. The Court should stop there.




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      The prior art identified by Facebook and X Corp. suffers from other

problems, too. The Board’s explanation for why PALLAS (X Corp.) teaches the

claimed content package is speculative at best. And the Board’s reasoning for why

Facebook’s prior art teaches the claimed tripartite structure, including its claimed

intermediate context is just as problematic.

      Third, no reasonable fact finder could agree with the Board that a skilled

artisan would make either Facebook’s or X Corp.’s combinations. All the Board

pointed to in support of either combination was conclusory expert testimony

untethered from the prior art. And the Board failed to adequately reconcile and,

sometimes, flat-out ignored evidence contradicting a motivation to combine.

      The Board lacked a reasoned basis to cancel Dr. Bellotti’s invention. The

Court should correct the Board’s errors and reverse.


II.   Background.

A.    It took an extraordinarily talented researcher to arrive at the ’599
      patent.

      Xerox believes in “solving problems—constantly questioning the world

around you to find new answers to old challenges.” See, e.g., Xerox Recognized in

Derwent Top 100 Global Innovators List, 2018 – 2019, XEROX, xerox.com/en-

us/innovation/derwent-top-100 (last visited Nov. 8, 2023). In 1970, Xerox

“assemble[d] a team of world-class experts in information and physical sciences to

become what is known as ‘The Architects of Information.’” A Legacy of Inventing
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the Future, PARC, parc.com/about-parc/parc-history (last visited Nov. 8, 2023).

That team became Xerox PARC; later simply PARC, a Xerox subsidiary. Id. In the

decades between Xerox founding PARC in 1970 and Xerox donating PARC to SRI

International in 2023, PARC solved countless, real-world problems in new and

useful ways, earning thousands of patents along the way.

      One of the problems PARC solved was how to “determine when and how to

best provide [mobile-device] users with information or suitable entertainment

content.” Appx171 (1:43-45). The mobile devices of late 2008 were “not effective

in helping working professionals accommodate their responsibilities around their

busy schedule.” Id. (1:39-41). That was a problem: those “users often need[ed] to

continue advancing their skills, but their work and social schedules [did] not allow

much free time for extended study.” Id. (1:35-38). At the center of that problem

was a capability gap: then-existing mobile devices were “not capable of learning

and understanding the behavior of their users,” or “tak[ing] into account the

activities that their users are involved in.” Id. (1:41-46). Systems and methods

focusing on that were needed.

      PARC’s inventor filled this need. Dr. Bellotti claimed a new-and-useful

invention that “delivers personally-defined context-based content to a user” in the

’599 patent. Appx166 (Abstract). Claim 1, for example, recites “[a] method for

delivering context-based content to a first user.” Appx182 (23:20-21). That method


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starts by “receiving at least one content package, wherein the content package

includes at least one content piece and a set of rules associates with the content

package.” Id. (23:22-24). The set of rules further “includes a trigger condition and

an expected response,” with the trigger condition “specif[ying] a context that

triggers a presentation of the content piece.” Id. (23:25-27).

      Next came the claimed tripartite structure. The invention “receiv[es] a set of

contextual information with respect to the first user,” then “process[es] [it] to

determine a current context for the first user,” before finally “determining whether

the current context satisfies the trigger condition.” Id. (23:28-33). That tripartite

structure helps enable the ’599 patent to fill the capability gap left open by prior

art. “[I]n response to the trigger condition being satisfied,” the invention

“present[s] the content piece to the first user.” Id. (23:34-35). Once the user

responds, the invention “receiv[es] a response from the first user corresponding to

the presented content piece” and then “determin[es] whether the received response

matches the expected response.” Id. (23:36-39). Finally, the invention “perform[s]

an action based on an outcome of the determination.” Id. (23:40-41).




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B.    Snap, Facebook, and X Corp. infringed the ’599 patent and then filed
      serial petitions for inter partes review.

      Compared to Xerox, the Accused Infringers are all young companies. After

experiencing explosive growth in their user bases, the Accused Infringers needed

to monetize those users through targeted advertisements based on specific

audiences, including based on location and device type. This monetization came

with infringement of the ’599 patent. Xerox (through its predecessor in interest,

PARC, see supra note 1) then sued the Accused Infringers in the Central District of

California in November 2020, alleging infringement of the ’599 and other patents.

Complaint, Xerox Corp. v. Snap Inc., No. 2:20-cv-10755, 12-16 (C.D. Cal. Nov.

25, 2020) (Dkt.1); Complaint, Xerox Corp. v. Meta Platforms, Inc., No. 2:20-cv-

10753, 12-16 (C.D. Cal. Nov. 25, 2020) (Dkt.1); Complaint, Xerox Corp. v. X

Corp., No. 2:20-cv-10755, 12-17 (C.D. Cal. Nov. 25, 2020) (Dkt.1).

      The cruciality of the ’599 invention to the Accused Infringers’ businesses

quickly became clear. From May 2021 to September 2021, the Accused Infringers

petitioned the Board five times for inter partes review of the ’599 patent, asserting

19 grounds for its unpatentability. Snap asked the Board to institute all Xerox’s

claims based on three grounds, including anticipation by Rosenberg, obviousness

over Rosenberg, and obviousness over Rosenberg in view of Suzuki. Appx201.

The Board instituted on all three grounds. Appx361.



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      Facebook filed sixty days later. It asked the Board to institute on four other

grounds, including obviousness over Lamont in view of Wolfe and Wang,

obviousness over Lamont in view of Wolfe, Wang, and Belimpasakis, obviousness

over Lamont in view of Wolfe, Wang, and Meyers, and obviousness over Lamont

in view of Wolfe, Wang, Belimpasakis, and Meyers. Appx1164. The Board

instituted on all four grounds. Appx1336.

      Then came X Corp. Filing forty-two days after Facebook, X Corp. could not

stay under the Board’s word-count limit. So X Corp. filed two petitions for inter

partes review simultaneously. The first asked the Board to institute on four

grounds, including obviousness over PALLAS, obviousness over PALLAS in view

of Yau, obviousness over PALLAS in view of Kim, and obviousness over

PALLAS in view of Yau and Kim. Appx2124. The second asked the Board to

institute on another four grounds, including obviousness over PALLAS,

obviousness over PALLAS in view of Yau, obviousness over PALLAS in view of

Kim, and obviousness over PALLAS in view of Yau and Kim. Appx2408. The




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Board instituted on all grounds across both petitions (Appx2331; Appx2389), and

consolidated X Corp.’s petitions. Appx2335.2

C.    Only some of the Accused Infringers’ prior art is relevant to this appeal.

      While the Board instituted on essentially all the Accused Infringers’

grounds, Xerox has focused this appeal on only a handful of issues. The relevant

prior art is Rosenberg, Lamont, Wolfe, Wang, PALLAS, and Yau.

      Rosenberg is Snap’s primary reference. It discloses a system for creating

reminders that are triggered when a user enters or leaves a specific geographic

location. Appx3851 (Abstract). Once Rosenberg displays a reminder to the user,

the user has four options: (a) engage with a user interface to “clear[] the displayed

reminder,” Appx3878 (27:29-31); (b) “reset[] the personal reminder,” id. (27:33-

35); (c) “terminat[e] the personal reminder,” id. (27:39-41); or (d) “instruct[] the

portable computing device to alert the user again to the reminder content after a

defer delay time has elapsed,” id. (27:43-46).

      Lamont is Facebook’s primary reference. It discloses a system and methods

to “create, edit, manage, and organize” points plotted on a digital map. Appx5654

(Abstract). Lamont allows a designer to design and publish “tour scripts,” which a

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  Twenty days after X Corp.’s filings Facebook filed a second petition, asking the
Board to institute on four additional grounds based on alternative arguments.
Facebook, Inc. v. Palo Alto Research Ctr. Inc., IPR2021-01536, 3-6 (P.T.A.B.
Sept. 20, 2021) (Paper No. 3). The Board denied institution on all grounds.
Institution Decision, Facebook, Inc. v. Palo Alto Research Ctr. Inc., IPR2021-
01536, 7 (P.T.A.B. Mar. 29, 2022) (Paper No. 10).
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user can then use to tour a geographic location and view location-sensitive

information. Appx5664 (1:16-19). The system can associate content with the

disclosed points. That enables, in some embodiments, playing content for the user

if certain conditions are met. Appx5665 (3:39-47).

      Wolfe is Facebook’s secondary reference. It discloses a “location-based

mobile phone application” that allows the user to play a treasure-hunt game.

Appx5694 (1:13-16). As the user approaches pre-determined locations along the

set route, the system presents the user with “items in the list pertaining to [the

user’s] location.” Appx5696 (5:4-5:5; 5:28-35). Those items can include puzzles,

bulletins from other users conveying information about the site, or audio clips. Id.

(5:28-58). Upon interaction with the item at one location, the user is prompted to

proceed to the next stop on the route. Id. (5:59-65). Sometimes the system prompts

the user to solve a riddle or puzzle. Id. (5:47-57).

      Wang is Facebook’s tertiary reference. It is a selection from the reference

book “Beginning Programming for Dummies.” Appx5726. Relevant are Chapter

9’s pages on Boolean expressions. Appx5748-Appx5754. Wang discusses coding

Boolean expressions, Boolean operators, and truth tables, all at a general level. Id.

      PALLAS is X Corp.’s primary reference. It is a white paper disclosing a

system for “providing personalised and contextualised access to learning

resources,” the “main focus” of which is described as the “personalisation of


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learning resources [] provided to a mobile language learner. Appx9933-Appx9934.

PALLAS achieves that contextualisation “using the profile of the learner and

environmental parameters—e.g., accounting for “the learner’s age, skill level,

native language, interests and courses taken” for the profile, and “location, time

and day and the mobile device used” for the environmental parameters. Appx9935.

PALLAS distinguishes between notifications and tests/exercises. Appx12615-

Appx12619 ¶¶ 83-88. PALLAS teaches using a “context trigger” to initiate a

notification, but not to initiate “tests” or “exercises.” Id. That is because learners

“may have small time slots to engage in learning,” and that learning should be

“unobtrusive.” Appx9935.

      Yau is X Corp.’s secondary reference. It discloses a “Context-aware and

Adaptive Learning Schedule (CALS) framework.” Appx9942. Yau’s “goal” for

CALS was for it to become the foundation of a “learning application to be used on

a mobile handheld device,” which “adapts [] learning activities to [] learners

according to their learning styles and is also capable of detecting the users’ current

learning context, and recommends appropriate activities for them based on these

two criteria.” Appx9943. Yau does not discuss “emit[ting] a recommendation

without being prompted by a user.” Appx12659-Appx12660 ¶¶ 163-166.




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D.    The Board found Xerox’s claims unpatentable.

      The Board issued a 165-page, consolidated Final Written Decision

addressing all three IPRs. Appx1-Appx165. Pages 132-161 relate to conditional

substitute claims Xerox is not appealing. Appx132-Appx161.

      Relevant here, the Board found that claim 1 was illustrative for the Snap and

Facebook IPRs (Appx9; Appx47), and claim 12 was illustrative for the X Corp.

IPR. Appx94. For the issues raised in this appeal, claim 1 is illustrative, including

of claim 12. The Court should thus focus on claim 1, which recites:

      1. A method for delivering context-based content to a first user, the
      method comprising:
         receiving at least one content package, wherein the content
                package includes at least one content piece and a set of rules
                associated with the content package, wherein the set of rules
                includes a trigger condition and an expected response, and
                wherein the trigger condition specifies a context that triggers
                a presentation of the content piece;
         receiving a set of contextual information with respect to the first
                user;
         processing the contextual information to determine a current
                context for the first user;
         determining whether the current context satisfies the trigger
                condition;
         in response to the trigger condition being satisfied, presenting the
                content piece to the first user;
         receiving a response from the first user corresponding to the
                presented content piece;
         determining whether the received response matches the expected
                response; and
         performing an action based on an outcome of the determination.

Appx182 (23:20-41).


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      Claim construction played a central role below. Xerox argued that its claims

required the possibility of both an expected and unexpected response—that the

response must be able to be either expected or unexpected. The Board disagreed. It

rested its analysis on finding a dispositive distinction between an “unexpected

response” and a “not . . . expected response.” Appx17-Appx18. “[N]either the

claims nor the Specification use the term ‘unexpected response,’” explained the

Board, but a response “may or may not be the expected response.” Id. (emphasis

added).

      The Board also found that Rosenberg (Snap) anticipated Xerox’s

independent claims. Appx31-Appx32. The Board alternatively found that a

Lamont-Wolfe combination (Facebook) and PALLAS (X Corp.) teach an

unexpected response. Appx78-Appx79; Appx126-Appx127.

      Xerox further disputed that X Corp.’s and Facebook’s prior art taught other

claim limitations. The Board again disagreed. It found that a PALLAS-Yau

combination teaches receiving the claimed, specially structured content package.

Appx120-Appx121. The Board also found that a Lamont-Wang combination

teaches Xerox’s claimed tripartite structure, including its required context.

Appx69-Appx77.

      Xerox also disputed that a skilled artisan would combine Facebook and X

Corp.’s prior art. But the Board found that a skilled artisan would be motivated to


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combine Wolfe with Lamont based on a purported “enhancement of gameplay.”

Appx82. The Board likewise found that a skilled artisan would be motivated to

combine Yau with PALLAS to trigger presentation of the claimed content piece to

the first user. Appx112-Appx118; Appx122; Appx124-Appx125.

      Xerox timely and separately appealed. No. 2023-1983 (Dkt.1-2); No. 2023-

1985 (Dkt.1-2); No. 2023-1988 (Dkt.1-2). Snap cross appealed. No. 2023-2028

(Dkt.1). The Court ordered all three appeals and the cross appeal consolidated. No.

2023-1983 (Dkts.2, 5).


                      SUMMARY OF THE ARGUMENT
      1. The Board misconstrued the claims. Properly construed, the claims

require the possibility of the received response being either an expected or

unexpected response. Here Xerox’s claims expressly distinguish between a

response and an expected response, which “strongly implies” that a response

includes more than expected responses. Phillips v. AWH Corp., 415 F.3d 1303,

1314 (Fed. Cir. 2005) (en banc). And finding Xerox’s claims do not require the

possibility of an unexpected response renders limitations superfluous, which is

“highly disfavored.” E.g., Wasica Fin. GmbH v. Continental Auto. Sys., Inc., 853

F.3d 1272, 1288 n.10 (Fed. Cir. 2017).

      Other intrinsic evidence supports Xerox’s claim construction. The

specification illustrates presenting “audio clips” of foreign words to the user for

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“practicing pronunciations”—e.g., to practice mimicking foreign words for

“goodnight.” Appx176 (11:1-15, 11:25). The user’s response could be both

expected (a correct pronunciation) or unexpected (an incorrect pronunciation not

anticipated by the system). Appx415. Claim amendments and statements during

prosecution further support the possibility of an unexpected response. Appx411

      To reject Xerox’s construction the Board embraced hyperliteralism and

engaged in linguistic summersaults. The Board emphasized—again and again—

that “neither the claims nor the Specification use the term ‘unexpected response.’”

E.g., Appx18 (emphasis added); see also Appx17, Appx56, Appx103. But the

Board fully embraced that “the received response may or may not be the expected

response.” Appx17. So what is the difference between an unexpected response and

a “not . . . expected response”? The Board gave no explanation whatsoever. Nor

did the Board adequately explain why limitations like determining whether the

received response matches the expected response—which requires the possibility

of an unexpected response—are not rendered superfluous under the Board’s

construction. The Board’s reasoning conflicts with Phillips.

      2. The Board also failed to give a reasoned basis for finding that the Accused

Infringers’ prior art teaches every limitation of the ’599 patent. Rosenberg does not

anticipate because Snap never demonstrated how Rosenberg teaches the possibility

of unexpected responses—i.e., a properly construed response. Nor do Lamont-


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Wolfe or PALLAS-Yau—Facebook’s and X Corp.’s combinations that a skilled

artisan would not be motivated to combine—teach a properly construed response.

Thus, Xerox’s claims are not obvious either.

      X Corp.’s prior art fails to teach other critical limitations. The Board found

that “the combination of PALLAS and Yau teaches receiving a content package

that includes a set of rules that includes an expected response.” Appx122. No

reasonable fact finder would agree. The Board gave no explanation for why the

disclosures it pointed to in PALLAS teach receiving a properly structured content

package. Similarly, the Board’s explanation for why PALLAS teaches a set of

rules that includes an expected response is speculative, which is not substantial

evidence. Appx119. See In re Nuvasive, 842 F.3d 1376, 1379 (Fed. Cir. 2016). The

same is true for the Board’s reasoning explaining why PALLAS teaches the

claimed structure of a content package. Appx120-Appx121.

      The Board’s reasoning for why Xerox’s claims are purportedly obvious over

Facebook’s prior art is also problematic. The Board construed the claimed context

as including single-bit, Boolean values like TRUE or FALSE. Appx70. The plain

meaning of Xerox’s claims shows otherwise. The Board and Xerox agree that, as

claimed, “[a] context is a set of data that describes an event or environmental factor

associated with a user or the operational environment of the content management

system.” Appx174 (7:36-39) (emphasis added). But the Board erred by rejecting


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that, to meet that standard, context must describe the events or environmental

factors associated with a user or the operational environment “as a whole,”

Appx7728 ¶ 100—e.g., with descriptions of a user’s activity, like “commuting to

work” or similar. Appx175 (10:42-44).

      Single-bit, Boolean values like TRUE or FALSE do not meet that standard.

That is reason enough to reverse that Lamont-Wang teaches context. But the

Board’s reasoning also collapses Xerox’s claimed tripartite structure into a

bipartite structure. Once contextual information is received, Xerox’s claims

expressly require an intermediate processing to determine a current context for the

first user before finally determining whether the current context satisfies the

trigger condition. The Board’s reasoning would combine that intermediate step

with the final, creating a non-existent limitation of determining whether the

contextual information satisfies the trigger condition. Appx182 (23:28-23:39)

      3. Further, no reasonable fact finder would agree with the Board that a

skilled artisan would be motivated to combine Wolfe with Lamont (Facebook) or

Yau with PALLAS (X Corp.). Lamont teaches away from Wolfe, which precludes

their combination. Tec Air, Inc. v. Denso Mfg. Mich. Inc., 192 F.3d 1353, 1360

(Fed. Cir. 1999). And leaving that aside, the Board’s finding that a skilled artisan

would be motivated by “the enhancement of game play of Lamont [by] Wolfe

[that] would provide greater enjoyment to tour customers” is supported by nothing


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but an expert’s conclusory testimony. Appx82. That is not enough to support a

motivation to combine. Nuvasive, 842 F.3d at 1383.

      The Board’s reasoning to support a PALLAS-Yau combination fares no

better. The Board found that (1) Yau teaches presenting the content piece in

response to the trigger condition being satisfied, and (2) that a skilled artisan

would be motivated to combine Yau with PALLAS. Appx112-Appx118;

Appx122; Appx124-Appx125. But the Board’s finding on (1) lacks supporting

explanation, Appx114, and ignores contradictory evidence, Appx12659-

Appx12660 ¶¶ 163-166. The Board must explain its findings, Nuvasive, 842 F.3d

at 1383, while not ignoring contradictory evidence, Pers. Web Techs., LLC v.

Apple, Inc., 848 F.3d 987, 993-94 (Fed. Cir. 2017).

      As for (2), a skilled artisan would understand that Yau and PALLAS teach

away from each other. PALLAS teaches only “unobtrusive” learning activities,

while Yau allows for obtrusive learning activities when users request them.

Appx12648-Appx12649 ¶¶ 143-144. Between that, and the Board’s failure to

support its affirmative finding of a motivation to combine with substantial

evidence, no reasonable fact finder would agree that a skilled artisan would

combine Yau with PALLAS to present the content piece.




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                           STANDARD OF REVIEW

      The Court’s review of agency actions is rigorous. While a district court may

be affirmed so long as its “result is correct,” that is not so for an agency. SEC v.

Chenery Corp., 318 U.S. 80, 88 (1943). An agency action must be sustained on

“the grounds upon which the [agency] itself based its action.” Id. Thus the Court

may “uphold a decision of less than ideal clarity if the agency’s path may

reasonably be discerned,” but will not “supply a reasoned basis for the agency’s

action that the agency itself has not given.” Rovalma, S.A. v. Bohler-Edelstahl

GmbH & Co. KG, 856 F.3d 1019, 1024 (Fed. Cir. 2017) (citation omitted).

      Here the Board construed key claim terms within the ’599 patent and found

Xerox’s claims both obvious and anticipated. “Claim construction is a legal issue

reviewed de novo, based on underlying factual findings that are reviewed for

substantial evidence.” Pers. Web, 848 F.3d at 990. Similarly, the Court “review[s]

the Board’s ultimate determination of obviousness de novo and its underlying

factual determinations for substantial evidence.” Id. at 991. Anticipation is a fact

question subject to substantial evidence review. See Trintec Indus., Inc. v Top-

U.S.A. Corp., 295 F.3d 1292, 1294 (Fed. Cir. 2002) (“Novelty, or anticipation, is a

question of fact.”). What a reference teaches is a fact question answered by reading

the reference “as a whole.” Panduit Corp. v. Dennison Mfg. Co., 810 F.2d 1561,

1566, 1568 (Fed. Cir. 1987).


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      Substantial evidence is no toothless standard. The Court “examin[es] the

record as a whole, taking into account evidence that both justifies and detracts

from an agency’s decision.” Id. (citation and internal quotation marks omitted). In

doing so, the Court asks “whether a reasonable fact finder could have arrived at the

agency’s decision.” Id. (citation omitted). The Board lacks substantial evidence

support when its reasoning is “conclusory.” Nuvasive, 842 F.3d at 1376. Nor does

speculative evidence amount to substantial evidence. See id. at 1379 (defining

substantial evidence as “more than a mere scintilla of evidence” (citation omitted)).


                                  ARGUMENT

I.    The Board misconstrued the claims—which require the possibility of
      both expected and unexpected responses being the received response—
      by elevating a hyperliteral reading of the claims over the claim
      language, specification, and file history.
      The Board rejected Xerox’s argument that the claims require the possibility

of both expected and unexpected responses be the received response. Why?

Hyperliteralism: “[N]either the claims nor the Specification use the term

‘unexpected response.’” Appx18. But see Appx141-Appx142 (finding that the

application that became the ’599 patent specification disclosed possibility of

unexpected responses). That is not the Phillips standard. Among other things,

Xerox’s claims expressly distinguish between a response and an expected

response. E.g., Appx182 (23:38-39). Thus, a response “may or may not be the



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expected response,” which even the Board at one point agreed is true. Appx17. So

how, then, does a response not include the possibility of an unexpected response?

      In the Board’s view, the answer is that there is a meaningful distinction

between a “not . . . expected response” and an unexpected response. Not so. Claim

construction is not based on linguistic summersaults, but on the claim language,

specification, and file history. Phillips, 415 F.3d at 1312-17. Applying those

principles here leads to one conclusion: the claims require the possibility of both

expected and unexpected responses as the received response.

A.    The claim language requires the possibility that a response be expected
      or unexpected.

      The language of Xerox’s claims alone demonstrates the Board’s erroneous

construction. Xerox’s claims require “receiving a response,” “determining whether

the received response matches the expected response,” and then “performing an

action based on an outcome of the determination.” Appx182 (23:35-41). The

express distinction between a response and an expected response, as well as the

claim structure—which uses the response’s status as expected or unexpected—

support that a response requires the possibility of an unexpected response. The

Board’s reasoning to the contrary is improper and flawed.




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      1.    Xerox’s claims expressly distinguish response from expected
            response, meaning a response must include the possibility of more
            than just expected responses.

      Under Phillips, the Board should have looked at the “claims themselves”

and “the context in which [response] is used” to inform that term’s meaning. 415

F.3d at 1314. Xerox’s independent claims require a response and also an expected

response. Appx182-Appx183 (23:38-39, 24:58-61, 26:10-13). Modifying response

with expected “strongly implies that the term [response] does not inherently mean”

expected response. Phillips, 415 F.3d at 1314. Put another way, a response and

expected response are not co-extensive. Thus, a response includes both the

possibility of expected responses and not expected—or, unexpected—responses.

Id.

      2.    A response must include the possibility of unexpected responses to
            give meaning to claim limitations.
      Other claim language “enlighten[s]” by reinforcing that conclusion. Id.

Xerox’s claims require determining whether the received response matches the

expected response, and then performing an action based on an outcome of the

determination. E.g., Appx182 (23:38-41). Those limitations require the possibility

of an unexpected response. As Dr. Martin, Xerox’s expert, explained,

“[d]etermining whether a condition holds has two possible outcomes: either it

holds, or it does not hold.” Appx5137 ¶ 75; Appx7715 ¶ 76; Appx12636 ¶ 119.

Dr. Martin continued: “[T]he system must determine whether the received

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response matches the expected response, or . . . that the received response is

unexpected.” Appx5137 ¶ 75; Appx7715-Appx7716 ¶ 76; Appx12636 ¶ 119. From

there, the “performing” limitation takes an “action” that “depends at least on

whether the condition of matching the expected response was satisfied or not.”

Appx5138 ¶ 76; Appx7716 ¶ 77; Appx12636 ¶ 120. That the determining whether

and performing limitations require the possibility of an unexpected response

supports Xerox’s construction. Phillips, 415 F.3d at 1314.

      Without the possibility of an unexpected response “the ‘determining’

limitation would be read out of the claim completely . . . because there is nothing

to ‘determine.’” Appx5138 ¶ 77; Appx7716 ¶ 78; Appx12636 ¶ 121. Both the

determining whether and performing limitations would lack “adequate meaning.”

Appx5138 ¶ 78; Appx7716 ¶ 79; Appx12637 ¶ 122. Such a construction is “highly

disfavored.” E.g., Wasica, 853 F.3d at 1288 n.10.

      Still, the Board rejected that the possibility of unexpected responses are

“required to give meaning to the claim.” Appx15; Appx53; Appx100. But the

Board gave no explanation at all for discrediting Dr. Martin’s contrary testimony.

Appx15. Such a “conclusory” rejection does not give the Board a reasoned basis

for rejecting Dr. Martin’s opinion. Nuvasive, 842 F.3d at 1383.

      Nor did the Board permissibly give meaning to the determining whether

limitation. The Board found the possibility of unexpected responses is not required


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because each content package includes an expected response, and there “can be

more than one content package.” Appx19-Appx20; see also Appx56 (addressing

Facebook’s similar theory). Thus, according to the Board, “‘unexpected responses’

are not required to give meaning to the limitation because an expected response

associated with a different content package does not necessarily match the

expected response associated with another content package and the presented

content piece.” Appx19-Appx20; Appx56.

      Snap waited until its reply to raise that theory. Appx520; see also Appx20

(citing Snap’s reply and a declaration made a year after the petition was filed).

Same for Facebook. Appx1567; Appx56 (citing Facebook’s reply and its

supporting declaration). So Snap and Facebook waived the theory, and the Board

should not have considered it. See, e.g., CONSOLIDATED TRIAL PRACTICE GUIDE at

73 [hereinafter CTPG] (“Petitioner may not submit new evidence or argument in

reply that it could have presented earlier, e.g., to make out a prima facie case of

unpatentability.”).

      The theory is also meritless. Claim 1’s language makes plain that a pre-

defined expected response is specific to a content package’s content piece,

meaning a received response is not compared to all expected responses across all

content packages. Appx182 (23:20-39). The Board said as much in the context of

Xerox’s proposed substitute claims: “the determining is confined to comparing


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expected/predetermined responses to received responses only for the specific

content presented, not for all possible content.” Appx599. Xerox’s claims and

substitute claims are no different in that way. Xerox’s claims require a content

package that includes an expected response, and also determining whether the

received response matches the expected response. Appx182 (23:22-39). Xerox’s

substitute claims require a content package that includes at least one predefined

response, and also:

      determining whether the received response matches the expected
      response is expected or unexpected, wherein the received response is
      expected if the received response matches one or more of the at least
      one predefined response, and wherein the received response is
      unexpected if the received response does not match any of the at least
      one predefined response.

Appx474-Appx475 (deleted language struck, and added underlined).

      Despite Xerox pointing out the Board’s earlier finding, Appx599;

Appx1631; Appx2777; Appx639; Appx1689; Appx2842, the Board ignored the

issue in Snap, Appx20-Appx21, and responded with conclusory reasoning in

Facebook: “[W]e do not agree . . . based on the evaluation of the claim language

and Specification disclosures, as discussed above,” Appx56. The Board cannot

make contradictory findings, BASF Corp. v. Enthone, Inc., 749 F. App’x 978, 985

(Fed. Cir. 2018) (unpublished), ignore contrary evidence, Pers. Web, 848 F.3d at

993-94, or use conclusory reasoning, Nuvasive, 842 F.3d at 1383. Thus, the Board



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lacked a reasoned basis to find that the determining whether limitation compares

all expected responses across all content packages.

      3.    The Board improperly confined Xerox’s claims to a single
            unhelpful embodiment.
      The Board’s theory that expected responses are compared across content

packages also falls apart for embodiments including only a single content package

with a single content piece and related expected response. Those embodiments are

within Xerox’s claims’ scope. Claim 1 requires “at least one content package,

wherein the content package includes at least one content piece and a set of rules

associated with the content package, wherein the set of rules includes . . . an

expected response.” Appx182 (23:22-26) (emphasis added). And as the Court has

held, at least one includes “only one,” Z4 Techs., Inc. v. Microsoft Corp., 507 F.3d

1340, 1349 (Fed. Cir. 2007), and so does “an,” KCJ Corp. v. Kinetic Concepts,

Inc., 223 F.3d 1351, 1356 (Fed. Cir. 2000). For those embodiments, the

determining whether and performing limitations have no meaning under the

Board’s theory because there are no other expected responses to compare to. Thus,

the Board improperly confined Xerox’s claims to a single embodiment

(embodiments with more than one expected response), which the Court has

“repeatedly warned against.” Phillips, 415 F.3d at 1323.

      Similarly, the Board’s complaints that Xerox’s claims do not require pre-

defining unexpected responses are not dispositive. True, the content package

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limitation makes “no mention [of] an unexpected response as part of the content

package.” Appx15; Appx53; Appx100. And it is also true that the claims do not

“require[] determining whether a received response matches an unexpected

response.” Appx15; Appx53; Appx100 (emphasis added). But Xerox’s claims need

not do either. Again, the content package requires an expected response. This does

not conflict with, but supports, the possibility of unexpected responses. See

Argument § I(A)(1)-(2).

B.      The specification also supports the possibility that a response be
        expected or unexpected.
        Claims “do not stand alone,” but “must be read in view of the specification.”

Phillips, 415 F.3d at at 1315 (citation omitted). Claim 1 recites presenting a

content piece to the first user and then receiving a response from the first user

corresponding to the presented content piece. Appx182 (23:34-37). The

specification both enables that claim language and teaches the possibility of

unexpected responses. Yet the Board rejected what the specification enables based

on a meritless-and-unsupported distinction between a “not . . . expected response,”

which the Board correctly found the specification discloses, and an unexpected

response, which the Board erroneously found the specification does not disclose.

The two are the same in the context of Xerox’s claims. The Court should hold as

much.



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      1.    The specification teaches the possibility of unexpected responses.

      “A claim construction exclud[ing] a preferred embodiment is rarely, if ever

correct.” Sequoia Tech., LLC v. Dell, Inc., 66 F.4th 1317, 1327 (Fed. Cir. 2023)

(citation omitted). One preferred embodiment teaches presenting “audio clips” of

foreign words to the user for “practicing pronunciations.” Appx176 (11:14-15). A

user learning Japanese may be presented with the content piece JpGoodnight.mp3

to prompt mimicking the Japanese word for “goodnight.” Id. (11:1-10, 11:25).

      “Plainly,” Dr. Martin noted, “there are a very small number of ways to

correctly mimic a phrase, as compared to the number of ways to speak it

incorrectly.” Appx5140 ¶ 81; Appx7718 ¶ 82; Appx12638 ¶ 125. Yet the claims

require determining whether the received response matches the expected response.

Appx182 (23:38-39). To do that, explained Dr. Martin, “[a] person of ordinary

skill in the art would understand that the system being described contains an

expected response (i.e., a recording of ‘Good night’ spoken in Japanese) and uses

that as the basis for determining whether the response actually received is correct

or incorrect (due to not matching the expected response, i.e., being unexpected)

and in turn invoking the corresponding action.” Appx5140 ¶ 81 (emphasis added);

Appx7718 ¶ 82; Appx12638 ¶ 125.




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      2.    The Board’s only basis for rejecting the possibility of unexpected
            responses is its meritless-and-unsupported distinction between an
            “unexpected response” and a “not . . . expected response.”

      Even still, the Board rejected that the specification supports that a response

includes the possibility of unexpected responses. The Board emphasized that

“neither the claims nor the Specification use the term ‘unexpected response.’”

Appx18; see also Appx17 (“We . . . note that the Specification only discloses

determining whether a received response is expected.”); id. (“[W]e do [not]

discern[] any disclosure of determining whether a received response is an

‘unexpected response.’”); Appx56 (distinguishing between a received response that

does not match the expected response and an unexpected response); Appx103

(same).

      But what about a “not . . . expected response”? Appx17. The Board agreed

the specification discloses those: “[T]he received response may or may not be the

expected response.” Id. Indeed, Table 1 “illustrates an exemplary set of rules for

presenting [a] content package . . . to a user in accordance with an embodiment of

the present invention”:




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Appx175-Appx176 (10:57-11:13). And “an action incorrect column entry can

obtain a value that specifies an action to be performed by [the] content

management system . . . on the occasion that the user does not provide an expected

response.” Appx177 (13:4-7) (emphasis added). The Board thus properly

recognized that the specification discloses receiving “not . . . the expected

response.” Appx17.

      So what is the difference between an “unexpected response” and a

“not . . . expected response”? The Board could not say. Rather, the Final Written

Decision performs linguistic summersaults to avoid comparing unexpected

responses to not expected responses. Appx17-Appx18; Appx55-Appx56;

Appx102-Appx103; see also Appx103 (explaining that what “the Specification

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discloses and what is claimed” is for the “received response” to be “checked to

determine if it matches the ‘expected response,’” but rejecting that process requires

the possibility of an “unexpected” response). The Board cannot draw unsupported,

conclusory distinctions. Nuvasive, 842 F.3d at 1383.

      The     Board   also   faulted   Xerox    for      not   “identify[ing]   in   the

Specification . . . any disclosure of determining whether a received response is an

unexpected response.” Appx17; Appx56; Appx102. But Xerox’s response in each

IPR pointed to Table 1 and its discussion in the specification to support that its

claims require the possibility of unexpected responses and that a “not . . . expected

response” is equivalent to an unexpected response. Appx426-Appx427;

Appx1391-Appx1392; Appx2649-Appx2650.

C.    The file history supports that both expected and unexpected responses
      must be possible.
      “Any explanation, elaboration or qualification presented by the inventor

during patent examination is relevant, for the role of claim construction is to

‘capture the scope of the actual invention’ that is disclosed, described and

patented.” Fenner Invs., Ltd. v. Cellco P’ship, 778 F.3d 1320, 1323 (Fed. Cir.

2015). Here such evidence exists and shows that Xerox’s claims require that

expected and unexpected responses must be possible.




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      1.    The Board failed to give weight to amendments during
            prosecution showing the possibility of an unexpected response.

      The Board rejected that prosecution amendments supported that both

expected and unexpected responses must be possible. Appx21; Appx57; Appx103.

Applicant added the determining whether the received response matches the

expected response limitation during prosecution to overcome anticipation and

obviousness rejections. E.g., Appx3725, Appx3735. The Board accepted that.

Appx21; Appx57; Appx103. Yet the Board rejected that the amendment mattered

because “there is no mention or suggestion of an ‘unexpected response.’” Appx21;

Appx57; Appx103. The Board’s focus on terminology remains erroneous. See

supra Argument § I(A)(1)-(2).

      2.    The Board failed to give weight to statements by Applicant to the
            examiner showing the possibility of an unexpected response.

      The Board also rejected that statements by Applicant to the examiner

mattered. Appx21; Appx57; Appx104. Applicant specifically called out handling

unexpected responses when discussing the determination limitation as a point of

novelty over prior art: “For example, if the user fails to mimic the played audio

signal correctly, the system replays the audio file for the user.” E.g., Appx3722.

Yet the Board rejected the relevance of this statement because it “does not mention

any consideration or determination of an unexpected response, but rather identifies

an action taken based only on a determination of whether there is a match of the


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received response and the expected response.” Appx21; Appx57; Appx104. That

reasoning merely repackages the Board’s erroneous reasoning that a not expected

response is different from an unexpected response. See Argument § I(A)(2).


II.   The Board failed to give a reasoned basis for finding that the Accused
      Infringers’ prior art teaches every limitation of the ’599 patent.

      The Board misconstrued response. Thus, vacatur and remand are required.

Intel Corp. v. Qualcomm Inc., 21 F.4th 801, 812 (Fed. Cir. 2021).

      That the Board alternatively found that the Accused Infringers’ prior art

teaches a properly construed response does not change this conclusion, because no

reasonable fact finder would agree. And so the Court can (and should) also reverse

because the Accused Infringers’ prior art does not teach every limitation of

Xerox’s claims. Univ. of Strathclyde v. Clear-Vu Lighting LLC, 17 F.4th 155, 165-

66 (Fed. Cir. 2021). The Court should also find against X Corp. and Facebook

because no reasonable fact finder would agree that a PALLAS-Yau combination

(X Corp.) teaches a received and properly structured content package, or that a

Lamont-Wang combination (Facebook) teaches the claimed tripartite structure. Id.

A.    No reasonable fact finder would agree that the Accused Infringers’
      prior art teaches the possibility of both expected and unexpected
      responses, rendering Xerox’s claims not anticipated or obvious.
      Snap and Facebook focused on independent claim 1 while X Corp. focused

on independent claim 12. No matter. Both claims identically require a response for

three limitations:
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      receiving a response from the first user corresponding to the presented
            content piece;
      determining whether the received response matches the expected
            response; and
      performing an action based on an outcome of the determination.

Appx182 (23:36-41, 24:58-63) (emphases added). No reasonable fact finder would

agree that Rosenberg (Snap), Lamont-Wolfe (Facebook), or PALLAS (X Corp.)

teach a response under properly construed claims—where the possibility of an

unexpected response is required. Thus, Rosenberg cannot anticipate because it

does not teach “each and every limitation set forth in the patent claim.” Trintec,

295 F.3d at 1295. Neither do Lamont-Wolfe nor PALLAS render Xerox’s claims

obvious because they, too, fail to disclose “all claimed limitations.” Strathclyde, 17

F.4th at 160 (citation omitted).

      1.      No reasonable fact finder would agree that Rosenberg teaches a
              properly construed response.
      Under Snap’s reading, Rosenberg teaches receiving solely expected

responses.        Appx5147-Appx5149

¶¶ 93-97. The Board recognized that

Rosenberg’s      Figure 5    teaches   a

portable computing device 111 that

includes enumerated reminder options 501. Appx26; Appx3861 Fig.5. No

unexpected response is possible under Snap’s articulation. Appx5148 ¶ 95. No

wonder the Board acknowledged at institution that “Rosenberg’s system

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determines whether the received response matches one of a plurality of expected

responses.” Appx355-356 (emphasis added).

      Properly construed, Xerox’s claims are not anticipated by Rosenberg.

Rosenberg does not teach: (1) receiving a response from the first user

corresponding to the presented content piece because no unexpected response is

possible; (2) determining whether the received response matches the expected

response because the response is always expected; and (3) performing an action

based on an outcome of the determination because no such determination is ever

made. Because no reasonable fact finder would disagree, the Court should reverse

that Rosenberg anticipates. Trintec, 295 F.3d at 1295.

      2.    No reasonable fact finder would agree that a Lamont-Wolfe
            combination teaches a properly construed response.

      The Board found that a Lamont-Wolfe combination teaches the possibility

of unexpected responses. Appx78-Appx79. Lamont teaches receiving solely

expected responses. Appx7747 ¶ 134. The “user feedback monitor” in Lamont that

Facebook pointed to teaches enumerating inputs; inputs to “replay[]” media, or

“return to the rental location.” Appx5673 (20:59-61); Appx7746-7747 ¶¶ 132-134.

Enumerated inputs do not allow for the unexpected responses that Xerox’s claims

require. Appx7746-7747 ¶¶ 132-134. Facebook effectively admitted that Lamont

does not teach the possibility of an unexpected response because its petition argued

that Wolfe—not Lamont—teaches “determin[ing] if the answer was correct.”

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Appx1200. So, too, did the Board. It rejected that Xerox’s claims require the

possibility of unexpected responses. Appx79. But then the Board turned to Wolfe

to alternatively find a reference teaching determining whether a correct or incorrect

response has been received. Id.

      The Board erroneously relied on Wolfe. A skilled artisan would not have

been motivated to combine Lamont with Wolfe. See Argument § III(B). Without

Wolfe, no evidence—let alone substantial evidence—supports that Facebook’s

prior art teaches the properly construed claims’ response, where there is the

possibility of an unexpected response.

      For those reasons, Xerox’s properly construed claims are not obvious over

Lamont in view of Wolfe. Lamont does not teach receiving a response from the

first user corresponding to the presented content piece because no unexpected

response is possible. Lamont does not teach determining whether the received

response matches the expected response because the response is always expected.

And Lamont does not teach performing an action based on an outcome of the

determination because no such determination is ever made. Because no reasonable

fact finder would disagree, or disagree that a skilled artisan would reject combining

Wolfe with Lamont, the Court should reverse that Xerox’s claims are obvious over

Lamont in view of Wolf. Strathclyde, 17 F.4th at 160 (citation omitted).




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      3.     No reasonable fact finder would agree that PALLAS teaches a
             properly construed response.

      Without relying on Yau, the Board found that PALLAS teaches the

possibility of unexpected responses. Appx126. No reasonable fact finder would

agree. Unlike the Board, a skilled artisan would not conflate the “correct” and

“incorrect” response that PALLAS teaches with the expected and unexpected

responses Xerox’s claims require. Appx126. Nor does the Board provide any

explanation for conflating the terms. Id. That alone is reversible. Nuvasive, 842

F.3d at 1383.

      The Board’s determination is also reversible because PALLAS does not

contemplate the possibility of unexpected responses—whether correct or incorrect.

PALLAS does teach prompting users to “practice more” based on learning

performance. Appx9935. But PALLAS largely omits any discussion of how to

present inputs from users. Appx9935; see also Appx9936 (“A description of the

learning content and how this is created and composed are beyond the scope of this

paper.”).

      Where PALLAS does illustrate presenting inputs during a learning sequence

it teaches enumerated inputs. PALLAS teaches that “the Mobile Adaptive CALL

(MOC) system . . . ask[s] [learners] to select the correct word from a list of written

words.” Appx9939 (emphasis added). That list of written words consists of

enumerated responses. Teaching enumerated inputs does not teach the possibility

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of an unexpected response—they are enumerated and therefore expected. See

supra II(A)(1)-(2); Appx12653-Appx12656 ¶¶ 152-156.

      Properly construed, Xerox’s claims are not obvious over PALLAS.

PALLAS does not teach receiving a response from the first user corresponding to

the presented content piece because no unexpected response is possible. PALLAS

does not teach determining whether the received response matches the expected

response because the response is always expected. And PALLAS does not teach

performing an action based on an outcome of the determination because no such

determination is ever made. Because no reasonable fact finder would disagree, the

Court should reverse that Xerox’s claims are obvious over PALLAS. Strathclyde,

17 F.4th at 160 (citation omitted).

B.    No reasonable fact finder would agree that a PALLAS-Yau
      combination teaches receiving a properly structured content package—
      one with a set of rules that includes an expected response.

      Xerox’s claims also require “receiving at least one content package” of a

particular structure. Appx182 (23:22). The content package “includes at least one

content piece and a set of rules associated with the content package, wherein the

set of rules includes a trigger condition and an expected response.” Id. (23:23-26).

The Board found that “the combination of PALLAS and Yau teaches receiving a

content package that includes a set of rules that includes an expected response.”

Appx122. No reasonable fact finder would agree.


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      1.    The Board failed to explain how a PALLAS-Yau combination
            teaches receiving a properly structured content package.

      Substantial evidence does not support the Board when it makes a finding and

“fail[s] to provide any explanation for [its] conclusion.” Volvo Penta of Ams., LLC

v. Brunswick Corp., 81 F.4th 1202, 1215 (Fed. Cir. 2023). The Board supported its

finding that X Corp.’s prior art teaches the receiving limitations with two

disclosures from PALLAS: (a) “PALLAS discloses that ‘[t]he learner’s skill level

is automatically updated every time the learner completes an exercise and the

learning content delivered to a learner at any time is matched against the learner’s

current personal data,” and (b) “mobile learners engage in small chunks of learning

and are likely to do this often, it is important that the personalisation data is

updated after every time.” Appx121. Because the Board provided no explanation

for why those disclosures teach receiving a properly structured content package,

substantial evidence does not support the Board’s finding. Volvo, 81 F.4th at 1215.

      2.    No reasonable fact finder would agree that PALLAS teaches a set
            of rules that includes an expected response.

      Xerox’s claims require that the claimed set of rules includes an expected

response. Appx182 (23:25-26). The Board found PALLAS teaches that structure

by (a) comparing student-provided “answers” on a “Glossary Test” to “expected

responses,” and then (b) notifying the student “she should practice more” to

support that finding. Appx120-Appx121 (quoting Appx9935). According to the


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Board, “[t]his notification indicates that PALLAS’s program evaluated the

expected responses compared to the answers provided and presents the assessment

of the test to the student, therefore ‘expected responses’ would be part of the set of

rules.” Appx121.

      Finding that PALLAS implicitly teaches the claimed structure of a set of

rules from those disclosures is speculative at best and that is not substantial

evidence. Nuvasive, 842 F.3d at 1379. Nor is the Board’s speculation correct. Dr.

Martin testified that there are many “possible location[s]” for including expected

responses within PALLAS. Appx12650 ¶ 146. The Board’s failure to address Dr.

Martin’s countervailing testimony shows the Board’s finding lacks substantial

evidence support. Pers. Web, 848 F.3d at 993-94.

      3.     No reasonable fact finder would agree that PALLAS teaches a
             content package that includes an expected response within a set of
             rules or not.

      No reasonable fact finder would agree that a skilled artisan would have

found the content package structure “obvious.” Appx121. According to the Board,

“the need for caching and importance of providing data updates” would have led a

skilled artisan to find it “obvious to ‘combine and send the content piece

(exercise/test/quiz, etc.), expected responses (correct answers), and set of rules

(including the trigger condition) together to the mobile device as a content

package.” Appx121.


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      The Board thus concedes that PALLAS does not teach the claimed content

package structure and sought to fill that gap with a skilled artisan’s general

knowledge or common sense. The Court’s review is “searching” when the Board

invokes “general knowledge” or “common sense” to “supply a missing limitation.”

Arendi S.A.R.L. v. Apple Inc., 832 F.3d 1355, 1363 (Fed. Cir. 2016). The Board’s

finding must “be supported by evidence and a reasoned explanation.” Id. That

standard is not met by “a conclusory assertion from a third party about general

knowledge in the art without evidence in the record.” Id. at 1364 (emphasis added).

      Here all the Board had were conclusory assertions. It could point only to a

statement by X Corp.’s expert that was buried hundreds of pages deep in a claim

chart attached to his declaration. Appx121; Appx9748-Appx9749. And nowhere in

that statement did Dr. Turnbull provide any record support for his conclusion that

the requirements of mobile devices would have caused a skilled artisan to include

the expected response within the content package. Id.

      Dr. Martin also explained that a skilled artisan would not have to use the

claimed content package structure. Appx12650 ¶ 146. Yet again the Board did not

address Dr. Martin’s countervailing testimony, meaning its reasoning lacks

substantial evidence support. Pers. Web, 848 F.3d at 993-94.

      Dr. Turnbull’s testimony about mobile devices “receiv[ing] correct answers

in order to be able to, e.g., respond to learner responses to exercises/tests/quizzes


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and update skill levels” also adds only speculative support on this issue. Appx122.

X Corp. waited until its reply brief to make this argument. See id. (citing X Corp.’s

reply, Appx2711). So the Board should not have even considered it, let alone

credited it. CTPG at 73. The Board also failed to explain why responding to learner

responses and updating skill levels requires the claimed content package structure.

Appx122. Such a structure is not required, which Dr. Martin explained,

Appx12650 ¶ 146, and the Board failed to address, Appx122. Speculation is not

substantial evidence, Nuvasive, 842 F.3d at 1379, and the Board erred when it

failed to even address the significant countervailing evidence in the record, Pers.

Web, 848 F.3d at 993-94.

C.    Substantial evidence does not support that a Lamont-Wang
      combination teaches the tripartite structure Xerox’s claims require.
      Xerox’s claims require a tripartite structure:

      receiving a set of contextual information to determine a current
            context for the first user;
      processing the contextual information to determine a current context
            for the first user;
      determining whether the current context satisfies the trigger condition.

Appx182 (23:28-33, 24:50-55) (emphases added). The tripartite structure permits

both scalability and the ability to share content packages. Appx178 (16:49-67)

(discussing “Content Sharing and Delivery Infrastructure”). Central to the tripartite

structure is intermediate context, which is determined based on received contextual

information. The Board found that Lamont-Wang teaches context. Appx71-

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Appx77. But, in doing so, the Board erroneously found that single-bit, Boolean

values—like TRUE or FALSE—count as context, collapsing Xerox’s tripartite

structure into a bipartite structure.

       1.     Context must describe an event or environmental factor as a
              whole.
       In distinguishing context from contextual information, Xerox argued that

“[a] context is a set of data that described an event or environmental factor

associated with a user or the operational environment of content management

system.” Appx1402 (quoting Appx174 (7:36-39) (emphasis removed)). The Board

agreed, and also agreed that context and contextual information are different.

Appx70-Appx72.

       But Xerox also explained that the “plain and ordinary meaning of the claim

language as understood by a POSITA,” Appx1401 & n.7, means that context must

describe the events or environmental factors associated with a user or the

operational environment “as a whole,” Appx1403-Appx1404 (quoting Appx7728

¶ 100). The Board disagreed with this. Appx72. While Xerox did not initially

“believe there [was] a claim construction dispute” over context, the Board’s

disagreement with Xerox’s construction means the Court should now decide the

issue. Appx1401 & n.7. Context, as claimed, requires describing an event or

environmental factor as a whole. Appx1403-Appx1404 (quoting Appx7728 ¶ 100).



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      That conclusion follows from the language of Xerox’s claims. Claim terms

themselves inform their own meaning. Phillips, 415 F.3d at 1312-13. Here the

claim term is context. A skilled artisan would understand that context is not

satisfied by mere “GPS coordinates or other ‘basic information’”—i.e., the

distinguishable claim term contextual information—“but rather characterizations of

events or environments of the user or operational environment as a whole.”

Appx7728 ¶ 100. The surrounding claim language also helps clarify meaning.

Phillips, 415 F.3d at 1314-15. Xerox’s claims require determining whether the

current context satisfies the trigger condition, which shows that context is what is

used to identify a matching trigger condition, Appx182 (23:32-33), and not mere

contextual information, which must first be processed to determine a current

context, id. (23:30-31).

      The specification also shows that context must describe an event or

environmental factor as a whole. The Court recently held in Sequoia Technology v.

Dell that the kinds of enumerated examples given for a term in the specification

define the term’s scope. See 66 F.4th at 1323 (“computer readable medium”

includes only non-transitory media when “every example” in the specification “is

hardware”). The specification defines context as including “the user is sitting

down, watching TV, asleep, alert, talking, typing at the computer in the home

study or at the office, walking around the house, walking outside the house,


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driving, or performing a household activity (e.g., cooking, or getting ready for

work).” Appx174 (7:49-53). Each example describes an event, environment of the

user, or operational environment “as a whole.” Appx7728 ¶ 100. They “us[e]

human-meaningful terms (e.g., ‘walking to work,’ or ‘walking around the mall’),”

“gardening,” “concentrating,” “receptive,” or “active.” Appx172 (4:16-22). They

are “high-level abstractions, such as ‘commuting to work,’” that describe as a

whole. Appx175 (10:42-44).

      Still, the Board found Xerox’s construction requires “too much.” Appx72.

Pointing to the specification, the Board explained that context merely requires “a

set of data that describes an event or environmental factor associated with a user.”

Id. But as just explained, every example the specification gives of context

describes an event, environment of the user, or operational environment as a

whole. Under Sequoia, those examples limit context’s scope. 66 F.4th at 1323.

      The Board also found that the required “set of data” for context includes a

set of one. Appx72-Appx73. Xerox disagrees, but the Court need not wade into

this dispute because the Board’s finding does not eliminate that the context must

still describe an event or environmental factor as a whole.

      The very evidence the Board relied on to make its set-of-data finding makes

that point. The Board leaned on claim 6 requiring “context . . . defined as . . . a

high-level abstraction which corresponds to one or more low-level contextual


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information values.” Appx72 (quoting Appx182 (24:15-19) (emphasis removed)).

But the specification defines a high-level abstraction with examples like

“commuting to work” or “play while commuting to work and whole comminuting

from work,” showing that the term describes an event or environmental factor as a

whole. Appx175 (10:43-44, 10:51-52). And both the Board’s findings and the

Court’s case law show that a context/high-level abstraction remain distinct from a

low-level contextual information value. See Appx70-Appx71 (agreeing contextual

information and context are different); In re Varna, 816 F.3d 1352, 1362-63 (Fed.

Cir. 2016) (illustrating that correspond to does not mean equivalent to); see also

Wasica, 853 F.3d at 1288 n.10 (explaining that a claim construction rendering a

claim term superfluous is “highly disfavored”).

      2.    Single-bit, Boolean values do not teach context as claimed because
            they do not describe an event or environmental factor as a whole.
      Properly construed, no reasonable fact finder would agree with the Board

that Lamont-Wang’s single-bit, Boolean values (like TRUE or FALSE) teach

context. Appx70.

      First, Xerox’s claims say when they require a Boolean value and do not

require one for context. When Xerox’s claims require a Boolean value they recite

determining whether some condition exists. Appx182 (23:32-35, 23:38-41); see

also Appx179 (18:58-60) (“[T]he context management system determines whether

the context satisfies a trigger condition (operation 330).”); Appx169 (Sheet 3,

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Fig.3) (showing 330 as asking “[d]oes context satisfy trigger condition?” and

returning a “Yes” or “No” value); Appx7737 ¶ 114 (“[A] Boolean expression is

anything that represents one of two values, such as true/false or zero/non-zero.”).

Xerox’s claims do not determine whether in determining a current context.

Appx182 (23:30-31).

      Second, a skilled artisan would not understand context as including single-

bit, Boolean values alone or combined with others. Appx7737 ¶¶ 113-114. As Dr.

Martin explained, “[w]hile a single bit of information is enough information for

Lamont to decide whether to ‘trigger now’ or ‘don’t trigger now,’ it is not a set of

data that describes an event or environmental factor associated with a user or

operational environment as used in the ’599 Patent.” See Appx7737-Appx7738 ¶

114. Indeed, none of the enumerated examples in the specification for context

include single-bit, Boolean values like TRUE or FALSE. See Argument § II(C)(1).

Thus, a skilled artisan would understand that single-bit, Boolean values are not

context. Sequoia, 66 F.4th at 1323.

      Third, the Board’s own reasoning shows that Booleans are divorced from

context. To find that TRUE or FALSE could provide context the Board had to

describe—as a whole—the very events or environmental factors the Booleans were

supposed to: “[I]n Lamont, the results of the three component Boolean expressions

are further processed using the AND/OR operators to determine user context, that


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is, the user is travelling slower or faster than 30 miles per hour and is or is not

travelling in a certain direction.” Appx75 (emphasis added). The Board’s

difficulties prove Xerox’s point—a Boolean gives no context. Appx7737-

Appx7739 ¶¶ 114-116 (explaining that a Boolean expression, with one step or

many, only describes “whether [a] value is considered to be true or false,” and that

“it is not a set of data that describes an event or environmental factor associated

with a user or operational environment as used in the ’599 Patent”); Appx7738

¶ 115 (discussing why historical records of Boolean values would not be kept).

      3.      The Board also erred in collapsing the tripartite structure of
              Xerox’s claims into a bipartite structure.

      The sole basis the Board gave for Lamont-Wang teaching context was its

finding that Lamont-Wang teaches processing the contextual information to

determine a current context for the first user by resolving contextual information,

like “T1 Speed>30mph,” into Boolean values, like TRUE or FALSE. Appx70. In

other words, the Board found that Boolean values, TRUE or FALSE, “describe the

presence (or absence) of a current activity or event associated with that user,”

satisfying the claims requirement for context. Id. Because such Boolean values do

not satisfy the claimed context, as discussed, no evidence, let alone substantial

evidence, supports the Board’s finding that a Lamont-Wang combination teaches

context. See Nuvasive, 842 F.3d at 1379 (requiring “more than a mere scintilla of

evidence”).

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      Nor can the Board’s collapsing the tripartite structure of Xerox’s claims into

a bipartite structure stand. Again, that tripartite structure requires receiving a set of

contextual information, processing it to determine a current context, and then

determining whether the current context satisfies the trigger condition. Appx182

(23:28-33). Yet the Board found that “Lamont determines context by Boolean

operations, which is that the user is or is not travelling at some speed and

direction.” Appx77.

      That finding renders the determining whether the current context satisfies

the trigger condition superfluous—turning the tripartite structure into a bipartite

one—because whether the trigger condition is satisfied was already resolved by

Boolean operation in determining the current context. Essentially, the Board re-

wrote determining whether the current context satisfies the trigger condition to be

determining whether the contextual information satisfies the trigger condition.

Thus, a reasonable fact finder would not agree with the Board. Wasica, 853 F.3d at

1288 n.10 (rendering claim limitations superfluous is “highly disfavored”). And

while the Board also found that “there is also a [separate] determination as to

whether a trigger condition is met,” the Board gave no explanation where that

determination is made, and at best rested it on conclusory expert testimony.

Appx77. Neither provides the Board with substantial evidence for its finding.

Nuvasive, 842 F.3d at 1383.


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III.     Xerox’s claims are not obvious.

         “[A] patent . . . is not proven obvious merely by demonstrating that each of

its elements was, independently, known in the art.” Purdue Pharma L.P. v.

Depomed, Inc., 643 F. App’x 960, 965 (Fed. Cir. 2016) (unpublished) (quoting

KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007)). The petitioner in an IPR

must still “identify a reason that would have prompted a person of ordinary skill in

the relevant field to combine the elements in the way the claimed invention does.”

Id. The Board found that a skilled artisan would have been motivated to combine

Wolfe with Lamont, and Yau with PALLAS. No reasonable fact finder would

agree.

A.       No reasonable fact finder would agree that a skilled artisan would be
         motivated to combine Wolfe with Lamont.

         The Board cannot combine references that teach away from each other. Tec

Air, 192 F.3d at 1360. A reference teaches away if it would merely “discourage[]”

a skilled artisan reading it from following the “path” laid out in another reference.

Id. That includes when the combination would produce a “seemingly inoperative

device,” id., or would be filled with “redundant functions,” S.-Tek Sys., LLC v.

Engineered Corrosion Sols., LLC, 748 F. App’x 1003, 1007 (Fed. Cir. 2018)

(unpublished).

         Moreover, “a patent challenger must demonstrate that a skilled artisan would

have had reason to combine the teachings of the prior art references to achieve the

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claimed invention.” Purdue, 643 F. App’x at 965. Expert testimony that “opine[s]

generally on the interrelated teaching of [the] references” is not enough. Id. While

a “problem to be solved” may “supply the reason,” the patent challenger must still

show that “problem was known in the art.” Id. The same is true about purported

“improvements”—“conclusory expert testimony” is not enough. Volvo, 81 F.4th at

1209. The patent challenger must point to evidence showing a motivation to make

such an improvement. See id. (“Here, the prospect of increased speed and

efficiency has the support of an express statement in one of the asserted prior art

references.”).

      The Board’s reasoning for combining Wolfe with Lamont violates these

principles.

      1.       Lamont teaches away from Wolfe, precluding a combination.

      A Lamont-Wolfe combination would be filled with redundant features.

Xerox explained that “Lamont and Wolfe provide complete and fully independent

disclosures of their own different systems.” Appx1544 (quoting Appx7749-

Appx7750 ¶ 140). Both “fully enable[] a ‘treasure hunt.’” Id. And the Board

agreed: “Lamont discloses that its system can be used in location-based treasure

hunts . . . and Wolfe is directed to treasure hunt games with puzzles presented

specific physical locations [sic].” Appx82. Thus, the Board’s own findings show a




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skilled artisan would have been discouraged from combining Wolfe with Lamont

given the systems’ redundant features. S.-Tek, 748 F. App’x at 1007.

      2.     Substantial evidence does not support the theories the Board
             credited as providing a motivation to combine Wolfe with
             Lamont.
      The Board credited that “the enhancement of game play of Lamont in Wolfe

would provide greater enjoyment to tour customers.” Appx82 (citing Appx5562

¶ 99). Yet nothing other than the conclusory testimony of Facebook’s expert

supports that such a generic motivation as enhancing game play would have

motived a skilled artisan to combine Lamont with Wolfe. Appx5562. Thus, the

Board should not have credited it. Volvo, 81 F.4th at 1209; Purdue, 643 F. App’x

at 965.

      The Board further credited Facebook’s expert that “Lamont offers that

advantage of an ‘indication that the user has reached a particular point in the tour –

and that the user is aware of this fact.’” Appx82 (quoting Appx5562 ¶ 99); see also

id. (agreeing that those features “offer[] the potential advantage of specific user

knowledge to a tour operator”). Yet again, though, Facebook’s expert failed to

explain with record evidence why those features were advantages that would have

motivated a skilled artisan to combine Lamont with Wolfe.

      Rather, Facebook’s expert merely showed those features existed in Wolfe

and its provisional, and again offered conclusory testimony that those features


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“would have provided a benefit to the system of Lamont.” Appx5562. The mere

existence of features does not provide a motivation to combine them. See Pers.

Web, 848 F.3d at 993-94 (rejecting that the mere possibility of a combination

implies a motivation to combine); Purdue, 643 F. App’x at 965 (requiring the

patent challenger to demonstrate a “reason to combine the teachings”). Thus, the

Board should not have credited this conclusory theory of a motivation to combine

either. Volvo, 81 F.4th at 1209; Purdue, 643 F. App’x at 965.

      The Board then compounded its error. It credited an argument Facebook

made in reply as showing a motivation to combine. Appx83 (citing Appx1584). As

the Board recounted, knowing that a user has reached a tour destination and is

aware of that fact is an “advantage[] offered by Wolfe to Lamont [to] support the

rationale to combine the references” because “GPS information alone may not be

indicative of user awareness, as a user may be facing away from a landmark or

may not have noticed it.” Id.

      Facebook waived this theory by not including it in its petition. CTPG at 73.

All its petition relevantly argued was that “direct user feedback would have

provided a more reliable indicator of the user’s current status than status

information inferred by the device using GPS or other information.” Appx1182-

Appx1183. Facebook’s point is irrelevant because Lamont’s purpose is delivering

location-specific content—there is “no need for Lamont to confirm that a ‘user is


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aware’ that it has” reached a certain location. Appx7750-Appx7751 ¶ 142. Nor

does the petition point to purported problems of users facing away from landmarks

or failing to notice them. Appx1182-Appx1183. And it does not point to any

purported evidence other than its expert’s testimony. Id. Not only did Facebook’s

expert fail to mention the specific facing-away/failure-to-notice problems, but the

supporting testimony is—again—conclusory, failing to cite anything in the record

in support. Appx5562-Appx5563 ¶ 99.

      Thus it does not matter, as the Board pointed out, that “if a technique has

been used to improve one device,” then it is “obvious” if “a person of ordinary

skill in the art would recognize that it would improve similar devices in the same

way.” Appx83 (quoting KSR, 550 U.S. at 417). Here no properly considered

evidence, let alone prior art evidence, supports that speculative problems with GPS

information would have motivated a skilled artisan to combine Wolfe with

Lamont. So the Board should not have credited this theory either. Volvo, 81 F.4th

at 1209; Purdue, 643 F. App’x at 965.

      3.    Facebook also failed to show that a skilled artisan would be
            motivated to combine Lamont and Wolfe to teach the claimed
            content piece.

      The Board found that Lamont’s “media clip” is the claimed content piece,

and then combined that media clip with Wolfe’s purported teachings of an

“expected response.” Appx84. But a skilled artisan would recognize that


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“combination is senseless.” Appx7756 ¶ 153. Why? Because the Board cannot

combine references that would produce a “seemingly inoperative device.” S.-Tek,

748 F. App’x at 1007.

      Combining Wolfe with Lamont would do just that. Each has a different

intended purpose. Lamont teaches treasure hunts for a location. Wolfe teaches

treasure-hunt games at a location. Appx7753-Appx7756 ¶¶ 150-153. So Lamont’s

media clips, which provide “acknowledgement/congratulation and further

direction” after a user finds a hunted for location, but “do not prompt for any

‘expected response’ that is an answer to some ‘puzzle,’” which Facebook uses

Wolfe for. Appx7755 ¶ 152.

      Indeed, Facebook concedes that Lamont’s media clips are just an “audio or

video file that can be played during the tour.” Appx1586. There is simply no place

within those for a user to insert any response, much less the claimed expected

response, which Xerox’s claims require and the Board found Wolfe teaches. Thus,

a skilled artisan would recognize that combining Wolfe with Lamont would create

a seemingly inoperative device, precluding the combination, S.-Tek, 748 F. App’x

at 1007; Appx7755 ¶ 153.




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B.    No reasonable fact finder would agree that a skilled artisan would
      combine Yau with PALLAS to trigger the presentation of the content
      piece.

      Xerox’s claims require presenting the content piece to the first user.

Appx182 (23:34-35, 24:56-57). When to present the content piece is determined by

a trigger condition also included within the content package. Id. (23:22-35, 24:44-

57). It cannot reasonably be discerned whether the Board found that PALLAS

teaches, in response to the trigger condition being satisfied, presenting the content

piece to the first user. Id. (23:34-35, 24:56-57). What can be discerned is that the

Board found that (1) Yau teaches presenting the content piece in response to the

trigger condition being satisfied, and (2) that a skilled artisan would be motivated

to combine Yau with PALLAS. Appx112-Appx118; Appx122; Appx124-

Appx125. Because no reasonable fact finder would agree, the Court should reverse

this finding. Strathclyde, 17 F.4th at 165-66.

      1.     The Board’s finding on whether PALLAS teaches presenting the
             content piece is too unclear to be reasonably discerned, and no
             reasonable fact finder would make such a finding anyway.

      The Board did not say if it found that PALLAS teaches presenting the

content piece in response to a trigger condition being satisfied. X Corp. argued as

much, and the Board summarized that argument. Appx124-Appx125. But

summarizing a party’s arguments is not substantial evidence. Nuvasive, 842 F.3d at

1383. Nor in rejecting Xerox’s arguments for why PALLAS does not teach


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presenting the content piece did the Board point to PALLAS. Rather, it pointed to

Yau as teaching to “output” learning activities. Appx125.

      Such unclear reasoning does not allow the Court to “exercise its duty to

review the [Board’s] decision[.]” Nuvasive, 842 F.3d at 1382; see also id. at 1383

(explaining the Board lacks “a reasoned basis for [its] action” when its reasoning is

so unclear that “the agency’s path may [not] reasonably be discerned”). Thus, the

Court should not hold that PALLAS teaches presenting the content piece for that

reason alone. Id. The Court should also hold the same for the reasons discussed

below. See Argument § III(B)(1)-(2).

      2.     No reasonable fact finder would find that Yau teaches presenting
             the content piece.
      The Board relied on a “sample scenario” in Yau illustrating its “adaption

process” to find that Yau discloses presenting the content piece in response to a

trigger condition being satisfied. Appx113-Appx114. The Board block-quoted the

relevant disclosure:

             Four users are considered in our sample scenario to illustrate
      our adaptation process: John – an active learner, Peter – a reflective
      learner, Sarah – a visual learner and Amy – a verbal learner. The
      activities will be adapted to the different learning styles, where
      appropriate. Some of the activities defined in our system are as
      follows –
             A. Formal assessments
             B. Un-assessed exercises
             C. Pre-lecture notes
             D. Learning from examples
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            E. Review activity
            F. Discussion about work
      It is an hour prior to their lecture. John is commuting on a quiet train
      for an hour; Peter is commuting on a noisy bus also for an hour; Sarah
      is in the library whilst Amy is in the computer lab. They all would like
      to undertake some learning activities based on their current learning
      situation. B has been selected for John as it is considered quiet enough
      for John to concentrate on the quiet train; C has been selected for
      Peter; and A has been selected for Sarah and Amy. In addition, a
      visual version of A has been selected for Sarah whereas a verbal
      version has been selected for Amy.

Appx113-Appx114 (quoting Appx9943-Appx9944).

      According to the Board, this sample scenario “discloses that the presentation

of exercises/tests/quizzes, such as Yau’s formal assessments, are triggered based

on context.” Appx114. That does not explain where in the sample scenario the

Board found formal assessments, etc. were presented to a user in response to a

trigger condition being satisfied. Conclusory reasoning is not enough. Nuvasive,

842 F.3d at 1383.

      Further, the sample scenario expressly teaches that users are the ones

deciding “to undertake some learning activities based on their current learning

situation.” Appx114. The Board attempted to minimize this disclosure by calling it

a mere “general statement.” Appx114. But that characterization does not change

that references must be considered “as a whole” to determine what they teach.

Panduit, 810 F.2d at 1566, 1568; see also In re Wesslau, 353 F.2d 238, 241 (CCPA

1965) (prohibiting “pick[ing] and choos[ing] from any one reference only so much

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of it as will support a given position”). And Dr. Martin explained what Yau teaches

as a whole: “Yau has no discussion of a contextual scenario that causes its CALS

system to emit a recommendation without being prompted by a user.” Appx12659-

Appx12660 ¶¶ 163-166.

      The Board added that the sample scenario “indicates that the presentation of

the learning exercise is prompted by the student’s context, that is, where they are at

a certain time such as Amy being in the computer lab in the hour prior to a

lecture.” Appx114. But who is prompted is what matters under the claims. And the

sample scenario is clear that the answer is the user: “They”—John, Peter, Sarah,

and Amy—“all would like to undertake some learning activities based on their

current learning situation.” Appx9944 (emphases added). The Board cannot ignore

what the reference discloses. See Corning v. Fast Felt Corp., 873 F.3d 896, 903

(Fed. Cir. 2017) (holding findings unsupported by substantial evidence when they

“plainly contradict[] the record”); Pers. Web, 848 F.3d at 993-94 (requiring the

Board to adequately address arguments detracting from its reasoning).

      The Board also pointed to Yau’s disclosure that “[w]hen the context has

been identified and a context pattern is inferred, this information is combined with

the filtered learning activities according to the learner’s preferred learning styles,

and context-aware learning activities are output.” Appx9945; Appx114. But what




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Yau outputs is not the problem. The problem is that Yau does not teach presenting

context-aware learning activities in response to a trigger condition being satisfied.

      Finding that a skilled artisan would understand Yau as teaching those

limitations based solely on the disclosure of context-aware learning activities being

output is not a reasoned basis—it is speculation. And speculation is not substantial

evidence. Nuvasive, 842 F.3d at 1379. Indeed, Dr. Martin explained that “[a]

person of skill in the art would not have understood this discussion to have related

to an automatic triggering of learning activities, but instead to choosing the

activities when requested by a user.” Appx12627 ¶ 100. Yet rather than address Dr.

Martin’s testimony, the Board chose to ignore it. Appx114. It may not do that.

Pers. Web, 848 F.3d at 993-94.

      Simply put, none of the disclosures from Yau that the Board relied upon on

this issue actually teach presenting the content piece in response to a trigger

condition being satisfied. Nor does the mere summarizing of X Corp.’s arguments,

e.g., Appx114-Appx115, provide a reasoned basis either, Nuvasive, 842 F.3d at

1383. Because nothing else in Yau teaches those limitations either, Appx12659-

Appx12660 ¶¶ 163-166, the Court should reverse the Board’s finding that Yau

teaches presenting the content piece, Strathclyde, 17 F.4th at 165-66.




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      3.     No reasonable fact finder would find that a skilled artisan would
             be motivated to combine Yau with PALLAS.

      PALLAS teaches away from presenting the content piece in response to a

trigger condition being satisfied. While PALLAS teaches automatically triggering

alerts, like notifying a user that she is “currently in the vicinity of the French art

exhibit,” Appx9937 & Fig.6, PALLAS does not teach triggering learning activities,

like an exercise, test, or quiz, Appx12648-Appx12649 ¶¶ 143-144. Why? Because

PALLAS teaches that learning systems should be “unobtrusive” as users may only

“have small time slots to engage in learning.” Appx9935; Appx12648-Appx12649

¶¶ 143-144. As Dr. Martin explained, “[m]odifying PALLAS’s design to launch

tests or exercises rather than send notifications would make PALLAS obtrusive, in

opposition to its stated goals.” Appx12649 ¶ 144. Thus, a POSITA would not

modify PALLAS to present the content piece. Id.

      In rejecting Xerox’s argument the Board made Xerox’s point for it.

According to the Board, “learning resources” would be “present[ed]” only when

doing so “is not obtrusive” given the “context[]”—e.g., by “tailoring presentation

of learning content to a user’s context, including ‘location,’ ‘date and time,’ and

‘leisure time,’ by, e.g., only presenting content when the learner has sufficient

‘time’ to engage with it.” Appx117 (quoting Appx10577 ¶ 38). But the Board was

quoting X Corp.’s expert, who was in turn quoting PALLAS, and not Yau. Id.

(quoting Appx10577 ¶ 38). Thus, the Board—which seems to have depended on

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Yau as teaching presenting the content piece, see Argument § III(C)(1)—implicitly

found that (a) PALLAS teaches presenting learning resources unobtrusively, and

(b) that Yau teaches presenting learning resources obtrusively, requiring

modification of Yau to make the systems compatible. That is teaching away, and

would discourage a skilled artisan from making the combination. Tec Air, 192 F.3d

at 1360.

      Nor do the Board’s cherry-picked quotations from Dr. Martin’s testimony

support a motivation to combine. True, Dr. Martin testified that “[a] person of skill

in the art would understand that PALLAS + Yau may send different or improved

notifications than PALLAS alone, as the choice of notification would consider

aspects such as the user’s learning style or schedule.” Appx117 (quoting

Appx12658 ¶ 162) (emphases added by Board). But the key word in that testimony

is neither improved nor schedule, which the Board emphasized, but notification.

Dr. Martin continued: “[T]he different or improved notifications based on

PALLAS combined with Yau would still be notifications and not obtrusive tests,

alerts, quizzes, or other sorts of ‘assessments.’” Appx12658. The Board cannot

mischaracterize the record to support its reasoning. Corning, 873 F.3d at 903. Here

Dr. Martin distinguished notifications from tests, alerts, quizzes, or other sorts of

assessments. Thus, Dr. Martin does not “concur[] that the combination allows

recognition of a user’s schedule,” Appx117, in presenting the content piece.


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        The Board also had to do more than just reject Xerox’s arguments to find a

motivation to combine. See In re Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364,

1378 (Fed. Cir. 2016) (holding that finding a motivation to combine based solely

on rejecting patent owner’s arguments constitutes “improper shifting of the

burden” on patentability). The Board credited X Corp.’s expert that a PALLAS-

Yau combination “offers advantages that would have motivated a person of

ordinary skill in the art to use PALLAS’s context-trigger-based content display

with Yau’s teachings of displaying assessments/questions based on context pattern

triggers.” Appx116. What are those advantages? According to the Board, only one:

“optimization for quiz taking.” Id.

        Nothing in the prior art supports that idea. Prior-art support is required for

showing a purported improvement would have motivated a skilled artisan to make

a combination. Volvo, 81 F.4th at 1209. “[C]onclusory expert testimony” is not

enough. Id. Here the Board pointed to both X Corp.’s petition and expert’s

testimony to support that Yau improves quiz taking. Appx116 (citing Appx2155;

Appx9461-Appx9462 ¶ 179). Yet X Corp. and its expert offered merely

unsupported, conclusory assertions that Yau improves quiz taking. Appx2155;

Appx9461-Appx9462 ¶ 179. That is not the kind of record evidence, grounded in

the prior art, that is required to support a motivation to combine. Volvo, 81 F.4th at

1209.


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      Nor did Dr. Martin’s testimony support a motivation to combine. Dr. Martin

testified to the unremarkable proposition that “[a] person of ordinary skill in the art

combining PALLAS with Yau would see that Yau allows for a more informed

decision as to what to recommend to a user than PALLAS alone.” Appx12658

(emphasis added). The Board failed to explain how improving recommendations

supports a motivation to combine Yau with PALLAS to improve quiz taking, let

alone by enabling its trigger-based presentation to users. Appx116. Thus

substantial evidence does not support that finding. See Volvo, 81 F.4th at 1215

(“The Board fails to provide any explanation for that conclusion.”).


                                  CONCLUSION

      For these reasons, the final written decision should be reversed or vacated

and remanded for further proceedings.




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                           Respectfully submitted,

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           ADDENDUM
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   XEROX CORPORATION V. SNAP INC., FACEBOOK, INC., X CORP.
                            No. 23-1983, 23-1985, 23-1988, 23-2028

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Trials@uspto.gov                                                    Paper: 54
571-272-7822                                           Entered: March 24, 2023



            UNITED STATES PATENT AND TRADEMARK OFFICE
                            ____________

             BEFORE THE PATENT TRIAL AND APPEAL BOARD
                            ____________

                                 SNAP INC.,
                                  Petitioner,

                                      v.

                    PALO ALTO RESEARCH CENTER LLC,
                              Patent Owner.
                              ____________

                               IPR2021-00987
                              Patent 8,489,599 B2
                                ____________

                                ____________

                              FACEBOOK, INC.,
                                 Petitioner,
                                      v.
                    PALO ALTO RESEARCH CENTER LLC,
                              Patent Owner.
                              ____________

                               IPR2021-01294
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                                ____________




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                           ____________

                         TWITTER, INC.,
                           Petitioner,

                                 v.

              PALO ALTO RESEARCH CENTER LLC,
                        Patent Owner.
                           ____________

                         IPR2021-01458
                        Patent 8,489,599 B2
                          ____________


Before KARL D. EASTHOM, SHEILA F. McSHANE, and
CHRISTOPHER L. OGDEN, Administrative Patent Judges.

McSHANE, Administrative Patent Judge.


                             JUDGMENT
                        Final Written Decision
           Determining All Challenged Claims Unpatentable
               Denying Patent Owner’s Motions to Amend
   Consolidating IPR2021-00987, IPR2021-01294, and IPR2021-01458
      35 U.S.C. §§ 315(d), 318(a); 37 C.F.R. §§ 42.121, 42.122(a)




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                              Appx2
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                              I. BACKGROUND

      We have jurisdiction to hear these inter partes reviews under
35 U.S.C. § 6. This Final Written Decision is issued pursuant to 35 U.S.C.
§ 318(a). As discussed in more detail below, this Final Written Decision
addresses challenges to U.S. Patent No. 8,489,599 B2 (Ex. 1001, “the ’599
patent”) raised in three different proceedings: Snap Inc. v. Palo Alto
Research Center LLC 1, IPR2021-00987 (“Snap IPR” or “987 IPR”);
Facebook, Inc. v. Palo Alto Research Center LLC, IPR2021-01294
(“Facebook IPR” or “1294 IPR”), and Twitter, Inc. v. Palo Alto Research
Center LLC, IPR2021-01458 (“Twitter IPR” or “1458 IPR”).
      On November 23, 2021, we instituted trial in the Snap IPR, in which
Snap Inc. (“Snap”) challenges claims 1–25 of the ’599 patent, assigned to
Patent Owner, Palo Alto Research Center LLC (“Patent Owner” or
“PARC”). See Snap IPR, Papers 1, 13. Approximately two months later, on
January 25, 2022, we instituted trial in the Facebook IPR in which
Facebook, Inc. (“Facebook”) challenges claims 1, 4, 6, 7, 9–12, 15, 17–19,
22, 24, and 25 of the ’599 patent. See Facebook IPR, Papers 2, 13.
Approximately three months later, on April 6, 2022, we instituted trial in the
Twitter IPR in which Twitter, Inc. (“Twitter”) challenges claims 1, 4, 6, 7,
9–12, 15, 17, and 18 of the ’599 patent, and consolidated the 1458 IPR with
IPR2021-01459 (“1459 IPR”), which challenges claims 19, 22, 24, and 25 of
the ’599 patent. 2 See Twitter IPR, Papers 3, 11, 12, 14. In each case, the
different petitioners use different prior art as the basis for the invalidity

1
  Palo Alto Research Center LLC is formerly Palo Alto Research Center Inc.
Snap IPR, Paper 48.
2
  The 1459 IPR was terminated upon consolidation with the 1458 IPR.
Twitter IPR, Paper 12.

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challenges to the ’599 patent claims in the respective petitions. 987 IPR,
Paper 1, 2; 1294 IPR, Paper 2, 3; 1458 IPR, Paper 3, 12; 1459 IPR, Paper 3.
      On February 25, 2022, in the Snap IPR, Patent Owner filed a
Contingent Motion to Amend to substitute claims 26–40 to replace original
claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24, and 25 of the ’599 patent. Snap
IPR, Paper 22. Patent Owner filed similar Contingent Motions to Amend in
the Facebook and Twitter IPRs that seek to substitute the same proposed
substitute claims as those proposed in this case. That is, on April 15, 2022,
in the Facebook IPR, Patent Owner filed a Contingent Motion to Amend to
substitute claims 26–40 to replace claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24,
and 25 of the ’599 patent. Facebook IPR, Paper 20. On July 7, 2022, in the
Twitter IPR, Patent Owner filed a Contingent Motion to Amend to substitute
claims 26–40 to replace claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24, and 25 of
the ’599 patent. Twitter IPR, Paper 24. The proposed substitute claims in
each of the cases are identical. See Snap IPR, Paper 22; Facebook IPR,
Paper 20; Twitter IPR, Paper 24.
      The Chief Administrative Patent Judge determined that good cause
existed to extend the one-year period for issuing a Final Written Decision in
the Snap and Facebook IPRs. See Snap IPR, Paper 47; Facebook IPR, Paper
40.
       II. CONSOLIDATION OF IPR2021-00987, IPR2021-01294,
                      AND IPR2021-01458

      “Where another matter involving the patent is before the Office, the
Board may during the pendency of the inter partes review enter any
appropriate order regarding the additional matter including providing for the
stay, transfer, consolidation, or termination of any such matter.” 37 C.F.R.
§ 42.122(a) (2019) (emphasis added); see also 35 U.S.C. § 315(d). Under

                                      4
                                     Appx4
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this Rule, the Board has the authority to consolidate proceedings, even
absent a motion from the parties. See id.
      As discussed supra Section I, the respective petitioners challenge
many of the same claims of the ’599 patent, including all of the patent’s
independent claims, in each of the respective cases. Additionally, Patent
Owner’s Contingent Motions to Amend seek to substitute the same proposed
substitute claims for the same original claims of the ’599 patent.
      In view of the same proposed substitute claims being at issue in all the
cases, we find that good cause exists for the consolidation of 987, 1294, and
1458 IPRs. Consolidation of the cases allows the Board to more efficiently
and consistently address issues in a consolidated Final Written Decision.
Thus, we order the consolidation of the 987, 1294, and 1458 IPRs.
      Petitioners should continue to file any future papers in each of
Petitioner’s respective IPR. The respective Petitioner’s challenges to the
original claims remain specific to the Petitioner bringing the challenge.
      Accordingly, we address the petitioners’ respective challenges to the
original claims separately and, in view of the overlap of issues, we will
address Patent Owner’s Contingent Motions to Amend in a combined
manner.
 III. SNAP’S CHALLENGES TO CLAIMS 1–25 OF THE ’599 PATENT
      A. Procedural Background
      Snap filed a Petition for inter partes review of claims 1–25 of the
’599 patent, along with the Declaration of Steve Smoot. Snap IPR, Paper 1
(“Snap Pet.”); Snap IPR, Ex. 1002. Patent Owner filed a Preliminary
Response. Snap IPR, Paper 11 (“Snap Prelim. Resp.”). Pursuant to




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                                     Appx5
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35 U.S.C. § 314(a), on November 23, 2021, we instituted inter partes review
on the following grounds:
           Claim(s)
                              35 U.S.C §          Reference(s)/Basis
         Challenged
    1, 2, 4–7, 10–13, 17–
                          102(e) 3              Rosenberg4
    20, 22–25
    4, 5, 15, 16, 19, 20,
                          103(a)                Rosenberg
    22–25
    3, 8, 9, 14, 21       103(a)                Rosenberg, Suzuki5
Snap Pet. 2; Snap IPR, Paper 13 (“Snap Inst. Dec.” or “Snap Dec.”).
        Patent Owner filed a Patent Owner Response (“Snap PO Resp.”).
Snap IPR, Paper 28. Patent Owner also filed a Declaration of David Martin,
Ph.D., with the Response to support its positions. Snap IPR, Ex. 2003.
Petitioner filed a Reply (“Snap Pet. Reply”) to the Patent Owner Response,
along with the Declaration of Kevin Almeroth, Ph.D. Snap IPR, Paper 25;
Ex. 1022. Patent Owner filed a Sur-reply to Petitioner’s Reply (“Snap PO
Sur-reply”). Snap IPR, Paper 34.
        An oral hearing was held on August 24, 2022. A transcript of the
hearing is included in the record. Snap IPR, Paper 44 (“Snap Tr.”).




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  The Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125 Stat. 284
(2011) (“AIA”), amended 35 U.S.C. § 103, and was effective on March 16,
2013. Because the ’599 patent has a filing date before the effective date of
the applicable AIA amendments, we refer to the pre-AIA versions of
35 U.S.C. §§ 102 and 103.
4
  US 7,577,522 B2, filed June 28, 2006, issued August 18, 2009 (Snap IPR,
Ex. 1005, “Rosenberg”).
5
  US 6,680,675 B1, filed June 21, 2000, issued January 20, 2004 (Snap IPR,
Ex. 1006, “Suzuki”).

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      B. Related Matters
      The parties indicate this Petition is related to the district court
litigations, Palo Alto Research Center Inc. v. Snap Inc., No. 2:20-CV-
10755-AB-MRW (C.D. Cal.), Palo Alto Research Center Inc. v. Twitter,
Inc., No. 2:20-CV-10754-AB-MRW (C.D. Cal.) and Palo Alto Research
Center Inc. v. Facebook, Inc., No. 2:20-CV-10753-AB-MRW (C.D. Cal.).
Snap Pet. 1; Snap IPR, Paper 4, 2–3.
      As discussed above, claims of the ’599 patent are also challenged in
the Facebook and Twitter IPRs.

      C. The ’599 Patent
      The ’599 patent is titled “Context And Activity-Driven Content
Delivery And Interaction” and issued on July 16, 2013, from an application
filed on December 2, 2008. Snap IPR, Ex. 1001, codes (22), (45), (54).
      The ’599 patent is directed to “a computing device that delivers
personally-defined context-based content to a user.” Snap IPR, Ex. 1001,
code (57). The ’599 patent states that
            [t]his computing device receives a set of contextual
            information with respect to the user, and processes
            the contextual information to determine whether
            some aspect of the current context can be associated
            with a probable activity being performed by the
            user. The computing device then determines
            whether either or both the context and current
            activity of the user satisfy a trigger condition which
            has been previously defined by the user. If so, the
            computing device selects content from a content
            database, based on the context or activity, to present
            to the user, and presents the selected content.




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                                      Appx7
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Snap IPR, Ex. 1001, 1:52–62. Figure 1, reproduced below, illustrates a
content management system in accordance with the invention. Id. at 2:54–
55.




As depicted in Figure 1, above, content management system 100 presents
content 112 to a user. Snap IPR, Ex. 1001, 5:18–19. Content 112 can be
presented in response to actions being performed by the user, or in
accordance with other information associated with the user. Id. at 5:18–21.
Content management system 100 allows a user to create and store content,
and associate the content with a given user-defined context. Id. at 5:21–23.
For instance, content management system 100 can remind a user to buy
groceries as the user is driving past a grocery store after work or can read
specific items on a grocery list to a user when walking across a specific
grocery store aisle. Id. at 5:28–32. Input mechanism 102 receives user
input 101, content manager 104 controls how content 112 is stored in
content database 106 and how it is selected for playback, and content
delivery mechanism 108 controls how content 112 is presented to a user. Id.
at 5:36–57.



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                                      Appx8
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      D. Illustrative Claim
      Snap challenges claims 1–25 of the ’599 patent. Claims 1, 12, and 19
are the only independent claims, and claim 1, which is illustrative, is
reproduced below, with bracketed letters added to the limitations for
reference purposes.
             1. [a] A method for delivering context-based content to a first
      user, the method comprising:
             [b] receiving at least one content package, wherein the content
             package includes at least one content piece and a set of rules
             associated with the content package, wherein the set of rules
             includes a trigger condition and an expected response, and
             wherein the trigger condition specifies a context that triggers a
             presentation of the content piece;
             [c] receiving a set of contextual information with respect to the
             first user;
             [d] processing the contextual information to determine a current
             context for the first user;
             [e] determining whether the current context satisfies the trigger
             condition;
             [f] in response to the trigger condition being satisfied,
             presenting the content piece to the first user;
             [g] receiving a response from the first user corresponding to the
             presented content piece;
             [h] determining whether the received response matches the
             expected response; and
             [i] performing an action based on an outcome of the
             determination.
Snap IPR, Ex. 1001, 23:20–41.




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      E. Analysis
             1. The Parties’ Arguments
      In our Decision on Institution, we concluded that the arguments and
evidence advanced by Snap demonstrated a reasonable likelihood that claims
1–25 of the ’599 patent would have been unpatentable as anticipated under
35 U.S.C. § 102 or rendered obvious under 35 U.S.C. § 103. Snap Inst. Dec.
9–24. Here, we determine whether Snap has established by a preponderance
of the evidence that the challenged claims are anticipated or obvious.
35 U.S.C. § 316(e). We previously instructed Patent Owner that “Patent
Owner is cautioned that any arguments not raised in the response may be
deemed waived.” Snap IPR, Paper 14, 9; see also 37 C.F.R. § 42.23(a)
(“Any material fact not specifically denied may be considered admitted.”);
In re NuVasive, Inc., 842 F.3d 1376, 1379–82 (Fed. Cir. 2016) (holding
patent owner waived an argument addressed in the preliminary response by
not raising the same argument in the patent owner response). Additionally,
the Board’s Trial Practice Guide states that the patent owner response
“should identify all the involved claims that are believed to be patentable
and state the basis for that belief.” Consolidated Trial Practice Guide, 66
(November, 2019).6
      On the record before us, we note that we have reviewed arguments
and evidence advanced by Snap to support its unpatentability contentions,
whereas Patent Owner chose not to address certain limitations in its Patent
Owner Response. In this regard, the record contains persuasive arguments
and evidence presented by Snap regarding the manner in which the prior art


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  Available at https://www.uspto.gov/sites/default/files/documents/
tpgnov.pdf.

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                                    Appx10
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discloses or teaches the corresponding limitations of claims 1–25 of the ’599
patent, as well as a rationale to combine the prior art references.
             2. Level of Ordinary Skill in the Art
      Snap proposes that a person of ordinary skill in the art at the time of
the ’599 patent would have possessed “an undergraduate degree in electrical
engineering, computer engineering, computer science or a related field along
with at least two years of work experience in the field of content
presentation and context-based systems/processes.” Snap Pet. 3 (citing Snap
IPR, Ex. 1002 ¶¶ 30–32); Snap IPR, Ex. 1022 ¶ 32. Snap further asserts that
additional “education can supplement practical experience and vice versa.”
Id. In the Decision on Institution, we determined that Snap’s proposed
description of the qualifications of a person of ordinary skill in the art
aligned with the technology and claims of the ’599 patent. Snap Inst. Dec.
6–7. For this proceeding, Patent Owner and Dr. Martin apply this level of
skill in the art. Snap PO Resp. 11–12; Snap IPR, Ex. 2003 ¶¶ 48–50.
Accordingly, for the reasons given in the Decision on Institution, we adopt
Snap’s proposed level of ordinary skill in the art. Snap Inst. Dec. 6–7.
      Patent Owner asserted that “it is unclear if Petitioner’s [Snap’s] expert
. . . is a person of ordinary skill in the art.” Snap PO Resp. 12. We note that
this comment was directed to Snap’s expert, Mr. Smoot (see Snap IPR,
Ex. 1002). Snap also relies upon the Declaration provided by Dr. Almeroth,
who reviewed the Declaration of Mr. Smoot and agreed with Mr. Smoot’s
assertions and opinions. Snap IPR, Ex. 1022. Patent Owner presents no
arguments relating to the qualifications of Dr. Almeroth as a person of
ordinary skill in the art. See generally Snap PO Sur-reply.




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                                      Appx11
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             3. Claim Construction
      In this inter partes review, claims are construed using the same claim
construction standard that would be used to construe the claims in a civil
action under 35 U.S.C. § 282(b). 37 C.F.R. § 42.100(b) (2021). Under the
principles set forth by our reviewing court, the “words of a claim ‘are
generally given their ordinary and customary meaning,’” as would be
understood by a person of ordinary skill in the art in question at the time of
the invention. Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005)
(en banc) (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582
(Fed. Cir. 1996)). “In determining the meaning of the disputed claim
limitation, we look principally to the intrinsic evidence of record, examining
the claim language itself, the written description, and the prosecution
history, if in evidence.” DePuy Spine, Inc. v. Medtronic Sofamor Danek,
Inc., 469 F.3d 1005, 1014 (Fed. Cir. 2006) (citing Phillips, 415 F.3d at
1312–17).
      Patent Owner asserts that the limitation “determining whether the
received response matches the expected response,” recited in independent
claims 1, 12, and 19, requires the possibility of expected and unexpected
responses in view of the claim terms, Specification, and prosecution history.
Snap PO Resp. 13–26. More specifically, Patent Owner asserts that “each
independent claim requires an ability to determine whether a received
response is an expected response (e.g., correct or desired) or an unexpected
response (e.g., incorrect or undesired).” Id. at 13. Patent Owner argues that
the Board’s determination in the Decision on Institution that “there is no




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recited limitation requiring that there be a determination made for an
unexpected response” is in error. Id. at 14 (citing Snap Inst. Dec. 18).
      Patent Owner relies on the claim language itself and, more
specifically, the language in limitations 1[b] and 1[g]–1[i], stating that these
recitations mean that “a content package must include content and a set of
rules, and the set of rules must include at least one expected response related
to the content,” and “requires receiving a response to presented content,
determining [] that [the] response matches at least one expected response,
and then performing some action based on the determination.” Snap PO
Resp. 16. Patent Owner argues that “[f]or the determination limitation to
have any meaning, both expected and unexpected user responses to
presented content must be possible. There would be no need for the
determination limitation if no unexpected responses were possible; the claim
would simply require performing an action associated with the received (and
expected) response.” Id. Patent Owner cites to cases law in support of its
assertion that interpretation of terms that render parts of claims superfluous
is disfavored. Id. at 16–17 (citing e.g., Merck & Co., Inc. v. Teva Pharm.
USA, Inc., 395 F.3d 1364, 1375 (Fed. Cir. 2005)). Patent Owner further
contends that the claim language dictates that the determining step “requires
the possibility of an unexpected (e.g., incorrect or undesired) response being
received—to give meaning to the ‘determin[e/ing] whether’ language.” Id.
at 17 (citing Snap IPR, Ex. 2003 ¶¶ 72–78). Dr. Martin testifies that “the
system must determine whether the received response matches the expected
response, or as the alternative demanded by the ‘determining whether’
clause, that the received response is unexpected.” Snap IPR, Ex. 2003 ¶ 75.
      Patent Owner asserts that the Specification of the ’599 patent requires
the possibility of expected and unexpected responses. Snap IPR, PO Resp.

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17–20. Patent Owner refers to Tables 1 and 2 of the Specification in support
of the contention that there are actions specified “when a user response is
expected or correct” or “when a user response is unexpected or incorrect.”
Id. at 18–19 (citing Snap IPR, Ex. 1001, 13:1–7, Tables 1, 2).
      Patent Owner additionally refers to the prosecution file history of the
’599 patent. Snap PO Resp. 21–26. Patent Owner contends that the original
claims do not refer to expected responses, determining if responses matched
expected responses, or performing actions based on that determination. Id.
at 21 (citing Snap IPR, Ex. 1004, 56–64). After continued prosecution,
including further amendments, a May 23, 2012, amendment was submitted
that included limitations directed to determining if responses matched
expected responses, or performing actions based on that determination,
which are the same as those in the issued ’599 patent. Id. at 22–24 (citing
Snap IPR, Ex. 1004, 348–362). Patent Owner refers to an agenda for
applicant’s May 9, 2012, interview with the examiner that states:
      the system receives a response from the user corresponding to
      the presented content, determines whether the response matches
      the pre-defined expected response, and performs an action based
      on the outcome of the determination (see instant application,
      pars. [0062]- [0064]). For example, if the user fails to mimic the
      played audio signal correctly, the system replays the audio file
      for the user (see instant application, par. [0056]).
Snap IPR, Ex. 1004, 346 (quoted Snap PO Resp. 24–25). Patent Owner
contends that because the “applicant specifically called out handling
unexpected responses (failure to mimic an audio signal) when discussing the
relevance of the determination limitation,” a person of skill in the art would
have understood this to require the possibility of both expected and




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unexpected responses. Snap PO Resp. 25 (citing Snap IPR, Ex. 2003 ¶¶ 87–
90).
       We do not agree with Patent Owner’s assertion that the claim
language requires an ability to determine whether a received response is an
expected response or an unexpected response. Limitation 1[h] does not
recite this restriction, nor is the limitation required to give meaning to the
claim. Patent Owner’s view is inconsistent with limitation 1[b], which
recites that the content package with a set of rules includes “an expected
response,” with no mention that an unexpected response as part of the
content package. Patent Owner’s expert, Dr. Martin, testifies that the plain
meaning of the claim language requires that there be a determination that a
received response matches an expected response, which “requires the system
being able to determine whether the received response does not match the
expected response.” Snap IPR, Ex. 1021, 31:19–32:2. We agree that the
claim requires making a determination, but this determination is only as to
“the expected response.” Patent Owner asserts that the claim also requires
determining whether a received response matches an unexpected response—
but that is not recited or implied by the claim language itself. See Snap PO
Resp.16–17; Snap IPR, Ex. 2003 ¶ 75. In sum, the claim language requires
determining whether there is a match of a received response with the
expected response; however, the claim does not require determining whether
there is a match of a received response with an unexpected response.
       Turning to the Specification, Table 1 of the ’599 patent is instructive
and is reproduced below.




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Snap IPR, Ex. 1001, 10:57–11:9. The ’599 patent explains that Table 1,
above, presents an exemplary set of rules that correspond to a number of
audio clips in Japanese for practicing pronunciations of a number of words.
Id. at 11:11–15. The time column allows a user to specify a time of day
when content can be presented, the location column to specify a location for
where content can be presented, and the state column to specify an action
that the user can be performing when content is presented. Id. at 11:15–21.
As an example, a user learning Japanese can program the content
management system 240 to play “good morning” in Japanese when the user
is moving around the bedroom before 10 AM, and to play “goodnight” in




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Japanese when the user is entering or moving around the bedroom after
9 PM. Of note, the ’599 patent explains that
      [t]he response column allows a user to specify an expected
      response to the presentation of content 253. The action correct
      column allows a user to specify actions that content management
      system 240 can perform if the user provides a correct response.
      The action incorrect column allows a user to specify actions that
      content management system 240 can perform if the user does not
      provide a correct response (Ex. 1001, 11:27–33 (emphasis
      added)).
      An action correct column entry can obtain a value that specifies
      an action to be performed by content management system 240 in
      the event that the user provides an expected response.
      Furthermore, an action incorrect column entry can obtain a value
      that specifies an action to be performed by content management
      system 240 on the occasion that the user does not provide an
      expected response. (id. at 13:1–7 (emphasis added)).

      These descriptions are consistent with the language of limitations 1[b]
and 1[h] as recited, and as discussed above. We further note that the
Specification only discloses determining whether a received response is
expected — and the received response may or may not be the expected
response. See Snap IPR, Ex. 1001, 11:27–33; 12:50–13:10; 13:67–14:11.
Patent Owner does not identify in the Specification, nor do we discern, any
disclosure of determining whether a received response is an “unexpected
response.” See generally Snap PO Resp.; Snap PO Sur-Reply.
      As Dr. Almeroth testifies, “a person of ordinary skill in the art would
have understood that the ‘action correct column entry’ specifies an action to
be performed when the user’s response matches the expected response,
whereas the ‘action incorrect column entry’ specifies an action to be
performed when the user’s response does not match the expected response,
consistent with the plain language of the claims.” Snap IPR, Ex. 1022 ¶ 54.

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Dr. Martin also provides consistent testimony on this issue. Snap IPR,
Ex. 2003 ¶¶ 81–82. Put simply, the Specification’s disclosure is that the set
of rules for multiple content packages includes an expected response, and
actions are then performed based on whether an expected response is or is
not provided. Moreover, as Dr. Almeroth testifies, neither the claims nor the
Specification use the term “unexpected response”—rather the Specification
only identifies an “expected response.” Snap IPR, Ex. 1022 ¶ 42.
Accordingly, the disclosures in Table 1 and the Specification support Dr.
Almeroth’s testimony that a person of ordinary skill would have understood
that “the claimed ‘determin[e/ing]’ limitation requires what it plainly recites:
‘determin[e/ing] whether the received response matches the expected
response[]’. . . . [i]t does not require an unexpected response not known to
the system.” Snap IPR, Ex. 1022 ¶ 51.
      Although Patent Owner asserts that there is support in the
Specification for its interpretation of the “determining” limitation, we are not
persuaded. More specifically, Patent Owner contends that Tables 1 and 2 of
the Specification “show actions to be taken when a user response is
correct/expected and incorrect/unexpected.” Snap PO Resp. 18–19. Dr.
Martin testifies Table 2 presents an example “where an expected response of
‘OK’ is considered correct and other responses are unexpected and
considered incorrect.” Snap IPR, Ex. 2003 ¶ 83. We do not agree with
Patent Owner’s contentions on this issue because they are premised on the
characterization of the claimed “received response” as either “expected
response” or “unexpected” which is “considered incorrect.” This is not what
is claimed—instead, as discussed above, the “received response” is checked




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to determine if it matches the “expected response,” and an action is
performed based upon that determination.
      Patent Owner also asserts that “[f]or the determination limitation to
have any meaning, both expected and unexpected user responses to
presented content must be possible,” otherwise, “[t]here would be no need
for the determination limitation if no unexpected responses were possible.”
Snap PO Resp. 16. In opposition, Snap contends that the claim recites
receiving “at least one content package” which “includes at least one content
piece and a set of rules associated with the content package, wherein the set
of rules includes . . . an expected response.” See Snap Pet. Reply 4. Dr.
Almeroth testifies that, according to the claim language, there are “a
plurality of ‘expected response[s]’ – one expected response for each content
package, where multiple content packages are possible.” Snap IPR,
Ex. 1022 ¶ 48. Dr. Almeroth further testifies that the claim language
explains that the determining limitation requires a determination as to
“whether ‘the received response matches the expected response’ included in
the set of rules associated with a particular content package, and not whether
the received response matches any of a plurality of expected responses.” Id.
In further support, Dr. Almeroth testifies, and we agree, that in view of
Table 1 and the Specification an expected response of mimicking the content
presented (e.g., “good morning” or “good night” in Japanese) is specific to
the context, so that a received response could match the expected response
for one content piece, but nonetheless would not match the expected
response for different content presented to the user (e.g., mimicking “good
morning” in Japanese in response to being presented “good night” in
Japanese). Id. ¶ 50 (citing Snap IPR, Ex. 1001, 11:11–41, Table 1). Snap
then asserts, and we agree, that “unexpected responses” are not required to

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give meaning to the limitation because an expected response associated with
a different content package does not necessarily match the expected
response associated with another content package and the presented content
piece. Snap Pet. Reply 5; Snap IPR, Ex. 1022 ¶¶ 49–50.
      In response to Snap’s assertions on this issue, Patent Owner argues
that Snap’s view that there is only one expected response allowed per
content package is incorrect under a proper reading of the claim language,
the ’599 patent Specification, and Dr. Martin’s testimony that there is more
than one way to mimic a phrase. Snap PO Sur-reply 7–11. But this does not
address Snap’s assertion that these can be more than one content package
which has rules which include an expected response. This situation is
reflected in Table 1, wherein, as Dr. Almeroth testifies, “a content piece of a
content package is presented to a user (e.g., Table 1 JPGoodnight.mp3), and
the system determines whether a received response to that presented content
piece . . matches an expected response for the presented content piece (e.g.,
Table 1 ‘Mimic’ Goodnight in Japanese), even when the received response
could be a response that is known to the system for another content piece in
another set of rules of a content package.” Snap IPR, Ex. 1022 ¶ 52. This
evidence supports that there may be a different “expected response” for
different content packages with different rules, triggers, and a presented
content piece, where an “expected response” for different content would be
determined not to match the expected response for content presented to a
user. Whether there may be multiple “expected responses,” as Patent Owner
contends, does not undermine Snap’s demonstration that there can be
different expected responses for different contents which requires the




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determination of a match of the received response with the expected
response for the content piece presented to a user.
      Patent Owner additionally argues that the prosecution history supports
the inclusion of “unexpected response” into the claim. We do not agree.
During prosecution of the ’599 patent, the independent claims were amended
to add “determining whether the received message matches the expected
response.” Snap IPR, Ex. 1004, 348–362. The amendments are directed to
a limitation of matching the “expected response” — there is no mention or
suggestion of an “unexpected response” that is considered or determined.
Patent Owner also refers to applicant’s statement that “the system receives a
response from the user corresponding to the presented content, [and]
determines whether the response matches the defined expected response,”
and then “if the user fails to mimic the played audio signal correctly, the
system replays the audio file for the user.” Snap IPR, Ex. 1004, 346. This
statement does not mention any consideration or determination of an
unexpected response, but rather only identifies an action taken based only on
a determination of whether there is a match of the received response and the
expected response. See id. (“the system receives a response from the user
corresponding to the presented content, determines whether the response
matches the predefined expected response, and performs an action based on
the outcome of the determination.”).
      In view of the evidence and arguments as discussed above, Patent
Owner’s assertions that “unexpected response” should be included in the
clam term amounts to impermissibly attempting to write a limitation into the
claim. Accordingly, we decline to adopt Patent Owner’s proposed
interpretation of the “determin[e/ing ] whether the received response



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matches the expected response ” to require the possibility of expected and
unexpected response and instead adopt the plain meaning of the claim term.
      We determine that we need not expressly construe any other claim
terms to resolve the parties’ disputes on the current record. See Nidec Motor
Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed.
Cir. 2017) (“[W]e need only construe terms ‘that are in controversy, and
only to the extent necessary to resolve the controversy.’” (quoting Vivid
Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999))).

             4. Principles of Law
      A claim is unpatentable under 35 U.S.C. § 102 if a prior art reference
discloses each and every limitation of the claimed invention, either explicitly
or inherently. Glaxo Inc. v. Novopharm Ltd., 52 F.3d 1043, 1047 (Fed. Cir.
1995); see MEHL/Biophile Int’l Corp. v. Milgraum, 192 F.3d 1362, 1365
(Fed. Cir. 1999) (“To anticipate, a claim a prior art reference must disclose
every limitation of the claimed invention;” any limitation not explicitly
taught must be inherently taught and would be so understood by a person
experienced in the field); In re Baxter Travenol Labs., 952 F.2d 388, 390
(Fed. Cir. 1991) (the dispositive question is “whether one skilled in the art
would reasonably understand or infer” that a reference teaches or discloses
all of the limitations of the claimed invention).
      A patent claim is unpatentable under 35 U.S.C. § 103 if the
differences between the claimed subject matter and the prior art are “such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying


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factual determinations including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of ordinary skill in the art; and (4) when in evidence, objective
indicia of obviousness or nonobviousness. 7 Graham v. John Deere Co., 383
U.S. 1, 17–18 (1966).

             5. Asserted Anticipation of Claims 1, 2, 4–7, 10–13, 17–20,
             and 22–25 by Rosenberg
      Snap contends that claims 1, 2, 4–7, 10–13, 17–20, and 22–25 are
unpatentable under 35 U.S.C. § 102 as anticipated by Rosenberg. Pet. 5–50.
Patent Owner argues that Rosenberg does not teach all the limitations of
claim 1. Snap PO Resp. 26–30.
      We begin our discussion with summary of Rosenberg, and then
address the evidence and arguments presented.

                    a. Rosenberg (Snap IPR, Ex. 1005)
      Rosenberg is directed to a system and method for users to create
spatially associated personal reminders. Snap IPR, Ex. 1005, code (57).
Rosenberg discloses providing a location-based personal reminder system
with features, such as triggering a reminder upon the user entering or exiting
a specific area associated with that reminder (id. at 2:4–12, 2:18–22) or
providing users with options to choose when a spatially-associated reminder
is triggered (id. at 2:32–49).
      In Rosenberg’s system, users may create personal digital reminders
that include “information such as text, audio, images, graphics, and/or video,
that describes or otherwise indicates one or more pending tasks that the user

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 The parties present no evidence relating to objective indicia of
nonobviousness.

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intends to perform in the future.” Snap IPR, Ex. 1005, 5:16–20. The
personal digital reminders include “a relational association to one or more
physical areas in the real physical world” called “trigger areas” (id. at 5:41–
50), and can also include other “parameters such as flags and variables that
describe how and when the reminder should be triggered as well as the
current status of the reminder” (id. at 5:62–65). In Rosenberg, a user can
author a personal digital reminder either on a portable computing device,
which is any mobile computing device that may be carried about or on
another device, such as a personal computer, and a portable computing
device can download the reminder. Id. at 8:4–11, 9:5–19. An example
portable computing device, with personal digital reminders displayed, is
depicted in Figure 3, reproduced below.




As shown in Figure 3, above, portable computing device 111 includes user
interface 103, with display 101 and user input devices 105. Snap IPR,
Ex. 1005, 15:18–20. The portable computing device 111 also includes a


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“locative sensor,” such as a GPS transducer, that provides locative sensor
data that indicates the current physical location of portable computing
device 111 within the physical world. Id. at 8:29–40. The reminder
circuitry of portable computing device 111 reads locative sensor data,
accesses a reminder database, and determines whether the user is entering or
exiting a trigger area associated with any active personal digital reminders.
Id. at 13:50–54, 21:38–50, 21:47–22:2. Rosenberg discloses that the
determination on whether a user is entering a trigger area may be made by
comparing the boundary of the trigger area with the user’s current and prior
location (id. at 21:57–67), or by an enhanced method where a different
boundary can be used for entry that is different from the exit boundary of a
trigger area (id. at 7:47–59). If a trigger event occurs, the portable
computing device display will show the associated reminder to the user. Id.
at 8:19–23.
      Rosenberg discloses that personal digital reminders may be presented
alongside “reminder option[s],” which are response options presented to a
user with the reminder. Snap IPR, Ex. 1005, 6:65–7:28. Figure 5 of
Rosenberg, reproduced below, illustrates a portable computing device with
reminders and reminder options displayed.




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As depicted in Figure 5, above, portable computing device 111 may display
various reminder options, including a “terminate reminder option,” a “defer
reminder option,” a “last chance reminder option,” and an “edit reminder
option.” Snap IPR, Ex. 1005, 17:58–18:28, 19:24–21:27.

                   b. Discussion
                          i. Claim 1
      Snap’s Petition asserts that Rosenberg discloses all the limitations of
claim 1. Snap Pet. 5–17. Below we consider the claim 1 limitations in turn.
                          (1) Preamble 1[a] and Limitation 1[b]
      Snap asserts that Rosenberg discloses a method for delivering context-
based content to a first user because Rosenberg discloses a method for
delivering personal digital reminders to a user based on a user satisfying a
location-based trigger event. Snap Pet. 5 (citing Snap IPR, Ex. 1005,
code (57), 2:59–3:32, 4:45–6:4; Ex. 1002 ¶¶ 51–56). Snap contends that in
the ’599 patent “content” includes digital reminders, similar to those

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described in Rosenberg, and “context” includes “user activity” informed by
“contextual information,” such as location. Id. (citing Snap IPR, Ex. 1001,
3:60–64, 5:63–65, 20:30–34, 2:47–50, 8:45–46, 13:25–28, 13:59–14:16,
4:7–11, 6:23–39). Snap argues that Rosenberg’s “trigger events” include a
“user physically entering the trigger area [and/or] exiting the trigger area”
and are user activities informed by user location, and, thus, Rosenberg
discloses delivering context-based content, that is, a reminder delivered
when a user enters or exits a trigger area. Id. at 5–6 (citing Snap IPR,
Ex. 1005, 5:62–6:3; Snap IPR, Ex. 1002 ¶¶ 57–66).
      Snap further contends that Rosenberg discloses the use of reminders
which contain reminder content, the associated trigger area, and other
parameters, including flags and variables associated with how and when a
reminder should be triggered and status information about the reminder.
Snap Pet. 6. Snap asserts that when a user creates a reminder, it includes
this collection of information, and is a “content package.” Id. at 7. More
specifically, Snap contends that in Rosenberg a reminder includes content
and rules associated with the package, where trigger area and trigger event
parameters specifies a context (entering and/or exiting a trigger area) that
triggers the reminder associated with the event. Id. (citing Snap IPR,
Ex. 1002 ¶¶ 61–65). Snap argues that the trigger event and trigger area
define the claimed trigger condition rule associated with the content piece.
Id. (citing Snap IPR, Ex. 1002 ¶ 62). Snap also asserts that Rosenberg
discloses that reminders may be presented with reminder options that allow a
user to provide responses related to the reminder, and this provides the
claimed “expected response.” Id. at 7–8.




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         Patent Owner provides no arguments specifically related to the
preamble or limitation 1[b]. See generally Snap PO Resp.; Snap PO Sur-
reply.
         We have reviewed the record and determine that Petitioner has
demonstrated that Rosenberg discloses the preamble and limitation 1[b] of
claim 1. 8
                            (2) Limitations 1[c]–1[g]
         Snap asserts that Rosenberg discloses receiving a set of contextual
information for a first user, as recited in limitation 1[c]. Snap Pet. 9 (citing
Snap IPR, Ex. 1002 ¶¶ 67–71). Snap relies upon Rosenberg’s disclosure of
a portable computing device reading locative sensor data indicating “spatial
coordinates representing where within the physical environment the user is
currently residing.” Id. (citing Snap IPR, Ex. 1005, 21:39–45).
         Snap asserts that Rosenberg discloses processing the contextual
information to determine a current context for a user as recited in
limitation 1[d]. Snap Pet. 9–10 (citing Snap IPR, Ex. 1002 ¶¶ 72–78). For
support, Snap refers to Rosenberg disclosure that the device processes the
received user contextual information, that is, the location information, to
determine whether the user is currently entering/exiting a trigger area. Id. at
10 (citing Snap IPR, Ex. 1005, 6:34–47, 3:16–27, 7:47–59).
         Snap contends that Rosenberg discloses determining whether a current
context satisfies the trigger condition as recited in limitation 1[e]. Snap Pet.
10–11 (citing Snap IPR, Ex. 1002 ¶¶ 79–83). Snap argues that Rosenberg
discloses determining whether the current context of the user (user’s

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 We need not determine whether the preamble of claim 1 is limiting because
Snap has shown that Rosenberg discloses the preamble. See Nidec, 868 F.3d
at 1017.

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location) satisfies the trigger condition, that is, whether user is
entering/exiting a trigger area. Id. at 11.
      Snap contends that Rosenberg discloses that in response to the trigger
condition being satisfied, the content piece is presented to a user, as recited
in limitation 1[f]. Snap Pet. 11–13 (citing Snap IPR, Ex. 1002 ¶¶ 79–88).
Snap asserts that Rosenberg discloses that the device includes “software
adapted to automatically trigger the personal reminder based upon the
defined parameters such that the reminder is displayed to the user when the
user enters and/or exits the trigger area.” Id. at 11 (citing Snap IPR,
Ex. 1005, 6:58–61).
      Snap contends that Rosenberg discloses receiving a response from a
user corresponding to the presented content piece as recited in
limitation 1[g]. Snap Pet. 13–14 (citing Snap IPR, Ex. 1002 ¶¶ 89–94).
Snap argues that Rosenberg discloses reminder options to a user along with
the presented reminder content, that is, a content piece. Id. at 13. Snap
asserts that the reminder options, such as terminate, defer, last chance, and
edit, are presented to a user, and the user provides input through the user
interface to respond. Id. at 14; see Snap IPR, Ex. 1005, Fig. 5.
      Patent Owner presents no arguments specifically related to these
claim limitations. See generally Snap PO Resp.; Snap PO Sur-reply.
      We have reviewed the evidence and argument and on this record we
determine that Snap has demonstrated that Rosenberg discloses limitations
1[c]–1[g] of claim 1.
                           (3) Limitations 1[h] and 1[i]
      Snap asserts that Rosenberg discloses determining whether the
received response matches the expected response as recited in
limitation 1[h]. Snap Pet. 14–15 (citing Snap IPR, Ex. 1002 ¶¶ 95–100).

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Snap contends that Rosenberg discloses receiving a response from a user via
a selection of a reminder option button and the device determines whether,
for instance, a user response matches an expected response of the “defer
reminder” response button. Id. (citing Snap IPR, Ex. 1005, 19:34–41,
19:61–20:48; Snap IPR, Ex. 1002 ¶¶ 96–98). Snap further contends that
Rosenberg states that that “[d]epending upon what reminder options are
selected by the user,” actions occur, including updating the reminder
database “to reflect any terminations, edits, resets, or deferments, of
reminders.” Id. at 15 (citing Snap IPR, Ex. 1005, 22:20–23, 22:65–23:1,
Fig. 6).
      Snap argues that Rosenberg discloses performing an action based on
an outcome of the determination as recited in limitation 1[i]. Snap Pet. 16–
17 (citing Snap IPR, Ex. 1002 ¶¶ 101–106). Snap asserts that Rosenberg
discloses whether a user has chosen a “defer reminder” response or not and
taking different actions responsive to this determination. Id. at 16. For
instance, “[i]f a user selects the ‘defer reminder’ response, ‘the reminder
circuitry clears the screen of the displayed reminder and sets a flag such that
the reminder will be displayed again after a certain amount of time has
elapsed.’” Id. (citing Snap IPR, Ex. 1005, 19:61–65).
      Patent Owner argues that Rosenburg fails to disclose limitations 1[h]
and [i] because the claim requires “an ability to determine whether the
response is an ‘expected response,’ which necessarily requires the option for
a user to provide an unexpected (e.g., incorrect or undesired) response.”
Snap PO Resp. 26–27. Patent Owner asserts that Rosenberg does not teach a
method or system that allows for unexpected responses because it only
discloses receiving expected responses. Id. at 27 (citing Snap IPR, Ex. 2003
¶¶ 93–97). Patent Owner contends that Petitioner never suggests that any of

                                      30
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Rosenberg’s reminder options are unexpected so that a determination is
necessary. Id. at 28. Patent Owner argues that because Rosenberg fails to
teach limitation 1[h], it also does not teach the “perform[ing] an action based
on an outcome of the determination” limitation. Id. at 29.
      We do not agree with Patent Owner’s arguments because all of these
arguments rely on Patent Owner’s proposed claim construction related to the
term “expected response” (supra Section III.D.3), and we have not adopted
that proposed construction.
      We have reviewed the evidence and argument and on this record we
determine that Snap has demonstrated that Rosenberg discloses
limitations 1[h] and 1[i] of claim 1.
                          (4) Conclusion
      Accordingly, having considered Snap’s and Patent Owner’s
arguments and evidence, we determine that Snap has shown by a
preponderance of the evidence that Rosenberg anticipates claim 1 of the
’599 patent.

                    ii. Independent Claims 12 and 19
      Claim 12 claims a computer-readable storage medium storing
instructions that when executed by a computer performs the method with the
same steps as those recited in claim 1. Snap IPR, Ex. 1001, 24:40–63.
Claim 19 claims an apparatus with components that perform similar steps to
those recited for claim 1. Id. at 25:52–26:14. For the challenges to
claims 12 and 19, Snap relies on similar evidence and argument to that
presented for claim 1. Snap Pet. 33–44.
      Patent Owner does not present any arguments specific to these claims.
See generally Snap PO Resp.; Snap PO Sur-reply.


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                                        Appx31
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      Having considered the arguments and evidence, and for the reasons
we discuss above for claim 1, we determine that Snap has shown by a
preponderance of the evidence that Rosenberg anticipates claims 12 and 19
of the ’599 patent.
                      iii. Dependent Claims 2, 13, and 20
      Claim 2 recites:
      2. The method of claim 1, wherein the method further comprises
      creating the content package for the first user, wherein creating the
      content package involves:
               recording the content piece that is provided by the first user;
               creating an entry in a content database for the recorded content
               piece, wherein the entry includes one or more trigger
               conditions; and
               associating the one or more trigger conditions for the entry with
               a user-defined context; and
               wherein the method further comprises:
                    continuously comparing previously defined trigger
                    conditions for the entry with the ongoing context of the
                    first user; and
                 in response to the one or more trigger conditions being
                 met, retrieving the content piece, and presenting the
                 retrieved content piece to the first user.
Snap IPR, Ex. 1001, 23:42–58. Claims 13 and 20 contain similar
limitations.
      Snap presents evidence and argument in support of its contentions that
dependent claims 2, 13, and 20 are anticipated by Rosenberg. Snap Pet. 17–
24, 36, 44–45. For claim 2, Snap asserts that Rosenberg discloses creating a
content package for a first user comprising reminder content (“content
piece”) and associated trigger event. Id. at 17–18. Snap contends that
Rosenberg discloses that creating a reminder containing the content package
involves recording a content piece provided by the first user, with the user

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recording the reminder content by authoring a text file or recording an audio
file or video. Id. at 18 (citing Snap IPR, Ex. 1005, 5:16–30, 5:31–40). Snap
argues that Rosenberg discloses creating an entry in a reminder database for
the personal digital reminder, and the reminder content may also be stored in
the reminder database. Id. at 18–20 (citing Snap IPR, Ex. 1005, 2:63–3:4,
11:8–18; Ex. 1002 ¶¶ 116–117). Snap further asserts that Rosenberg
discloses a trigger condition that includes whether a user enters or exits from
an area, which is defined by a trigger event and a trigger area, which is user-
defined. Id. at 20–21 (referencing Snap Pet., Section IX.A.1; citing Snap
IPR, Ex. 1002 ¶¶ 118–121). Snap contends that Rosenberg discloses
comparing previously defined trigger conditions with a user’s current
context. Id. at 21–23 (referencing Snap Pet., Sections IX.A.1, IX.A.2; Snap
IPR, Ex. 1002 ¶¶ 122–127). Snap argues that Rosenberg discloses
continuously comparing previously defined trigger conditions associated
with reminder content with the user’s context to determine whether the
trigger condition has been satisfied, and if it has been satisfied, the reminder
content is presented to the user. Id. at 23–24 (referencing Snap Pet.,
Sections IX.A.2, IX.A.1; Snap IPR, Ex. 1002 ¶¶ 128–131).
      Patent Owner does not present any arguments specific to these claims.
See generally Snap PO Resp.; Snap PO Sur-reply.
      Having considered the arguments and evidence, we determine that
Snap has shown by a preponderance of the evidence that Rosenberg
anticipates claims 2, 13, and 20 of the ’599 patent.
                   iv. Dependent Claims 4 and 22
      Claim 4 recites:
      4. The method of claim 1, wherein the method further comprises
      defining a context by:


                                       33
                                      Appx33
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             creating one or more context entries in a context manager; and
             associating a respective context entry with a set of contextual
             information.
Snap IPR, Ex. 1001, 24:4–9. Claim 22 contains similar limitations.
      Snap presents evidence and argument in support of its contentions that
dependent claims 4 and 22 are anticipated by Rosenberg. Snap Pet. 24–27,
48. For claim 4, Snap asserts that Rosenberg discloses defining a context by
creating a trigger area (context entry) on the graphical user interface of the
portable computing device. Id. at 24 (citing Snap IPR, Ex.1005, 24:52–54;
Snap IPR, Ex. 1002 ¶ 131). Snap contends that the user-defined trigger area
entries are presented to the user via, for example, by a menu on the device’s
user interface, which allows a user to select this trigger area to be associated
with a reminder. Id. at 24–25 (citing Snap IPR, Ex. 1005, 24:4–23, 24:53–
26:20; Snap IPR, Ex. 1002 ¶ 131).
      Patent Owner does not present any arguments specific to these claims.
See generally Snap PO Resp.; Snap PO Sur-reply.
      Having considered the arguments and evidence, we determine that
Snap has shown by a preponderance of the evidence that Rosenberg
anticipates claims 4 and 22 of the ’599 patent.
                    v. Dependent Claims 5 and 23
      Claim 5 depends from claim 4, and further recites “wherein the
method further comprises updating entries in the content database and
updating the context entries in the context manager responsive to actions
performed by the first user.” Snap IPR, Ex. 1001, 24:10–14. Claim 23
contains similar limitations.
      Snap presents evidence and argument in support of its contentions that
dependent claims 5 and 23 are anticipated by Rosenberg. Snap Pet. 27–29,


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48–49. For claim 5, Snap asserts that Rosenberg discloses updating
reminder database responsive to actions performed by a user. Id. at 27–28
(citing Snap IPR, Ex.1002 ¶¶ 142–147). Snap relies on the Rosenberg
example where a user may be presented with a reminder and may choose to
defer it so it is presented later, and then may terminate it. Id. (citing Snap
IPR, Ex. 1005, 20:40–42). Snap further contends that in response the
reminder may be removed from the reminder database or set to an inactive
state. Id. at 28 (citing Snap IPR, Ex. 1005, 19:42–46). Snap asserts that
these actions are updates to the entry in the reminder database.
      Patent Owner does not present any arguments specific to these claims.
See generally Snap PO Resp.; Snap PO Sur-reply.
      Having considered the arguments and evidence, we determine that
Snap has shown by a preponderance of the evidence that Rosenberg
anticipates claims 5 and 23 of the ’599 patent.
                    vi. Dependent Claims 6 and 7
      Claim 6 depends from claim 1 and further recites “wherein the context
is defined as a combination of at least a high-level abstraction which
corresponds to one or more low-level contextual information values,
wherein the low-level contextual information values can correspond to one
or more measurable parameters.” Snap IPR, Ex. 1001, 24:15–19. Claim 7
depends from claim 1 and further recites “wherein a respective rule is
defined with one or more high-level abstractions.” Id. at 24:20–21.
      Snap presents evidence and argument in support of its contentions that
dependent claims 6 and 7 are anticipated by Rosenberg. Snap Pet. 29–31.
For claim 6, Snap asserts that Rosenberg discloses the claimed context as
specified by the trigger conditions that may include trigger areas and trigger
events as well as other parameters such as “further restricting the conditions

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                                      Appx35
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under which the reminder will trigger,” including a temporal trigger
condition and a directional trigger condition. Id. at 30 (citing Snap IPR,
Ex. 1005, 12:12–23, 12:40–60). Snap further contends that the context is a
high-level abstraction, such as a user entering/exiting a trigger area during a
certain time, which corresponds to one or more low-level contextual
information values, such as the time of day or series of GPS traces. Id. at
31. For claim 7, Snap relies on the same arguments and evidence as that
presented for claim 6. Id.
      Patent Owner does not present any arguments specific to these claims.
See generally Snap PO Resp.; Snap PO Sur-reply.
      Having considered the arguments and evidence, we determine that
Snap has shown by a preponderance of the evidence that Rosenberg
anticipates claims 6 and 7 of the ’599 patent.
                    vii. Dependent Claims 10, 17, and 24
      Claim 10 depends from claim 1 and further recites “wherein the
contextual information includes one or more of: time, date, location,
proximity to a system-detectable tag, device orientation, velocity, direction,
distance, vibration, altitude, temperature, pressure, humidity, sound,
luminous intensity, camera image, and video stream.” Snap IPR, Ex. 1001,
24:29–34. Claims 17 and 24 contain similar limitations.
      Snap presents evidence and argument in support of its contentions that
Rosenberg anticipates dependent claims 10, 17, and 24. Snap Pet. 32, 36–
37. For claim 10, Snap asserts that Rosenberg discloses the claimed user
contextual information that includes at least GPS location data. Id. at 32
(citing Snap IPR, Ex.1002 ¶¶ 157–158).
      Patent Owner does not present any arguments specific to these claims.
See generally Snap PO Resp.; Snap PO Sur-reply.

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                                     Appx36
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      Having considered the arguments and evidence, we determine that
Snap has shown by a preponderance of the evidence that Rosenberg
anticipates claims 10, 17, and 24 of the ’599 patent.
                    viii. Dependent Claims 11, 18, and 25
      Claim 11 depends from claim 1 and further recites “wherein the
content piece includes one or more of: audio clip, image, video stream,
language lesson, e-mail, weather report, calendar reminder, news feed, rich
site summary (RSS) feed, information update from a Web 2.0 application,
and Internet blog.” Snap IPR, Ex. 1001, 24:35–39. Claims 18 and 25
contain similar limitations.
      Snap presents evidence and argument in support of its contentions that
dependent claims 11, 18, and 25 are anticipated by Rosenberg. Snap Pet.
32–33, 36–37, 49–50. For claim 11, Snap asserts that Rosenberg discloses
that the claimed content piece, which is reminder content, may include “text,
audio, images, graphics, and/or video.” Id. at 32 (citing Snap IPR, Ex. 1005,
5:17–20; Figs. 1, 7).
      Patent Owner does not present any arguments specific to these claims.
See generally PO Resp.; PO Sur-reply.
      Having considered the arguments and evidence, we determine that
Snap has shown by a preponderance of the evidence that Rosenberg
anticipates claims 11, 18, and 25 of the ’599 patent.

             6. Asserted Obviousness of Claims 4, 5, 15, 16, 19, 20, and 22–
             25 Over Rosenberg
      Snap contends that claims 4, 5, 15, 16, 19, 20, and 22–25 are
unpatentable under 35 U.S.C. § 103(a) as obvious over Rosenberg. Snap
Pet. 50–56. Because we have determined that Rosenberg anticipates claims



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4, 5, 19, 20, and 22–25, we need not reach this other ground for
unpatentability of these proposed substitute claims. See SAS Inst. Inc. v.
Iancu, 138 S. Ct. 1348, 1359 (2018) (holding a petitioner “is entitled to a
final written decision addressing all of the claims it has challenged”); Bos.
Sci. Scimed, Inc. v. Cook Grp. Inc., 809 F. App’x 984, 990 (Fed. Cir. 2020)
(non-precedential) (recognizing that “[t]he Board has the discretion to
decline to decide additional instituted grounds once the petitioner has
prevailed on all its challenged claims”).
      We have not previously addressed claims 15 and 16, which Snap
asserts are obvious. Snap Pet. 32–33, 36–37, 49–50.
      Claim 15 follows:
           15. The computer-readable storage medium of claim 12,
      wherein the method further comprises defining a context by:
           creating one or more context entries in a context manager; and
             associating a respective context entry with a set of contextual
             information.
Snap IPR, Ex. 1001, 25:29–35. Claim 16 depends from claim 15, and
further recites “wherein the method further comprises updating entries in the
content database and updating the context entries in the context manager
responsive to actions performed by the first user.” Id. at 25:36–39.
      Snap presents evidence and argument in support of its contentions that
dependent claims 15 and 16 would have been obvious over Rosenberg.
Snap Pet. 32–33, 36–37, 49–50. For claim 15, Snap asserts that Rosenberg
teaches the limitations of defining a context and associating a context entry
with a set of contextual data for similar reasons to those provided for
claim 4. Snap Pet. 52 (referencing Snap Pet., Sections IX.A.9, IX.A.3.a,
IX.B.1.a; citing Snap IPR, Ex. 1002 ¶ 239). For claim 16, Snap asserts that



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Rosenberg teaches the limitations of updating entries in the content database
and updating the context entries in the context manager responsive to actions
performed by the first user for reasons similar to those provided for claim 5.
Id. at 52–53 (referencing Snap Pet., Sections IX.A.9, IX.A.4, IX.B.2; citing
Ex. 1002 ¶ 241).
      Patent Owner does not present any arguments specific to these claims.
See generally Snap PO Resp.; Snap PO Sur-reply.
      Having considered the arguments and evidence, we determine that
Snap has shown by a preponderance of the evidence that Rosenberg renders
obvious claims 15 and 16 of the ’599 patent.

             7. Asserted Obviousness of Claims 3, 8, 9, 14, and 21 Over
                Rosenberg and Suzuki
      Snap contends that claims 3, 8, 9, 14, and 21 are unpatentable under
35 U.S.C. § 103(a) as obvious over Rosenberg and Suzuki. Pet. 56–65. We
begin our discussion with a brief summary of Suzuki.
                    a. Suzuki (Snap IPR, Ex. 1006)
      Suzuki describes a “system and method for alerting a user of an item
on a to-do list if the user is detected to be close to the item’s performance
location.” Snap IPR, Ex. 1006, code (57). Suzuki discloses that individuals
may share the location-based to-do list items. Id. at 3:50–53, 4:3–5. The
to-do list items are stored with “one or more user IDs” that “indicate the
individuals who are responsible for accomplishing the indicated task[s].” Id.
at 4:21–26. Suzuki discloses that this information is stored in a database,
which is depicted in Figure 3, reproduced below. See id. at 6:12–16.




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As shown in Figure 3 of Suzuki, above, the to-do list database includes task
30a listings and User ID 30d listing fields. Snap IPR, Ex. 1006, 6:12–46. A
user may create the database by user entries on a mobile device. Id. at 6:16–
17. Figure 7, reproduced below, illustrates a screen display for entering a
to-do list. Id. at 8:1–3.




Figure 7, above, depicts an illustration of a screen display for entering a to-
do list to Suzuki’s system. Snap IPR, Ex. 1006, 3:14–15, 8:1–3.




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                   b. Discussion
      Claims 3, 8, 9, 14, and 21 include limitations directed to shareable
content pieces or rules. See Snap IPR, Ex. 1001, 23:60–24:3, 24:20–28,
25:16–29, 26:32–43.
      Snap argues that claims 3, 8, 9, 14, and 21 would have been obvious
over the combination of Rosenberg and Suzuki. Snap Pet. 56–65. Snap
asserts that Suzuki’s location-based reminder system discloses reminders
that can be shared by multiple users. Id. at 56–57 (citing Snap IPR,
Ex. 1005, 4:3–5). Snap contends that a person of ordinary skill in the art
would have been motivated to configure Rosenberg’s system to provide for
sharable reminders in view of Suzuki. Id. at 57 (citing Snap IPR, Ex. 1002
¶ 251). Snap contends that a person of ordinary skill in the art would have
been motivated to make the modifications because it “would have
recognized that sharing reminders among individuals would have increased
efficiencies in the use of, and the versatility of, Rosenberg’s system.” Id.
(citing Snap IPR, Ex. 1002 ¶ 252).
      Claims 3, 14, and 21 contain similar limitations, with Snap asserting
that although Rosenberg’s reminder content (content piece) is not expressly
disclosed as being sharable, it would have been obvious to implement such
features in view of Suzuki. Snap Pet. 56. Snap relies on Suzuki’s disclosure
of a location-based reminder system like Rosenberg’s where reminders can
be “shared by multiple users,” and are stored with IDs reflecting individuals
responsible for indicated tasks. Id. at 56–57 (citing Snap IPR, Ex. 1006,
code (57), 3:22–33, 3:50–53, 4:3–5, 5:8–22, 8:46–11:23, 4:21–26, 4:57–64,
6:12–45, 8:1–30, Figs. 3, 7; Snap IPR, Ex. 1002 ¶ 250). Snap asserts that
Rosenberg discloses creating a content package for the recorded content
piece, which includes trigger conditions. Id. at 59–60. Snap further argues

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that Rosenberg also discloses allowing a recipient of the content package to
at least “insert, modify, and/or remove content” from the package. Id. at 60
(citing Snap IPR, Ex. 1002 ¶ 258).
      For claim 8, which is directed to allowing a first user to share the rules
with a second user, Snap asserts that Rosenberg discloses allowing the
recipient of a reminder to redefine the rules associated with a reminder,
where the user updating the rules is the second user with whom the reminder
was shared. Snap Pet. 61–62 (citing Snap IPR, Ex. 1002 ¶ 259). For
claim 9, which is directed to sharing the content piece with a remote device,
Snap contends it would be obvious to modify Rosenberg, which presents
content pieces, with Suzuki, which discloses sharing from a “central host
computer 14” to “multiple mobile terminals.” Id. at 62–63 (citing Snap IPR,
Ex. 1002 ¶ 260; Snap IPR, Ex. 1006, 4:3–9).
      Patent Owner does not present any arguments specific to these claims.
See generally Snap PO Resp.; Snap PO Sur-reply.
      Having considered the arguments and evidence, we determine that
Snap has shown by a preponderance of the evidence that the combination of
Rosenberg and Suzuki teaches the limitations of claims 3, 8, 9, 14, and 21
and has presented articulated reasoning with rational underpinning to
support the combination of prior art which renders these claims obvious.
      F. Conclusion As To Snap’s Challenges To Claims 1–25 of the ’599
      Patent
      For the foregoing reasons, we conclude that Snap has shown by a
preponderance of the evidence that claims 1–25 of the ’599 patent are
unpatentable. In summary:




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                                                    Claims     Claims Not
                      35        References/
      Claim(s)                                      Shown        Shown
                    U.S.C. §      Basis
                                                Unpatentable Unpatentable
    1, 2, 4–7,                                  1, 2, 4–7, 10–
    10–13, 17–      102        Rosenberg        13, 17–20,
    20, 22–25                                   22–25
    4, 5, 15, 16,                               15, 16 9
    19, 20, 22–     103(a)     Rosenberg
    25
    3, 8, 9, 14,               Rosenberg,       3, 8, 9, 14, 21
                    103(a)
    21                         Suzuki
    Overall                                     1–25
    Outcome

    IV. FACEBOOK’S CHALLENGES TO CLAIMS 1, 4, 6, 7, 9–12, 15, 17–
               19, 22, 24, AND 25 OF THE ’599 PATENT
         A. Procedural Background
         Facebook filed a Petition for inter partes review of claims 1, 4, 6, 7,
9–12, 15, 17–19, 22, 24, and 25 of the ’599 patent, along with the
Declaration of Christopher M. Schmandt. Facebook IPR, Paper 2
(“Facebook Pet.”); Facebook IPR, Ex. 1002. Patent Owner filed a
Preliminary Response. Facebook IPR, Paper 12 (“Facebook Prelim.
Resp.”). Pursuant to 35 U.S.C. § 314(a), on January 25, 2022, we instituted
inter partes review on the following grounds:




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 As explained above, because we determine challenged claims 4, 5, 19, 20,
and 20–25 are anticipated by Rosenberg, we need not address the
obviousness ground for these claims.

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        Claim(s)
                            35 U.S.C §           Reference(s)/Basis
      Challenged
 1, 4, 6, 7, 10–12, 15,                       Lamont 10, Wolfe 11,
                        103(a)
 17–19, 22, 24, 25                            Wang12
                                              Lamont, Wolfe, Wang,
 9                     103(a)
                                              Belimpasakis 13
 1, 4, 6, 7, 10–12, 15,                       Lamont, Wolfe, Wang,
                        103(a)
 17–19, 22, 24, 25                            Meyers 14
                                              Lamont, Wolfe, Wang,
 9                     103(a)
                                              Belimpasakis, Meyers
Facebook Pet. 3; Facebook IPR, Paper 13 (“Facebook Inst. Dec.” or
“Facebook Dec.”).
      Patent Owner filed a Patent Owner Response (“Facebook PO Resp.”).
Facebook IPR, Paper 23. 15 Patent Owner also filed a Declaration of David
Martin, Ph.D., with the Response to support its positions. Facebook IPR,
Ex. 2010. Facebook filed a Reply (“Facebook Pet. Reply”) to the Patent
Owner Response, along with the Reply Declaration of Christopher M.
Schmandt. Facebook IPR, Paper 25; Ex. 1016. Patent Owner filed a Sur-
reply to Petitioner’s Reply (“Facebook PO Sur-reply”). Facebook IPR,
Paper 31.




10
   US 7,652,594 B2, filed April 7, 2006, issued January 26, 2010 (Facebook
IPR, Ex. 1003, “Lamont”).
11
   US 8,428,614 B2, filed July 10, 2007, issued April 23, 2013 (Facebook
IPR, Ex. 1004, “Wolfe”).
12
   Wallace Wang, BEGINNING P ROGRAMMING FOR DUMMIES, 1999
(Facebook IPR, Ex. 1006, “Wang”).
13
   US 9,467,530 B2, filed April 11, 2006, issued October 11, 2016
(Facebook IPR, Ex. 1007, “Belimpasakis”).
14
   Scott Meyers, T HE DOWNLOADER’S COMPANION FOR WINDOWS, 1995
(Facebook IPR, Ex. 1008, “Meyers”).
15
   This is a Corrected Patent Owner Response.

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                                   Appx44
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      An oral hearing was held on October 28, 2022. A transcript of the
hearing is included in the record. Facebook IPR, Paper 41 (“Facebook Tr.”).

      B. Related Matters
      The parties indicate this Petition is related to the district court
litigations Palo Alto Research Center Inc. v. Facebook, Inc., No. 2:20-CV-
10753-AB-MRW (C.D. Cal.), Palo Alto Research Center Inc. v. Snap Inc.,
No. 2:20-CV-10755-AB-MRW (C.D. Cal.), and Palo Alto Research Center
Inc. v. Twitter, Inc., No. 2:20-CV-10754-AB-MRW (C.D. Cal.). Facebook
Pet. 1; Facebook IPR, Paper 4, 2–3.
      As discussed above, claims of the ’599 patent are also challenged in
the Snap and Twitter IPRs.

      C. The ’599 Patent
      As indicated above in the Snap IPR, the ’599 patent is titled “Context
And Activity-Driven Content Delivery And Interaction” and issued on July
16, 2013, from an application filed on December 2, 2008. Facebook IPR,
Ex. 1001, codes (22), (45), (54).
      The ’599 patent is directed to “a computing device that delivers
personally-defined context-based content to a user.” Facebook IPR,
Ex. 1001, code (57). The ’599 patent states that
             [t]his computing device receives a set of contextual
             information with respect to the user, and processes
             the contextual information to determine whether
             some aspect of the current context can be associated
             with a probable activity being performed by the
             user. The computing device then determines
             whether either or both the context and current
             activity of the user satisfy a trigger condition which
             has been previously defined by the user. If so, the
             computing device selects content from a content

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                                       Appx45
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             database, based on the context or activity, to present
             to the user, and presents the selected content.
Facebook IPR, Ex. 1001, 1:52–62. Figure 1, reproduced below, illustrates a
content management system in accordance with the invention. Id. at 2:54–
55.




As depicted in Figure 1, above, content management system 100 presents
content 112 to a user. Facebook IPR, Ex. 1001, 5:18–19. Content 112 can
be presented in response to actions being performed by the user, or in
accordance with other information associated with the user. Id. at 5:18–21.
Content management system 100 allows a user to create and store content,
and associate the content with a given user-defined context. Id. at 5:21–23.
For instance, content management system 100 can remind a user to buy
groceries as the user is driving past a grocery store after work or can read
specific items on a grocery list to a user when walking across a specific
grocery store aisle. Id. at 5:28–32. Input mechanism 102 receives user input
101, content manager 104 controls how content 112 is stored in content
database 106 and how it is selected for playback, and content delivery




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mechanism 108 controls how content 112 is presented to a user. Id. at 5:36–
57.

      D. Illustrative Claim
      Facebook challenges claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24, and 25
of the ’599 patent. Claims 1, 12, and 19 are the only independent claims,
and claim 1, which is illustrative, is reproduced below, with bracketed letters
added to the limitations for reference purposes. 16
             1. [a] A method for delivering context-based content to a first
      user, the method comprising:
             [b] receiving at least one content package, wherein the content
             package includes at least one content piece and a set of rules
             associated with the content package, wherein the set of rules
             includes a trigger condition and an expected response, and
             wherein the trigger condition specifies a context that triggers a
             presentation of the content piece;
             [c] receiving a set of contextual information with respect to the
             first user;
             [d] processing the contextual information to determine a current
             context for the first user;
             [e] determining whether the current context satisfies the trigger
             condition;
             [f] in response to the trigger condition being satisfied,
             presenting the content piece to the first user;
             [g] receiving a response from the first user corresponding to the
             presented content piece;
             [h] determining whether the received response matches the
             expected response; and

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   Note that the lettering for the references to the claim limitations varies
from that used in the Decision of Institution and from the parties’ references
to the in the briefing in this case. The lettering has been changed herein to
conform the references between the Snap and Facebook cases, which have
now been consolidated.

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             [i] performing an action based on an outcome of the
             determination.
Facebook IPR, Ex. 1001, 23:20–41.

      E. Analysis
             1. The Parties’ Arguments
      In our Decision on Institution, we concluded that the arguments and
evidence advanced by Facebook demonstrated a reasonable likelihood that
claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24, and 25 of the ’599 patent would
have been unpatentable as obvious under 35 U.S.C. § 103. Facebook Inst.
Dec. 13–30. Here, we determine whether Facebook has established by a
preponderance of the evidence that the challenged claims are obvious.
35 U.S.C. § 316(e). We previously instructed Patent Owner that “Patent
Owner is cautioned that any arguments not raised in the response may be
deemed waived.” Facebook IPR, Paper 14, 8 see also 37 C.F.R. § 42.23(a)
(“Any material fact not specifically denied may be considered admitted.”);
In re NuVasive, Inc., 842 F.3d 1376, 1379–82 (Fed. Cir. 2016) (holding
patent owner waived an argument addressed in the preliminary response by
not raising the same argument in the patent owner response). Additionally,
the Board’s Trial Practice Guide states that the patent owner response
“should identify all the involved claims that are believed to be patentable
and state the basis for that belief.” Consolidated Trial Practice Guide, 66
(November, 2019).17
      On the record before us, we note that we have reviewed arguments
and evidence advanced by Facebook to support its unpatentability


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  Available at https://www.uspto.gov/sites/default/files/documents/
tpgnov.pdf.

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contentions, whereas Patent Owner chose not to address certain limitations
in its Patent Owner Response. In this regard, the record contains persuasive
arguments and evidence presented by Facebook regarding the manner in
which the prior art teaches the corresponding limitations of claims 1, 4, 6, 7,
9–12, 15, 17–19, 22, 24, and 25 of the ’599 patent, as well as a rationale to
combine the prior art references.
             2. Level of Ordinary Skill in the Art
      Relying on the testimony of Mr. Schmandt, Petitioner proposes that a
person of ordinary skill in the art at the time of the ’599 patent would have
possessed “at least a bachelor’s degree in electrical engineering or computer
science, and two years of work experience in multimedia data
communications and user interfaces.” Facebook Pet. 5 (citing Facebook
IPR, Ex. 1002 ¶¶ 17–22). Petitioner further asserts that additional education,
but less work experience, and vice versa may also qualify. Id. In the
Decision on Institution, we determined that Facebook’s proposed description
of the qualifications of a person of ordinary skill in the art aligned with the
technology and claims of the ’599 patent. Facebook Inst. Dec. 12. For this
proceeding, Patent Owner and Dr. Martin apply this level of skill in the art.
Facebook PO Resp. 12; Facebook IPR, Ex. 2003 ¶¶ 48–50. Accordingly, for
the reasons given in the Decision on Institution, we adopt Facebook’s
proposed level of ordinary skill in the art. Facebook Inst. Dec. 12.

             3. Claim Construction
      In this inter partes review, claims are construed using the same claim
construction standard that would be used to construe the claims in a civil
action under 35 U.S.C. § 282(b). 37 C.F.R. § 42.100(b) (2021). Under the
principles set forth by our reviewing court, the “words of a claim ‘are


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generally given their ordinary and customary meaning,’” as would be
understood by a person of ordinary skill in the art in question at the time of
the invention. Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005)
(en banc) (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582
(Fed. Cir. 1996)). “In determining the meaning of the disputed claim
limitation, we look principally to the intrinsic evidence of record, examining
the claim language itself, the written description, and the prosecution
history, if in evidence.” DePuy Spine, Inc. v. Medtronic Sofamor Danek,
Inc., 469 F.3d 1005, 1014 (Fed. Cir. 2006) (citing Phillips, 415 F.3d at
1312–17).
      Patent Owner makes similar arguments to those made in the Snap
case, discussed above. More specifically, Patent Owner asserts that the
limitation “determin[ing/e] whether the received response matches the
expected response,” recited in independent claims 1, 12, and 19, requires the
possibility of expected and unexpected responses in view of the claim terms,
Specification, and prosecution history. Facebook PO Resp. 13–26. More
specifically, Patent Owner asserts that “each independent claim requires an
ability to determine whether a received response is an expected response
(e.g., correct or desired) or an unexpected response (e.g., incorrect or
undesired).” Id. at 14. Patent Owner argues that the Board’s determination
in the Decision on Institution that “there is no recited limitation requiring
that there be a determination made for an unexpected response” is in error.
Id. at 14 (citing Facebook Inst. Dec. 25).
      Patent Owner relies on the claim language itself and, more
specifically, limitations 1[b] and 1[g]–1[i], stating that these recitations
mean that “a content package must include content and a set of rules, and the
set of rules must include at least one expected response related to the

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content,” and “requires receiving a response to presented content,
determining [] that [the] response matches at least one expected response,
and then performing some action based on the determination.” Facebook
PO Resp. 16. Patent Owner argues that “[f]or the determination limitation to
have any meaning, both expected and unexpected user responses to
[presented] content must be possible. There would be no need for the
determination limitation if no unexpected responses were possible; the claim
would simply require performing an action associated with the received (and
expected) response.” Id. at 16–17. Patent Owner cites to cases law in
support of its assertion that interpretation of terms that render parts of claims
superfluous is disfavored. Id. at 16–17 (citing e.g., Merck & Co., Inc. v.
Teva Pharm. USA, Inc., 395 F.3d 1364, 1375 (Fed. Cir. 2005)). Patent
Owner further contends that the claim language dictates that the determining
step “requires the possibility of an unexpected (e.g., incorrect or undesired)
response being received—to give meaning to the ‘determin[e/ing] whether’
language.” Id. at 17 (citing Facebook IPR, Ex. 2010 ¶¶ 73–79). Dr. Martin
testifies that “the system must determine whether the received response
matches the expected response or as the alternative demanded by the
‘determining whether’ clause, that the received response is unexpected”
(Facebook IPR, Ex. 2010 ¶ 76).
      Patent Owner asserts that the Specification of the ’599 patent requires
the possibility of expected and unexpected responses. Facebook IPR, PO
Resp. 18–21. Patent Owner refers to Tables 1 and 2 of the Specification in
support of the contention that there are actions specified “when a user
response is expected or correct” or “when a user response is unexpected or




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incorrect.” Id. at 18–19 (citing Facebook IPR, Ex. 1001, 13:1–7, Tables 1,
2).
         Patent Owner additionally refers to the prosecution file history of the
’599 patent. Facebook PO Resp. 21–26. Patent Owner contends that the
original claims do not refer to expected responses, determining if responses
matched expected responses, or performing actions based on that
determination. Id. at 22 (citing Facebook IPR, Ex. 2014, 57–65). After
continued prosecution, including further amendments, a May 23, 2012
amendment was submitted that included limitations directed to determining
if responses matched expected responses, or performing actions based on
that determination, which are the same as those in the issued ’599 patent. Id.
at 22–24 (citing Facebook IPR, Ex. 2014, 364–378). Patent Owner refers to
an agenda for applicant’s May 9, 2012, interview with the examiner that
states
     the system receives a response from the user corresponding to
     the presented content, determines whether the response matches
     the pre-defined expected response, and performs an action based
     on the outcome of the determination (see instant application,
     pars. [0062]- [0064]). For example, if the user fails to mimic the
     played audio signal correctly, the system replays the audio file
     for the user (see instant application, par. [0056]).
Facebook IPR, Ex. 2014, 362 (quoted at Facebook PO Resp. 25). Patent
Owner contends that because the “applicant specifically called out handling
unexpected responses (failure to mimic an audio signal) when discussing the
relevance of the determination limitation,” that a person of skill in the art
would have understood this to require the possibility of both expected and




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unexpected responses. Facebook PO Resp. 25–26 (citing Facebook IPR,
Ex. 2010 ¶¶ 88–91).
      We do not agree with Patent Owner’s assertion that the claim
language requires an ability to determine whether a received response is an
expected response or an unexpected response. Limitation 1[h] does not
recite this restriction, nor is the limitation required to give meaning to the
claim. Patent Owner’s view is inconsistent with limitation 1[b], which
recites that the content package with a set of rules includes “an expected
response,” but there is no mention that an unexpected response is part of the
content package. Although Patent Owner asserts that the claim also requires
the inclusion of a determination of whether a received response matches an
unexpected response, that is not recited or suggested by the claim language
itself. See Facebook PO Resp. 15–17; Facebook IPR, Ex. 2010 ¶ 76. In
sum, the claim language indicates it determines whether there is a match of a
received response with the expected response; however, the claim does not
require determining whether there is a match of a received response with an
unexpected response.
      Turning to the Specification, Table 1 of the ’599 patent is instructive
and is reproduced below.




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Facebook IPR, Ex. 1001, 10:57–11:9. The ’599 patent explains that Table 1,
above, presents an exemplary set of rules that correspond to a number of
audio clips in Japanese for practicing pronunciations to a number of words.
Id. at 11:11–15. The time column allows a user for specifying a time of day
when content can be presented, the location column is for specifying a
location for where content can be presented, and the state column is for
specifying an action that the user can be performing when content is
presented. Id. at 11:15–21. As an example, a user learning Japanese can
program the content management system 240 to play “good morning” in
Japanese when the user is moving around the bedroom before 10 AM, and to




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play “goodnight” in Japanese when the user is entering or moving around
the bedroom after 9 PM. Of note, the ’599 patent explains that
      [t]he response column allows a user to specify an expected
      response to the presentation of content 253. The action correct
      column allows a user to specify actions that content management
      system 240 can perform if the user provides a correct response.
      The action incorrect column allows a user to specify actions that
      content management system 240 can perform if the user does not
      provide a correct response (Ex. 1001, 11:27–33 (emphasis
      added)).
      An action correct column entry can obtain a value that specifies
      an action to be performed by content management system 240 in
      the event that the user provides an expected response.
      Furthermore, an action incorrect column entry can obtain a value
      that specifies an action to be performed by content management
      system 240 on the occasion that the user does not provide an
      expected response (id. at 13:1–7 (emphasis added)).

      These descriptions are consistent with the language of limitations 1[b]
and 1[h] as recited, and as discussed above. We further note that the
Specification only discloses determining whether a received response is
expected — and the received response may or may not be the expected
response. See Facebook IPR, Ex. 1001, 11:27–33; 12:50–13:10; 13:67–
14:11. Patent Owner does not identify in the Specification, nor do we
discern, any disclosure of determining whether a received response is an
“unexpected response.” See generally Facebook PO Resp.; Facebook PO
Sur-Reply.
      Although Patent Owner asserts that there is support in the
Specification for its interpretation of the “determining” limitation, we are not
persuaded. More specifically, Patent Owner contends that Tables 1 and 2 of
the Specification “show actions to be taken when a user response is
correct/expected and incorrect/unexpected.” Facebook PO Resp. 18–20. Dr.

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Martin testifies that “references to ‘action correct’ and ‘action incorrect’
indicate that the system being described will determine whether the received
response is correct or incorrect.” Facebook IPR, Ex. 2010 ¶ 81. We do not
agree with Patent Owner’s assertions because they are premised on the
characterization of the claimed “received response” as either “expected
response” or “unexpected” which is “considered incorrect.” This is not what
the Specification discloses and what is claimed—instead, as discussed
above, the “received response” is checked to determine if it matches the
“expected response,” and an action is performed based upon that
determination.
      Patent Owner also asserts that “[f]or the determination limitation to
have any meaning, both expected and unexpected user responses to
[presented] content must be possible,” otherwise, “[t]here would be no need
for the determination limitation if no unexpected responses were possible.”
Facebook PO Resp. 16. As Facebook points out, however, and we agree, the
system, however, may have multiple expected responses, such as expected
responses other than those received from the “content package” as claimed.
Facebook Pet. Reply 5; Ex. 1016 ¶ 7. Patent Owner further argues
Facebook’s arguments on expected responses fail under the plain language
of the claims because “[a] response that does not match the particular
expected response (or one of the expected responses) in the content package
for a given content piece is an unexpected response for the claim’s
purposes.” Facebook PO Sur-reply 17. We do not agree with that assertion
based on the evaluation of the claim language and Specification disclosures,
as discussed above.
      Patent Owner additionally argues that the prosecution history supports
the inclusion of “unexpected response” into the claim. We do not agree.

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During prosecution of the ’599 patent, the independent claims were amended
to add “determining whether the received message matches the expected
response.” See Facebook IPR, Ex. 2014, 365. The amendments are directed
to matching the “expected response”–there is no mention or suggestion of an
“unexpected response” that is considered or determined. Patent Owner also
refers to a statement made by the applicant that states that “the system
receives a response from the user corresponding to the presented content,
[and] determines whether the response matches the pre-defined expected
response,” and then “if the user fails to mimic the played audio signal
correctly, the system replays the audio file for the user.” Facebook IPR,
Ex. 2014, 362 (emphasis added). This discussion does not mention any
consideration or determination of an unexpected response, but rather only
identifies an action taken based only on the determination of whether there is
a match of the received response and the expected response. See id. (“the
system receives a response from the user corresponding to the presented
content, determines whether the response matches the pre-defined expected
response, and performs an action based on the outcome of the
determination.”).
      In view of the evidence and argument as discussed above, our view is
that Patent Owner’s assertions that “unexpected response” should be
included in the clam term amounts to impermissibly attempting to write a
limitation into the claim. Accordingly, we decline to adopt Patent Owner’s
proposed interpretation of the “determin[e/ing ] whether the received
response matches the expected response ” to require the possibility of




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expected and unexpected response and instead adopt the plain meaning of
the claim term.
      We determine that we need not expressly construe any other claim
terms to resolve the parties’ disputes on the current record. See Nidec Motor
Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed.
Cir. 2017) (“[W]e need only construe terms ‘that are in controversy, and
only to the extent necessary to resolve the controversy.’” (quoting Vivid
Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999))).

             4. Principles of Law
      A patent claim is unpatentable under 35 U.S.C. § 103 if the
differences between the claimed subject matter and the prior art are “such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of ordinary skill in the art; and (4) when in evidence, objective
indicia of obviousness or nonobviousness. 18 Graham v. John Deere Co.,
383 U.S. 1, 17–18 (1966).

             5. Asserted Obviousness of Claims 1, 4, 6, 7, 10–12, 15, 17–19,
             22, 24, and 25 Over Lamont, Wolfe, and Wang
      Petitioner contends that claims 1, 4, 6, 7, 10–12, 15, 17–19, 22, 24,
and 25 are unpatentable under 35 U.S.C. § 103 as obvious over Lamont,


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  The parties present no evidence relating to objective indicia of
nonobviousness.

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Wolfe, and Wang. Facebook Pet. 10–56. In support, Petitioner also relies
upon the Schmandt Declarations. Facebook IPR, Ex. 1002; Ex. 1016.
Patent Owner argues that the prior art does not teach all the limitations of the
claims and insufficient rationale to combine the references has been
provided. Facebook IPR, PO Resp. 27–61. In support, Patent Owner also
relies on the Martin Declaration. Facebook IPR, Ex. 2020.
      We begin our discussion with brief summaries of Lamont, Wolfe, and
Wang, and then address the evidence and arguments presented.

                    a. Lamont (Facebook IPR, Ex. 1003)
       Lamont discloses a system to construct a software-based tour “of a
village, town, city, region or country employing locationally-sensitive
information.” Facebook IPR, Ex. 1003, 1:16–19, 1:44–49. Lamont’s
software architecture enables a designer “to create, edit, manage, and
organize a matrix of trigger points that are situated in geographical space
and are tagged with dynamic content” which are relay to a mobile device.
Id. at 1:44–49. More specifically, the “tour script” contains “trigger points,”
that specify a particular geographical space and the conditions for presenting
particular audio and/or visual content to the user. Id. at 2:1–6, 3:38–48. The
conditions can include, for instance, a user location, direction, and velocity,
as well as the time of day. Id. at 4:4–13, 14:56-62, 17:15–18. Content,
including media clips, are presented to the user if the trigger point conditions
are satisfied. Id. at 2:24–29, 4:4–13, 5:18–20, 14:29–37. Lamont’s system,
with its tour guide, may be used, for instance, for “an automated guided tour,
a treasure hunt, a real estate tour, architectural overview, a line of
approach/instruction for trainee pilots, and distribution of targeted sales and
marketing information.” Id. at 2:27–29.


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                    b. Wolfe (Facebook IPR, Ex. 1004)
      Wolfe is directed to “a location-based mobile phone application for
providing a treasure hunt game consisting of puzzles solved at specific
physical locations.” Facebook IPR, Ex. 1004, 1:14–16. A mobile phone
provides location data to a server, which then may provide puzzle
information to a mobile phone based on the mobile phone’s location and/or
orientation. Id. at 3:35. For instance, there may be hints or clues provided
to assist a user in finding an object or treasure in or around the user’s
location such as a monument. Id. at 3:35–37. In Wolfe, the system may
provide a puzzle challenge or question to the user to verify that a site, object,
or treasure has been found. Id. at 3:32–39. Figure 4F and 4G, reproduced
below, show screenshots of a mobile phone device.




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As shown in Figure 4G, above, the mobile phone screen includes a question
presented to the user (e.g. “Who am I?”) and receiving the user’s correct
response (“Lincoln”), results in the display shown in Figure 4G. Ex. 1004,
5:50–56.

                     c. Wang (Facebook IPR, Ex. 1006)
      Wang is a book that is an introductory guide about computer
programming. Facebook IPR, Ex. 1006, 14–17. Wang includes a
description of how computers evaluate Boolean expressions. Id. at 23–40.

                     d. Discussion
                           i. Claim 1
      The Petition asserts that Lamont, Wolfe, and Wang render claim 1
obvious. Facebook Pet. 10–42. Below we consider the claim 1 limitations
in turn.
                           (1) Preamble 1[a]
      For the teachings of the preamble 1[a], Facebook asserts that Lamont
discloses a method for delivering context-based content to a first user
because Lamont discloses a tour script that is used for a guided tour that can
deliver context-based content to a user. Facebook Pet. 10–11 (citing
Facebook IPR, Ex. 1003, 1:17–19, 2:67–3:6). Facebook asserts that Lamont
teaches several types of context information including user location and
“direction, temporal state, velocity, rate of incline or decline, or any other
variable.” Id. at 11 (citing Facebook IPR, Ex. 1003, 2:12–14, 4:58–61,
4:66–5:2, 5:18–19).
      Patent Owner presents no arguments specifically related to the
preamble. See generally Facebook PO Resp.; Facebook PO Sur-reply.



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      We have reviewed the evidence and argument and on this record we
determine that Facebook has demonstrated that Lamont teaches
preamble 1[a] of claim 1. 19
                          (2) Limitation 1[b]

      For limitation 1[b], Facebook contends that Lamont’s “content
package” consists of a tour guide and the audio and/or visual content
associated with the tour script. Facebook Pet. 12–15. Facebook asserts that
Lamont discloses “a set of rules associated with the content package” by its
disclosure of trigger points in the tour guide which may contain certain
conditions. Id. at 15–17. Facebook contends that the claimed trigger
condition is a trigger point, with conditions (context) associated with the
trigger point “such as direction, time, velocity, as explained, which trigger
presentation of the content.” Id. at 18 (citing Facebook IPR, Ex. 1003, 2:67–
3:6, 17:15–18; Facebook IPR, Ex. 1002 ¶ 92). Facebook refers to Lamont’s
disclosure that trigger points may be grouped together that are assessed
using Boolean operators to determine if a preset string of conditions has
been met as an example of “rules.” Id. at 16–17 (citing Facebook IPR,
Ex. 1002 ¶ 90; Facebook IPR, Ex. 1003, 3:65–4:13, 17:15–18). Facebook
further refers to a “content piece,” which include items in a media list such
as multimedia items that can be played to the user, which are presented upon
a trigger. Id. at 14–15 (citing Facebook IPR, Ex. 1003, 5:5–7, 16:53–56).
      Facebook further contends that Lamont discloses the ability to receive
feedback from the user and to respond to that feedback, but Lamont does not



 We need not determine whether the preamble of claim 1 is limiting
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because Facebook has shown that Lamont discloses the preamble. See
Nidec, 868 F.3d at 1017.

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provide detail regarding the feedback type a user can provide. Facebook
Pet. 18 (citing Facebook IPR, Ex. 1003, code (57), 20:56–61). Facebook
then refers to Wolfe for the teaching of the limitation “wherein the set of
rules includes . . . an expected response.” Id. Facebook argues that Wolfe
discloses prompting a user for a response when it reaches a particular listing
for a destination that has been reached, where, for example, the prompt may
ask a user to solve a puzzle or answer a question. Id. at 18–19 (citing
Facebook IPR, Ex. 1002 ¶ 57; Ex. 1004, 5:3–9, 5:28–29, 5:47–58, Fig. 4F).
Facebook further refers to Wolfe’s disclosure that a user who answers a
question correctly may receive textual content or multimedia feedback and,
if the response is not correct, the request for input is again repeated. Id. at
19–20 (citing Facebook IPR, Ex. 1002 ¶ 96; Facebook IPR, Ex. 1004, 5:56–
60, Figs. 3 (steps 311, 315), 4F, 4G).
      Facebook asserts that a person of ordinary skill in the art would have
been motivated to combine Lamont and Wolfe because the references fall
within the same field of endeavor as the claims at issue. Facebook Pet. 20–
21. Facebook argues that Lamont discloses that its tour system can be used
for treasure hunt games, the use described in Wolfe, and Mr. Schmandt
testifies that a person of ordinary skill in the art would have been motivated
to include the question/response aspects of Wolfe in Lamont to provide the
advantage of enhanced game play. Id. at 21; Facebook IPR, Ex. 1002 ¶ 99.
Facebook also contends that Wolfe’s features would have benefitted
Lamont’s system because a response provided directly from a user under
Wolfe would have “provided a clear and unequivocal indication that the user
has reached a particular point in the tour—and that the user is aware of this
fact.” Facebook Pet. 21. Facebook argues that the combination of Lamont
and Wolfe would have been straightforward and a person of ordinary skill

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would have had a reasonable expectation of success. Id. at 22 (citing
Facebook IPR, Ex. 1002 ¶ 101). In support, Mr. Schmandt testifies that it
would have been trivial to modify Lamont because of its teaching delivery
of content which is based on any number of variables and triggers.
Facebook IPR, Ex. 1002 ¶ 101 (citing Facebook IPR, Ex. 1003, 2:12–14,
2:67–3:3). Mr. Schmandt also testifies that, although it is not clear in Wolfe
whether the server or mobile device is responsible for receiving and
processing user input, in the view of one of ordinary skill, the expected
response would have been incorporated into the tour script of Lamont and
executed locally on the client device. Id.
      Patent Owner presents no arguments specifically related to
limitation 1[b]. See generally Facebook PO Resp.; Facebook PO Sur-reply.
Patent Owner makes arguments related to the motivation to combine Lamont
and Wolfe, which we address below in Section IV.E.5.d.(5), and which do
not undermine Petitioner’s showing of a rationale to combine the references.
      We have reviewed the evidence and argument and on this record we
determine that Facebook has demonstrated that the combination of Lamont
and Wolfe teaches limitation 1[b] and sufficient rationale to combine the
references has been demonstrated.
                           (3) Limitations 1[c]–1[e]
                              (a) Petitioner’s Assertions
      For limitation 1[c], Petitioner asserts that Lamont discloses
components that receive notifications of changes to the location, velocity,
and time with respect to users as the claimed “receiving . . . contextual
information.” Facebook Pet. 24–26.
      For limitation 1[d], Petitioner argues that the “current context for the
first user” is the current activity or status of a user based on processing the

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contextual information of a user relating to location, speed, or time.
Facebook Pet. 27 (citing Facebook IPR, Ex. 1002 ¶ 106). Petitioner refers to
Lamont’s disclosure that “[w]hen the condition monitor 220 detects that
conditions 330 relevant to a tour have changed, it sends a signal containing
an indication of the type of condition and a measurement of that condition to
each of the elements of the relevant tour.” Id. at 27 (citing Facebook IPR,
Ex. 1003, 15:1–23). Petitioner asserts that processing of contextual
information may describe an activity in which a user may be engaged like
“IF T1 Speed>30 mph AND T2 Direction is North Easterly OR T3 Direction
is North westerly.” Id. at 28 (citing Facebook IPR, Ex. 1003, 4:4–13).
Petitioner contends that the claimed context could be an event where the
user travels in a particular direction at a certain time and speed. Id. at 28–
29. Petitioner additionally refers to other exemplary conditions disclosed in
Lamont, such as “traveling over 35 miles per hour,” or “between 10 am and
11:30 am,” or “heading within 30 degrees of due east.” Id. at 29 (citing
Facebook IPR, Ex. 1003, 17:18–21). Petitioner asserts that Lamont
discloses determining a current context for a user as part of a process where
the software evaluates whether the individual trigger point conditions are
satisfied. Id. at 28. Petitioner additionally relies upon Wang, which
discloses details of software evaluation using Boolean operations, such as
those in Lamont. Id. at 30–33.
      Petitioner contends that Lamont discloses determining whether a
current context satisfies a trigger condition as recited in limitation 1[e].
Facebook Pet. 35–36 (citing Facebook IPR, Ex. 1002 ¶ 121). Petitioner
argues that Lamont discloses comparing the current activity or status of a
user “against preset conditions 330 associated with various trigger points
100,” to determine “what conditions 330, as may be required by the trigger

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point 100, are satisfied.” Id. at 35 (citing Facebook IPR, Ex. 1003, 14:29–
37).
                                 (b) Patent Owner’s Assertions
       Patent Owner argues that Petitioner has not sufficiently demonstrated
that the prior art teaches “current context” as claimed. Facebook PO Resp.
27–32. Patent Owner asserts that the ’599 patent uses “context” differently
than “contextual information.” Id. at 28. Patent Owner contends that the
claims and the Specification differentiate between the terms. Id. at 28–32.
Patent Owner argues that the Specification defines “context” by stating that
“A context is a set of data that describes an event or environmental factor
associated with a user or the operational environment of content
management system 100.” Id. at 29 (citing Facebook IPR, Ex. 1001, 7:29–
39). Patent Owner asserts that it applies the plain meaning of the terms. Id.
at 28 n.7, see also id. at 32.
       Patent Owner argues that Facebook “wrongly treats ‘context’ and
‘contextual information’ as the same thing.” Facebook PO Resp. 33 (citing
Facebook IPR, Ex. 2010 ¶ 103). Patent Owner asserts that this is contrary to
Facebook’s expert’s admission “that ‘some sort of processing’ must be done
on ‘contextual information’ to determine ‘context.’” Id. (citing Facebook
IPR, Ex. 2017, 33:4–8). Patent Owner contends that “Facebook compares
Lamont’s conditions (what Facebook points to as ‘contextual information’)
to Lamont’s trigger points (what Facebook points to as ‘trigger conditions’)
and reads out the use of the claimed “context” in these limitation[s].” Id.
(citing Facebook IPR, Ex. 1002 ¶ 112). Patent Owner also asserts that
Facebook fails to show that Lamont teaches a set of data for the claimed
context that is determined from contextual information, and the claimed



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context is used in determining whether a trigger condition is met. Id. at 34
(citing Facebook IPR, Ex. 2010 ¶¶ 107–109).
      Patent Owner asserts that Facebook “point[s] to a Lamont event—
such as going in a specific direction at a specific speed—as the ‘context,’ but
the ‘event’ they describe is the circumstance where a set of conditions has
been detected.” Facebook PO Resp. 35 (citing Facebook IPR, Ex. 2010
¶ 109 (citing Facebook Pet. 28; Facebook IPR, Ex. 1002 ¶ 111)). Patent
Owner argues that this conflates “context” and “contextual information.” Id.
Patent Owner also contends that this does not show that Lamont determines
a set of data that describes an event or environmental factor, but instead
relates to the use of Boolean operators for conditions that are not the set of
data aspect of the context. Id. Patent Owner asserts that Lamont’s trigger
points are configured in terms of basic conditions that activate when basic
information satisfies a constraint or when a string of conditions that are met.
Id. at 36–37. Patent Owner argues that this does not “result in ‘a set of data
that describes an event or environmental factor associated with a user or the
operational environment of.’” Id. at 37 (citing Facebook IPR, Ex. 2010
¶ 106). Patent Owner contends that “Lamont . . . instead directly compares
its own trigger points (what Facebook alleges are ‘trigger conditions,’
Petition at 35–36) to conditions (what Facebook alleges is ‘contextual
information,’ Petition at 25–26).” Id. at 38 (citing Facebook IPR, Ex. 2010
¶ 107).
      Patent Owner further argues that Facebook’s use of Wang to imply
that Lamont’s Boolean expressions involve creating a set of data is wrong.
Facebook PO Resp. 39. Patent Owner contends that Petitioner asserts that
Lamont’s Boolean expressions produce true or false values, but Dr. Martin
testifies that “[w]hile a single bit of information is enough information for

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Lamont to decide whether to ‘trigger now’ or ‘don’t trigger now’, it is not a
set of data that describes an event or environmental factor associated with a
user or operational environment as used in the ’599 Patent.” Id. at 40–41;
Facebook IPR, Ex. 2010 ¶ 114. Patent Owner also asserts that Wang does
not support Facebook’s positions because it discloses that a value may be
stored in a variable, but the creation of a value is not automatic, and a person
of ordinary skill in art would only require a comparison, and not the creation
of a value. Facebook PO Resp. 40–45 (citing Facebook IPR, Ex. 2010
¶ 124).
      In Sur-reply, Patent Owner asserts that the ’599 patent claims a
tripartite structure: 1) receiving a set of contextual information; 2)
processing the contextual information to determine a current context; and 3)
determining whether the current context satisfies the trigger condition.
Facebook PO Sur-reply 3. Patent Owner argues that Lamont uses only two
steps, “receiving data and comparing that data to a trigger point condition,”
and does not use the “intermediate ‘current context.’” Id. Patent Owner
argues that in Facebook’s analysis and its expert’s testimony, “[t]here is no
processing of any data into an intermediate ‘current context,’ or any
explanation of what the results of that processing would be.” Id. at 3–6.
Patent Owner asserts that “Facebook points to nothing from Lamont or
Wang describing any single bit that does ‘characterize an event or
environmental factor associated with a user.’” Id. at 8. Patent Owner
further contends that Facebook does not show that a single bit of data can be
a “set” of data that can be used to identify the user’s current context. Id. at
8–9. Patent Owner disputes Petitioner’s contention that a collection of true
and false values in compound Boolean expressions is a current context
because the value is only a single bit of information. Id. at 10. Patent

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Owner also does not agree with Petitioner’s comparison with Table 2 of the
’599 patent because Table 2 does not show context or current context. Id. at
11. Patent Owner additionally argues that Petitioner presents new
impermissible arguments in its Reply such as “each of the ‘true’ or ‘false’
values obtained from evaluation of the individual Boolean expressions
within in a multipart Boolean expression in Lamont could have been stored
in program variables” and “Lamont discloses a logging subsystem” that
would allegedly “store the results of individual Boolean expressions in
variables.” Id. at 13–14.
                              (c) Analysis
       As the Petition states, and we agree, Lamont teaches that its
components receive notifications of changes to the location, velocity, and
time with respect to users, which is the claimed “receiving a set of
contextual information with respect to a first user.” Facebook Pet. 24–26
(citing Facebook IPR, Ex. 1003, 14:32–35, 14:64–67, 13:61–64, 15:1–10,
Fig. 2).
       As the Petition states, and we agree, Lamont teaches that the received
contextual information is processed. Facebook Pet. 26–35. Lamont states
that
       [t]he tour script may operate as follows: IF Tl Speed>30 mph
       AND T2 Direction is North Easterly OR T3 Direction is North
       westerly, THEN Trigger “You may be going to[o] fast to make
       the right turn on Acacia Avenue (T2), so you may want to take
       right on Beverly Blvd (T3).”
Facebook IPR, Ex. 1003, 4:5–10. Petitioner asserts, and we agree, that the
processing of contextual information includes an activity in which a user
may be engaged like “IF T1 Speed>30 mph AND T2 Direction is North
Easterly OR T3 Direction is North westerly.” Facebook Pet. 28 (citing


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Facebook IPR, Ex. 1003, 4:4–13). Petitioner contends, and we agree, that in
this instance, the claimed context is an event where the user travels in a
particular direction at a certain time and speed. Id. at 28–29. Petitioner
additionally relies upon Wang, which discloses details of software
evaluation using Boolean operations, such as those described in Lamont, to
demonstrate that the prior art performs processing on the contextual
information to determine the current context of a user. Id. at 30–33.
Referring to Wang, and using Lamont as an example, Petitioner asserts, and
we agree, that as an example, “‘T1 Speed>30 mph’ is an example of a
Boolean expression that compares a variable (‘T1 Speed’) against a fixed
value (‘30 mph’) [and] [t]his expression will generate a Boolean value of
‘true’ if T1 Speed is above 30 mph, and a value of ‘false’ otherwise.” Id. at
30–31 (citing Facebook IPR, Ex. 1006 ¶¶ 24–25, Table 9-1; Facebook IPR,
Ex. 1002 ¶ 113). Petitioner refers to Lamont’s string of conditions and
asserts, and we agree, that under Wang, “the computer will first obtain a
‘true’ or ‘false’ value with respect to the three component Boolean
expressions (such as whether ‘T1 Speed > 30 mph’) and will then obtain a
‘true’ or ‘false’ value for the larger expression that includes the connecting
Boolean AND/OR operators.” Id. at 32 (citing Facebook IPR, Ex. 1002
¶ 115). Mr. Schmandt testifies that “[t]he collection of these ‘true’ or ‘false’
values provides specific information generated by the computer that defines
‘a current context for the first user,’ because these ‘true’ and ‘false’ values
describe the presence (or absence) of a current activity or event associated
with that user.” Facebook IPR, Ex. 1002 ¶ 116.
      We do not find that Patent Owner’s arguments undermine Petitioner’s
showing of the teaching of limitations 1[c] and 1[d]. We agree with Patent
Owner that the terms “contextual information” and “context” for a user are

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different, but we also find that Petitioner has demonstrated that the prior art
teaches both “contextual information” and “context.” Petitioner asserts that
in Lamont, user contextual information, such as location, speed, or time, is
received, with the “condition monitor . . . send[ing] a signal containing an
indication of the type of condition and a measurement of that condition.”
Facebook Pet. 26 (citing Ex. 1003, 15:1–4). Petitioner contends that the
“current context” is the user’s “current activity or status, e.g. whether the
first user is traveling in a particular area, at a particular speed, in a particular
direction, at a particular time, etc.” Id. at 28. Petitioner also contends the
contextual information is processed in Lamont to determine whether certain
conditions are satisfied, such as determining whether the user is traveling
faster than 30 mph and is travelling in one of two directions. Id. We agree
with Petitioner that in Lamont a user “context” is, for instance, an event in
which user travels in a particular direction, at a certain rate of speed, and at a
particular time. Id. at 28–29.
       Although Patent Owner argues that Facebook’s arguments that a
Lamont event, such as going in a specific direction at a specific speed, is the
context, and the event is the circumstance where a set of conditions has been
detected, conflate the terms “context” and “contextual information,” we do
not agree. See Facebook PO Resp. 35. As discussed, Facebook asserts that
Lamont teaches that by parameters like changes to the location, velocity, and
time, the user “contextual information,” are received. Further, Petitioner
contends that, and Lamont’s disclosures show, that this contextual
information is processed by one or more operations to determine the user
“context,” that is, to determine a user’s location and velocity at some time,
for instance. Although Patent Owner makes several arguments, which we
discuss below, as to why Lamont does not teach a “set of data” that

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conforms with the meaning of “context,” we find that the evidence supports
that Lamont’s determinations fall within the ’599 patent Specification’s
description of “context” as “a set of data that describes an event or
environmental factor associated with a user.” Facebook IPR, Ex. 1001,
7:36–39.
       Patent Owner argues that the ’599 patent requires “context” to
“describe an event or environmental factor” and are not just “GPS
coordinates or other ‘basic information associated with the user’ (as for
‘contextual information’), but instead ‘characterizations of events or
environments of the user or operational environment as a whole,’” such as,
for example, “sitting down, watching TV, asleep, alert, talking, typing at the
computer in the home study or at the office, walking around the house,” etc.
Facebook IPR, PO Resp. 29–31. Patent Owner requires too much. The ’599
patent Specification’s description, however, identifies context as a set of
data that describes an environmental factor associated with a user, so
Facebook’s evidence in Lamont of processing contextual information with a
determination of a user’s location and velocity supports the teaching of the
limitation.
       Further, although Patent Owner argues, with Dr. Martin’s supporting
testimony, that “a set of data” has to be more than a single value in order to
“describe an event or environmental factor,” the evidence indicates that the
term should not be so restricted. Facebook PO Resp. 31; Facebook IPR,
Ex. 2010 ¶ 101. As Petitioner points out, claim 6, which depends from
claim 1, recites “context . . . defined as . . . a high-level abstraction which
corresponds to one or more low-level contextual information values.”
Facebook Pet. 45; Facebook IPR, Ex. 1001, 24:15–19 (emphasis added).
Accordingly, as Petitioner argues, context may correspond to one contextual

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information value. See Facebook Pet. Reply 9. Dr. Martin also testifies that
he thinks “of a context as being a set of data, so it[’]s a collection of zero or
more unordered elements.” Facebook IPR, Ex. 1017, 26:25–27:4. Dr.
Martin further testifies, albeit stating that it is dependent on the details of the
system, that “[i]t seems possible to me that you could have a system where a
single piece of data would be adequate to characterize an event or
environmental factor associated with a user.” Id. at 62:16–2 (emphasis
added). Accordingly, we credit Mr. Schmandt’s testimony in view of this
evidence, as well as other disclosures in the Specification directed to a
context based on single or limited data. Facebook IPR, Ex. 1016 ¶¶ 25–26
(citing Facebook IPR, Ex. 1001, 4:11– 12 (“context can be based on or
include one or more user activities”), id. at 4:22–26 (context based on
“walking to work,” “walking around the mall”).
      Patent Owner further argues, with Dr. Martin testifying, that “[e]ven
though the system described in Lamont does monitor conditions and activate
triggers, these logic steps do not determine a ‘set of data’ that ‘describes an
event or environmental factor.’” Facebook PO Resp. 37; Facebook IPR, Ex.
2010 ¶ 106. Patent Owner argues, with Dr. Martin’s supporting testimony,
that “the Lamont system mechanically applies the expressly configured
logic, and fires appropriate trigger actions when necessary,” and is limited to
comparing its own trigger points to conditions. Facebook PO Resp. 37
(citing Facebook IPR, Ex. 2010 ¶ 106). Patent Owner’s arguments attempt
to miscast Lamont’s teachings to suggest more is required in the claim than
what is recited. As discussed above, limitations 1[c] and [d] merely require
that there is a receipt of user contextual information and that information is
processed to determine user context, which Petitioner has demonstrated.



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Whether Lamont’s system employ expressly configured logic is not relevant
to the teaching of the claim limitations.
      Similarly, Patent Owner asserts that “Lamont includes no processing
of ‘contextual information’ to determine ‘context’ such that the ‘context’ can
be used to see if a ‘trigger condition’ is satisfied, but instead directly
compares its own trigger points.” Facebook PO Resp. 38. We do not agree.
As discussed above, Lamont discloses the use of Boolean operators to
determine the context of a user’s relative speed and direction of travel.
Further, as discussed below, Lamont also determines whether this context
satisfies the trigger condition.
      Patent Owner additionally argues that in Lamont the single bit of
information indicating whether a value is true or false is not a “set of data
that describes an event or environmental factor associated with a user or
operational environment as used in the ’599 Patent.” Facebook PO Resp.
40–41 (citing Facebook IPR, Ex. 2010 ¶ 114). Further, Patent Owner
asserts, computers evaluating multi-part Boolean expressions do not keep
records of operations over time. Id. at 41 (citing Facebook IPR, Ex. 2010
¶¶ 114–115). Patent Owner discusses Wang and its operation to argue that
there is no value produced, but even if there is a value in a variable, the
creation of the value is not automatic, and a person of ordinary skill in the
art would write programs to minimize the use of needless variables. Id. at
41–45.
      Patent Owner’s argument on the single bit of information again argues
limitations that do not appear in the claim limitations. Limitation 1[d]
requires processing the contextual information to determine a current
context. As Petitioner asserts, Lamont receives contextual information, such
as the speed a user is travelling, and processes the information to make a

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determination that a user, for instance, is travelling at or not travelling at a
rate over 30 miles per hour, as well as making determinations on user travel
direction. Facebook IPR, Ex. 1003, 4:4–13. Lamont’s determination falls
within Dr. Martin’s testimony that a single piece of data (the bit of
information indicating true or false in specific programming) would be
adequate to characterize an event or environmental factors associated with a
user, which includes determinations in Lamont such as whether a user is
traveling faster or slower than some speed which is used in the
determination of context, with Mr. Schmandt providing supporting
testimony. Facebook IPR, Ex. 1017, 62:16–2; Facebook IPR, Ex. 1002 ¶ 70
(“the computer first obtains a ‘True’ or ‘False’ value with respect to the
three component Boolean expressions (such as whether ‘T1 Speed > 30
mph’)”), ¶ 116 (“if the Boolean expression ‘T1 Speed > 30 mph’ produces a
value of ‘true,’ that value reflects the fact that the system processed the
contextual information relating to the user’s velocity and now knows that the
user has entered trigger point T1 at a speed exceeding 30 miles per hour”),
¶ 111 (“in the context of Lamont, an exemplary ‘context’ could be an event
in which the user travels in a particular direction and/or at a particular rate of
speed at a particular time.”). Additionally, in Lamont, the results of the
three component Boolean expressions are further processed using the
AND/OR operators to determine user context, that is, the user is travelling
slower or faster than 30 miles per hour and is or is not travelling in a certain
direction. Facebook Pet. 32–33 (citing Facebook IPR, Ex. 1005 ¶¶ 115–
116). Moreover, the claim does not require that the data from the evaluation
multi-part Boolean expressions be stored and logged over time; instead the
claim limitation requires only that the contextual information be processed



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to determine user context, and, as discussed, Lamont’s disclosures provide
support of this teaching.
      Patent Owner additionally asserts that the claims require a tripartite
structure: 1) receiving a set of contextual information; 2) processing the
contextual information to determine a current context; and 3) determining
whether the current context satisfies the trigger condition. Facebook PO
Sur-reply 3. Patent Owner argues that in Facebook’s analysis and its
expert’s testimony, “[t]here is no processing of any data into an intermediate
‘current context,’ or any explanation of what the results of that processing
would be.” Id. at 3–6. Patent Owner asserts that Facebook contends that
“Lamont’s raw location, time, and direction data is compared to Lamont’s
‘trigger point conditions.’” Id. at 4. Patent Owner points to Mr. Schmandt’s
testimony that
      I explained that in Lamont, location, speed and time information
      (“contextual information”) is processed by condition monitor
      220 in order to determine the current activity or status of the user
      (“context”) as part of the process of evaluating whether or not
      trigger point conditions are satisfied—for example, that the user
      is in fact currently traveling at speed above 30mph and in one of
      two directions.
Facebook PO Sur-reply 5 (quoting Ex. 1016 ¶ 22). Based on this testimony,
Patent Owner argues that “[a]s Facebook’s expert admits, Lamont evaluates
whether a trigger (e.g., ‘traveling at a speed above 30mph and in one of two
directions’) is met by what he calls contextual information (‘location, speed
and time information’).” Facebook PO Sur-reply 5–6.
      We do not agree with Patent Owner’s argument. As Mr. Schmandt’s
testimony explains: “[t]he step of determining ‘a current context for the first
user’ in Lamont occurs when the system evaluates whether the individual
Boolean conditions within this IF-THEN statement are satisfied,” and

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“‘determining whether the current context satisfies the trigger condition’
occurs when the system determines whether or not all of the Boolean
conditions for the trigger point have been satisfied.” Facebook IPR, Ex.
1002 ¶ 121 (emphasis added). That is, Lamont determines context by
Boolean operations, which is that the user is or is not travelling at some
speed and direction, but there is also a determination as to whether a trigger
condition is met. We credit this testimony because it is supported by
Lamont’s disclosures of the determination of speed and direction, which is
the context, and a check is performed on the context to determine “IF” the
context meets the conditions, “THEN” if the conditions are met, there is a
trigger. Facebook IPR, Ex. 1003, 4:6–10.
      Accordingly, we determine that Facebook has demonstrated that the
combination of Lamont, Wolfe, and Wang teaches limitations 1[c]–1[e] and
sufficient rationale to combine the references has been demonstrated.
                           (4) Limitation 1[f]
      Petitioner contends that Lamont discloses that, in response to the trigger
condition being satisfied, the content piece is presented to a user, as recited in
limitation 1[f]. Facebook Pet. 37–38. Petitioner refers to Lamont’s disclosure
that “IF T1 Speed>30 mph AND T2 Direction is North Easterly OR T3
Direction is Northwesterly, THEN Trigger ‘You may be going to [sic; too]
fast to make the right turn on Acacia Avenue (T2), so you may want to take
right on Beverly Blvd (T3).’” Id. at 37 (citing Facebook IPR, Ex. 1003, 4:6–
10). Petitioner asserts that this is an example of the presentation of content in
response to a trigger condition being satisfied. Id.
      Patent Owner presents no arguments specifically related to limitation
1[f]. See generally Facebook PO Resp.; Facebook PO Sur-reply.



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      We have reviewed the evidence and argument and on this record we
determine that Facebook has demonstrated that Lamont teaches
limitation 1[f] of claim 1.
                              (5) Limitations 1[g]–1[i]
      Petitioner contends that the combination of Lamont and Wolfe teaches
receiving a response from a user corresponding to the presented content
piece as recited in limitation 1[g]. Facebook Pet. 39–41. Petitioner argues
that Lamont discloses a user feedback monitor that receives input from a
user with respect to the presented content piece, such as the content specified
in a media list. Id. at 39 (citing Facebook IPR, Ex. 1003, 20:56–59).
Petitioner further refers to the proposed combination with Wolfe, where
under the proposed combination, Lamont’s client device is adapted to
receive an answer to a puzzle or question from a user presented during a
treasure hunt, and then determines if the answer was correct. Id. (citing
Facebook IPR, Ex. 1004, 5:47–58).
      Petitioner asserts that Wolfe discloses determining whether the
received response matches the expected response as recited in
limitation 1[h]. Facebook Pet. 41. Petitioner contends that step 311 of
Figure 3 of Wolfe is the step “Correct input?” Id. (citing Facebook IPR,
Ex. 1004, Fig. 3). Petitioner further contends that in Wolfe, “[i]f the answer
is correct, the user may receive text feedback (step 311–313),” and “may
also receive multimedia feedback that relates to the puzzle (i.e. sound,
images, video, etc[.]).” Id. (citing Facebook IPR, Ex. 1004, 5:55–58).
      Petitioner argues that the combination of Lamont and Wolfe teaches
performing an action based on an outcome of the determination as recited in
limitation 1[i]. Facebook Pet. 41–42 (citing Facebook IPR,
Ex. 1002 ¶¶ 101–106). Petitioner asserts that under the combination, “a

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treasure hunt implemented as a guided tour would perform the action of
allowing the user to proceed to the next step in the tour upon determining
that the user provided the correct answer (the ‘expected response’).” Id. at
42 (citing Facebook IPR, Ex. 1002 ¶ 130).
      Patent Owner argues that Facebook’s assertions fail for limitations
1[g]–[i] for the following reasons: (a) the claim requires the ability to
provide an unexpected response; (b) a person of ordinary skill in the art
would not have been motivated to modify Lamont with Wolf; and
(c) Facebook uses differing evidence for the required “content piece” in
different limitations. Facebook PO Resp. 46–61. We do not find that Patent
Owner’s arguments undermine Facebook’s showing of the teaching of
limitations 1[g]–[i].
      As to the first issue, that is, that the claim requires the ability to
provide an unexpected response. Facebook PO Resp. 46. We do not agree
with Patent Owner’s argument because it relies on Patent Owner’s proposed
claim construction for limitation 1[h] (supra Section IV.E.3), and we have
not adopted that proposed construction.
      Moreover, Petitioner asserts that, even under Patent Owner’s proposed
claim construction, Wolfe discloses not only determining whether a correct
response has been received, but also determining whether an incorrect
answer has been received. See Facebook Pet. Reply 2–3. We agree. As
discussed in the Petition, consistent with Figure 3 of Wolfe, “if a user does
not provide the correct response, it may be asked again to provide input and
prevented from proceeding to the next listing until the user provides the
correct response.” Facebook Pet. 20 (citing Facebook IPR, Ex. 1004, Fig. 3,
step 311). Petitioner’s annotated portion of Wolfe’s Figure 3 is reproduced
below.

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As depicted in Petitioner’s annotated version of Wolfe’s Figure 3, above, the
step of “determining whether the received response matches the expected
response” is reflected in step 311, but if it that response is not received, the
action shown in on the “NO” pathway. Facebook Pet. Reply 2–3; Facebook
Pet. 20.
      As to the second issue, Patent Owner asserts that Lamont’s disclosure
on its user feedback is limited, and Petitioner never addresses its limited
disclosure. Facebook PO Resp. 47–48. Patent Owner also contends that
Facebook’s rationale for combining Wolfe with Lamont lacks merit. Id. at
48–57. More specifically, Patent Owner asserts that Petitioner’s rationale
that Lamont provides express motivation to combine with Wolfe because of
a common treasure hunt is flawed because the treasure hunt in each
reference are not the same. Id. at 48–49. Patent Owner argues that “Lamont
teaches a treasure hunt as a mandatory sequence of trigger points” (“hunt for
the required locations,” “but Wolfe’s ‘treasure hunt game’ consists of
‘puzzles solved at specific physical locations’” (“a series of separate puzzles
at the physical locations”). Id. at 49 (emphasis omitted). Patent Owner
asserts that a person of ordinary skill in the art would not understand either

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references’ “notion” of treasure hunt to be superior to the other. Id. (citing
Facebook IPR, Ex. 2010 ¶ 141). Patent Owner contends that Facebook’s
alleged motivation to adopt Wolfe in combination because “a response
provided directly from a user would have provided a clear and unequivocal
indication that the user has reached a particular point in the tour—and that
the user is aware of this fact,” disregards Lamont’s purpose to deliver
location-specific content and a person of ordinary skill in the art “would not
be motivated to transform a system designed to deliver locationally-specific
information to a user into one that instead quizzes the user.” Id. at 51–52
(citing Facebook IPR, Ex. 2010 ¶ 142). Patent Owner argues that because
“Lamont and Wolfe provide complete and fully independent disclosures of
their own different systems,” a person of ordinary skill in the art would not
be motivated to combine the references. Id. at 52 (citing Facebook IPR,
Ex. 2010 ¶ 140).
      Patent Owner additionally asserts that even if Lamont and Wolfe were
combined, Facebook does not provide details on how the combination would
receive user input. Facebook PO Resp. 53 (citing Facebook IPR, Ex. 2010
¶ 155). Patent Owner refers to Lamont’s limited user feedback, and
“Facebook never identifies any Lamont/Wolfe combination component that
receives Wolfe-style user input feedback.” Id. (citing Facebook IPR,
Ex. 2010 ¶ 157). Patent Owner argues that it is not arguing bodily
incorporation and is instead arguing that Facebook has “left a meaningful —
and fatal — gap in their analysis” in view of the differences in the prior art
references. Id. at 56 (citing Facebook IPR, Ex. 2010 ¶ 163). Patent Owner
also argues that Dr. Martin has provided rebuttal evidence on the reasonable
expectation of success of the combination, with Dr. Martin testifying “that
the user input components identified in Lamont and Wolfe are substantially

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different,” and Petitioner does not reconcile these “into a coherent system”
and avoided related analysis. Id. at 56–57; Facebook IPR, Ex. 2010 ¶ 163.
      We do not find that Patent Owner’s arguments undermine Petitioner’s
persuasive showing of rationale to combine Lamont and Wolfe, as well as
the demonstration of reasonable expectation of success of the combination.
On the issue of the rationale to combine based on the treasure hunt, although
Patent Owner argues that differences in the prior art makes the art
uncombinable, the evidence supports otherwise. Lamont discloses that its
system can be used in location-based treasure hunts (Facebook IPR,
Ex. 1003, 2:24–28, 15:56–59), and Wolfe is directed to treasure hunt games
with puzzles presented specific physical locations (Facebook IPR, Ex. 1004,
1:14–16). The evidence supports that there are advantages associated with
the combination. As Mr. Schmandt testifies, the enhancement of game play
of Lamont in Wolfe would provide greater enjoyment to tour customers.
Facebook IPR, Ex. 1002 ¶ 99. Dr. Martin does not rebut that Lamont offers
the potential for enhancement of game play. Facebook IPR, Ex. 2010
¶¶ 136–145. Also, Lamont offers that advantage of an “indication that the
user has reached a particular point in the tour – and that the user is aware of
this fact,” as Mr. Schmandt testifies. Facebook IPR, Ex. 1002 ¶ 99. Dr.
Martin argues that Mr. Schmandt offers no need in Lamont for to confirm
that a “user is aware” that they have reached a location, but even if this was
a need, this could be accomplished by Lamont’s GPS-driven system
triggering a display of content and receiving a response leading to the next
stop. Facebook IPR, Ex. 2010 ¶¶ 142–143. We agree with Mr. Schmandt
that a direct indication from a user that they have reached a particular point
in a tour and the user has awareness of that fact offers the potential
advantage of specific user knowledge to a tour operator. Facebook IPR, Ex.

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1002 ¶ 99. As Petitioner points out, GPS information alone may not be
indicative of user awareness, as a user may be facing away from a landmark
or may not have noticed it. Facebook Pet. Reply 22. These advantages
offered by Wolfe to Lamont support the rationale to combine the references.
See KSR, 550 U.S. at 417 (“[I]f a technique has been used to improve one
device, and a person of ordinary skill in the art would recognize that it would
improve similar devices in the same way, using the technique is obvious
unless its actual application is beyond his or her skill.”).
      The evidence also supports Petitioner’s showing that the prior
references are combinable with advantages and a reasonable expectation of
success. Rather than having limited user feedback as Patent Owner argues,
the Petition indicates, and the reference supports, that Lamont discloses that
its client device may be a mobile phone or a mobile PC client device 200.
Facebook Pet. 51 (citing Facebook IPR, Ex. 1003, 8:54–55; Facebook IPR,
Ex. 1002 ¶ 159). Wolfe also discloses the use of mobile phones that
“include[e] a display or graphical user interface and internet accessibility.”
Facebook Pet. Reply 18–19 (citing Facebook IPR, Ex. 1004, 3:4–7;
Facebook IPR, Ex. 1002 ¶ 57). Contrary to Patent Owner’s arguments, the
evidence thus indicates that the prior art references use similar devices. So
although Patent Owner argues that under an embodiment in Lamont there is
only limited user feedback provided (see Facebook PO Resp. 47–48 (citing
Facebook IPR, Ex. 1003, 20:55–62), this argument does not take into
account Lamont’s enhanced user capabilities with a mobile phone. Patent
Owner does not point to evidence that the techniques of Wolfe could not
have been incorporated into Lamont, and Mr. Schmandt provides testimony
that the incorporation would have offered advantages, as discussed above,
and would have been implementable. Facebook IPR, Ex. 1002 ¶¶ 99, 101.

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Further, we credit the testimony of Mr. Schmandt that a skilled artisan
would have had a reasonable expectation of success of the combination of
Lamont and Wolfe where “[f]rom an implementation standpoint, [Wolfe’s]
functionality could have been readily incorporated into the ‘tour scripts’
executed at the client device in Lamont,” in view of the similarity of the user
devices. Facebook IPR, Ex. 1002 ¶ 101.
      As to the third issue, Patent Owner alleges that Facebook uses
differing evidence for the required “content piece” in different limitations.
Facebook PO Resp. 57–61. Patent Owner contends that Petitioner relies on
Lamont’s “media clip” for its assertions of a “content piece” for its
assertions for part of limitations 1[b] and 1[f]. Id. at 58 (citing Facebook
Pet. 14–15, 37). Patent Owner argues that Facebook then refers to Wolfe’s
disclosures for some of the language of limitations 1[b] and 1[g]. Id. at 58–
59 (citing Facebook Pet. 18; Facebook IPR, Ex. 2010 ¶ 149). Patent Owner
contends that although Petitioner discusses Lamont, Petitioner discusses the
“expected response” “in the context of Wolfe’s treasure hunt games with a
‘content piece’ presented by a ‘trigger condition’ in a ‘set of rules’ and a
‘content package’ that all come from one of Wolfe’s treasure hunt games.”
Id. at 59 (citing Facebook Pet. 18–20; Facebook IPR, Ex. 2010 ¶ 150).
Patent Owner argues that “Lamont’s treasure hunts (hunts for the required
locations) are not the same as Wolfe’s treasure hunt games (puzzles at
physical locations), so any such alleged ‘content packages’—including the
constituent ‘content piece’—would not be identical.” Id.
      The evidence supports that Facebook consistently relies on the “media
clip” of Lamont as the claimed “content piece.” Facebook Pet. 14, 15, 17,
18, 37, 38, 41. Moreover, Facebook relies on Wolfe to teach the “expected
response” in the claim limitations. See id. at 18. We do not discern

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inconsistencies in the Petition on this issue; instead Patent Owner is relying
on an incorrect assumption that Facebook’s argument relies on bodily
incorporating Wolf into Lamont’s disclosure.
      Accordingly, we determine that Facebook has demonstrated that the
combination of Lamont, Wolfe, and Wang teaches limitations 1[g]–1[i] and
sufficient rationale to combine the references has been demonstrated.
                                 (6) Conclusion
      Having considered the arguments and evidence, we determine that
Facebook has shown by a preponderance of the evidence that the
combination of Lamont, Wang, and Wolfe renders obvious claim 1 of the
’599 patent.
                   ii. Independent Claims 12 and 19
      For the challenges to claims 12 and 19, Facebook relies on similar
evidence and argument to that presented for claim 1. Facebook Pet. 49, 50–
55. Patent Owner presents the same arguments for these claims as those
presented for claim 1, which we address above. See Facebook PO Resp. 27–
61.
      We have reviewed the evidence and argument and on this record we
determine that Facebook has shown by a preponderance of the evidence that
the combination of Lamont, Wang, and Wolfe renders obvious claims 12
and 19 of the ’599 patent.
                 iii. Dependent Claims 4, 6, 7, 10, 11, 15, 17, 18, 22, 24,
                 and 25
      Facebook presents evidence and argument in support of its
contentions that dependent claims 4, 6, 7, 10, 11, 15, 17, 18, 22, 24, and 25
are rendered obvious by Lamont, Wolfe, and Wang. Facebook Pet. 42–56.
For claim 4, Facebook asserts that Lamont discloses “how a tour designer


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can create a guided tour specifying content that to present based on certain
conditions relating to contextual information.” Id. at 42. Facebook further
contends that “[t]he step of ‘creating one or more context entries in a context
manager,’ occurs in Lamont when the tour designer uses the tour script
software to create a tour script trigger point that specifies conditions.” Id. at
43. For claim 6, Facebook argues that Lamont teaches a “high-level
abstraction” by two pieces of information that are contained in a trigger
point. Id. at 45. For claim 7, Facebook asserts that Lamont teaches that
rules determine the tour which include a trigger component associated with a
high-level abstraction. Id. at 48. For claim 10, Facebook contends that in
Lamont “contextual information” can include time information, velocity,
direction and other parameters. Id. For claim 11, as asserted for claim 1,
Facebook contends that in Lamont the “content piece” can be a video or
audio clip. Id. at 49. For claims 15, 17, 18, and 22, Facebook asserts that
these claims are not materially different than claim 4, and are obvious for the
same reasons. Id. at 50, 55–56. For claims 24 and 25, Facebook asserts that
these claims are not materially different than claim 10, and are obvious for
the same reasons. Id. at 56.
      Patent Owner presents no arguments specific to these claims. See
Facebook PO Resp. 27–61.
      We have reviewed the evidence and argument and on this record we
determine that Facebook has shown by a preponderance of the evidence that
the combination of Lamont, Wang, and Wolfe renders obvious claims 4, 6,
7, 10, 11, 15, 17, 18, 22, 24, and 25 of the ’599 patent.




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             6. Asserted Obviousness of Claim 9 Over Lamont, Wolfe,
             Wang, and Belimpasakis
      Petitioner contends that claim 9 is unpatentable under 35 U.S.C.
§ 103(a) as obvious over Lamont, Wolfe, Wang, and Belimpasakis.
Facebook Pet. 56–61. In support, Petitioner also relies upon the Schmandt
Declarations. Facebook IPR, Ex. 1002, 1016.
      We begin our discussion with a brief summary of Belimpasakis and
then address the evidence and arguments presented.
                   a. Belimpasakis (Facebook IPR, Ex. 1007)
      Belimpasakis is generally directed to methods and systems for content
sharing. Facebook IPR, Ex. 1007, code (57). In particular, Belimpasakis
describes a method of a user sharing content by the user selecting one to
share the content with and the device will determine all necessary protocols
and configuration for sharing the content. Id. at code (57), 4:56–5:1.
                   b. Analysis
      Claim 9 recites the method of claim 1, “wherein presenting the
content piece comprises sharing the content piece with a remote device.”
Facebook IPR, Ex. 1001, 24:26–28. Facebook contends that claim 9 would
have been obvious over the combination of Lamont, Wolfe, and Wang in
further view of Belimpasakis. Facebook Pet. 56–61. Facebook asserts that
Belimpasakis describes several techniques for sharing content with a remote
device, including sending content through email or instant messaging using a
mobile phone. Id. at 57 (citing Facebook IPR, Ex. 1002 ¶ 176, n.6;
Facebook IPR, Ex. 1007, 1:27–50). Facebook also refers to Belimpasakis’s
disclosure of content sharing using a personal resource file that allows a
sender to share content by selecting a recipient and the device obtains the
content and sends it. Id. (citing Facebook IPR, Ex. 1007, 4:34–55, 7:22–28,

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7:37–39). Facebook asserts that a person of ordinary skill in the art would
have been motivated to combine Belimpasakis with Lamont, Wolfe, and
Wang because Belimpasakis provides an express motivation, stating,
“[p]eople want to be able to share their content on many different levels with
others including, for example, their family, friends and colleagues.” Id. at
59 (citing Facebook IPR, Ex. 1007, 1:19–23). Facebook asserts that a
person of ordinary skill would have been motivated “to allow guided tour
users to share the content with which they are presented during a tour.” Id.
(citing Facebook IPR, Ex. 1002 ¶ 181).
      Patent Owner presents no arguments specifically related to this claim.
See generally Facebook PO Resp.; Facebook PO Sur-reply.
      We have reviewed the evidence and argument and on this record we
determine that Facebook has shown by a preponderance of the evidence that
the combination of Lamont, Wang, Wolfe, and Belimpasakis renders
obvious claim 9 of the ’599 patent.
             7. Asserted Obviousness Grounds With Meyers
      Petitioner contends that claims 1, 4, 6, 7, 10–12, 15, 17–19, 22, 24,
and 25 are unpatentable under 35 U.S.C. § 103(a) as obvious over Lamont,
Wolfe, Wang, and Meyers and claim 9 as obvious over Lamont, Wolfe,
Wang, Belimpasakis, and Meyers. Facebook Pet. 61–66. Petitioner relies
on Meyers as an additional ground for the teaching of the “content package”
recited in the independent claims. Id. at 61.
      Because we have determined that claims 1, 4, 6, 7, 10–12, 15, 17–19,
22, 24, and 25 are rendered obvious over Lamont, Wolfe, Wang, and Meyers
and claim 9 is rendered obvious over Lamont, Wolfe, Wang, and
Belimpasakis, we need not reach these other grounds for unpatentability of
these claims. See SAS, 138 S. Ct. at 1359.

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       F. Conclusion As To Facebook’s Challenges To Claims 1, 4, 6, 7, 9–
       12, 15, 17–19, 22, 24, and 25 of the ’599 Patent
       For the foregoing reasons, we conclude that Facebook has shown by a
preponderance of the evidence that claims 1, 4, 6, 7, 10–12, 15, 17–19, 22,
24, and 25 of the ’599 patent are unpatentable. In summary:

                    35                            Claims      Claims Not
                             References/
     Claim(s)     U.S.C.                          Shown         Shown
                               Basis
                    §                         Unpatentable Unpatentable
 1, 4, 6, 7, 10–                              1, 4, 6, 7, 10–
                            Lamont,
 12, 15, 17–19, 103(a)                        12, 15, 17–19,
                            Wolfe, Wang
 22, 24, 25                                   22, 24, 25
                            Lamont,
 9                103(a)    Wolfe, Wang,      9
                            Belimpasakis
 1, 4, 6, 7, 10–            Lamont ,
 12, 15, 17–19, 103(a)      Wolfe, Wang,
 22, 24, 25                 Meyers 20
                            Lamont,
                            Wolfe, Wang,
 9                103(a)
                            Belimpasakis,
                            Meyers 21
                                              1, 4, 6, 7, 9–
 Overall
                                              12, 15, 17–19,
 Outcome
                                              22, 24, 25




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   As explained above, because we determine challenged claims 1, 4, 6, 7,
10–12, 15, 17–19, 22, 24, and 25 are rendered obvious by Lamont, Wolfe,
and Wang, we need not address the obviousness ground for these claims.
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   As explained above, because we determine challenged claim 9 is rendered
obvious by Lamont, Wolfe, Wang, and Belimpasakis, we need not address
the obviousness ground for this claim.

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 V. TWITTER’S CHALLENGES TO CLAIMS 1, 4, 6, 7, 9–12, 15, 17–19,
              22, 24, AND 25 OF THE ’599 PATENT
      A. Procedural Background
      Twitter filed two petitions challenging claims of the ’599 patent;
one in IPR2021-01458 (“Twitter IPR” or “1458 IPR”), and one in
IPR2021-01459 (“1459 IPR”). The Petition in the 1458 IPR (1458 IPR,
Paper 3, “Twitter Pet.”) challenges claims 1, 4, 6, 7, 9–12, 15, 17, and 18
of the’599 patent, and the Petition in the 1459 IPR (1459 IPR, Paper 3,
“Twitter2 Pet.”) challenges claims 19, 22, 24, and 25 of the ’599 patent.
The 1459 IPR was consolidated with the 1458 IPR. See Twitter IPR,
Papers 11, 12, 14.
      Pursuant to 35 U.S.C. § 314(a), on April 6, 2022, in the consolidated
case, we instituted inter partes review on the following grounds:




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        Claim(s)
                              35 U.S.C §           Reference(s)/Basis
      Challenged
 1, 6, 7, 9–12, 17–19,
                         103(a) 22              PALLAS 23
 24, 25
 1, 4, 6, 7, 9–12, 15,
                         103(a)                 PALLAS, Yau 24
 17–19, 22, 24, 25
 1, 4, 6, 7, 9–12, 15,
                         103(a)                 PALLAS, Kim 25
 17–19, 22, 24, 25
 1, 4, 6, 7, 9–12, 15,
                         103(a)                 PALLAS, Yau, Kim
 17–19, 22, 24, 25
Twitter Pet. 12; Twitter2 Pet. 12; Twitter IPR, Paper 11 (“Twitter Inst.
Dec.”); Paper 14 (Twitter2 Inst. Dec.”).
      Patent Owner filed a Patent Owner Response (“Facebook PO Resp.”).
Twitter IPR, Paper 25. Patent Owner also filed a Declaration of David
Martin, Ph.D. with the Response to support its positions. Twitter IPR,
Ex. 2013. Twitter filed a Reply (“Twitter Pet. Reply”) to the Patent Owner
Response. Twitter IPR, Paper 28. Twitter also filed a Declaration and
Reply Declaration of Dr. Don Turnbull. Twitter IPR, Ex. 1003, Ex. 1025.


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   35 U.S.C. § 103 (2006), amended by Leahy–Smith America Invents Act,
Pub. L. No. 112-29 § 103, sec. (n)(1), 125 Stat. 284, 287, 293 (2011)
(effective Mar. 16, 2013). This version of § 103 applies because the
effective priority date of the ’599 patent is before the effective date of the
AIA amendments. See Twitter, Ex. 1001, code (22) (filing date of
December 2, 2008).
23
   Sobah Abbas Petersen & Jan-Kristian Markiewicz, PALLAS: Personalized
Language Learning on Mobile Devices, 5th IEEE Int’l Conf. Wireless,
Mobile & Ubiquitous Tech. Educ. 52 (Mar. 23–26, 2008) (Twitter,
Ex. 1004).
24
   Jane Yau & Mike Joy, A Context-aware and Adaptive Learning Schedule
Framework for Supporting Learners’ Daily Routines, 2d Int’l Conf. Sys.
(2007) (Twitter, Ex. 1005).
25
   InSu Kim et al., CASTmiddleware, Security Middleware of Context-Awareness
Simulation Toolkit for Ubiquitous Computing Research Environment, 344
Lecture Notes Control & Info. Sci. 506 (2006) (Ex. 1006).

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Patent Owner filed a Sur-reply to Petitioner’s Reply (“Twitter PO Sur-
reply”). Twitter IPR, Paper 36.
      An oral hearing was held on January 11, 2023. A transcript of the
hearing is included in the record. Twitter IPR, Paper 49 (“Twitter Tr.”).

      B. Related Matters
      Both parties are involved in the following related U.S. district court
case that involves the ’599 patent: Palo Alto Research Center Inc. v. Twitter,
Inc., No. 2-20-cv-10754-AB (C.D. Cal. filed Nov. 25, 2020). Twitter Pet.
10; Twitter IPR, Paper 4, 2. The parties also identify the following related
matters: Palo Alto Research Center Inc. v. Facebook, Inc., No. 2:20-cv-
10753-AB (C.D. Cal. filed Nov. 25, 2020); Palo Alto Research Center Inc.
v. Snap Inc., No. 2:20-cv-10755-AB (C.D. Cal. filed Nov. 25, 2020).
Twitter Pet. 10–11; Twitter IPR, Paper 4, 2–3.
      As discussed above, claims of the ’599 patent are also challenged in
the Snap and Facebook IPRs.

      C. The ’599 Patent
      The ’599 patent is titled “Context And Activity-Driven Content
Delivery And Interaction” and issued on July 16, 2013, from an application
filed on December 2, 2008. Twitter IPR, Ex. 1001, codes (22), (45), (54).
      As indicated above, the ’599 patent is directed to “a computing device
that delivers personally-defined context-based content to a user.” Twitter
IPR, Ex. 1001, code (57). The ’599 patent states that
             [t]his computing device receives a set of contextual
             information with respect to the user, and processes
             the contextual information to determine whether
             some aspect of the current context can be associated
             with a probable activity being performed by the


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             user. The computing device then determines
             whether either or both the context and current
             activity of the user satisfy a trigger condition which
             has been previously defined by the user. If so, the
             computing device selects content from a content
             database, based on the context or activity, to present
             to the user, and presents the selected content.
Facebook IPR, Ex. 1001, 1:52–62. Figure 1, reproduced below, illustrates a
content management system in accordance with the invention. Id. at 2:54–
55.




As depicted in Figure 1, above, content management system 100 presents
content 112 to a user. Twitter IPR, Ex. 1001, 5:18–19. Content 112 can be
presented in response to actions being performed by the user, or in
accordance with other information associated with the user. Id. at 5:18–21.
Content management system 100 allows a user to create and store content,
and associate the content with a given user-defined context. Id. at 5:21–23.
For instance, content management system 100 can remind a user to buy
groceries as the user is driving past a grocery store after work or can read
specific items on a grocery list to a user when walking across a specific
grocery store aisle. Id. at 5:28–32. Input mechanism 102 receives user input


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101, content manager 104 controls how content 112 is stored in content
database 106 and how it is selected for playback, and content delivery
mechanism 108 controls how content 112 is presented to a user. Id. at 5:36–
57.
         D. Illustrative Claim
         Twitter challenges claims 1, 4, 6, 7, 9–12, 15, 17, 18, 19, 22, 24, and
25 of the ’599 patent. Claims 1, 12, and 19 are the only independent claims,
and claim 12 is reproduced below, with bracketed reference notations added
to the limitations for reference purposes. 26
       12. A computer-readable storage medium storing instructions
that when executed by a computer cause the computer to perform a method
for delivering context-based content to a first user, the method comprising:
         [12.1] receiving at least one content package, wherein the content
         package includes at least one content piece and a set of rules
         associated with the content package, wherein the set of rules includes
         a trigger condition and an expected response, and wherein the
         trigger condition specifies a context that triggers a presentation of the
         content piece;
         [12.2] receiving a set of contextual information with respect to the
         first user;
         [12.3] processing the contextual information to determine a current
         context for the first user;
         [12.4] determining whether the current context satisfies the trigger
         condition;
         [12.5] in response to the trigger condition being satisfied, presenting
         the content piece to the first user;
         [12.6] receiving a response from the first user corresponding to the
         presented content piece;
         [12.7] determining whether the received response matches the
         expected response; and

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     We use Twitter’s reference notations.

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      [12.8] performing an action based on an outcome of the
      determination.
Twitter IPR, Ex. 1001, 24:40–63.

      E. Analysis
             1. The Parties’ Arguments
      In our Decision on Institution, we concluded that the arguments and
evidence advanced by Twitter demonstrated a reasonable likelihood that
claims 1, 4, 6, 7, 9–12, 15, 17, 18, 19, 22, 24, and 25 of the ’599 patent
would have been unpatentable as obvious under 35 U.S.C. § 103. Twitter
Inst. Dec. 14–30; Twitter2 Inst. Dec. 15–30. Here, we determine whether
Twitter has established by a preponderance of the evidence that the
challenged claims are obvious. 35 U.S.C. § 316(e). We previously
instructed Patent Owner that “Patent Owner is cautioned that any arguments
not raised in the response may be deemed waived.” Twitter IPR, Paper 13, 8
see also 37 C.F.R. § 42.23(a) (“Any material fact not specifically denied
may be considered admitted.”); In re NuVasive, Inc., 842 F.3d 1376, 1379–
82 (Fed. Cir. 2016) (holding patent owner waived an argument addressed in
the preliminary response by not raising the same argument in the patent
owner response). Additionally, the Board’s Trial Practice Guide states that
the patent owner response “should identify all the involved claims that are
believed to be patentable and state the basis for that belief.” Consolidated
Trial Practice Guide, 66 (November, 2019). 27
      On the record before us, we note that we have reviewed arguments
and evidence advanced by Twitter to support its unpatentability contentions,


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  Available at https://www.uspto.gov/sites/default/files/documents/
tpgnov.pdf.

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where Patent Owner chose not to address certain limitations in its Patent
Owner Response. In this regard, the record contains persuasive arguments
and evidence presented by Twitter regarding the manner in which the prior
art teaches the corresponding limitations of claims 1, 4, 6, 7, 9–12, 15, 17,
18, 19, 22, 24, and 25 of the ’599 patent, as well as a rationale to combine
the prior art references.
             2. Level of Ordinary Skill in the Art
      Relying on Dr. Turnbull’s testimony, Twitter argues that a person of
ordinary skill in the art “would at minimum have a bachelor’s in software,
computer, or electrical engineering or computer science with at least two
years’ experience in software development, including with respect to
context-aware devices and systems, or the equivalent.” Twitter Pet. 13–14
(citing Twitter IPR, Ex. 1003 ¶ 24). Twitter also contends that “[a]dditional
graduate education could substitute for professional experience, or
significant experience in electronic messaging could substitute for formal
education.” Id. at 14 (citing Twitter IPR, Ex. 1003 ¶ 24).
      For this proceeding, Patent Owner and Dr. Martin apply this level of
skill in the art. Twitter PO Resp. 12; Twitter IPR, Ex. 2013 ¶ 25. Because it
is consistent with the ’599 patent and the asserted prior art, we adopt
Twitter’s proposed level of ordinary skill in the art. In re GPAC Inc., 57
F.3d 1573, 1579 (Fed. Cir. 1995); Okajima v. Bourdeau, 261 F.3d 1350,
1355 (Fed. Cir. 2001).

             3. Claim Construction
      In this inter partes review, claims are construed using the same claim
construction standard that would be used to construe the claims in a civil
action under 35 U.S.C. § 282(b). 37 C.F.R. § 42.100(b) (2021). Under the


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principles set forth by our reviewing court, the “words of a claim ‘are
generally given their ordinary and customary meaning,’” as would be
understood by a person of ordinary skill in the art in question at the time of
the invention. Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005)
(en banc) (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582
(Fed. Cir. 1996)). “In determining the meaning of the disputed claim
limitation, we look principally to the intrinsic evidence of record, examining
the claim language itself, the written description, and the prosecution
history, if in evidence.” DePuy Spine, Inc. v. Medtronic Sofamor Danek,
Inc., 469 F.3d 1005, 1014 (Fed. Cir. 2006) (citing Phillips, 415 F.3d at
1312–17).
      Patent Owner makes similar arguments to those made in the Snap and
Facebook cases, discussed above. More specifically, Patent Owner asserts
that the limitation “determin[ing/e] whether the received response matches
the expected response,” recited in independent claims 1, 12, and 19, requires
the possibility of expected and unexpected responses in view of the claim
terms, Specification, and prosecution history. Twitter PO Resp. 16–27.
Patent Owner asserts that “[f]or the determination limitation to have any
meaning, both expected and unexpected user responses to content must be
possible.” Id. at 17. Patent Owner argues that the Board’s determination in
the Decision on Institution was in error, and “[t]he ‘determin[ing/e]”’
limitation requires the possibility of an unexpected response (and the final
‘perform[ing]’ limitation relies on the result of the ‘determin[ing/e]
limitation.” Id. at 15 (citing Twitter Inst. Dec. 26).
      Patent Owner relies on the claim language itself and, more
specifically, limitations 12.1 and 12.6–12.8, stating that these recitations
mean that “a content package must include content and a set of rules, and the

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set of rules must include at least one expected response related to the
content,” and “requires receiving a response to presented content,
determining [] that [the] response matches at least one expected response,
and then performing some action based on the determination.” Twitter PO
Resp. 17. Patent Owner argues that “[f]or the determination limitation to
have any meaning, both expected and unexpected user responses to content
must be possible. There would be no need for the determination limitation if
no unexpected responses were possible; the claim would simply require
performing an action associated with the received (and expected) response.”
Id. at 17. Patent Owner cites to case law in support of its assertion that
interpretation of terms that render parts of claims superfluous is disfavored.
Id. at 17–18 (citing e.g., Merck & Co., Inc. v. Teva Pharm. USA, Inc., 395
F.3d 1364, 1375 (Fed. Cir. 2005)). Patent Owner further contends that the
claim language dictates that the determining step “requires the possibility of
an unexpected (e.g., incorrect or undesired) response being received—to
give meaning to the ‘determin[e/ing] whether’ language.” Id. at 18 (citing
Twitter IPR, Ex. 2013 ¶¶ 116–122). Dr. Martin testifies that “the system
must determine whether the received response matches the expected
response, or as the alternative demanded by the ‘determining whether’
claim, that the received response is unexpected” (Twitter IPR, Ex. 2013
¶ 119).
      Patent Owner asserts that the Specification of the ’599 patent requires
the possibility of expected and unexpected responses. Twitter IPR, PO
Resp. 19–22. Patent Owner refers to Tables 1 and 2 of the Specification in
support of the contention that there are actions specified “when a user




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response is expected or correct” or “when a user response is unexpected or
incorrect.” Id. at 19–20 (citing Twitter IPR, Ex. 1001, 13:1–7, Tables 1, 2).
        Patent Owner additionally refers to the prosecution file history of the
’599 patent. Twitter PO Resp. 22–27. Patent Owner contends that the
original claims do not refer to expected responses, determining if responses
matched expected responses, or performing actions based on that
determination. Id. at 23 (citing Twitter IPR, Ex. 1002, 56–64). After
continued prosecution, including further amendments, a May 23, 2012,
amendment was submitted that included limitations directed to determining
if responses matched expected responses, or performing actions based on
that determination, which are the same as those in the issued ’599 patent. Id.
at 23–25 (citing Twitter IPR, Ex. 1002, 348–362). Patent Owner refers to an
agenda for applicant’s May 9, 2012, interview with the examiner that states:
      the system receives a response from the user corresponding to
      the presented content, determines whether the response matches
      the defined expected response, and performs an action based on
      the outcome of the determination (see instant application, pars.
      [0062]- [0064]). For example, if the user fails to mimic the
      played audio signal correctly, the system replays the audio file
      for the user (see instant application, par. [0056]).
Twitter IPR, Ex. 1002, 346 (quoted at Twitter PO Resp. 26). Patent Owner
contends that because the “applicant called out handling unexpected
responses (failure to mimic an audio signal) when discussing the relevance
of the determination limitation,” that a person of skill in the art would have
understood this to require the possibility of both expected and unexpected
responses. Twitter PO Resp. 26–27 (citing Twitter IPR, Ex. 2014 ¶¶ 131–
135).
        We do not agree with Patent Owner’s assertion that the claim
language requires an ability to determine whether a received response is an

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expected response or an unexpected response. Limitation 12.7 does not
recite this limitation, nor is the limitation required to give meaning to the
claim. Patent Owner’s view is inconsistent with limitation 12.1, which
recites that the content package with a set of rules includes “an expected
response,” but there is no mention that an unexpected response is part of the
content package. Although Patent Owner asserts that the claim requires the
inclusion of a determination of whether a received response matches an
unexpected response, that is not recited or suggested by the claim language
itself. See Twitter PO Resp. 17–18; Twitter IPR, Ex. 2013 ¶¶ 116–122. In
sum, the claim language indicates it determines whether there is a match of a
received response with the expected response; however, the claim does not
require determining whether there is a match of a received response with an
unexpected response.




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      Turning to the Specification, Table 1 of the ’599 patent is instructive
and is reproduced below.




Twitter IPR, Ex. 1001, 10:57–11:9. The ’599 patent explains that Table 1,
above, presents an exemplary set of rules that correspond to a number of
audio clips in Japanese for practicing pronunciations to a number of words.
Id. at 11:11–15. The time column allows a user for specifying a time of day
when content can be presented, the location column is for specifying a
location for where content can be presented, and the state column is for
specifying an action that the user can be performing when content is
presented. Id. at 11:15–21. As an example, a user learning Japanese can
program the content management system 240 to play “good morning” in
Japanese when the user is moving around the bedroom before 10 AM, and to



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play “goodnight” in Japanese when the user is entering or moving around
the bedroom after 9 PM. Of note, the ’599 patent explains that
      [t]he response column allows a user to specify an expected
      response to the presentation of content 253. The action correct
      column allows a user to specify actions that content management
      system 240 can perform if the user provides a correct response.
      The action incorrect column allows a user to specify actions that
      content management system 240 can perform if the user does not
      provide a correct response (Ex. 1001, 11:27–33 (emphasis
      added)).
      An action correct column entry can obtain a value that specifies
      an action to be performed by content management system 240 in
      the event that the user provides an expected response.
      Furthermore, an action incorrect column entry can obtain a value
      that specifies an action to be performed by content management
      system 240 on the occasion that the user does not provide an
      expected response (id. at 13:1–7 (emphasis added)).

      These descriptions are consistent with the language of limitations 12.1
and 12.7 as recited, and as discussed above. We further note that the
Specification only discloses determining whether a received response is
expected — and the received response may or may not be the expected
response. See Twitter IPR, Ex. 1001, 11:27–33; 12:50–13:10; 13:67–14:11.
Patent Owner does not identify in the Specification, nor do we discern, any
disclosure of determining whether a received response is an “unexpected
response.” See generally Twitter PO Resp.; Twitter PO Sur-Reply.
      Although Patent Owner asserts that there is support in the
Specification for its interpretation of the “determining” limitation, we are not
persuaded. More specifically, Patent Owner contends that Tables 1 and 2 of
the Specification “show actions to be taken when a user response is
correct/expected and incorrect/unexpected.” Twitter PO Resp. 19–21. Dr.
Martin testifies that “references to ‘action correct’ and ‘action incorrect’

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indicate that the system being described will determine whether the received
response is correct or incorrect.” Twitter IPR, Ex. 2013 ¶ 124. We do not
agree with Patent Owner’s assertions because they are premised on the
characterization of the claimed “received response” as either “expected
response” or “unexpected” which is “considered incorrect.” This is not what
the Specification discloses and what is claimed—instead, as discussed
above, the “received response” is checked to determine if it matches the
“expected response,” and an action is performed based upon that
determination.
      Patent Owner also asserts that “[f]or the determination limitation to
have any meaning, both expected and unexpected user responses to content
must be possible,” otherwise, “[t]here would be no need for the
determination limitation if no unexpected responses were possible.” Twitter
PO Resp. 17. We agree with Twitter, however, that even if Patent Owner
were correct that “the claims could have accomplished the same ultimate
results in a different way this does not change that, as drafted, the claims do
not require unexpected responses.” Twitter Pet. Reply 4. As discussed
above, the claim and Specification only require a determination of whether a
received response matches an expected response.
      Patent Owner additionally argues that the prosecution history supports
the inclusion of “unexpected response” into the claim. We do not agree.
During prosecution of the ’599 patent, the independent claims were amended
to add “determining whether the received message matches the expected
response.” See Twitter IPR, Ex. 1002, 349. The amendments are directed to
matching the “expected response” — there is no mention or suggestion of an
“unexpected response” that is considered or determined. Patent Owner also
refers to a statement made by the applicant that states that “the system

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receives a response from the user corresponding to the presented content,
[and] determines whether the response matches the defined expected
response,” and then “if the user fails to mimic the played audio signal
correctly, the system replays the audio file for the user.” Twitter IPR,
Ex.1002, 346. This discussion does not mention any consideration or
determination of an unexpected response, but rather only identifies an action
taken based only on the determination of whether there is a match of the
received response and the expected response. See id. (“the system receives a
response from the user corresponding to the presented content, determines
whether the response matches the predefined expected response, and
performs an action based on the outcome of the determination.”).
      In view of the evidence and argument as discussed above, our view is
that Patent Owner’s assertions that “unexpected response” should be
included in the clam term amounts to impermissibly attempting to write a
limitation into the claim. Accordingly, we decline to adopt Patent Owner’s
proposed interpretation of the “determin[e/ing ] whether the received
response matches the expected response ” to require the possibility of
expected and unexpected response and instead adopt the plain meaning of
the claim term.
      We determine that we need not expressly construe any other claim
terms to resolve the parties’ disputes on the current record. See Nidec Motor
Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed.
Cir. 2017) (“[W]e need only construe terms ‘that are in controversy, and




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only to the extent necessary to resolve the controversy.’” (quoting Vivid
Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999))).

             4. Principles of Law
      A patent claim is unpatentable under 35 U.S.C. § 103 if the
differences between the claimed subject matter and the prior art are “such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of ordinary skill in the art; and (4) when in evidence, objective
indicia of obviousness or nonobviousness. 28 Graham v. John Deere Co.,
383 U.S. 1, 17–18 (1966).

             5. Asserted Obviousness of Claims 1, 4, 6, 7, 9–12, 15, 17–19,
             22, 24, and 25 Over PALLAS and Yau
      Twitter contends that claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24, and
25 are unpatentable under 35 U.S.C. § 103 as obvious over PALLAS and
Yau. Twitter Pet. 14–100; Twitter2 Pet. 18–98. In support, Twitter also
relies upon the Turnbull Declarations. See Twitter IPR, Ex. 1003; Twitter
IPR, Ex. 1025. Patent Owner argues that the prior art does not teach all the
limitations of the claims and hindsight has been employed in combining the
prior art. See Twitter PO Resp. 27–49. In support, Patent Owner also relies
on the Martin Declaration. Twitter IPR, Ex. 2013.


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  The parties present no evidence relating to objective indicia of
nonobviousness.

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      We begin our discussion with brief summaries of PALLAS and Yau,
and then address the evidence and arguments presented.

                   a. PALLAS (Twitter IPR, Ex. 1004)
      PALLAS is an article associated with the Fifth IEEE International
Conference on Wireless, Mobile, and Ubiquitous Technology in Education,
held from March 23–26, 2008. Twitter IPR, Ex. 1003 ¶ 70; Twitter IPR,
Ex. 1004, 52; Twitter IPR, Ex. 1014 ¶ 11. According to Mr. MacPherson’s
testimony, copies of the article were “made available no later than the last
day of the conference.” Twitter IPR, Ex. 1014 ¶ 11. The article bears a
copyright notice dated 2008 (Twitter IPR, Ex. 1004, 52) and Twitter argues
that the article was available and searchable on the IEEE Xplore website on
April 15, 2008. Twitter Pet. 14.
      PALLAS describes a system that “enables real life language learning
scenarios by providing personalized and contextualised access to learning
resources via a mobile device.” Twitter IPR, Ex. 1004, 52. The system
includes a central server that communicates with students’ mobile devices
and with various providers of language-learning content (such as teachers or
publishing houses). Id. at 55, 58, Fig. 2. The mobile device includes a
“mobile smart client” that is responsible for presenting the learning content
to the student. Id. at 56. Content modules for the mobile client may include
“[Point of Interest] Info,” “Task,” “MP Quiz,” “Word Fill-in,” “Glossary
Training,” and “Text.” See id. at Fig. 3. An example of the mobile client
application is reproduced below in PALLAS’s Figure 4:




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Figure 4 of PALLAS, above, “shows the main window of the PALLAS
mobile client.” Twitter IPR, Ex. 1004, 57. It shows a menu with the
following content items: “Perform Query,” “Tasks,” “Exercises,” “Texts,”
“Results,” and “Dictionary.” Also, “[a] context bar is displayed on the top
of the window, which displays the current learner.” Id. Immediately to the
right of the context bar is a world icon that “indicates if the current location
is known” (shown here with a cross indicating that the location is unknown).
Id.
      The system allows the learning experience to be personalized based
on the learner’s context, “using the profile of the learner and environmental
parameters.” Twitter IPR, Ex. 1004, 54. “Environmental parameters
include location, time and day and the mobile device that is used by the
learner.” Id.; see also id., Fig. 1 (including weather as an environmental
parameter). “The mobile client also displays triggers that are fired based on
the context information.” Id. at 57. For example, the system can include



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“[c]ontext triggers [that] provide automatic notifications to the learner if the
learner is in the vicinity of a point of interest.” Id. This is illustrated below
in Figure 6 of PALLAS, reproduced below:




The illustration in reproduced Figure 6, above, shows an example mobile
client screen in which “the learner is in the vicinity of an exhibition that fits
the profile of the learner.” Twitter IPR, Ex. 1004, 57. The world symbol
next to the context bar is marked to indicate “that the location is known.” Id.
A notice on the screen tells the learner that they are “in the vicinity of the
French art exhibition held at the ArtIt Gallery,” and provides the address of
the exhibit. Id. The notice also provides a “Read more” button and states,
“Press ‘Read More’ for information about French artists.” Id.
                    b. Yau (Twitter IPR, Ex. 1005)
       Yau is entitled “A Context-aware and Adaptive Learning Schedule
Framework for Supporting Learners’ Daily Routines.” Twitter IPR,
Ex. 1005, 1. Twitter contends that the authors presented Yau to the Second


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International Conference on Systems of IEEE in 2007, and that the article
was published and searchable on the IEEE Xplore website on May 7, 2007.
Twitter Pet. 19 (citing Twitter IPR, Ex. 1003 ¶¶ 78–82; Twitter IPR,
Ex. 1016 (stating that the article was added to IEEE Xplore on May 7,
2007); Twitter IPR, Ex. 1017, 8, 24).
      Yau’s learning system “makes use of a learning schedule to support
the students’ daily routines, adapts the activities to the student’s learning
styles and then selects the appropriate activity for the learner based on their
current learning context.” Twitter IPR, Ex. 1005, 1. Learning activities may
include “[f]ormal assessments” which Yau describes as a type of
“compulsory activit[y].” Id. at 4.
      In Yau, the contextual information comes from a “scheduled events
database (such as the time available for learning and the type of location),
and two sensors, namely GPS for location detection and a microphone for
noise detection.” Twitter IPR, Ex. 1005, 3, Fig. 1; see also id. at 5
(suggesting the use of other sensors to detect light levels and temperature).
From this contextual information, Yau’s system determines “the current
context that the learner is situated in,” such as “the actual physical address of
the location,” the type or category of location, the time available for learning
based on the student’s schedule, and the noise level. Id. at 5.
      Yau’s system also includes “context-triggered actions,” in which
actions are “invoked automatically when a contextual element or a mixture
of contextual elements are fulfilled.” Twitter IPR, Ex. 1005, 3.




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                   c. Discussion
                          i. Claim 12
      The Petition asserts that PALLAS and Yau render claim 12 obvious.
Twitter Pet. 25–74. Below we consider the claim 12 limitations in turn.
                          (1) Preamble
      The preamble of claim 12 recites “[a] computer-readable storage
medium storing instructions that when executed by a computer cause the
computer to perform a method for delivering context-based content to a first
user.” Twitter IPR, Ex. 1001, 24:40–43. Twitter contends that PALLAS
discloses a computer-readable storage medium as recited, either as part of its
server or its mobile device. See Twitter Pet. 25–30, n.7 (citing Twitter IPR,
Ex. 1001, 3:24–33, 3:42–49; Twitter IPR, Ex. 1003 ¶¶ 78, 94–121; Twitter
IPR, Ex. 1004, 52, 55–58, Figs. 1–6).
      Patent Owner presents no arguments specifically related to the
preamble. See generally Twitter PO Resp.; Twitter PO Sur-reply.
      We have reviewed the evidence and argument and on this record we
determine that Twitter has demonstrated that PALLAS teaches the preamble
of claim 12. 29
                          (2) Limitation 12.1

      Limitation 12.1 recites the step of “receiving at least one content
package.” Twitter IPR, Ex. 1001, 24:44. The content package must include
“at least one content piece and a set of rules associated with the content
package, wherein the set of rules includes a trigger condition and an


 We need not determine whether the preamble of claim 12 is limiting
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because Twitter has shown that PALLAS discloses the preamble. See Nidec,
868 F.3d at 1017.

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expected response, and wherein the trigger condition specifies a context that
triggers a presentation of the content piece.” Id. at 24:44–49. Twitter
contends that PALLAS discloses this limitation, at least in combination with
Yau. See Twitter Pet. 31–45, nn.8–10 (citing Twitter IPR, Ex. 1001, 4:61–
5:8, 5:57–58, 10:8–9; Twitter IPR, Ex. 1003 ¶¶ 122–186; Twitter IPR,
Ex. 1004, 53–58, Figs. 1–4, 6; Twitter IPR, Ex. 1005, 2–5).
       In PALLAS, Twitter contends that the recited “content package” is
the “set of ‘data’ including, e.g., (a) ‘context trigger,’ (b) ‘exercise,’ ‘test,’
‘MP Quiz,’ and (c) answers to ‘exercise,’ ‘test,’ or ‘MP Quiz.’” Twitter Pet.
31. Twitter identifies exercises, tests, or quizzes as the recited “content
piece,” and identifies the recited “expected response” as the correct answers
in response to an exercise, test, or quiz. Twitter Pet. 31, 38–39, 44–45.
       Twitter also argues that Yau discloses a trigger condition with respect
to its learning content (e.g., its formal assessments), and that such triggering
occurs when the system presents the content “automatically when a
contextual element . . . [is] fulfilled.” Twitter Pet. 37 (alterations in original)
(quoting Ex. 1005, 5) (citing Ex. 1003 ¶¶ 153–164; Ex. 1005, 2–5). Twitter
contends that “Yau explicitly discloses displaying ‘formal assessments’
based on user context” citing Yau’s disclosure that “Sarah is in the library
whilst Amy is in the computer lab. They would all like to undertake . . .
learning activities based on their current learning situation . . . [Formal
assessments] has been selected for Sarah and Amy.” Id. at 43 (citing Twitter
IPR, Ex. 1005, 4). According to Twitter, a person of ordinary skill in the art
“would have understood [Yau’s disclosure of formal assessments] as a
disclosure of tests with answers for comparing against learner’s responses to
assess knowledge/performance/skill (contrasting ‘un-assessed’ exercises
whose responses are unchecked).” Id. at 43. Twitter argues that an

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ordinarily skilled artisan would have had reason “to implement PALLAS’s
context-triggerbased content display using Yau’s beneficial teachings of
displaying assessments/questions based on context, and of particular context
pattern triggers advantageously optimized for, e.g., quiz taking.” Id.
According to Twitter, this modification “would have been a routine
implementation choice” for which there would have been a reasonable
expectation of success. Id. (citing Twitter IPR, Ex. 1003 ¶¶ 178–180).
      Patent Owner presents several arguments related to this limitation,
which we discuss below. Twitter PO Resp. 28–49. We do not find that
Patent Owner’s arguments undermine Petitioner’s showing of the teaching
of limitation 12.1 by the prior art with articulated reasoning with rational
underpinning to support the combination of prior art.
                                 (a) Combination of PALLAS and Yau
      We begin with Patent Owner’s argument that the combination of
PALLAS and Yau does not teach triggering exercises/tests/quizzes based on
context. Twitter PO Resp. 39–44. Patent Owner argues that neither
PALLAS nor Yau “trigger[s] (or render[s] obvious triggering) an
exercise/test/quiz based on context.” Id. at 39 (citing Twitter IPR, Ex. 2013
¶¶ 82–83, 88, 142–151). Patent Owner asserts that “Yau discloses that the
student indicates a desire to undertake a learning activity, but does not teach
directly presenting anything like Yau’s ‘formal assessment.’” Id. at 39–40
(citing Twitter IPR, Ex. 1005, 4; Twitter IPR, Ex. 2013 ¶ 165). Patent
Owner argues that “[o]nce the student decides to participate in a learning
activity, Yau considers the student’s learning style . . . and environment in
order to determine what content to present to that student.” Id. at 40 (citing
Twitter IPR, Ex. 1005, 3; Twitter IPR, Ex. 2013 ¶¶ 161–162). Patent Owner
also contends that Yau does not teach triggering the display of formal

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assessments, nor triggering the display of PALLAS’s exercises/tests/quizzes.
Id. at 40 (citing Twitter IPR, Ex. 2013 ¶¶ 163–165). Dr. Martin testifies that
“Yau only provides recommendations after a user has expressed interest in
engaging in activity,” and “Yau has no discussion of a contextual scenario
that causes . . . a recommendation without being prompted by a user.”
Twitter IPR, Ex. 2013 ¶ 166 (citing Twitter Pet. 43; Twitter IPR, Ex. 1003
¶ 178).
      Patent Owner further asserts that “[t]he ‘IF-THEN’ and ‘context-
triggered approach’” “are not mentioned in the context of Yau’s ‘formal
assessment[s],’ but instead in the context of generic attributes Yau’s
designers wanted for their ‘proposed system.’” Twitter PO Resp. 41 (citing
Twitter IPR, Ex. 1005, 3, 5; Twitter IPR, Ex. 2013 ¶¶ 97–100).
      We do not agree with Patent Owner’s arguments. Yau discloses the
following:
              Four users are considered in our sample scenario to
      illustrate our adaptation process: John – an active learner, Peter
      – a reflective
      learner, Sarah – a visual learner and Amy – a verbal learner. The
      activities will be adapted to the different learning styles, where
      appropriate. Some of the activities defined in our system are as
      follows –
              A. Formal assessments
              B. Un-assessed exercises
              C. Pre-lecture notes
              D. Learning from examples
              E. Review activity
              F. Discussion about work
             It is an hour prior to their lecture. John is commuting on a
      quiet train for an hour; Peter is commuting on a noisy bus also
      for an hour; Sarah is in the library whilst Amy is in the computer
      lab. They all would like to undertake some learning activities
      based on their current learning situation. B has been selected for

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      John as it is considered quiet enough for John to concentrate on
      the quiet train; C has been selected for Peter; and A has been
      selected for Sarah and Amy. In addition, a visual version of A
      has been selected for Sarah whereas a verbal version has been
      selected for Amy.
Twitter IPR, Ex. 1005, 3–4. We agree with Petitioner that Yau discloses that
the presentation of exercises/tests/quizzes, such as Yau’s formal
assessments, are triggered based on context. We do not discern any
disclosure in Yau that the display of a learning exercise is only prompted by
the student indication of a desire to undertake a learning activity, as Patent
Owner argues. Although Yau makes the general statement that “[t]hey
[Peter, Sarah, Amy, John] all would like to undertake some learning
activities based on their current learning situation” (Twitter IPR, Ex. 1005,
4), Yau’s discussion above indicates that the presentation of the learning
exercise is prompted by the student’s context, that is, where they are at a
certain time such as Amy being in the computer lab in the hour prior to a
lecture. In further support, Yau discloses that “[w]hen the context has been
identified and a context pattern is inferred, this information is combined with
the filtered learning activities according to the learner’s preferred learning
styles, and context-aware learning activities are output.” Twitter Pet.
Reply 17 (quoting Twitter IPR, Ex. 1005, 5; citing Twitter Pet. 22; Twitter
IPR, Ex. 1003 ¶¶ 162, 465). This supports Twitter’s assertion that there is
presentation of a “context-aware learning activity” when a certain context
has been identified, such as the presentation of a formal assessment to Amy,
as Yau describes above, and Twitter relies upon. Twitter IPR, Ex. 1005, 4–
5.
      Thus, as Twitter asserts and in view of these disclosures, we agree
with Twitter that “Yau accounts for ‘learner’s schedule[d] events,’ ‘available


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time,’ ‘type of location,’ and other contextual information to automatically
determine whether users would like to undertake learning activities.”
Twitter Pet. Reply 18 (citing Twitter IPR, Ex. 1005, 2 3, 5 (“A check . . . to
see if the information from the database corresponds with the location sensor
(i.e. a check on whether the learner is really keeping his/her schedule).”),
Fig.1; Twitter IPR, Ex. 1025 ¶ 49; Twitter IPR, Ex. 1003 ¶¶ 85, 157–162,
238, 435, 451, 517; Twitter Pet. 20–21). Accordingly, the evidence of
record support that Yau teaches that context triggers the display of a content
piece, such as an exercise/test/quiz.
      Patent Owner also argues that Twitter asserts that PALLES’ content
piece is “‘exercise[s],’ ‘test[s],’ and/or ‘MP Quiz[zes],’” but also contends
that Yau’s “formal assessment” is the claimed content piece. Twitter PO
Resp. 32. Patent Owner argues that “Twitter points back to its limitation
12.1 PALLAS evidence for the purported ‘content piece’” and also does not
mention Yau for limitation 12.5 and 12.6 and “only conclusorily states that
‘PALLAS in view of Yau renders obvious triggering an exercise/test/quiz.’”
Id.
      Patent Owner’s arguments overlook Twitter’s assertion, with Dr.
Turnbull’s supporting testimony, that a person of ordinary skill in the art
would have understood that Yau’s formal assessments are “tests with
answers for comparing against learner’s responses to assess
knowledge/performance/skill (contrasting with ‘un-assessed’ exercises
whose responses are unchecked).” Twitter Pet. 43; Twitter IPR, Ex. 1003
¶ 154. Further, Patent Owner overlooks Petitioner’s assertion that it is
implementing PALLAS’s context-triggerbased content display using Yau’s
teachings of displaying assessments/questions based on context. Twitter Pet.
43.

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      Patent Owner also asserts that in the PALLAS-Yau combination,
Twitter does not explain how a person of ordinary skill in the art would have
combined the prior art in the manner Petitioner alleges. Twitter PO Resp.
42. Patent Owner argues that “PALLAS says nothing about forcing quizzes,
tests, or exercises on its users without the users asking for such exercises,”
and a person of skill would understand that the combined system still
requires that a student select a learning activity and that PALLAS’s system
should be unobtrusive because learners “may have small time slots to engage
in learning.” Id. (citing Twitter IPR, Ex. 2013 ¶ 168; Twitter IPR,
Ex. 1004, 54). Patent Owner further contends that “Twitter’s conclusory,
hindsight-driven statements” do not suffice and PALLAS teaches away from
the modifications suggested by Twitter. Id. at 42–43 (citing Twitter IPR,
Ex. 2013 ¶ 144). Patent Owner argues that because a learner may not have
time to complete a test, a person of ordinary skill in the art would not be
motivated to change PALLAS to trigger exercises/tests/quizzes based on
location or time. Id. at 43 (citing Twitter IPR, Ex. 2013 ¶¶ 142–144).
      The evidence of record does not support Patent Owner’s arguments.
As discussed, Petitioner relies PALLAS’s content display using Yau’s
teachings of display of the content piece based on context, and, in particular,
context pattern triggering of the display. Twitter Pet. 43. Petitioner asserts,
with Dr. Turnbull presenting supporting testimony, that the combination
offers advantages that would have motivated a person of ordinary skill in the
art to use PALLAS’s context-trigger-based content display with Yau’s
teachings of displaying assessments/questions based on context pattern
triggers because of its advantageous optimization for quiz taking. Twitter
Pet. 43; Twitter IPR, Ex. 1003 ¶ 179. Dr. Martin concurs, testifying that “[a]



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person of ordinary skill in the art combining PALLAS with Yau would see
that Yau allows for a more informed decision as to what to recommend
to a user than PALLAS alone.” Twitter IPR, Ex. 2013 ¶ 161. Accordingly,
Petitioner has presented articulated reasoning with rational underpinning to
support the combination of prior art and the legal conclusion of obviousness.
KSR, 550 U.S. at 418; In re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006).
      As to the alleged obtrusive nature of the Yau combination, Dr.
Turnbull testifies that presenting learning resources in certain contexts is not
obtrusive; rather it would allow “tailoring presentation of learning content to
a user’s context, including ‘location,’ ‘date and time,’ and ‘leisure time,’ by,
e.g., only presenting content when the learner has sufficient ‘time’ to engage
with it.” Twitter IPR, Ex. 1025 ¶ 38. Dr. Martin concurs that the
combination allows recognition of a user’s schedule, testifying that “the
person of skill in the art would understand that PALLAS + Yau may send
different or improved notifications than PALLAS alone, as the choice of
notification would consider aspects such as the user’s learning style or
schedule.” Twitter IPR, Ex. 2013 ¶ 162 (emphasis added). As for Patent
Owner’s argument that Twitter does not explain how a person of ordinary
skill in the art would have combined PALLAS and Yau, as Dr. Turnbull
testifies, the combination is PALLAS’s disclosure of triggering display of
content based on context using Yau’s teachings of particular context pattern,
where it would be routine to do this implementation. Twitter IPR, Ex. 1003
¶ 179. As Dr. Turnbull testifies, both PALLAS and Yau disclose such as
environmental parameters such as “location, time and day” for PALLAS and
GPS location detection and user time availability for Yau, and both systems
use mobile user devices, so in view of the similarities of the prior art, we



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credit Dr. Turnbull’s testimony on implementation. Twitter IPR, Ex. 1003
¶¶ 73, 76, 85; Twitter IPR, Ex. 1004, 57; Twitter IPR, Ex. 1005, 1.
      Accordingly, the evidence of record supports that the combination of
PALLAS and Yau teaches triggering an exercise/test/quiz based on context.
The evidence further supports the rationale to combine the references.
                                  (b) Teaching of “Set of Rules” With
                                      “Expected Response”
      Patent Owner asserts that Twitter fails to show that the prior art
teaches the limitation “receiv[ing/e] at least one content package” limitations
because it points to no “set of rules” that “includes a trigger condition and an
expected response.” Twitter PO Resp. 28–32. Patent Owner argues that this
is not taught by the prior art because the limitation requires “a set of rules”
with both “a trigger condition” and “an expected response,” and Twitter
points to nothing in Yau related to an “expected response,” and instead
focuses on Yau’s alleged teachings related to a “trigger condition” in a “set
of rules.” Id. at 30. Patent Owner also asserts that Twitter does not identify
any PALLAS disclosure of receiving a “correct answer” or “correct
response,” and not one as part of a “content package.” Id.
      Patent Owner’s arguments are premised on Yau teaching the
“expected response” in the claim, but the Petition relies on PALLAS for
disclosure of expected responses. See Twitter Pet. 44 (“Regarding ‘expected
response’ in the content package received by PALLAS’s mobile device, as
discussed PALLAS discloses the importance of responding and updating
skill levels when learner provides responses.”). The Petition further states
that PALLAS discloses “at least one content package (e.g., set of ‘data’
including, e.g., (a) ‘context trigger,’ (b) ‘exercise,’ ‘test,’ ‘MP Quiz,’ and (c)
answers to ‘exercise,’ ‘test,’ or ‘MP Quiz’);” “a set of rules associated with


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the content package, wherein the set of rules includes a trigger condition
(e.g., show content depending on package’s ‘context triggers’”. . .” “and an
expected response (e.g., correct answers when user ‘do[es] some tests or
exercises’; correct ‘learner response’).” Id. at 31–32 (citing Twitter IPR,
Ex. 1003 ¶¶ 122–133).
      On the issue of whether the “expected response” includes a “correct
response,” the Petition explains that “[r]egarding ‘expected response’ in the
content package . . . as discussed PALLAS discloses the importance of
responding and updating skill levels when learner provides responses.”
Twitter Pet. 44. Dr. Turnbull identifies in PALLAS’s disclosures that “[t]he
PALLAS system is designed to provide active personalisation where
personalisation is an ongoing process” and “the learner’s skill level is
automatically updated every time the learner completes an exercise and the
learning content delivered to a learner at any time is matched against the
learner’s current personal data.” Twitter IPR, Ex. 1003 ¶ 151 (citing
Ex. 1004 ¶ 80). Dr. Turnbull refers to Figure 1 of PALLAS, reproduced
below.




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Figure 1 of PALLAS, reproduced above, depicts a learner’s profile including
the skill level of a learner. Twitter IPR, Ex. 1004, 54–55.
      Dr. Turnbull testifies that a person of ordinary skill in the art would
have had knowledge that PALLAS’s logging the results of completed
exercises/tests and updating the learner’s skill level is important. Twitter
IPR Ex. 1003, 382. In the assessment, Dr. Turnbull testifies that PALLAS
discloses that a student is notified to “practice more” if they score poorly.
Id., n.6 (referring to Twitter IPR, Ex. 1004, 54).
      The evidence supports Petitioner’s assertion that person of ordinary
skill in the art would find that PALLAS teaches that the set of rules includes
expected responses associated with a content package. PALLAS discloses,
for instance, that when a student is at a farmer’s market the student may
select a “Glossary Test” on French names on vegetables in a mobile setting.


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Twitter IPR, Ex. 1004, 53–54. After the test is completed the student may
access the program via a desktop computer later in the day, and the student
would be notified that “she should practice more on the vegetable glossary,”
which was the subject of the test. This notification indicates that PALLAS’s
program evaluated the expected responses compared to the answers provided
and presents the assessment of the test to the student, therefore “expected
responses” would be part of the set of rules. 30
      Moreover, we do not agree with Patent Owner that Twitter fails to
show that in PALLAS the content package including a set of rules with an
expected response is received. Twitter PO Sur-reply 1. PALLAS discloses
that “[t]he learner’s skill level is automatically updated every time the
learner completes an exercise and the learning content delivered to a learner
at any time is matched against the learner’s current personal data” and
“mobile learners engage in small chunks of learning and are likely to do this
often, it is important that the personalisation data is updated after every
time.” Twitter IPR, Ex. 1004, 55. PALLAS discloses “[t]he mobile client
also has local storage where data that is downloaded when a network
connection is available can be cached.” Id. at 56–57. Given the need for
caching and importance of providing data updates, we agree that a person of
ordinary skill in the art would have found it obvious to “combine and send
the content piece (exercise/test/quiz, etc.), expected responses (correct
answers), and set of rules (including the trigger condition) together to the
mobile device as a content package.” Twitter IPR, Ex. 1003, 381–382.
Further, we agree with Dr. Turnbull’s testimony that a mobile device would

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  Note that, as discussed above, Twitter relies on Yau for the teaching of the
context trigger for presentation of the test, in combination with PALLAS.
See Twitter Pet. 37.

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necessarily “receive[] correct answers in order to be able to, e.g., respond to
learner responses to exercises/tests/quizzes and update skill levels . . .” See
Twitter Pet. Reply 10 (citing Twitter IPR, Ex. 1003 ¶¶ 166, 167, 172, 460,
465).
         Accordingly, we agree that the evidence of record supports that the
combination of PALLAS and Yau teaches receiving a content package that
includes a set of rules that includes an expected response.
                                   (c) Triggering the Presenting of the
                                   “Content Piece”
         Patent Owner asserts that for limitation 12.1, Petitioner argues that the
“content piece” is “exercise[s], test[s], and/or MP Quiz[zes]” of PALLAS,
but then in response to the trigger condition being met, in limitations 12.5
and 12.6 a different “content piece” is presented. Twitter PO Resp. 22–23.
We address this issue below in the discussion of limitation 12.5. As
discussed below, we do not agree with Patent Owner’s arguments on this
issue.
                                   (d) Conclusion
         We have reviewed the evidence and argument and on this record we
determine that Twitter has demonstrated that the combination of PALLAS
and Yau teaches limitation 12.1 and has presented articulated reasoning with
rational underpinning for the combination.
                      (3)    Limitation 12.2
         Limitation 12.2 recites “receiving a set of contextual information with
respect to the first user.” Twitter IPR, Ex. 1001, 24:50–51. Twitter
contends that both PALLAS and Yau teach this limitation because both
references disclose receiving GPS and other contextual data to determine the
student’s location. See Twitter Pet. 45–51 (citing Twitter IPR, Ex. 1003


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¶¶ 187–213; Twitter IPR, Ex. 1004, 54–58, Figs. 1–3, 6; Twitter IPR, Ex.
1005, 2–5). Twitter also argues that a person of ordinary skill in the art
would “have found it at minimum obvious to implement PALLAS’s system
using further contextual information including information about noise
levels surrounding the first user, based on PALLAS in view of Yau.”
Twitter Pet. 51.
      According to Twitter, this combination “would advantageously permit
PALLAS’s smartphone and server to additionally receive contextual
information regarding user/learner’s environmental noise level, and
available learning time, enabling further-customized content most
appropriate to learner’s context.” Twitter Pet. 51–52 (citing Twitter IPR,
Ex. 1003 ¶¶ 214–218; Twitter IPR, Ex. 1005, 3, 4, Fig. 1).
      Patent Owner presents no arguments specifically related to
limitation 12.2. See generally Twitter PO Resp.; Twitter PO Sur-reply.
      We have reviewed the evidence and argument and on this record we
determine that Twitter has demonstrated that the combination of PALLAS
and Yau teaches limitation 12.2 and has presented articulated reasoning with
rational underpinning for the combination.
                           (4)     Limitations 12.3 and 12.4
      Limitation 12.3 recites “processing the contextual information to
determine a current context for the first user; [and] determining whether the
current context satisfies the trigger condition.” Twitter IPR, Ex. 1001,
24:52–55. Twitter alleges that PALLAS and Yau each disclose contextual
information such as GPS location data, and that Yau discloses processing
this data to “identif[y] the current context that the learner is situated in.”
Twitter Pet. 52–57 (quoting Twitter IPR, Ex. 1005, 5) (citing Twitter IPR,



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Ex. 1003 ¶¶ 225–239; Twitter IPR, Ex. 1004, 54–58, Figs. 1–3; Twitter IPR,
Ex. 1005, 2–3, 5, Fig. 1).
      According to Twitter, a person of ordinary skill in the art would have
had reason “to implement PALLAS’s functions . . . using Yau’s
advantageous teachings of receiving additional contextual information
(beyond that described in PALLAS), such as noise level, and using it in
determining a current context.” Twitter Pet. 63. Twitter argues that this
would “permit PALLAS to determine more details (beyond those PALLAS
already collects) about [the] learner’s current context . . . and whether that
context matches the specified trigger conditions to present, e.g.,
tests/exercises/quizzes most relevant/appropriate for [the] learner’s context.”
Id. (citing Twitter IPR, Ex. 1004, 54).
      Patent Owner presents no arguments specifically related to limitations
12.3 and 12.4. See generally Twitter PO Resp.; Twitter PO Sur-reply.
      We have reviewed the evidence and argument and on this record we
determine that Twitter has demonstrated that the combination of PALLAS
and Yau teaches limitations 12.3 and 12.4 and has presented articulated
reasoning with rational underpinning for the combination.
                             (5)   Limitation 12.5
      Limitation 12.5 recites the step of, “in response to the trigger
condition being satisfied, presenting the content piece to the first user.”
Twitter IPR, Ex. 1001, 24:56–57. Twitter’s arguments for this limitation
mirror its arguments for limitation 12.1, which we discuss above. See
Twitter Pet. 66–71 (citing Twitter IPR, Ex. 1003 ¶¶ 262–279; Twitter IPR,
Ex. 1004, 55–57, Figs. 2, 3, 6). More specifically, Twitter asserts that
“PALLAS discloses that in response to the trigger condition being satisfied



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. . . presenting (e.g., sending to be displayed/presented an ‘exercise,’ ‘test,’
or ‘MP Quiz’; see cl.12.1) the content piece.” Id. at 66.
      Patent Owner asserts that the “content piece” of PALLAS relied upon
by Twitter for the teaching of limitation 12.1 is not the same as that relied
upon in this limitation. Twitter PO Resp. 32–33. More specifically, Dr.
Martin testifies that for limitation 12.1, Petitioner points to PALLAS’s
“‘exercise[s],’ ‘test[s],’ and/or ‘MP Quiz[zes]’” as the “content piece.”
Twitter IPR, Ex. 2013 ¶ 139. Dr. Martin testifies that a problem is that “the
only thing resembling a trigger condition disclosed in PALLAS is its
‘context trigger’ that leads to its Figure 6 notification,” which is a
notification that a learner is in the vicinity of an exhibit. Id. ¶ 140. As
discussed above for limitation 12.1, however, the Petition explains that Yau
considers the student’s environment in order to determine what content to
present to that student and “context-aware learning activities are output,”
including formal assessments. See Twitter Pet. 22; Twitter IPR, Ex. 1005,
4–5. Also as discussed for limitation 12.1, we agree with Petitioner’s
assertion that Yau’s formal assessments are student tests. Accordingly, we
do not discern an inconsistency in Petitioner’s assertions.
      Patent Owner presents no additional arguments specifically related to
limitation 12.5. See generally Twitter PO Resp.; Twitter PO Sur-reply.
      We have reviewed the evidence and argument and, for the reasons
discussed above in the context of limitation 12.1, we determine that Twitter
has demonstrated that the combination of PALLAS and Yau teaches
limitation 12.5 and has presented articulated reasoning with rational
underpinning for the combination.
                           (6)    Limitations 12.6–12.8
      Limitations 12.6–12.8 recite the following steps: “receiving a

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response from the first user corresponding to the presented content piece;
determining whether the received response matches the expected response;
and performing an action based on an outcome of the determination.”
Twitter IPR, Ex. 1001, 24:58–63. Twitter contends that PALLAS discloses
these limitations in light of the teachings of Yau, and in particular that
PALLAS presents a test, exercise, or quiz to the learner and receives and
determines whether the learner responses matches the expected responses,
ultimately performing follow-up actions based on the results of the text,
exercise, or quiz. See Twitter Pet. 66–74, n.12 (citing Twitter IPR, Ex. 1003
¶¶ 280–294, 297; Twitter IPR, Ex. 1002, 360, 414, 450; Twitter IPR,
Ex. 1004, 53–55, 57).
      Patent Owner argues that the claims require the possibility of expected
and unexpected results and Petitioner does not demonstrate that there is an
unexpected response taught in PALLAS. Twitter PO Rep. 45–49. This
argument fails because, as discussed supra Section V.E.3, we have not
adopted Patent Owner’s proposed claim construction requiring that the
limitation requires both expected and unexpected responses. Moreover, we
agree with Petitioner that, as discussed above in Section V.E.5.c.i.(b),
PALLAS discloses that a learner’s skill level will be updated every time a
learner completes an exercise. Twitter Pet. 39–40; Twitter IPR, Ex. 1003
¶ 290. Accordingly, we agree with Petitioner that a learner would respond
with both expected responses (determined to be correct) and unexpected
responses (determined to be incorrect). Twitter Pet. Reply 26–27; Twitter
IPR, Ex. 1003 ¶¶ 30, 77, 151, 289–291, 445, 565–568; Twitter IPR,
Ex. 1025 ¶ 58; Twitter IPR, Ex. 1004, 53–55 (disclosure of skill level
determination and automatic updates, direction to learner to “practice
more”).

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      Accordingly, we agree that the evidence of record supports that the
combination of PALLAS and Yau teaches limitations 12.6–12.8 and
Petitioner has presented articulated reasoning with rational underpinning to
support the combination of prior art.
                                 (7) Conclusion
      Having considered the arguments and evidence, we determine that
Twitter has shown by a preponderance of the evidence that the combination
of PALLAS and Yau renders obvious claim 12 of the ’599 patent.
                          ii. Independent Claims 1 and 19
      For the challenges to claims 1 and 19, Twitter relies on similar
evidence and argument to that presented for claim 12. Twitter Pet. 84;
Twitter2 Pet 29–89. Patent Owner presents the same arguments for these
claims as those presented for claim 12, which we address above. See Twitter
PO Resp. 27–49.
      We have reviewed the evidence and argument and on this record we
determine that Twitter has shown by a preponderance of the evidence that
the combination of PALLAS and Yau renders obvious claims 1 and 19 of
the ’599 patent.
                          iii. Dependent Claims 4, 6, 7, 9–11, 15, 17, 18, 22,
                          24, and 25
      Petitioner presents evidence and argument in support of its
contentions that dependent claims 4, 6, 7, 9–11, 15, 17, 18, 22, 24, and 25
are rendered obvious by PALLAS and Yau. Twitter Pet. 42–56; Twitter2
Pet. 89–98.
      Claims 15, 17, and 18 depend from independent claim 12. Claim 15
further recites “defining a context by: creating one or more context entries in
a context manager; and associating a respective context entry with a set of


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contextual information.” Twitter IPR, Ex. 1001, 25:29–34. Twitter contends
that PALLAS and Yau each teach creating a context entry in a context
manager and associating it with contextual information. See Twitter Pet.
74–83, nn.13–15 (citing Twitter IPR, Ex. 1001, 7:30–58, 10:26–41, 11:11–
26; Twitter IPR, Ex. 1002, 23–24, 415; Twitter IPR, Ex. 1003 ¶¶ 295–333;
Ex. 1004, 54–58, Figs. 1–3; Ex. 1005, 4–5). This showing is similar to that
discussed above for limitations 12.3 and 12.4. In particular, Twitter
identifies the recited “context manager” in each of the three references as the
“Context Engine” and “Adaptivity Engine” (Twitter IPR, Ex. 1004, Fig. 3)
in PALLAS, and as the “Context Adaptation Module” (Twitter IPR, Ex.
1005, Fig. 1) in Yau. See Twitter Pet. 75–78. Twitter also argues that it
would have been obvious to perform the functions of PALLAS’s context and
activity engine “using Yau’s beneficial teachings of assigning context
patterns, including ones appropriate for test-taking, to associate context with
particular contextual information.” Twitter Pet. 80. According to Twitter,
this combination “would beneficially allow reuse of patterns for different
content.” Id. at 80–81 (citing Twitter IPR, Ex. 1003 ¶¶ 323–324).
      Claim 17 recites “wherein the contextual information includes one or
more of: time, date, location, proximity to a system-detectable tag, device
orientation, velocity, direction, distance, vibration, altitude, temperature,
pressure, humidity, sound, luminous intensity, camera image, and video
stream.” Twitter IPR, Ex. 1001, 25:40–45. Twitter contends that PALLAS
discloses that contextual information may include time, date, location,
distance, temperature, and humidity. See Twitter Pet. 83 (citing Twitter IPR,
Ex. 1003 ¶¶ 334–343).
      Claim 18 recites “wherein the content piece includes one or more of:
audio clip, image, video stream, language lesson, e-mail, weather report,

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calendar reminder, news feed, rich site summary (RSS) feed, information
update from a Web 2.0 application, and Internet blog.” Twitter IPR,
Ex. 1001, 25:46–51. Twitter contends that PALLAS discloses that a content
piece may include a language lesson in the form of a language-related
exercise. See Twitter Pet. 83–84 (citing Twitter IPR, Ex. 1003 ¶¶ 344–352;
Twitter IPR, Ex. 1004, 53–58, Fig. 4).
      For claims 4, 10, and 11, Twitter relies on its showing for claims 15,
17, and 18, respectively. Twitter Pet. 84.
      Claim 6 depends from claim 1 and further recites “wherein the context
is defined as a combination of at least a high-level abstraction which
corresponds to one or more low-level contextual information values,
wherein the low-level contextual information values can correspond to one
or more measurable parameters.” Twitter IPR, Ex. 1001, 24:15–19.
Similarly, claim 7 depends from claim 1 and further recites “wherein a
respective rule is defined with one or more high-level abstractions.” Id. at
24:20–21. For the recited “high-level abstraction,” Twitter identifies the
parameter of “Leisure Time” in PALLAS and the context pattern of “learner
is at the university’s computer lab, has 30 minutes, and is quiet” in Yau. See
Twitter Pet. 84–95, nn.16– 20 (citing Twitter IPR, Ex. 1001, 6:26–57,
10:41–55; Twitter IPR, Ex. 1002, 30, 416; Twitter IPR, Ex. 1003 ¶¶ 660–
700; Twitter IPR, Ex. 1004, 53–58, Figs. 1, 6; Twitter IPR, Ex. 1005, 3–5).
      Claim 9 depends from claim 1 and further recites “wherein presenting
the context piece comprises sharing the content piece with a remote device.”
Twitter IPR, Ex. 1001, 24:26–28. Twitter contends that PALLAS discloses
this limitation because its server communicates with mobile devices. See
Twitter Pet. 95–100 (citing Twitter IPR, Ex. 1003 ¶¶ 701–720; Twitter IPR,
Ex. 1004, 53–58, Figs. 2, 4, 6).

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      Claims 22, 24, and 25 depend from independent claim 19. Claim 22
recites similar limitations to that of claim 15. Twitter relies on similar
evidence to that of claim 15 for the teaching of the claim 22 limitations. See
Twitter2 Pet. 89–97. Claim 24 recites similar limitations to that of claim 17.
Petitioner relies on similar evidence to that of claim 17 for the teaching of
the claim 24 limitations. See id. at 97. Claim 25 recites similar limitations
to that of claim 18. Twitter relies on similar evidence to that of claim 18 for
the teaching of the claim 25 limitations. See id. at 97–98.
      Patent Owner presents no arguments specifically related to these
claims. See generally Facebook PO Resp.; Facebook PO Sur-reply.
      We have reviewed the evidence and argument and on this record we
determine that Twitter has shown by a preponderance of the evidence that
the combination of PALLAS and Yau renders obvious claims 4, 6, 7, 9–11,
15, 17, 18, 22, 24, and 25 of the ’599 patent.
             6. Asserted Obviousness of Claims Over PALLAS, Over the
             Combination of PALLAS and Kim, and Over the Combination
             of PALLAS, Yau, and Kim
      Petitioner contends that claims 1, 6, 7, 9–12, 17–19, 24, and 25 are
unpatentable under 35 U.S.C. § 103(a) as obvious over PALLAS alone;
claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24, and 25 are unpatentable as obvious
over PALLAS and Kim; and claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24, and
25 are unpatentable as obvious over PALLAS, Yau, and Kim. Twitter Pet.
12; Twitter2 Pet. 12.
      Because we have determined that claims 1, 4, 6, 7, 9–12, 15, 17–19,
22, 24, and 25 are rendered obvious over PALLAS and Yau, we need not
reach these other grounds for unpatentability of these claims. See SAS, 138
S. Ct. at 1359.


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       F. Conclusion As To Twitter’s Challenges To Claims 1, 4, 6, 7, 9–12,
       15, 17–19, 22, 24, and 25 of the ’599 Patent
       For the foregoing reasons, we conclude that Twitter has shown by a
preponderance of the evidence that claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24,
and 25 of the ’599 patent are unpatentable. In summary:

                    35                         Claims      Claims Not
                             References/
     Claim(s)     U.S.C.                       Shown         Shown
                               Basis
                    §                        Unpatentable Unpatentable
 1, 6, 7, 9–12,
                  103(a)    PALLAS 31
 17–19, 24, 25

 1, 4, 6, 7, 9–                         1, 4, 6, 7, 9–
 12, 15, 17–19, 103(a)      PALLAS, Yau 12, 15, 17–19,
 22, 24, 25                             22, 24, 25

 1, 4, 6, 7, 9–
                            PALLAS,
 12, 15, 17–19, 103(a)
                            Kim 32
 22, 24, 25
 1, 4, 6, 7, 9–
                            PALLAS,
 12, 15, 17–19, 103(a)
                            Yau, Kim 33
 22, 24, 25
                                             1, 4, 6, 7, 9–
 Overall
                                             12, 15, 17–19,
 Outcome
                                             22, 24, 25




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   As explained above, because we determine that these challenged claims are
rendered obvious by PALLAS and Yau, we need not address this
obviousness ground for these claims.
32
   As explained above, because we determine that these challenged claims are
rendered obvious by PALLAS and Yau, we need not address this
obviousness ground for these claims.
33
   As explained above, because we determine that these challenged claims
are rendered obvious by PALLAS and Yau, we need not address this
obviousness ground for these claims.

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               VI. CONTINGENT MOTIONS TO AMEND
      As discussed supra Section II, in view of the overlap of issues, we
will address Patent Owner’s Contingent Motions to Amend in a combined
manner. Patent Owner proposes the same substitute claims in all the cases.
      A. Background
      In the Snap IPR, Patent Owner filed a Contingent Motion to Amend
(Snap IPR, Paper 22, “Snap Mot.”), which was opposed by Snap (Snap IPR,
Paper 24, “Snap Pet. Mot. Opp.”). In the Snap Motion, Patent Owner
proposes substitute claims 26–40 to replace original claims 1, 4, 6, 7, 9–12,
15, 17–19, 22, 24, and 25. See Snap Mot. At the request of Patent Owner
(id. at 1), we issued Preliminary Guidance to Patent Owner’s Motion to
Amend (Snap IPR, Paper 32, “Snap Preliminary Guidance”). Patent Owner
submitted a Reply in Support of its Motion to Amend (Snap IPR, Paper 33,
“Snap PO Mot. Reply”). Snap filed a Sur-reply supporting its Opposition
(Snap IPR, Paper 39, “Snap Pet. Mot. Sur-reply”).
      In the Facebook IPR, Patent Owner filed a Contingent Motion to
Amend (Facebook IPR, Paper 20, “Facebook Mot.”), which was opposed by
Facebook (Facebook IPR, Paper 26, “Facebook Pet. Mot. Opp.”). In the
Facebook Motion, Patent Owner proposes substitute claims 26–40 to replace
original claims 1, 4, 6, 7, 9–12, 15, 17–19, 22, 24, and 25. See Snap Mot.
At the request of Patent Owner (id. at 1), we issued Preliminary Guidance to
Patent Owner’s Motion to Amend (Facebook IPR, Paper 29, “Facebook
Preliminary Guidance”). Patent Owner submitted a Reply in Support of its
Motion to Amend (Snap IPR, Paper 30, “Facebook PO Mot. Reply”).
Facebook filed a Sur-reply supporting its Opposition (Facebook IPR, Paper
34, Facebook Pet. Mot. Sur-reply”).


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      In the Twitter IPR, Patent Owner filed a Contingent Motion to Amend
(Twitter IPR, Paper 24, “Twitter Mot.”), which was opposed by Twitter
(Twitter IPR, Paper 30, “Twitter Pet. Mot. Opp.”). In the Twitter Motion,
Patent Owner proposes substitute claims 26–40 to replace original claims 1,
4, 6, 7, 9–12, 15, 17–19, 22, 24, and 25. See Twitter Mot. At the request of
Patent Owner (id. at 1), we issued Preliminary Guidance to Patent Owner’s
Motion to Amend (Twitter IPR, Paper 33, “Twitter Preliminary Guidance”).
Patent Owner submitted a Reply in Support of its Motion to Amend (Twitter
IPR, Paper 35, “Twitter PO Mot. Reply”). Twitter filed a Sur-reply
supporting its Opposition (Twitter IPR, Paper 41, Twitter Pet. Mot. Sur-
reply”).
      Although the proposed substitute claims must meet the requirements
of 35 U.S.C. § 316(d) and 37 C.F.R. § 42.121, Petitioner “bears the burden
of persuasion to show, by a preponderance of the evidence, that any
proposed substitute claims are unpatentable.” 35 U.S.C. § 316(d); 37 C.F.R.
§ 42.121(d)(2); Lectrosonics, Inc. v. Zaxcom, Inc., IPR2018-01129, Paper 15
at 4 (PTAB Feb. 25, 2019) (precedential) (citing Aqua Prods. Inc. v. Matal,
872 F.3d 1290 (Fed. Cir. 2017); Bosch Auto. Serv. Sols. LLC v. Iancu, 878
F.3d 1027 (Fed. Cir. 2017)).
      Before considering the patentability of any substitute claims, we first
determine whether the motion to amend meets the statutory and regulatory
requirements set forth in 35 U.S.C. § 316(d) and 37 C.F.R. § 42.121. Patent
Owner is required to show that: (1) the amendment responds to a ground of
unpatentability involved in the trial; (2) the amendment does not seek to
enlarge the scope of the claims of the patent or introduce new subject matter;
(3) the amendment proposes a reasonable number of substitute claims; and



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(4) the proposed claims are supported in the original disclosure. 37 C.F.R.
§ 42.121; Lectrosonics, Paper 15.
      Patent Owner proposes amendments to claim 1 by substitute claim 26,
which is representative, which recites as follows, with underlining
designating added text and strikethrough indicating deleted text, and with
letters in single brackets added to the limitations of proposed substitute
claim 26 for reference purposes:
      26. [a] A method for delivering context-based content to a first user of
      a first device, the method comprising:
             [b] receiving at least one content package, wherein the content
             package includes at least one content piece and a set of rules
             associated with the content package ,wherein the set of rules
             includes a trigger condition and an expected response at least
             one predefined response, and wherein the trigger condition
             specifies a context that triggers a presentation of the content
             piece;
             [c] receiving a set of contextual information with respect to the
             first user and the first device, wherein the set of contextual
             information includes contextual information from two or more
             different types of input sources;
             [d] processing the contextual information to determine a current
             context for the first user and the first device;
             [e] determining whether the current context satisfies the trigger
             condition;
             [f] in response to the trigger condition being satisfied,
             presenting the content piece to the first user;
             [g] receiving a response from the first user corresponding to the
             presented content piece;
             [h] determining whether the received response matches the
             expected response is expected or unexpected, wherein the
             received response is expected if the received response matches
             one or more of the at least one predefined response, and
             wherein the received response is unexpected if the received


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             response does not match any of the at least one predefined
             response; and
             [i] performing an action based on an outcome of the
             determination.
See Snap Mot., Appendix A, 1–2.

      B. Requirements Under 35 U.S.C. § 316(d) and 37 C.F.R. § 42.121
             1. Reasonable Number of Substitute Claims; Responsive to
             Ground of Unpatentability
      In the Snap, Facebook, and Twitter proceedings, Patent Owner asserts
that its Motion to Amend proposes a reasonable number of substitute claims
and is responsive to the grounds of unpatentability involved in the
proceeding. See, e.g., Snap Mot. 1–14. Patent Owner proposes one
substitute claim for each of fifteen challenged claims and, therefore, meets
the requirement for a reasonable number of proposed substitute claims
because it is a reasonable number of substitute claims and there is a one-to-
one relationship with the fifteen substitute claims. See 37 C.F.R.
§ 42.121(a)(3); see also Lectrosonics, Paper 15 at 4 (“There is a rebuttable
presumption that a reasonable number of substitute claims per challenged
claim is one (1) substitute claim.”).
      Patent Owner contends “this [M]otion conditionally seeks to amend
those claims to address Petitioner’s arguments,” in order to overcome the
grounds of unpatentability raised in the Petition. See, e.g., Snap Mot. 3.
      Snap and Facebook do not dispute Patent Owner’s contentions as to
these statutory and regulatory requirements. See generally Snap Pet. Mot.
Opp.; Facebook Pet. Mot. Opp. Twitter contends the “Motion does not even
attempt [to] assert that Petitioner’s prior art does not disclose or render




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obvious this proposed limitation, and should be denied.” Twitter Pet. Opp.
7–8 (citing Twitter Mot. 19–23).
      Under our rules, the requirement is for the amendment to be responsive
to “a ground of unpatentability involved in the trial.” 37 C.F.R.
§ 42.121(a)(2)(i). Patent Owner has met this requirement by proposing an
amendment responding to Twitter’s arguments in the Petition. For example,
Patent Owner contends that “[e]ach substitute independent claim . . . requires
an ability to determine whether the response to the presented content piece is
an unexpected (e.g., incorrect or undesired) response. [Petitioner’s] prior art
fails as to these limitations.” Twitter Mot. 21.
      We determine that Patent Owner has met the statutory and regulatory
requirements of proposing a reasonable number of substitute claims and
responsiveness to the grounds of unpatentability for a motion to amend.
             2. Enlarging Scope of Claims
      Patent Owner asserts that it proposes narrowing limitations in direct
response to the grounds of unpatentability involved in this proceeding. See,
e.g., Snap Mot. 3–4.
      Facebook argues Patent Owner is “improperly attempting to enlarge
the scope of the original claims.” Facebook Pet. Opp. 1. Facebook asserts,
“[i]f ‘an expected response’ means one or more expected responses,
therefore, determining whether the received response ‘matches the expected
response’ means that the received response must match [all of] the one or
more previously-recited expected responses in the content package.” Id. at 3
(emphasis omitted). Facebook then argues “the term ‘predefined response’
is broader than ‘expected response,’” because “an ‘expected response’ does
not include any conceivable or possible response; it is a response that is
expected.” Id. at 4–5 (emphasis omitted).

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      Twitter argues that “‘predefined response’ is broader than ‘expected
response’ because a ‘predefined response’ can include any possible response
as long as that response has been somehow defined in advance.” Twitter
Pet. Opp. 2.
      We consider the amendments in view of the claim as a whole.
Although the term “one predefined response” may be broader than “an
expected response,” we also consider the amended portion “wherein the
received response is expected if the received response matches one or more
of the at least one predefined response,” and “the received response is
unexpected if the received response does not match any of the at least one
predefined response.” Unless the response had been predefined within the
content package, any “received response” could not be considered
“expected” under the claims, and the additional clause requires a match of
the response with the predefined response to be deemed “expected.” This
equates to an equivalent scope to the original claim. This is consistent with
Dr. Martin’s testimony, which we credit, that he is not aware of a situation
where the substitute but not original claims are infringed because “[t]he
substitute claims would only be satisfied when a ‘predefined response’ in the
substitute claims is an ‘expected response’ in the original claims.” Facebook
IPR, Ex. 2023 ¶ 59.
      Facebook also argues that Patent Owner is seeking broader coverage
of the claim by replacing “matches the expected response” with “matches
one or more of the at least one predefined response” by the introduction of
“one or more of.” Facebook Pet. Mot. Sur-reply 2. Although the substitute
claim recites “one of more,” the original claim recites “an expected
response,” which may be construed as “one or more,” so the use of “one or
more” for the predefined response is not broadening. See Baldwin Graphic

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Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1360 (Fed. Cir. 2008). Further, a
predefined response would nevertheless have to be in a content package with
a content piece and a set of rules.
      Facebook further refers to a statement in the prosecution history
distinguishing the Brandenberg reference, which has several possible rating
responses, to support the argument that a predefined response is broader than
an expected response. Facebook Pet. Mot. Sur-reply 4–5. We do not agree
with Facebook’s argument on this reference because, as Dr. Martin testifies,
Bradenberg is soliciting an opinion, not whether a response that would be
“expected” or “unexpected.” See Facebook IPR, Ex. 2023 ¶ 73.
      Twitter additionally argues that the ’599 patent describes the
“expected response” as a “correct” response, so while an “expected
response” on a multiple choice test may be “predefined,” it would not be
“correct.” Twitter Pet. Mot. Opp. 2. Here, Twitter asks too much of the
substitute claim. As discussed above, the substitute claim requires a
determination if a received response is “expected” by checking for a match
with the predetermined response in a content package. And the original
claim requires only that an expected response be a part of set of rules for a
content package, that it be checked for a match with a received response, and
then an action be performed based on the outcome of that determination —
but there is no recited requirement that the expected response has to be a
“correct” response. Because the original claim did not include this
requirement, a more limited interpretation on the amended claim should not
be imposed.
      Twitter also asserts that the ’599 patent does not use the term
“predetermined response,” but uses the term “predetermined” in different
contexts that are limited to the meaning “defined in advance.” Twitter Pet.

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Mot. Opp. 3–5. This argument does not apply because, as discussed above,
we consider the term “predefined response” in the context of the claim
where it may be determined to be “expected” or “unexpected.” Twitter has
similar arguments to Facebook, which we do not agree with for the reasons
discussed above.
       Accordingly, we determine that Patent Owner has met its burden to
demonstrate that the proposed substitute claims do not broaden the scope of
the original claims. 34
              3. Adding New Subject Matter
       As to whether the proposed substitute claims are supported by the
original disclosure, Patent Owner asserts that several portions of Application
Ser. No. 12/326,457 (“the ’457 application”) disclose the limitation
“determining whether the received response is expected or unexpected . . .
wherein the received response is unexpected if the received response does
not match any of the at least one predefined response” of limitation 26[h].
Snap Mot. 6 (citing Ex. 1004).
       Snap contends that the cited portions of the ’457 application that are
identified by Patent Owner do not mention “unexpected” responses, nor is
there a description of features for determining whether the received user
response to the presented content piece matches one or more of the one
predefined response in the set of rules or whether it does not match any of


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   The Preliminary Guidance provided in the Snap and Facebook cases
preliminarily indicated that, at that stage of the trial, Patent Owner had not
sufficiently established that the proposed claim language did not broaden the
claim scope. See Snap Preliminary Guidance 5; Facebook Preliminary
Guidance 5. Our determination here is based on the full record, and upon
further consideration of the issues in view of the full view of the context of
the language of the substitute claims.

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the at least one predefined responses in the set of rules. See Snap Pet. Mot.
Opp. 2. More specifically, Snap contends that the cited portions of the
specification describe evaluating a response generally or in the context of a
correct or incorrect response. Id. Snap asserts that there are no disclosed
features for determining whether a received response to a presented content
piece (e.g., “JpI.mp3”) does not match a predefined response for any other
of the content pieces of in the set of rules ((e.g., “JpHello.mp3” through
“JpGoodmorning.mp3”). Id. at 4 (citing Snap IPR, Ex. 1022 ¶ 73). Further,
Snap argues that the match of “any of the at least one predetermined
response” requires a comparison of the received responses to each of the
predetermined responses before concluding that there is no match, which is
contrary to the ’457 application’s disclosures. Id. at 3 (citing Snap IPR,
Ex. 1022 ¶¶ 71–72). Similarly, Snap asserts that the application does not
provide support for a determination that a presented content piece matches
more than one predefined responses in a set of rules, as the amendments
claim. Id. at 4 (citing Ex. Snap IPR, 1022 ¶¶ 74–75).
      Snap also asserts that the proposed substitute claims lack support
under their plain language because the content includes “at least one content
piece” and a set of rules associated with the content package, so the “at least
one predefined response” must be for the entire content package and not the
“at least one content piece.” Snap Pet. Mot. Sur-reply 9. As such, Snap
argues, the determining limitation requires that the received response be
compared to “one or more of the at least predefined response,” which
encompasses every “predefined response” in the content package, which
include predefined responses for each content piece in the content package.
Id. at 9–10. Snap contends that the claim language requires a comparison of



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all predetermined responses in the content package, which is not disclosed in
the specification of the application. Id. at 10–11.
         Snap also asserts that, even if the claims were interpreted in the
manner that Patent Owner argues, the claimed “one or more” is unsupported
because the specification of the application consistently describes a content
piece having a single expected response. Snap Pet. Mot. Sur-reply 11 (citing
Snap IPR, Ex. 1004 ¶¶ 56, 62–63, Tables 1, 2). Snap argues that the ’457
application disclosure of a list of allowable values for entries of a given
column in Table 1, which includes “response columns,” (Snap IPR, Ex. 1004
¶ 59), fails to explain how this feature is implemented. Snap Pet. Mot. Sur-
reply 11–12. Snap contends that this disclosure “at best discloses that a
single expected response can be described or otherwise defined by ‘a list of
allowable values,’” so an entry in the response column corresponds to a
particular content piece which has a list of values as described, but which
“remains a single predefined response for that particular content piece.” Id.
at 12.
         As discussed above, although the ’457 application does not use the
term “expected response,” the proposed substitute claim language for
limitations 1[b] and 1[h] essentially conforms with its description, with some
recasting of the language. That is, the ’457 application discloses a “received
response” is checked to determine if it matches a predetermined response
(which includes an expected response) and an action is performed based
upon that determination, with a received response being expected (action
correct) if there is a match and being unexpected (action incorrect) if there is
no match. See Snap IPR, Ex. 1004 ¶¶ 56, 63, Tables 1, 2. Exact claim terms
need not be used “in haec verba . . . [but] the specification must contain an
equivalent description of the claimed subject matter”—and here we find that

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the description is equivalent to the language of the proposed substitute
claim. Lockwood v. Am. Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir.
1997).
         As to the issue of whether there is support for the limitation
“determining whether the received response is expected or unexpected . . .
wherein the received response is unexpected if the received response does
not match any of the at least one predefined response,” we agree with Patent
Owner that there is. Snap’s arguments are premised on the position that the
claim language requires that the received response be compared with every
one of the predetermined responses in the content package, which is not
disclosed in the specification of the application. Limitation 26[b] states that
the content package(s) include content piece(s) and a set of rules, with the
set of rules including a trigger condition. As the claim limitation recites,
however, “the trigger condition specifies a context that triggers a
presentation of the content piece.” Accordingly, in context, this indicates
that the set of rules includes the trigger condition and the at least one
predetermined response associated with a content piece; that is, the
conditions of the trigger conditions associated with predetermined response
apply.
         Additionally, the ’457 application supports that there may be more
than one predefined response for a single content piece. It states that “[t]he
response column allows a user to specify an expected response to the
presentation of content 253” and that “a user can provide content
management system 240 with a list of allowable values (e.g., names or tags,
and corresponding 20 contextual information) for the entries of a given
column (e.g., the time, location, state, or response columns presented in
Table 1).” Snap IPR, Ex. 1004 ¶¶ 56, 59 (emphasis added). We agree with

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Dr. Martin that this disclosure would reasonably inform one of ordinary skill
in the art that more than one predefined response for a content piece is
permissible. Snap IPR, Ex. 2008 ¶ 51. Snap’s arguments that the disclosure
does not explain how this feature is implemented and that the response
column “remains a single predefined response for that particular content
piece” ignore the express disclosure that there can be a list of values set in
the response column.
      Twitter additionally argues that none of the disclosures identified by
Patent Owner show possession of the “predefined response” language.
Twitter Pet. Opp. 6–7. As discussed above, the substitute claims have an
equivalent scope to the original claims when the use of the term
“predetermined response” is considered in context. Further, as also
discussed, exact claim terms need not be used in haec verba, and the ’457
application provides sufficient support for the substitute claim limitations.
      Accordingly, having considered the arguments and evidence, we
determine that there is sufficient written description support for the proposed
substitute claims.
      B. Patentability
          1. § 103
      Snap, Facebook, and Twitter all challenge the substitute amended
claims on obviousness grounds. We address these challenges in turn.
                     a. Snap
      Snap asserts that the proposed substitute claims are unpatentable as
obvious under 35 U.S.C. § 103 in view of Rosenberg, Buck, and Suzuki.
Snap Pet. Opp. 7–25. More specifically, Snap contends the combination of
Rosenberg and Buck teaches limitation 26[h], “determining whether the
received response is expected or unexpected, wherein the received response

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is expected if the received response matches one or more of the at least one
predefined response, and wherein the received response is unexpected if the
received response does not match any of the at least one predefined
response.” Id. at 13–20 (emphasis omitted).
      Buck discloses “a system and method . . . for a context menu
interface,” its “context menu pop-up interface . . . offers a plurality of
selection choices, all of which can be selected by a user,” and where its
“client terminal 400 can be a computer, such as a . . . handheld device.”
Snap IPR, Ex. 1023, 4:34–37, 5:40–43, Fig. 5. Buck discloses that its
“trading application 402 may also receive input signals from traders [i.e.,
users] via input device 412” and “a user can activate the context menu
interface by simply pressing an input choice of an input means.” Id. at 6:17–
20, 8:1–3. Buck further discloses that “a user could define a number of
desired actions to be taken in response to detecting an invalid selection” and
“when an invalid selection choice is made, an audible or a visual warning
may be triggered, and a user may be given an opportunity to select the
intended item.” Id. at 14:32–44.
      Snap asserts that a person of ordinary skill in the art would have been
motivated to implement Rosenberg in view of Buck’s teaching of an invalid
selection response, that is, an “unexpected result.” Snap Pet. Opp. 16. Snap
contends that “Buck’s teachings/suggestions concerning
techniques/technologies for handling unexpected user responses to defined
options in a user interface are consistent with the knowledge in the art” of a
person of skill at the time. Id. Snap argues that a person of skill would have
appreciated potential operational issues could occur without




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error/exception handling features and there would have been motivation to
include a determination whether a user response match or do not match
Rosenberg’s presented reminder options. Id. at 17–18.
       In its Sur-reply, Snap contends that the user input mechanisms in
Rosenberg’s device, such as “multiple buttons and/or touchscreen portions
that do not correspond to the four displayed reminder options,” should be
considered in the combination. Snap Pet. Mot. Sur-reply 1–2. Snap refers to
Rosenberg’s disclosure of “multiple ‘buttons,’ and may include, e.g., ‘a
pointing device . . . such as a mouse, thumbwheel or trackball,’ ‘an
optional touch screen,’ ‘one or more pushbuttons,’ and/or ‘one or more
switches.’” Id. at 2. Snap also refers to Rosenberg’s reset button 502 that
can be pressed to engage reminder reset. Id. at 3. Snap argues that
“Rosenberg discloses various ways a user may provide input,
including selecting a button (or an area on the touchscreen) that does not
correspond to any depicted functionality, or is otherwise unrecognized by
the system,” and a person of ordinary skill in the art “would have been
motivated to implement functionality to handle such an occurrence.” Id. at
3–4.
       As discussed in the Snap Preliminary Guidance, Rosenberg discloses
it presents a menu of four choices a user can select from: terminate 505,
defer 506, last change 507, or edit 508. Ex. 1005, 19:34–38; see Snap
Preliminary Guidance 7. There appears to be no “unexpected” or “invalid”
responses displayed for selection in Rosenberg, so a user would not provide
an invalid input to options presented on the user interface. Although Snap
argues in its Opposition that a person of skill would have looked to Buck to
handle “invalid/unrecognized” input, in the Preliminary Guidance, we did



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not find that persuasive because there is no invalid responses displayed for
selection in Rosenberg. See Snap Preliminary Guidance 8.
      Snap’s Sur-reply arguments concerning other buttons and other input
methods that could be chosen constitute new arguments that proceed in a
new direction with a new approach from that presented in the Opposition,
which only discussed “the possibility of users providing
incorrect/invalid/unrecognized input(s) to options presented on a user
interface,” with only four options presented on the interface. 37 C.F.R.
§ 42.23; Consolidated Trial Practice Guide, 74 (November, 2019); see also
Snap Pet. Mot. 15. Even if we were to consider Snap’s arguments made in
the Sur-reply, we would not be persuaded by Snap’s assertion that there
would be motivation to combine the references because it appears that
hindsight has been employed. Although Petitioner argues that potential
operational issues could occur without error handling features, Petitioner
does not identify the potential issues that could occur in Rosenberg, and
Rosenberg does not identify that pressing another button would be
considered incorrect or unexpected.
      The other independent substitute claims, claims 33 and 37, require the
determination of whether a received response is unexpected. Accordingly,
we do not find that obviousness has been demonstrated by Snap for these
proposed substitute claims. Additionally, the challenge to the dependent
substitute claims fails by virtue of dependency on claims 26, 33, and 37,
respectively.
      In view of the foregoing, we conclude that Snap has not established
by a preponderance of the evidence that proposed substitute claims 26–40
would have been unpatentable as obvious in view of Rosenberg, Buck, and
Suzuki.

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                    b. Facebook
      Facebook asserts that the proposed substitute claims are unpatentable
as obvious under 35 U.S.C. § 103 in view of Lamont, Wolfe, Wang, with or
without Lynch or Wehrenberg. Facebook Pet. Opp. 14–25.
      Facebook relies on the obviousness assertions presented in the
Petition for the obviousness of the unmodified claim limitations. Facebook
Pet. Opp. 14–25. For newly-added limitations in substitute claim 26,
Facebook contends that Lamont discloses a “first device” corresponding to
the new claim language, and “receiving a set of contextual information with
respect to the first user and the first device,” “[b]ecause the contextual
information in Lamont is received while the first user is in physical
possession of the client device, that information pertains to the ‘first user and
the first device.’” Id. at 15–16 (citing Facebook Pet. 24–35; Facebook IPR,
Ex. 1002 ¶¶ 103–120). Petitioner also contends that Lamont discloses a
“predetermined response,” because Lamont’s example answer, “Lincoln,”
“was defined beforehand and incorporated into the Lamont tour script
provided to and executing on the client device.” Facebook Pet. Opp. 16
(citing Facebook Pet. 18–24; Facebook IPR, Ex. 1016 ¶ 72). Additionally,
Facebook contends that Wolfe discloses determining if a response is
expected or unexpected, at least as to its Figure 3. Facebook Pet. Opp. 17–
18.
      As to “two or more different types of input sources,” Facebook
contends that “Lamont discloses receiving time information from a clock
device and location information from a GPS receiver device.” Facebook
Pet. Opp. 18 (citing Facebook Pet. 25–26; Facebook IPR, Ex. 1003, 14:29–
37, 14:56–62; Facebook IPR, Ex. 1002 ¶¶ 103, 104, 107). Facebook
contends that the prior art discloses a first input source at either the “network

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interface of the client device in Lamont, alone or in combination with the
device’s clock,” or Lamont’s internal clock device, or Lynch’s “technique in
which a mobile device can receive a signal from cellular base station that the
mobile device can use to determine the correct local time.” Facebook Pet.
Opp. 18–20. Facebook additionally contends the prior art discloses a second
input source at either Lamont’s GPS component (id. at 18), or Wehrenberg’s
accelerometer (id. at 21).
      Petitioner asserts that a person of ordinary skill in the art would have
been motivated to include Lynch’s feature of receiving time as it was a
known technique which would have improved Lamont’s system by
automatically setting correct local times. Facebook Pet. Opp. 19–21.
Petitioner also argues that it would have been obvious to combine Lamont
with Wehrenberg as accelerometers were well-known in a broad range of
applications and would have offered benefits, such as providing additional
contextual information for trigger conditions. Id. at 21–23.
      We have reviewed the evidence and arguments and determine that
Facebook has presented persuasive evidence that the combination of
Lamont, Wolfe, and Wang, with or without Lynch or Wehrenberg, teaches
the limitations of proposed substitute claims 26–40. Facebook also has
presented articulated reasoning with rational underpinning to support the
combination of prior art.
      Patent Owner contends there is no reason to combine Lamont’s
system “with a different complete system teaching an alternate and
inconsistent understanding of ‘treasure hunt’ (Wolfe).” See Facebook Mot.
20; Facebook PO Mot. Reply 6–7. Patent Owner also argues that Lamont’s
presented media clip content piece would not teach some limitations. See
Facebook PO Mot. Reply 7. These arguments are the same as those

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presented for the original claims, which we do not find persuasive for the
same reasons. See Section IV.E.5.d.i.(5).
      Patent Owner also contends Lamont has “extremely limited
feedback,” and, for the determining and performing limitations, Petitioner
relies on Wolfe, but the combination “results in an incomplete system with
undescribed (and therefore unknown) input capabilities.” See Facebook Mot.
17. Patent Owner further argues the Petition “never addresses Lamont’s
limited disclosure or how the combination would remedy Lamont’s input
capabilities,” which “includes extremely limited feedback, such as just two
keys or buttons.” Id. These arguments are the same as those presented for
the original claims, which we do not find persuasive for the same reasons.
See Section IV.E.5.d.i.
      Patent Owner further argues that the prior art does render the claimed
tripartite structure obvious. Facebook PO Mot. Reply 4–6. These
arguments are the same as those presented for the original claims, which we
do not find persuasive for the same reasons. See Section IV.E.5.d.i.(5).
       In view of the foregoing, we conclude that Facebook has established
by a preponderance of the evidence that proposed substitute claims 26–40
would have been unpatentable in view of the combination of Lamont, Wolfe,
and Wang, with or without Lynch or Wehrenberg.
                          c. Twitter
      Twitter asserts that proposed substitute claims 26–40 are unpatentable
as obvious under 35 U.S.C. § 103 in view of PALLAS or the combination of
PALLAS and Yau. Twitter Pet. Opp. 9–20.
      Twitter relies on the obviousness assertions presented in the Petition
for the obviousness of the unmodified claim limitations. Twitter Pet. Opp.



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9–20. As discussed supra Section V.E.5, we have determined that the
combination of PALLAS and Yau renders obvious the original claims.
      As discussed above, Twitter contends combination of PALLAS and
Yau teaches the original independent claim limitations, even if an
unexpected response is part of the limitations. Section V.E. For another
newly-added limitation in substitute claim 26, as to the “contextual
information” limitation, Twitter contends that PALLAS discloses “using the
profile of the learner and environmental parameters,” including, e.g.,
“location, time and day and the mobile device that is used by the learner,”
and that the “weather is considered as PALLAS is aimed to be used outside
of the classroom and may help in suggesting appropriate activities for the
learner.” Twitter Pet. Opp. 19. Twitter also contends that “Yau discloses
receiving a set of contextual information with respect to the ‘first device’
(e.g., ‘learner’s device’) from two or more different types of input sources
(e.g., ‘Location’ and ‘Noise Level’ from ‘two sensors, namely GPS for
location detection and a microphone for noise detection’).” Id. (citing
Twitter IPR, Ex. 1005, 3, 5, Fig. 1). According to Twitter, using data from a
microphone, in addition to the GPS in PALLAS’s mobile device, would
have “allow[ed] presentation of learning content to be further customized”
and it “would have been routine and straightforward to make such an
implementation choice.” Twitter Pet. Opp. 20 (citing Twitter IPR, Ex. 1025
¶¶ 163–165).
      We have reviewed the evidence and arguments and determine that
Twitter has presented persuasive evidence that the combination of PALLAS
and Yau teaches the limitations of proposed substitute claims 26–40.
Twitter also has provided a persuasive rationale to combine the references.



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       Patent Owner argues that the combination of PALLAS and Yau do
not teach some of the limitations of representative claim 26. Twitter PO
Mot. Reply 4–7. These arguments are the same as those presented for the
original claims, which we do not find persuasive for the same reasons. See
Section V.5.i.(6).
       In view of the foregoing, we conclude that Twitter has established by
a preponderance of the evidence that proposed substitute claims 26–40
would have been unpatentable in view of the combination of PALLAS and
Yau.
             2. § 101

       Facebook and Twitter assert that the substitute claims are
unpatentable under 35 U.S.C. § 101. Facebook Pet. Opp. 9–14; Twitter Pet.
Opp. 21–25. The issues presented in both cases overlap and we consider
Twitter’s contentions to be representative.
       Twitter contends that the substitute claims fails both steps under the
two-step framework of Alice Corp. Pty. Ltd. v. CLS Bank International, 573
U.S. 208 (2014). Twitter Pet. Opp. 21. For the first step, Twitter asserts that
the “substitute claims are directed to the abstract idea of presenting content
based on a user’s context, collecting the user’s response to that content, and
performing an action based on the response—and provide no
‘improvement[s] in computer capabilities.’” Id. Twitter argues that “[t]he
substitute claims simply recite desired functional results—using “primitive
computer operations found in any computer system . . . — for collecting
(‘receiving’), processing (‘determining,’ ‘processing,’ and ‘performing’) and
transmitting information (‘presenting’), which the Federal Circuit has
repeatedly found are directed to abstract ideas.” Id. at 22 (citing In re


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Killian, 45 F.4th 1373 (Fed. Cir. 2022); Elec. Power Grp., LLC v. Alstom
S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016); and Intell. Ventures I LLC v.
Capital One Bank (USA), 792 F.3d 1363, 1369-70 (Fed. Cir. 2015)). Twitter
asserts that the proposed substitute claims “provide[] no specific
technological solution or improvement to computer functioning, instead
describing well-known, generic hardware, and merely catalog[] trivial
implementation choices well understood by [a person of ordinary skill in the
art].” Id. at 23.
       Twitter also contends that the ’599 patent Specification “confirms it
provides no specific technological solution or improvement to computer
functioning, instead describing well-known, generic hardware, and
merely catalogs trivial implementation choices well understood” by a person
of ordinary skill in the art. Twitter Pet. Opp. 23 (citing Twitter IPR,
Ex. 1001, 3:24–33, 3:42–49; Twitter IPR, Ex. 1003 ¶¶ 29, 33, 53, 78).
Twitter argues that “gathering and outputting data are ‘insignificant extra-
solution activity’ insufficient to confer eligibility.” Id.
       Twitter further contends that under step 2 of the Alice analysis, “the
substitute claims’ ‘additional features’—alone and as an
ordered combination—do not recite an ‘inventive concept’ that is
‘significantly more’ than this patent-ineligible idea.” Twitter Pet. Opp. 24
(citing Alice, 573 U.S. at 221–22). Twitter argues that the proposed
substitute claims instead “recite well-known, routine, and conventional data
manipulation using a general purpose computer.” Id. (citing Twitter IPR,
Ex. 1003 ¶¶ 29–50; Ex. 1025 ¶¶ 82–30, 132–166; Intell. Ventures I LLC
v. Capital One Fin. Corp., 850 F.3d 1332, 1340 (Fed. Cir. 2017)). Twitter
contends that the ’599 patent’s “content package,” “content piece,” “trigger
condition,” “predefined response,” “context,” “contextual information from

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two or more different types of input sources,” and expected and unexpected
user responses, are not new and rely on conventional, well-known
techniques. Id. Twitter further enumerates the claimed features and argues
that they were “well known, routine, and noninventive.” Id. at 25.
      An invention is patent eligible if it claims a “new and useful process,
machine, manufacture, or composition of matter.” 35 U.S.C. § 101.
However, the Supreme Court has long interpreted 35 U.S.C. § 101 to include
implicit exceptions: “[l]aws of nature, natural phenomena, and abstract
ideas” are not patentable. E.g., Alice, 573 U.S. 208, 216 (2014).
      In determining whether a claim falls within an excluded category, the
guide is the Supreme Court’s two-step framework, described in Mayo and
Alice. Alice, 573 U.S. at 217–18 (citing Mayo Collaborative Servs. v.
Prometheus Labs., Inc., 566 U.S. 66, 75–77 (2012)). Under the framework,
it is first determined what concept the claim is “directed to.” See Alice, 573
U.S. at 219 (“On their face, the claims before us are drawn to the concept of
intermediated settlement, i.e., the use of a third party to mitigate settlement
risk.”); see also Bilski v. Kappos, 561 U.S. 593, 611 (2010) (“Claims 1 and 4
in petitioners’ application explain the basic concept of hedging, or protecting
against risk.”).
      If the claim is “directed to” an abstract idea, the second step of the
Alice and Mayo framework is evaluated, where “the elements of the claim”
are evaluated “to determine whether it contains an ‘inventive concept’
sufficient to ‘transform’ the claimed abstract idea into a patent-eligible
application.” Alice, 573 U.S. at 221 (citation and quotation marks omitted).
“A claim that recites an abstract idea must include ‘additional features’ to
ensure ‘that the [claim] is more than a drafting effort designed to
monopolize the [abstract idea].”’ Id. (quoting Mayo, 566 U.S. at 77).

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“[M]erely requir[ing] generic computer implementation[] fail[s] to transform
that abstract idea into a patent-eligible invention.” Id.
      Additionally, the USPTO has published guidance on the application of
35 U.S.C. § 101. 2019 Revised Patent Subject Matter Eligibility Guidance,
84 Fed. Reg. 50, 57 (Jan. 7, 2019) (“2019 Guidance”). Under 2019
Guidance, a claim is “directed to” an abstract idea if the claim recites any of
(1) mathematical concepts, (2) certain methods of organizing human
activity, and (3) mental processes—without integrating such abstract idea
into a “practical application,” i.e., without “apply[ing], rely[ing] on, or
us[ing] the judicial exception in a manner that imposes a meaningful limit on
the judicial exception, such that the claim is more than a drafting effort
designed to monopolize the judicial exception.” Id. at 52–55. A claim so
“directed to” an abstract idea constitutes ineligible subject matter, unless it
recites an additional element (or combination of elements) amounting to
significantly more than the abstract idea. Id. at 56
      Twitter asserts that representative claim 26 recites an abstract idea “of
presenting content based on a user’s context, collecting the user’s response
to that content, and performing an action based on the response.” Twitter
Pet. Opp. 21. Considering the steps of proposed substitute independent
claim 26, it recites receiving data in a “content package,” receiving data in
“a set of contextual information . . . from two or more different types of
input sources,” “determin[ing] a current context for the first user and first
device,” “determining whether the current context satisfies the trigger
condition,” if the trigger condition is met, “presenting” content to a user,
receiving a response from the user [if the content was presented],
“determining” whether the received response “matches one or more of the at
least one predefined response” or “does not match,” and “performing an

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                                     Appx154
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action based on an outcome of the determination.” Twitter Mot., App. A, 1–
2. In view of the claim limitations, we agree with Twitter’s characterization
of the abstract idea of the claim. Further, substitute claim 26 involves steps
– receiving data, making determinations, and performing an action based on
the determinations – that can be performed mentally by a person using
observation, evaluation, and judgment. Steps that may be performed in the
mind, even if recited as being performed on a computer, are mental
processes. See Intellectual Ventures I LLC v. Symantec Corp., 838 F.3d
1307, 1318 (Fed. Cir. 2016); 2019 Guidance, 52. Accordingly, we agree
that proposed substitute independent claim 26 recites an abstract idea.
      Patent Owner argues that the claims “are directed to improving mobile
device functions.” Twitter PO Mot. Reply 8. Patent Owner asserts that the
“tripartite structure” “increase[s] system flexibility and scalability (and make
content more shareable/reusable). Id. at 8. Patent Owner contends that the
claimed features make mobile devices safer; conserve battery power and
data resources; and facilitate family communications. Id. As an initial
matter, we do not agree with Patent Owner’s characterization of the claims.
Patent Owner’s characterization is at such a high level, that is, “improving
mobile device functions,” that it is dissociated from the claim itself. Instead,
when considering what the claims are “directed to” the claim instead aligns
with Twitter’s characterization as “presenting content based on a user’s
context, collecting the user’s response to that content, and performing an
action based on the response.” Patent Owner also alleges benefits directed
to mobile devices, but these are not claimed. See BSG Tech LLC v.
Buyseasons, Inc., 899 F.3d 1281, 1286–88 (Fed. Cir. 2018) (benefits from
“well-known database structure” in its “ordinary capacity” not improvement
to database functionality); Trading Techs. Int’l, Inc. v. IBG LLC, 921 F.3d

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1378, 1383 (Fed. Cir. 2019) (“merely providing a trader with new or
different information in an existing trading screen is not a technical solution
to a technical problem”).
      We also consider “the elements of each claim both individually and
‘as an ordered combination’ to determine whether the additional elements
‘transform the nature of the claim’ into a patent-eligible application,” in a
“search for an ‘inventive concept.’” Alice, 573 U.S. at 217 (2014). Twitter
asserts that the proposed substitute claims “recite well-known, routine, and
conventional data manipulation using a general purpose computer.” Twitter
Pet. Opp. 24.
      We determine whether the judicial exception is integrated into a
practical application. 2019 Guidance, 54–55. We agree that the steps of
substitute claim 26 use generic data manipulation. See McRO, Inc. v.
Bandai Namco Games Am. Inc., 837 F.3d 1299, 1314–15 (Fed. Cir. 2016)
(distinguishing non-abstract claims from those that “use[] generic computer
technology to perform data reception, transmission, and analysis.”). Here,
the “first device” may include mobile devices and laptop computers, which
perform common data processing functions such as receiving, processing,
and outputting data. See Twitter IPR, Ex. 1002 ¶¶ 2, 36, 37, 42.
      We also consider the additional elements of the claim. Specifically,
under the operations of an electronic device, data is received data by a first
device under limitation 26[b]. According to Patent Owner, this step is
described in the original ’457 application. Twitter Mot. 9 (citing Twitter
IPR, Ex. 1002 ¶¶ 6–8, 26, 27, 52, 54, 55, 67, Table 1, Table 2). This step is
described as a computing device recording content and creating “a content
entry in the content database for the recorded content, wherein the content
entry can be associated with a number of trigger conditions.” Twitter IPR,

                                     156
                                    Appx156
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Ex. 1002 ¶ 6. Further, “the computing device defines a context by creating a
context or activity entry in a context manager, and associates the context or
activity entry with a set of contextual information.” Id. ¶ 8. Thus, this
description supports that this step is merely directed to data receipt and data
manipulation.
      As to step 26[c], the “receiving a set of contextual information with
respect to the first user and the first device” limitation, the claims do not
specify details on the “input sources” and “contextual information” received.
Further, the description in the ’599 patent supports that this step relies on
nothing more than conventional techniques, such as GPS, detection of
motion, or downloaded Internet information. See Twitter IPR, Ex. 1001,
6:34–45, 6:58–65. Similarly, steps 26[d]–[h] are directed to data
transmission, receipt, and manipulation. As to the last-recited limitation
26[i], “performing an action” is described in the original ’457 application,
according to Patent Owner. Twitter Mot. 10 (citing Ex. 1002 ¶¶ 9, 46, 48,
56, 62–64, 67, Tables 1, Table 2). There, “performing an action” is
described as including “updating the content entries in the content database
and updating the context or activity entries in the context manager” (¶ 9),
“defin[ing] a delay period” (¶ 46), “present[ing] content” (¶ 48),
“repeat[ing]” content (¶ 56), “delet[ing] or alter[ing] . . . the corresponding
content entry” (¶ 64), and “delet[ing] the content entry” (¶ 67). These
limitations encompass actions that are mere data manipulation or output
operations. This is also true for the limitation “in response to the trigger
condition being satisfied, presenting the content piece to the first user.” We
consider these claims as an ordered combination and do not discern that they
do anything more collectively than performing the individual steps.
Accordingly, these limitations constitute data gathering/receipt steps, data

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transmission, or data manipulation operations. In view of this, we do not
discern that the steps of substitute claim 26 recite additional elements that
integrate the judicial exception into a practical application, such as an
improvement in the way computers operate or to another technological
improvement.
      We now look to whether representative claim 26 contains any
inventive concept or adds anything significantly more to transform the
abstract concept into a patent-eligible application. Alice, 573 U.S. at 216;
2019 Guidance, 56. The steps of substitute claim 26 represent “well-known,
routine, and conventional data manipulation using a general purpose
computer,” because the first device is a general-purpose computer or
“mobile device,” which performs common data processing functions such as
receiving, processing, and outputting data. See Twitter Pet. Opp. 24; see
Twitter IPR, Ex. 1002 ¶¶ 2, 36, 37, 42. All of these computer functions
recited are generic and routine computer activities that are performed only
for their conventional uses. See Elec. Power, 830 F.3d at 1353 (Fed. Cir.
2016); see also In re Katz Interactive Call Processing Patent Litig., 639
F.3d 1303, 1316 (Fed. Cir. 2011) (“Absent a possible narrower construction
of the terms ‘processing,’ ‘receiving,’ and ‘storing,’ . . . those functions can
be achieved by any general purpose computer without special
programming”). There is no evidence that these activities are used in some
unconventional manner or produce some unexpected result. In short, each
step does no more than require a generic computer device to perform generic
computer functions. As to the data operated upon, “even if a process of
collecting and analyzing information is ‘limited to particular content’ or a
particular ‘source,’ that limitation does not make the collection and analysis
other than abstract.” SAP America, Inc. v. InvestPic LLC, 898 F.3d 1161,

                                      158
                                     Appx158
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1168 (Fed. Cir. 2018). The use of conventional computer components to
perform conventional steps to implement an abstract idea has repeatedly
been found to not make an abstract idea patent eligible. See Alice, 573 U.S.
at 217–18 (Instructing one to “apply” an abstract idea and reciting no more
than generic computer elements performing generic computer tasks does not
make an abstract idea patent eligible.).
      Patent Owner argues that the claims recite inventive concepts because
they “provide for how content should be structured (e.g., ‘content package’),
how the system should handle presentation (e.g., tripartite structure), and
how to handle responses (e.g., final three limitations).” Twitter PO Motion
Reply 10 (citing Ex. 2021 ¶ 231). Patent Owner also refers to claims 31, 35,
and 39, that are alleged to “deal[] with mobile specific contextual
information input sources,” and claims 32, 36, and 40, that are alleged to
“deal[] with Web- and Internet-specific types of content pieces.” Id. at 10–
11 (citing Twitter IPR, Ex. 2021 ¶¶ 228–229). Patent Owner asserts that the
features of the “receiv[ing/e]” a content package limitation, which “includes
a detailed explanation of the content package itself: the rules and triggers
necessary to invoke the presentation of content, and what kind of responses a
user may provide,” and which is alleged to not be an “insignificant receiving
step.” Id. at 11 (citing Twitter IPR, Ex. 2021 ¶¶ 226–227). Patent Owner
also argues that “[t]he tripartite structure is a fundamental building block
advancing the claims over the prior art’s two-step processes (i.e., comparing
contextual information to trigger conditions).” Id. (citing Twitter IPR,
Ex. 2021 ¶¶ 211–222). Patent Owner asserts that the use of the tripartite
structure allows for flexibility and scalability and adds
shareability/reusability of content packages. Id. at 12 (citing Twitter IPR,
Ex. 2021 ¶¶ 211–222, 225–234). Patent Owner further argues that the

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Federal Circuit has recognized the patentability of claims despite their
recitation of well-know components. Id.
      We are not persuaded by Patent Owner’s arguments. “[T]he relevant
question is whether the claims here do more than simply instruct the
practitioner to implement the abstract idea . . . on a generic computer.” Alice,
573 U.S. at 225. Although the Patent Owner appears to argue that the
received content package step and tripartite structure add something more to
the claims, we do not agree. As discussed above, we determined that the
claims recite an abstract idea. Further, we considered operations of the
functions performed by the first device at each step of the process and found
them to be generic in nature, and the ordered combination of steps add
nothing more than the individual steps. Patent Owner’s arguments allege
advantages of the claims, but Patent Owner fails to explain how the steps of
the claim do anything more than implement the abstract ideas using
conventional electronic devices. We have also considered substitute claims
31, 32, 35, 36, 39, and 40, and even if these claims are specific to a certain
applications, that does not make the claimed steps performed by a
conventional computer anything “other than abstract.” See SAP, 898 F.3d at
1168 (Fed. Cir. 2018).
      In view of the foregoing, we conclude that Twitter and Facebook have
established by a preponderance of the evidence that proposed substitute
claims 26–40 are unpatentable under 35 U.S.C. § 101.
      3. Conclusion As To Unpatentability
      In view of the foregoing, we conclude that Petitioners collectively
have established by a preponderance of the evidence that proposed substitute
claims 26–40 are unpatentable. In summary:



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 Motion to Amend Outcome                           Claim(s)
 Original Claims Cancelled by Amendment
 Substitute Claims Proposed in the Amendment 26–40
 Substitute Claims: Motion to Amend Granted
 Substitute Claims: Motion to Amend Denied         26–40
 Substitute Claims: Not Reached


                                VII. ORDER
      Accordingly, it is
      ORDERED that IPR2021-00987, IPR2021-01294, and IPR2021-
01458 are consolidated;
      FURTHER ORDERED that claims 1–25 of U.S. Patent 8,489,599 B2
have been shown to be unpatentable;
      FURTHER ORDERED that Patent Owner’s Motions to Amend are
denied as to proposed substitute claims 26–40; and
      FURTHER ORDERED that, because this is a Final Written Decision,
the parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2. 35




35
   Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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                             VIII. CONCLUSION
       In summary:36
       Snap’s Challenges
                                                  Claims     Claims Not
                   35         References/
     Claim(s)                                     Shown        Shown
                 U.S.C. §       Basis
                                              Unpatentable Unpatentable
 1, 2, 4–7,                                   1, 2, 4–7, 10–
 10–13, 17–      102         Rosenberg        13, 17–20,
 20, 22–25                                    22–25
 4, 5, 15, 16,                                15, 16
 19, 20, 22–     103(a)      Rosenberg
 25
 3, 8, 9, 14,                Rosenberg,       3, 8, 9, 14, 21
                 103(a)
 21                          Suzuki
 Overall                                      1–25
 Outcome


       Facebook’s Challenges
                    35                            Claims      Claims Not
                              References/
     Claim(s)     U.S.C.                          Shown         Shown
                                Basis
                    §                         Unpatentable Unpatentable
 1, 4, 6, 7, 10–                              1, 4, 6, 7, 10–
                             Lamont,
 12, 15, 17–19, 103(a)                        12, 15, 17–19,
                             Wolfe, Wang
 22, 24, 25                                   22, 24, 25
                             Lamont,
 9                103(a)     Wolfe, Wang,     9
                             Belimpasakis
 1, 4, 6, 7, 10–             Lamont ,
 12, 15, 17–19, 103(a)       Wolfe, Wang,
 22, 24, 25                  Meyers 37
36
   Note that these summary tables are separately presented above in each
case section.
37
   Because we determine challenged claims 1, 4, 6, 7, 10–12, 15, 17–19, 22,
24, and 25 are rendered obvious by Lamont, Wolfe, and Wang, we need not
address the obviousness ground for these claims.

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                    35                         Claims      Claims Not
                              References/
     Claim(s)     U.S.C.                       Shown         Shown
                                Basis
                    §                        Unpatentable Unpatentable
                            Lamont,
                            Wolfe, Wang,
 9                103(a)
                            Belimpasakis,
                            Meyers 38
                                             1, 4, 6, 7, 9–
 Overall
                                             12, 15, 17–19,
 Outcome
                                             22, 24, 25

       Twitter’s Challenges
                    35                         Claims      Claims Not
                              References/
     Claim(s)     U.S.C.                       Shown         Shown
                                Basis
                    §                        Unpatentable Unpatentable
 1, 6, 7, 9–12,
                  103(a)    PALLAS 39
 17–19, 24, 25

 1, 4, 6, 7, 9–                         1, 4, 6, 7, 9–
 12, 15, 17–19, 103(a)      PALLAS, Yau 12, 15, 17–19,
 22, 24, 25                             22, 24, 25

 1, 4, 6, 7, 9–
                            PALLAS,
 12, 15, 17–19, 103(a)
                            Kim 40
 22, 24, 25
 1, 4, 6, 7, 9–
 12, 15, 17–19, 103(a)      PALLAS,
 22, 24, 25

38
   Because we determine challenged claim 9 is rendered obvious by Lamont,
Wolfe, Wang, and Belimpasakis, we need not address the obviousness
ground for this claim.
39
   Because we determine that these challenged claims are rendered obvious
by PALLAS and Yau, we need not address this obviousness ground for these
claims.
40
   Because we determine that these challenged claims are rendered obvious
by PALLAS and Yau, we need not address this obviousness ground for these
claims.

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                   35                        Claims      Claims Not
                            References/
     Claim(s)    U.S.C.                      Shown         Shown
                              Basis
                   §                       Unpatentable Unpatentable
                           Yau, Kim 41
                                           1, 4, 6, 7, 9–
 Overall
                                           12, 15, 17–19,
 Outcome
                                           22, 24, 25

       Proposed Substitute Claims
 Motion to Amend Outcome                         Claim(s)
 Original Claims Cancelled by Amendment
 Substitute Claims Proposed in the Amendment 26–40
 Substitute Claims: Motion to Amend Granted
 Substitute Claims: Motion to Amend Denied       26–40
 Substitute Claims: Not Reached




41
   Because we determine that these challenged claims are rendered obvious
by PALLAS and Yau, we need not address this obviousness ground for these
claims.

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                        Appx165
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         (12) United States Patent                                                             (10) Patent No.:                  US 8.489,599 B2
                Bellotti                                                                       (45) Date of Patent:                          Jul. 16, 2013

         (54) CONTEXT AND ACTIVITY-DRIVEN                                                    2007/0288247 A1* 12/2007 Mackay ............................ 705/1
                 CONTENT DELVERY AND INTERACTION                                             2008. O168135 A1* 7, 2008       Redlich et al. .....             TO9.204
                                                                                             2008/0172261 A1* 7/2008         Albertson et al. .                  705/7
                                                                                             2009,0254971 A1* 10, 2009       Herz et al. .........          ... 726, 1
         (75) Inventor: Victoria M. E. Bellotti, San Francisco,                              2009,0265764 A1* 10, 2009       Schultz et al. .................... T26/4
                        CA (US)                                                                          FOREIGN PATENT DOCUMENTS
         (73) Assignee: Palo Alto Research Center                                           WO            200611 1935 A1       10, 2006
                        Incorporated, Palo Alto, CA (US)                                    WO            2007059.241 A2        5/2007
                                                                                                                OTHER PUBLICATIONS
         (*) Notice:            Subject to any disclaimer, the term of this
                                patent is extended or adjusted under 35                     Min Hong Yun et al., “Event-based multimedia object scheduling
                                U.S.C. 154(b) by 421 days.                                  algorithm”. Advanced Communication Technology, 2004. The 6th
                                                                                            International Conference on Phoenix Park, Korea, Feb. 9-11, 2004,
         (21) Appl. No.: 12/326,457                                                         vol. 2, pp. 735-740, ISBN: 89-5519-119-7.
                                                                                            Al-Bin-Ali F. “Design Principles for Inducing Reactivity in Ubiqui
         (22) Filed:            Dec. 2, 2008                                                tous Environments'. Pervasive Services, 2004, IEEE/ACS Interna
                                                                                            tional Conference on Beirut, Lebanon Jul. 19-23, 2004, pp. 131-139,
                                                                                            ISBN: 0-7695-2535-0.
         (65)                       Prior Publication Data
                 US 2010/O138416A1                  Jun. 3, 2010                            * cited by examiner
         (51) Int. Cl.                                                                      Primary Examiner — Bai D. Vu
                 G06F 7/30                      (2006.01)                                   (74) Attorney, Agent, or Firm — Shun Yao: Park, Vaughan,
         (52) U.S. Cl.                                                                      Fleming & Dowler LLP
                 USPC .......................................................... T07f736
                                                                                            (57)                     ABSTRACT
         (58) Field of Classification Search
                 None                                                                       One embodiment of the present invention provides a comput
                 See application file for complete search history.                          ing device that delivers personally-defined context-based
                                                                                            content to a user. This computing device receives a set of
         (56)                       References Cited                                        contextual information with respect to the user, and processes
                                                                                            the contextual information to determine a context which is
                          U.S. PATENT DOCUMENTS                                             associated with an activity being performed by the user. The
                5,611,050 A     3, 1997 Theimer                                             computing device then determines whether either or both the
                7,630,986 B1* 12/2009 Herz et al. ............................ 1f1          context and a current activity of the user satisfy a trigger
                7,631,007 B2* 12/2009 Morris .........                 705.7.11             condition which has been previously defined by the user. If so,
                7,797.306 B1* 9/2010 Pather et al. .................. 707/714               the computing device selects content from a content database,
          2002.0054174 A1            5, 2002 Abbott
          2003/0063072 A1* 4/2003 Brandenberg et al. ........ 345,173                       based on the context, to present to the user, and presents the
          2007/0038603 A1    2/2007 Guha ................................ 707/3             selected content.
          2007/0055657 A1* 3, 2007 Yano ................................. 707/3
          2007,025.0901 A1* 10, 2007 McIntire et al. .............. T25,146                                 25 Claims, 4 Drawing Sheets




                                                                                                                00
                                                        CONTENT MANAGEMENTSYSTEM                                                        2
                                                                INPUT                        CONTENT DELIVERY
                                                            MECHANISM                           MECHANISM                       CONTENT
                                                                              02            108
                                                                                 CONTENT
                                                                                 MANAGER


                                                                                 CONTENT
                                                                                 DATABASE




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                                                                                 Appx166
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                                                                     100
                                 CONTENT MANAGEMENTSYSTEM                           2
                                     INPUT              CONTENT DELIVERY
                                   MECHANISM               MECHANISM            CONTENT
                                              02       108
                                               CONTENT
                                               MANAGER


                                               CONTENT
                                               DATABASE


                                                FIG. T.




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                           200
                      CONTENT MANAGEMENTSYSTEM

                                          CONTEXT MANAGER
                           204
                          INPUT
                        MECHANISM




                                                 FIG. 2A



                          CONTENT MANAGEMENTSYSTEM             CONTENT DATABASE
                                                        CONTEXT MANAGER
                                                 241



                               CONTENT
                               STREAM


                               INPUT
                             MECHANISM


                                                 FIG. 2B




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                                                DOES CONTEXT
                                               SATISFY TRIGGER


                               340

                               350




                                          RECORD CONTENT PROVIDED       40
                                                BY THE USER
                                         CREATE A CONTENT ENTRY FOR     420
                                           THE RECORDED CONTENT
                                       ASSOCATE THE TRIGGER CONDITION   430
                                        FORTHE CONTENT ENTRY WITH A
                                            PREDEFINED CONTEXT



                                               FIG. 4




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                                                                      528
                                                             A OPERATING SYSTEM
                                                                                      530
                                                                CONTENT MANAGEMENT
                                                                      SYSTEM
                                                                                      532

                                                                                      534
                   504                    8 C dy
                                               STORAGE                                536
                   506                     lDEVICE
                                                                                      538
                   54                          SENSORS )
                                                                   CONTENT DELIVERY   540
                                                                      MECHANISM

                                                                CONTEXT DEFINITIONS -542
                                                                   CONTENTPACKAGES -




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                                               Appx170
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                                                             US 8,489,599 B2
                                       1.                                                                  2
                 CONTEXT AND ACTIVITY-DRIVEN                                database for the recorded content, wherein the content entry
               CONTENT DELVERY AND INTERACTION                              can be associated with a number of trigger conditions. Then,
                                                                            the computing device associates a trigger condition for the
                                BACKGROUND                                  content entry with a user-defined context or activity. The
                                                                            computing device continuously compares previously-defined
            1. Field of the Invention                                       trigger conditions for the content entry with the ongoing
            The present invention generally relates to techniques and context of the user and/or user activity. When a trigger con
         systems for creating and presenting content to a user. More dition is met, the computing device retrieves the associated
         specifically, the present invention relates to techniques and content and presents it to the user.
         systems for creating and presenting content based on contex- 10 In a further variation, the computing device allows the user
         tual information.
            2. Related Art                                                  to create shareable content. To do so, the computing device
            Advancements in computing technology continue to records the content that is provided by the user, and creates a
         improve communication between people and provide versa content package for the recorded content. This content pack
         tile ways to deliver information. These advancements have 15 ber   age can include the recorded content, and can include a num
         allowed communities around the world to interact and share             of user-defined trigger conditions. The user is capable of
         information with each other. In particular, mobile devices are sharing the content package with other users by distributing
         becoming an integral part of human life, as people often carry the content package to other users, and/or by uploading the
         a mobile device throughout their day. These mobile devices content package onto a public server. Furthermore, other
         can include a mobile phone, a personal digital assistant 20 users that download or receive the content package are
         (PDA), an MP3 player, a handheld game console, and a laptop allowed to insert, modify, and/or remove content or trigger
         computer. Newer generations of these mobile devices are conditions from the content package.
         developed with more computation power and a growing num               In a variation on this embodiment, the computing device
         ber of communication features.                                     defines a context by creating a context or activity entry in a
            In effect, many of these mobile devices can perpetuate a 25 context manager, and associates the context or activity entry
         fast-paced lifestyle for their users, as they may help users with a set of contextual information.
         schedule the time around their responsibilities. However,             In a further variation, the computing device evolves the
         these technological advances do not effectively help their presentation of content over time by updating the content
         users cope with this increase in pace. Typical working pro entries in the content database and updating the context or
         fessionals may have a number of communication channels 30 activity entries in the context manager responsive to actions
         that they monitor, and they often need to remind themselves to performed by the user.
         monitor these channels. Also, these users typically have a list       In a variation on this embodiment, the computing device
         of errands they need to complete, and this list may grow presents the selected content by following a number of pre
         throughout a work week because they do not remember to defined or user-defined presentation rules associated with the
         complete these errands until the weekend. Furthermore, these 35 selected content, monitoring actions performed by the user,
         users often need to continue advancing their skills, but their and presenting the selected content based on the actions per
         work and social schedules do not allow much free time for          formed by the user.
         extended study.                                                       In a variation on this embodiment, the computing device
            Unfortunately, mobile devices are not effective in helping presents the selected content by sharing the selected content
         working professionals accommodate their responsibilities 40 with a remote device.
         around their busy schedule, because these mobile devices are          In a variation on this embodiment, the contextual informa
         not capable of learning and understanding the behavior of tion includes one or more of time, date, location, proximity to
         their users. Furthermore, these mobile devices cannot deter        a system-detectable tag (e.g., radio frequency identification
         mine when and how best to provide their users with informa (RFID) tag), device orientation, Velocity, direction, distance,
         tion or suitable entertainment content, because they do not 45 vibration, altitude, temperature, pressure, humidity, Sound,
         take into account the activities that their users are involved in. luminous intensity, camera image, and video stream.
                                                                              In a variation on this embodiment, the content includes at
                                 SUMMARY                                  least one or more of audio clip, image, video stream, lan
                                                                          guage lesson, e-mail, weather report, calendar reminder,
            One embodiment of the present invention provides a com- 50 news feed, rich site summary (RSS) feed, and Internet blog.
         puting device that delivers personally-defined context-based
         content to a user. This computing device receives a set of               BRIEF DESCRIPTION OF THE FIGURES
         contextual information with respect to the user, and processes
         the contextual information to determine whether some aspect         FIG. 1 illustrates a content management system in accor
         of the current context can be associated with a probable 55 dance with an embodiment of the present invention.
         activity being performed by the user. The computing device          FIG. 2A illustrates a data flow for a content management
         then determines whether either or both the contextand current    system associated with delivering content to a user in accor
         activity of the user satisfy a trigger condition which has been dance with an embodiment of the present invention.
         previously defined by the user. If so, the computing device         FIG. 2B illustrates a data flow for a content management
         selects content from a content database, based on the context 60 system associated with allowing a user to create content in
         or activity, to present to the user, and presents the selected accordance with an embodiment of the present invention.
         COntent.                                                            FIG.3 presents a flow chart illustrating a process for deliv
            In a variation on this embodiment, the computing device ering context-based content to a user in accordance with an
         allows the user to create content that is associated with a      embodiment of the present invention.
         user-defined contextual or activity-driven trigger condition. 65 FIG. 4 presents a flow chart illustrating a process for cre
         To do so, the computing device records the content that is ating context-based content in accordance with an embodi
         provided by the user, and creates a content entry in the content ment of the present invention.



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            FIG. 5 illustrates an exemplary computing device that            represent the triggers for presenting content, and are labeled
         facilitates creating and delivering context-based content in        using user-meaningful terms, such as time of day, day of
         accordance with an embodiment of the present invention.             week, a location identifier (e.g., "home’) or a transportation
            TABLE 1 illustrates an exemplary set of rules for present        modality (e.g., "on the train”), et cetera. The user can also
         ing a content package to a user in accordance with an embodi        specify a target audience for the content presentation, such as
         ment of the present invention.                                      the user and/or other users.
            TABLE 2 illustrates an exemplary set of rules for present          In some embodiments, the user may define contexts or
         ing a reminder content package to a user in accordance with         activities in terms of low-level contextual information that is
         an embodiment of the present invention.                             associated with the user. Note that “context' and “activities’
                                                                        10
                        DETAILED DESCRIPTION                                 are not necessarily mutually exclusive. In one embodiment, a
                                                                             context can be based on or include one or more user activities.
           The following description is presented to enable any per      For example, if the content management system can sense
         son skilled in the art to make and use the invention, and is    motion, location, and time of day, then the user can define a
         provided in the context of a particular application and its 15 context for walking from one location to another at a particu
         requirements. Various modifications to the disclosed embodi lar time of day, and label the context using human-meaningful
         ments will be readily apparent to those skilled in the art, and terms (e.g., “walking to work, or “walking around the mall').
         the general principles defined herein may be applied to other In another example, the user can define a context for moving
         embodiments and applications without departing from the around the yard, and label the context using a human-mean
         spirit and scope of the present invention. Thus, the present ingful term 'gardening.” In some embodiments, the user may
         invention is not limited to the embodiments shown, but is to    define an activity in terms of a high-level category of condi
         be accorded the widest scope consistent with the principles tions, such as “concentrating.” “receptive.” or “active.” For
         and features disclosed herein.                                  example, the user may define a context labeled “receptive'
           The data structures and code described in this detailed           based on a number of user defined contexts associated with
         description are typically stored on a computer-readable Stor 25 mindless tasks (e.g., “walking to work.” “walking around the
         age medium, which may be any device or medium that can mall'). On the other hand, the user may define a context
         store code and/or data for use by a computer system. The labeled “active' based on a number of user-defined contexts
         computer-readable storage medium includes, but is not lim associated with physical activities (e.g., jogging.” “garden
         ited to, Volatile memory, non-volatile memory, magnetic and ing'). The user can then define a trigger condition for certain
         optical storage devices such as disk drives, magnetic tape, 30 content based on a high-level condition category which
         CDs (compact discs), DVDs (digital versatile discs or digital includes several low-level contexts.
         video discs), or other media capable of storing computer            During operation, the content management system can
         readable media now known or later developed.                      gather low-level contextual information from a number of
            The methods and processes described in the detailed input sources (e.g., a global positioning system (GPS) device,
         description section can be embodied as code and/or data, 35 or an accelerometer), which reflects basic information asso
         which can be stored in a computer-readable storage medium ciated with the user. Then, the content management system
         as described above. When a computer system reads and processes this contextual information to determine an
         executes the code and/or data stored on the computer-read inferred context, which has been defined in human-meaning
         able storage medium, the computer system performs the ful terms that describe an event or environmental factor asso
         methods and processes embodied as data structures and code 40 ciated with the user (e.g., “on the train after 5 P.M.). In some
         and stored within the computer-readable storage medium.           embodiments, the content management system can use this
            Furthermore, the methods and processes described below context to identify content that is ready to be presented in
         can be included in hardware modules. For example, the hard response to a user-defined context. In other embodiments, the
         ware modules can include, but are not limited to, application content management system can use a user-defined context to
         specific integrated circuit (ASIC) chips, field-programmable 45 search for and/or create content that can be presented to a user
         gate arrays (FPGAs), and other programmable-logic devices in a desired context.
         now known or later developed. When the hardware modules             The capabilities of the content management system can be
         are activated, the hardware modules perform the methods and applied to a number of applications. In some embodiments,
         processes included within the hardware modules.                   the content management system can present instructional
         Overview                                                       50 content under a given user-defined context. For example, the
            Embodiments of the present invention provide a content content management system can present visual lectures or
         management system for organizing and delivering packages interactive lessons to a user when the user is commuting to
         of audio and visual content to a user in response to activities work in a bus or in a train. Similarly, the content management
         being performed by the user, and in response to a number of system can presentaudio-based instructional content to a user
         environmental factors associated with the user. The user 55 when the user is driving to work or is jogging. In other
         activities and environmental factors that trigger a response embodiments, the content management system can present
         from the content management system are defined by the user entertainment content to the user when the user enters his or
         prior to enabling a given package of content. This content her living room after a long day of work.
         management system is intended to help a user manage their           In some embodiments, a user can create shareable content
         content and responsibilities around their schedule. Prior to 60 using the content management system on a mobile device or
         operation, a user can upload or input content into the content a personal computer (PC). The shareable content is a content
         management system, which may be music, study material, a package that a user can download, modify, and share with
         to-do list, an RSS feed or any other content suitable for other content management systems. In some embodiments, a
         delivery in a range of contexts. The user can then specify the user can upload a content package onto an Internet website to
         conditions under which the content can be presented, in terms 65 share content the user created or modified using the content
         of a sensed contextual information (e.g., temperature) or a management system. In some other embodiments, a user can
         user-defined context (e.g., a user activity). These conditions download a content package from an Internet website, and



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         modify the content package to insert, modify, and/or remove can be configured to determine when the user completes a
         content from the content package.                                    task by monitoring the information gathered by input mecha
            In some embodiments, the content management system nism 102. Such as a microphone that gathers a verbal utter
         can share content with a remote computing device. For ance of the user confirming the completion of a given task. In
         example, a user can create an instructional or an entertain a second example, content delivery mechanism 108 may react
         ment content package on a content management System, to Verbal requests or responses from the user as content deliv
         specify a user-defined context for when the content can be ery mechanism 108 presents content 112.
         presented, and share the content package with other content Contextual Information
         management systems. In other embodiments, the content                  Mobile devices often include a number of information
         management system can communicate content to a remote 10 based capabilities that facilitate integrating these devices into
         device under a given user-defined context. For example, the the daily routine of their user. These capabilities can be con
         content management system can send a text message or an figured to determine contextual information associated with a
         audio stream to the mobile telephone of a user's spouse to user, and the mobile devices can be configured to utilize this
         alert the spouse that the user is working late.                      contextual information to determine when and how to present
         Content Management System                                         15 information to the user. In one embodiment, “contextual
            FIG. 1 illustrates a content management system 100 in information' can be defined as input data that is gathered by
         accordance with an embodiment of the present invention. In a computing device from a number of input sources, and
         Some embodiments, content management system 100 can reflects basic information associated with the user and/or the
         present content 112 to a user in response to actions being operating environment of the computing device. In some
         performed by the user, or other information that is associated embodiments of the present invention, contextual informa
         with the user. In other embodiments, content management tion is data that is recorded from a number of input sources
         system 100 allows a user to create and store content, and without being interpreted by the computing device.
         associate the content with a given user-defined context. In one        In some embodiments of the present invention, content
         example, content management system 100 can present a management system 100 can determine contextual informa
         given class of information to the user when the user is jog 25 tion associated with a user, including:
         ging, based on a high-level context labeled “active’ which             Time of day—Content management system 100 can keep
         includes the low-level context labeled jogging.” In a second              track of time and date information. In some embodi
         example, content management system 100 can remind the                     ments, content management system 100 can synchro
         user to buy groceries as the user is driving past a grocery store          nize its time and date information with a time server
         after work. Furthermore, content management system 100 30                 (e.g., using the network time protocol (NTP)). In some
         can read specific items on the grocery list to the user as the            embodiments, content management system 100 can take
         user walks across a corresponding aisle of the grocery store.             advantage of time of day, day of week, date, holidays,
            In some embodiments, content management system 100                     etc., as a contextual factor when delivering information.
         includes an input mechanism 102, a context manager 104, a              Geographical location—Location awareness is becoming
         content database 106, and a content delivery mechanism 108. 35            a prominent feature of mobile devices. In some embodi
         Input mechanism 102 receives a user input 110, which can                  ments, content management system 100 can determine
         include information provided by the user through an input                 its geographical location by GPS, cellular tower trian
         device (e.g., a keyboard or a touch screen), or can include               gulation, Wi-Fi triangulation, or other means now
         contextual information gathered from a number of input                    known or later developed.
         Sources (e.g., a microphone, a camera, a motion sensor, a 40 Motion detection. Some mobile devices are capable of
         global positioning mechanism, or an Internet server).                     detecting motion (i.e., whether they are moving, shak
            Context manager 104 can control how content 112 is stored              ing, tilting, etc.). Content management system 100 can
         in content database 106, and can control how content 112 is               achieve motion detection by using an accelerometer, a
         selected from content database 106 for playback. In some                  gyroscope, or other means now known or later devel
         embodiments, context manager 104 creates content 112 by 45                oped.
         providing content database 106 with a content package to be            Sound detection Mobile devices often include a micro
         stored, which includes content 112 and a corresponding user               phone for capturing Sounds, or can utilize a microphone
         defined context that describes when content 112 can be pre                as a peripheral device. In some embodiments, content
         sented. In response, content database 106 stores content 112,             management system 100 can use a microphone to cap
         and associates content 112 with the specified user-defined 50             ture verbal utterances of the user. In other embodiments,
         context. In other embodiments, context manager 104                        content management system 100 can use a microphone
         retrieves content 112 from content database 106 by providing              to capture ambient Sounds.
         content database 106 with a user-defined context that                  Image detection—Mobile devices often include a camera
         describes actions being performed by the user, and then                   for recording pictures and/or video, or can utilize a
         receiving a corresponding content from content database 106. 55           peripheral camera. In some embodiments, content man
            Content delivery mechanism 108 can control how content                 agement system 100 can use a camera to determine
         112 is presented to the user. In some embodiments, content                lighting levels.
         delivery mechanism 108 presents content 112 to a user when             Internet information—Mobile devices often have access to
         context manager 104 selects content 112 for playback. In                  the Internet, either via a Wi-Fi connection and/or a cel
         Some variations on these embodiments, content delivery 60                 lular network. In some embodiments, content manage
         mechanism 108 can present content 112 in response to                      ment system 100 utilizes an Internet connection to
         actions performed by the user, or interactions received from              gather public context and content information. This con
         the user. For example, content delivery mechanism 108 may                 text information can include a weather report, stock
         provide a user with a sequence of tasks to perform, Such that             report, news event, and any other trigger event that is
         content delivery mechanism 108 monitors the actions per 65                accessible from the Internet. The content information
         formed by the user, and advances to presenta Subsequent task              can include an audio clip, image, Video stream, language
         once the user completes a given task. Context manager 104                 lesson, e-mail, weather report, calendar reminder, news



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               feed, rich site summary (RSS) feed, Internet blog, and         content management system 100 (e.g., pressing buttons,
               any other content that is accessible from the Internet.        touching a location of a touch screen, or communicating
            In some embodiments of the present invention, content             Verbal utterances into a microphone).
         management system 100 is designed to detect basic contex               When content management system 100 infers a user-de
         tual information on the behavior of the user, including but not      fined context that is associated with the user, content man
         limited to: location, movement, Sound, Verbal utterances             agement system 100 can use the inferred context to search for
         (e.g., speech), ambient Voices (e.g., from a television or           content in content database 106, and retrieve content that can
         radio), keyboard clacking, lighting, brain activity readings,       be presented under the given context. In some embodiments,
         Velocity, walking, driving, user input, routines or patterns in     content database 106 stores a set of content packages, where
         the behavior of the user, and vocal inflections or biometric 10 a content package includes a collection of content, and
         readings indicating agitation and/or irritation.                    includes a number of contexts that can trigger content man
            In some embodiments, content management system 100 agement system 100 to present content in the content pack
         can be kept in continuous operation, and can Sustain its aware age. In some variations on these embodiments, a content
         ness of contextual information associated with a user during package can also include a script or executable code that can
         operation. In some variations on these embodiments, content 15 control how content is presented, and can implement the
         management system 100 monitors a number of sensors and/or Software mechanisms that interact with the user during pre
         input devices using input mechanism 102 to gather contextual sentation of the content.
         information with respect to the user. In other variations, a           In some embodiments of the present invention, content
         sensor or input device can initiate a specific Software process delivery mechanism 108 of content management system 100
         of content management system 100 for gathering new con can present content to a user in response to a context associ
         textual information from the sensor or input device. In further ated with the user. In other embodiments, content manage
         embodiments, content management system 100 can awaken ment system 100 can transmit content to a remote device in
         from a sleep mode of operation at predetermined time inter response to a context associated with the user.
         vals to poll its current context and determine whether the             In some embodiments of the present invention, content
         context satisfies trigger conditions which are associated with 25 management system 100 can present content that is provided
         content in database 106. If no relevant contextual triggers are by a central publisher (e.g., a predetermined server). In other
         satisfied by the context, then content management system 100 embodiments, content management system 100 can present
         can return to the sleep mode of operation.                          content that is generated by the user. In a variation on these
         Context                                                             embodiments, content management system 100 can present
            In some embodiments, content management system 100 30 content that is generated on a remote device, and is shared by
         can determine a context associated with a user and/or oper the user of the remote device. For example, content manage
         ating conditions of the mobile device based on contextual ment system 100 of a user that is driving toward a grocery
         information. Whenever input mechanism 102 gathers basic store can automatically receive a grocery list that his wife
         contextual information from a number of Sources, context            generated for herself earlier that day using her content man
         manager 104 can interpret the basic contextual information to 35 agement system. Once the user enters the grocery store, his
         infer a number of user-defined contexts. A context is a set of      content management system 100 can present a combined
         data that describes an event or environmental factor associ         grocery list that includes his grocery list items and her grocery
         ated with a user or the operational environment of content list items.
         management system 100. In some variations on these                     In some variations on these embodiments, content man
         embodiments, a context can be inferred from contextual 40 agement system 100 can be programmed to present content in
         information gathered by input mechanism 102. In other varia response to a user-defined context for a number of applica
         tions, a context can be inferred from a number of contexts          tions, including: learning during spare time (e.g., a foreign
         which have been inferred from contextual information. A             language by listening, repeating, testing, etc.), automatic
         context can also be inferred from a combination of contexts         retrieval of important e-mail (e.g., Subject to the user's atten
         and contextual information.                                      45 tion span, and/or the urgency level of the content), receiving
            For example, content management system 100 can be pro reminders (e.g., errands, purchases) at the right time and
         grammed to infer specific contexts about the user based on while in the right place, receiving directions to a desired
         contextual information, including but not limited to whether location, playing music appropriate to the context of the user,
         the user is sitting down, watching TV, asleep, alert, talking, and preparing to give a speech or a presentation by producing
         typing at the computer in the home study or at the office, 50 a section-by-section presentation layout. For example, a
         walking around the house, walking outside the house, driv teacher can prepare a content package (e.g., a set of “audio
         ing, or performing a household activity (e.g., cooking, or study cards') designed to be present study material to a stu
         getting ready for work). In other examples, content manage dent during mornings, evenings, and weekends when the
         ment system 100 can be programmed to infer user patterns student is using a public mode of transportation. Furthermore,
         and preferences (e.g., taking the bus rather than walking when 55 the teacher can configure the content package to define a
         the weather is bad), possible hazards (e.g., darkness, weather timing and pace for the presentation of the content package,
         warnings, proximity to crime Zones), and the mental State of define the required responses from the student to given
         the user (e.g., mood, or concentration level).                      prompts or questions from the content package, and/or define
         Content                                                             a delay period for when a given prompt or question can be
            Mobile devices often include presentation mechanisms for 60 presented after a correct response from the user.
         reproducing audio and/or video content. In some embodi Delivering Content
         ments of the present invention, content management system              FIG. 2A illustrates a data flow for a content management
         100 uses these presentation mechanisms to present content system 200 associated with delivering content to a user in
         that is triggered by a given context. In some variations on accordance with an embodiment of the present invention.
         these embodiments, content management system 100 pre 65 Content management system 200 includes a context manager
         sents interactive content to the user, where a user can interact    201, an input mechanism 204, a content database 206, and a
         with the interactive content using input mechanism 102 of content delivery mechanism 208. Input mechanism 204 gath



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         ers contextual information 210, which includes sensed infor         through a graphical user interface (GUI), including data
         mation about the environment and about user activities, and         entered using a keyboard, a mouse, a touch screen, or any
         sends contextual information 210 to an analysis mechanism           other input device.
         202 of context manager 201. Analysis mechanism 202                    Analysis mechanism 242 creates a definition for a context
         deduces a context 214 (which may include a user activity)           254, or selects a predefined context 254, based on user inter
                                                                             actions 250. Also, analysis mechanism 242 creates a content
         from contextual information 210, and context manager 201 253 based on content stream 248 and user interactions 250.
         uses context 214 to retrieve a corresponding content package Next, context manager 241 creates a content package 252 that
         216 from content database 206. Context manager 201 then includes content 253 and context 254, and provides content
         provides content delivery mechanism 208 with content pack database 246 with content package 252. Content database 246
         age 216 for presentation. In some variations on these embodi 10 then creates an entry for content package 252.
         ments, content database 206 can provide content package 216        In some embodiments, a user can create a content package
         directly to content delivery mechanism 208.                     252 using content management system 240, which includes
            Next, content delivery mechanism 208 presents content creating a set of rules for presenting content package 252. In
                                                                         Some variations on these embodiments, content management
         package 216 to the user. In doing so, content delivery mecha 15 system
         nism 208 receives user interactions 212 from the user, and              240 includes a GUI for creating a content package 252
         presents content 218-220 from content package 216 in that            resembles a spreadsheet, which includes a number of
                                                                         columns for content, context, or presentation parameters, and
         response to user interactions 212.                              a number of rows that allow a user to enter data for the
            It is possible that during operation, context manager 201 corresponding parameter. In other variations, content man
         may determine that context 214 corresponds to more than one agement system 240 can achieve a functionality that is
         content package. In other words, context 214 satisfies the equivalent to the spreadsheet GUI described herein while
         conditions for presenting more than one content package. In using a different GUI layout. In some variations on these
         Some embodiments of the present invention, context manager embodiments, content package 252 is created to include the
         201 prompts a user to select one content package to present data in a given spreadsheet. In other embodiments, content
         from a set when context 214 corresponds to more than one 25 package      252 is created for a respective row of the spreadsheet.
                                                                            During operation, a user can insert content 253 into content
         content package. In other embodiments, context manager 201      package 252 by clicking on an entry under the content head
         selects one content package to present from a set based on ing of the GUI. In some variations on these embodiments,
         predefined priorities or evolving weight values for content clicking on a content column entry enables the user to record
         packages. For example, context manager 201 can select a 30 a content stream 248, while in other variations, clicking on a
         content package which is the least-recent to be presented content column entry enables a user to select prerecorded
         (e.g., has the oldest playback time stamp from the set of content 253 for the content column entry. Similarly, a usercan
         content packages), or can select a content package which is click on an entry under any of the other column headings in a
         the most-recent to be presented. In another example, context content package 252 to enter a value for the entry. Column
         manager 201 can select a content package from the set which 35 headings for creating content package 252 include, but are not
         has been presented the least number of times (e.g., has a limited to, content, time, location, State, response, action cor
         lowest weight value from the set of content packages, which rect, and action incorrect. In some embodiments, the entries
         increments after the content package is presented), or can under column headings time, location, and state can be used
         select a content package which has been presented the most to define contexts for presenting content 253, and the entries
         number of times.
                                                                      40
                                                                         under column headings response, action correct, and action
         Creating Content                                                incorrect can be used to define presentation rules.
            FIG. 2B illustrates a data flow for a content management        Note that, in general, a context or activity can be defined in
         system 240 associated with allowing a user to create content terms of high-level abstractions. Such as "commuting to
         253 in accordance with an embodiment of the present inven work. A high-level abstraction can corresponds to a combi
         tion. In some embodiments, a user can create content 253 45 nation of multiple low-level contextual information values,
         using content management system 240 on a mobile device or such as day of week, time of day, series of GPS traces, or
         a personal computer (PC). Content management system 240 accelerometer readings. In one embodiment, a low-level con
         includes a context manager 241, an input mechanism 244, and textual information value can correspond to one or more
         a content database 246. Input mechanism 244 gathers a con measurable physical parameters. Furthermore, a presentation
         tent stream 248 and user interactions 250, and sends content 50 rule can be defined in terms of one or more high-level abstrac
         stream 248 and user interactions 250 to an analysis mecha tions, such as "play while commuting to work and while
         nism 242 of context manager 241. In some variations on these comminuting from work.” In addition, a user can share a
         embodiments, user interactions 250 can be verbal commands       presentation rule with another user. The second user can
         uttered by the user to interact with a voice-based user inter redefine the shared rule to accommodate his personal low
         face (UI) of content management system 240. In other varia level contextual information values for corresponding high
         tions, user interactions 250 can be data provided by the user level abstractions.
                                                                                                  TABLE 1.
                                                                                                                         Action   Action
                                                               Content              Time    Location   State   Response Correct Incorrect
                                                               Jp.I.mp3             Any     Any        Moving Mimic      7-day- 5-min
                                                                                                                         Suspend Suspend
                                                               JpHello.mp3          Any     Any        Moving Mimic      7-day- 5-min
                                                                                                                         Suspend Suspend
                                                               JpHowDoyoudo.mp3 Any         Any        Moving Mimic      7-day- 5-min
                                                                                                                         Suspend Suspend




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                                                              US 8,489,599 B2
                                                                                                         12
                                    TABLE 1-continued
                                                                   Action   Action
         Content             Time    Location   State   Response   Correct Incorrect
         JpGoodnight.mp3     >21:00 Bedroom Moving Mimic           7-day 5-min
                                                                   Suspend Suspend
         JpGoodmorning.mp3   <10:00 Bedroom Moving Mimic           7-day 5-min
                                                                   Suspend Suspend

                                                                            10
            TABLE 1 illustrates an exemplary set of rules for present response columns presented in Table 1). For example, a loca
         ing content package 252 to a user in accordance with an tion column entry may obtain an allowable set of values from
         embodiment of the present invention. The entries illustrated a database of geographical locations selected by the user. In
         by Table 1 correspond to a number of audio clips in Japanese Some embodiments, a user might define a geographical loca
         for practicing pronunciations to a number of words. The time 15 tion for current or later use in content management system
         column allows a user to specify a time of day when content 240 when the user is at the desired location by notifying
         253 can be presented, which can be a time instance, or can be content management system 240 to store the current geo
         a time range. The location column allows a user to specify a graphical location, and specifying a name for the stored geo
         location for where content 253 can be presented, and the state graphical location (e.g., “home” or “bedroom'). In other
         column allows a user to specify an action that the user can be embodiments, a user can specify a geographical location by
         performing when content 253 is presented. For example, a selecting the location from a map, providing content manage
         user that is learning Japanese can program content manage ment system 240 with the street address of the geographical
         ment system 240 to play “good morning in Japanese when location, or providing content management system 240 with
         the user is moving around the bedroom before 10 AM, and to geographic coordinates of the desired location, and then
         play “goodnight in Japanese when the user is entering or 25 specifying a name or a tag for the geographical location. In
         moving around the bedroom after 9 PM.                               Some embodiments, content management system 240 can
            The response column allows a user to specify an expected automatically infer geographic locations that are important to
         response to the presentation of content 253. The action cor a user, and appropriate names for these locations, based on
         rect column allows a user to specify actions that content contextual information and routines performed by the user.
         management system 240 can perform if the user provides a 30 A column entry may also obtain an allowable set of values
         correct response. The action incorrect column allows a user to from a database of predefined names or tags with pre-set
         specify actions that content management system 240 can values which can be edited by the user. For example, a “mov
         perform if the user does not provide a correct response. For ing value for the state column entry can be an identifier
         the example, the user can program content management sys which corresponds to a predefined context 254 that can be
         tem 240 to Suspend an audio clip for a given phrase for seven 35 triggered by a motion detection mechanism.
         days if the user correctly mimics the phrase in Japanese. The         In some embodiments, content package 252 can include
         user can also program content management system 240 to more than one column of a given type. For example, content
         repeat the phrase after five minutes if the user does not mimic package 252 can include a column for Japanese entries and
         the phrase with a proper pronunciation, thereby allowing the another column for corresponding English translation entries
         user to practice the phrase repeatedly until the user achieves a 40 which are to be presented according to predetermined rules.
         proper pronunciation of the Japanese phrase.                        In some embodiments, these predetermined rules can be
            In some embodiments, content management system 240 specified in yet another column, and can define the conditions
         allows a user to provide a desired name for a content entry. For which cause a corresponding English translation to be pre
         example, a user may record a phrase in Japanese, and name sented (e.g., a time delay, a contextual condition, or a user
         the file using the English translation to the phrase. In some 45 response). In another variation, a user can instantiate more
         variations on these embodiments, a user can provide the name than one state columns to define more precise context trigger
         to content management system 240 as Verbal speech, and conditions for content 253. For example, a user can instantiate
         content management system 240 produces a text string for the two state columns, and select a predefined or user-defined
         name by converting the speech to text. In other variations, a state for each state column (e.g., walking and shopping).
         user can type the name using an input device of content 50 A response column entry may obtain a value that describes
         management system 240. In the event that a user does not an expected response from the user in the form of an audio
         provide a name to a recording, content management system stream or a text string. In some embodiments, a response
         240 can name the recording using a default file name, such as column entry may obtain a value in the same manner that
          Note 1.                                                            content 253 is provided for a content column entry, where a
            In some embodiments, content management system 240 55 user can record an expected response or select a prerecorded
         allows a user to set a value to a column entry by providing a response. In other embodiments, a response column entry
         drop-down menu when a user taps or clicks on the column may obtain a value from the user in the form of a text string
         entry. This drop-down menu displays a vertical list of allow encapsulated by quotation marks, where the Verbal response
         able values for the user to select from, and allows the user to     by the user and the expected response provided in the form of
         select a value by clicking or tapping on the desired value. In 60 text are compared using text-to-speech and/or speech-to-text
         other embodiments, content management system 240 allows technologies. In yet other embodiments, a response column
         a user to set a value to a column entry by allowing the user to entry with a value mimic notifies content management system
         type the value into the column entry.                               240 that the response provided by the user should mimic the
            In Some embodiments, a user can provide content manage content identified by the corresponding entry under the con
         ment system 240 with a list of allowable values (e.g., names 65 tent column.
         or tags, and corresponding contextual information) for the            Content management system 240 can perform an action
         entries of a given column (e.g., the time, location, State, or responsive to a user response or interaction with the presen



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         tation of content 253. An action correct column entry can “OK” content management system 240 deletes the content
         obtain a value that specifies an action to be performed by entry. Otherwise, if the user does not utter “OK” content
         content management system 240 in the event that the user management system 240 suspends content 253 of the content
         provides an expected response. Furthermore, an action incor entry for fifteen minutes.
         rect column entry can obtain a value that specifies an action to     In a second example, a user can program content manage
         be performed by content management system 240 on the ment system 240 to present a second reminder after a specific
         occasion that the user does not provide an expected response. day and time, and while the user is driving. If the user
         For example, content management system 240 can Suspend responds to content 253 by uttering “OK” content manage
         playback of content 253 for a given time period, or can delete ment system 240 deletes the content entry. Otherwise, if the
         the content entry.                                               " user does not utter “OK” content management system 240
            In some embodiments, an entry under the action correct suspends content 253 for fifteen minutes.
         column or the action incorrect column is a predefined capa-          In a third example, a user can program content manage
         bility of content management system 240. In other embodi- ment system 240 to present a third reminder after a specific
         ments, an entry under the action correct column or the action 15 day and time, and while the user is stationary at the library
         incorrect column is a Script or executable program that is (i.e., studying or reading at the library). In some variations on
         provided by the user. A user can create a script or an execut- these embodiments, content management system 240 may
         able program, which performs a sequence of operations, and determine if the user is wearing headphones before reproduc
         can store and access state information gathered from user ing audio content 253 for the user while the user is in the
         responses over a period of time. For example, a user can 2O library. If the user does not have headphones plugged into
         provide an action correct column entry with a script or execut- content management system 240, content management sys
         able program that deletes or alters (e.g., by changing a timing tem 240 may flash a visual message to the user that requests
         condition for presenting the content again) the corresponding the user to plug headphones in to the headphone jack, or to
         content entry when the user mimics content 253 accurately on step outside the library. In other variations on these embodi
         three consecutive attempts.                               25 ments, content management system 240 may reproduce con
            In some embodiments, an entry for a content column can tent 253 as text when the user is in the library. If content 253
         have text-based content 253, including but not limited to, contains verbal utterances, content management system 240
         e-mail, Internet blog updates, Internet RSS feeds, tweets, may use a speech-to-text mechanism to reproduce the Verbal
         text-based notes and reminders, or computer-readable point-              utterances aS teXt.
                                                                                                     TABLE 2
                                                                                                                          Action
                                                           Content    Time                Location   State      Response Correct Action Incorrect
                                                           Notel text =20070929:18:00 Any            Moving     “OK”      Delete   15-min-suspend
                                                           Note2 text >2007 1001:09:00 Any           Driving    “OK”      Delete   15-min-suspend
                                                           Notes text >2007 1001:12:10 Library       Stationary “OK”      Delete   1-day-Suspend
                                                           Note4 text =20071002:10:00 Office         Moving     “OK”      Delete   15-min-suspend
                                                           NoteStext >20071003:18:00 Office          Moving     “OK”      Delete   15-min-suspend


                                                                             40
         ers to content. In some variations on these embodiments, a            Content management system 240 can include an input
         computer-readable pointer can reference specific content. In mechanism 244 that Supports short-range communication
         other variations, the computer-readable pointer is defined protocols such as Near Field Communication (NFC), which
         based on metadata (e.g., a date, a geotag, or textual descrip can be used to read radio frequency identification (RFID)
         tion for a content category), and is used to reference content 45 tags, or to interact with other NFC devices at a short distance.
         associated with the metadata which can be gathered from a Content management system 240 that supports the NFC pro
         number of databases.                                               tocol can identify physical objects based on RFID tags
            In some variations on these embodiments, content man            attached to the objects, and can use the gathered information
         agement system 240 can present the text-based content by as contextual information for presenting content 253, or can
         displaying it on a screen of content management system 240. 50 use a detected NFC signal as a user interaction 250.
         In other variations, content management system 240 can                For example, a user can program content management
         present text-based content 253 by converting content 253 to system 240 to present a notification to the user to carry an
         audio using text-to-speech technologies, and reproducing the umbrella when content management system 240 detects that
         audio. Furthermore, content management system 240 can the user is about to walk outside the house, determines from
         apply a set of rules for presenting the text-based content 253. 55 an Internet forecasting service that it will rain later in the day,
         For example, content management system 240 can present and does not detect an RFID tag that identifies the user's
         emails to a user from a predefined set of people at certain umbrella. In another example, a user can program content
         times of the day, or under a given context 254.                    management system 240 to notify the user's spouse that the
            TABLE 2 illustrates an exemplary set of rules for present user is returning home when the user passes an RFID tag on
         ing a reminder content package 252 to a user in accordance 60 the doorframe at work or in the car during the evening.
         with an embodiment of the present invention. An entry under Audio-Based Content Creation
         the content column identifies a reminder in the form of text,         In some embodiments, content management system 240
         and the other columns describe a set of rules for presenting the provides an audio-based user interface (UI). For example, a
         reminder to the user. For example, a user can program content user can interact with content management system 240 using
         management system 240 to present a first reminder at a spe 65 the audio-based UI when creating a new reminder content
         cific day and time if the user is moving (e.g., walking, or while on the move. In some variations on these embodiments,
         jogging). If the user responds to content 253 by uttering the audio-based UI for content management system 240 fol



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         lows a linguistic scheme that parallels the GUI for content can provide lessons to the user when the user is walking and
         management system 240. An audio-based UI that resembles a is receptive to learning, and can avoid providing lessons when
         GUI of content management system 240 facilitates a user in it detects audible speech because the user may be occupied
         becoming acclimated to the audio-based UI when the user is watching television or having a conversation.
         already familiar with the corresponding GUI. For example, an 5 In some embodiments, content management system 240
         audio-based UI for content management system 240 may can be programmed with more than one content package 252.
         interact with a user that is creating a new reminder using the In effect, a user can program content management system 240
         following dialogue:                                                 to vary the types of content 253 that are presented for different
            User: “To-dos, New Note.”                                        values of context 254. For example, the user can program
            System: “Begin Recording To-do.”                              10 content management system 240 to restrict language lessons
            User: “verbal utterances ... pause.”                             to a particular geographic or geospatial location, and to
            System: “Recording complete.”                                    restrict technical lessons to weekdays or evenings.
            User: “System, continue recording, more verbal utter                In some embodiments, a user can configure content man
               ances... pause.”                                              agement system 240 to present content 253 that is relevant to
            System: “Continued recording complete.”                       15 the user's current specific behavior. For example, if the user is
            User: “Present to me in time Any, Location Home, State walking, content management system 240 can provide a lan
               Stationary, Response OK, pause.”                              guage lesson by describing the action of walking to the user in
            System: “Note complete.”                                         Japanese, or can provide content 253 in Japanese that is
            In some variations on these embodiments, a user can state        relevant to the location that the user is walking through. In
         a value for a parameter (e.g., “Any time, home, stationary, another example, if content management system 240 deter
         response OK). In other variations, content managemtn sys mines that the user is in the kitchen and it is morning, then
         tem 240 can present audio prompt a user to specify a value for content management system 240 can infer that the user is
         each column entry (e.g., “Specify time condition'). In further preparing breakfast or having breakfast, and may provide
         variations, a user does not have to communicate a value for         breakfast-related Japanese language lessons. In other
         every entry associated with a column of the content creation 25 examples, content management system 240 can provide other
         GUI. In the event that a user does not provide a value for a types of content 253 based on an inferred context 254, includ
         given column of the content creation GUI, content manage ing content types such as music, history lessons, Internet
         ment system 240 will fill the corresponding entry with a blogs, text-to-speech email, etc.
         default value. For example, a user can configure content man           In some embodiments, content management system 240
         agement system 240 so that the default location is the current 30 can provide lessons in anticipation of an action that a user is
         location of the user. In a second example, a user can configure about to perform. In some variations on these embodiments,
         content management system 240 so that the default location is content management system 240 can present reminder con
         the any value. In a further example, the user can set the default tent 253 to the user in advance so that the user can adjust his
         time for presenting content 253 to the any value, and can set or her plans. In other variations, content management system
         the default response to content 253 to “OK”                      35 240 can provide natural grammar lessons to a user by provid
            In another example, an audio-based UI for content man ing language lessons in the appropriate grammatical tense.
         agement system 240 may interact with a user that is creating For example, content management system 240 can teach
         a presentation layout using the following dialogue:                 grammar to a user based on the user performing a given
            User: “Presentation presentation name. Slide One, action. As the user changes his or her walking state, content
                pause.”                                                   40 management system 240 may produce a corresponding con
            System: “Begin Recording Presentation.”                          tent 253, such as: “I will walk.” “I am walking,” or “I walked.”
            User: “Slide One, Point One, speaks remainder of slide In a further example, content management system 240 can
               content, pause.”                                              provide Japanese language lessons relevant to greeting
            System: “Recording complete.”                                    people in the future tense to a user when the user enters a bus
            User: “System, continue recording, Slide Two, pause.” 45 or train on a weekday morning. That is, content management
            System: “Continue Recording Presentation.”                       system 240 can use grammatical rules to present a sequence
            User: “Slide Two, speaks remainder of slide content, of content 253 that matches the anticipation, start, continu
                pause.”                                                      ance and completion of an activity.
            System: “Continued recording complete.”                          Content Sharing and Delivery Infrastructure
         Matching Content to Activity                                     50    In some embodiments, a user can create shareable content
            In some embodiments of the present invention, content using content management system 240 on a mobile device or
         management system 240 is capable of inferring a context 254 a PC. The shareable content is a content package 252 that a
         associated with a user from contextual information associated       user can download, modify, and share with other content
         with a user, and is capable of matching content 253 to the management systems. Furthermore, a content package 252
         inferred context 254 in a number of ways.                        55 can include a number of content entry fields for text, graphics,
            In some embodiments, content management system 240 audio, and/or video content 253.
         can determine if the user is receptive to a given content 253,         Once a user invests the initial effort into creating a content
         and can give preference to a specific type of content 253 as a package 252, content package 252 can be easily shared and
         result of an activity being performed by the user. For example, modified by other users. In some embodiments, a user can
         a user that has configured content management system 240 to 60 upload a content package 252 onto an Internet website to
         present tutoring content may wish to receive tutoring lessons make content package 252 publicly available. In some other
         for learning Japanese when the user is commuting to work.           embodiments, a user can download a content package 252
         More specifically, content management system 240 may from an Internet website, and modify content package 252 to
         present audio-based Japanese lessons to the user when the insert, modify, and/or remove content 253 from content pack
         user is driving to work, and may present Japanese reading and 65 age 252. In some variations on these embodiments, a user can
         writing lessons to the user when the user is riding the train to modify content package 252 to insert, modify, and/or remove
         work. In a further example, content management system 240 presentation rules from content package 252.



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            In some embodiments, an abstract name or tag for a con              For example, content management system 240 can be in
         textual condition (e.g., “home' or 'shopping) can be recog          the form of an Internet website that has HTML and XML
         nized by the content management system, and can be easily           structured content 253 tied to a database that contains vocabu
         shared between users without the users having to redefine           lary and grammatical rules. Content management system 240
         specific contextual information associated with these names         can enable a user to interact with a textual UI to generate
         or tags. For example, a first user can define a home location       sentences in which words, tense and other variations can be
         name to refer to a specific street address, and a second user        automatically varied so that the user can practice learning
         can define the home location name to refer to a different street     grammatical rules by example. Based on the interactions
         address. Therefore, when the first user shares a content pack 10 tentbetween content management system 240 and the user, con
         age 252 with the second user, any reference to the home                   management system 240 can create a content package
         location name in the content package will be automatically 252            that implements a lesson plan that allows the user to
                                                                              practice many variations on a number of rules so that the user
         translated to the street address of the second user. The second
         user does not have to redefine the contextual information
                                                                              can learn the rules through practice.
                                                                                 In a further example, if a user wants to learn how to use
         associated with the home location name of content package 15 passive sentence constructions in Japanese, the user can pro
         252.                                                                 vide content management system 240 with an exemplar
            In some embodiments, a user can share a content package English text entry Alice was scolded by the teacher.” The
         252 when it is not complete. Content package 252 is not user can then use a GUI to specify a search for content
         complete when one or more entry fields of content package packages 252 or content entries which contain grammatically
         252 do not have a corresponding content 253. Sharing an similar results in English paired with Japanese translations. In
         incomplete content package 252 allows for a number of users response, content management system 240 can generate
         to cooperate in creating shareable content, and allows a num grammatically equivalent sentences, perhaps with the option
         ber of users to learn from each other.                               to vary the Subject, object, verse, and tense. In some embodi
            For example, a user may invest a significant effort to create ments, content management system 240 can generate gram
         a content package 252 for a Japanese language tutorial by 25 matically equivalent sentences by first parsing the user-en
         creating an extensive list of words and phrases in English, and tered English sentence to determine its linguistic deep
         may even include Japanese translations for Some of the cor structure. Then, content management system 240 can gener
         responding entries. These English and Japanese entries can be ate a system-defined content type description string based on
         audio content 253, or they can be written text. The user can the user-entered English sentence, and can search for
         then make content package 252 publicly available, and allow 30 English-Japanese content pairs which have content type
         other users to download and improve upon content package descriptions that match Some user-specified aspect of the
         252. Other users can replace the initial Japanese translations phrase's deep structure, while varying any or all of the sub
         with audio recordings that have better pronunciation, and can ject, object, verb, and tense. For example, content manage
         include Japanese audio recordings for English words and ment system 240 can generate grammatically similar sen
         phrases that do not have a corresponding Japanese audio 35 tences using the passive construction, including:
         translation. Furthermore, Japanese-speaking users may insert            “The dog was being scolded by mother:
         new entries into content package 252 in Japanese for words              “Mary was praised by the professor;”
         and/or phrases to which they would like an English transla              “Paul is being interviewed by the journalist;
         tion, thereby allowing an English-speaking user to provide a            “John will be called by the department head:
         corresponding audio recording in English.                         40    “The children used to be scolded by father;' and
            In some embodiments of the present invention, a content              “The apple will be eaten by Sara.”
         entry or a set of content entries in content package 252 have In some variations on these embodiments, the grammatically
         one or more content type description entries. A content type equivalent sentences could be audio-based content 253 that
         description can be a text string which describes a character was recorded earlier by other users, where a given audio
         istic of content 253 of the entry (e.g., “reminder,” “tourist 45 recording is associated with a content type description text
         information.” or “conjugations of the Japanese verb taberu').        string for the recorded content. Content management system
         In some variations, the content type description for a content 240 can analyze the grammatical deep structure of the sen
         entry can be predefined. In some other variations, the content tence entered by the user to find matches in its database for
         type description can be defined by the content management content with an associated content type description text
         system based on related contextual information (e.g., time, 50 string. Then, content management system 240 can assemble
         location, user activity, etc.). In further variations, the content recordings, content entries, and/or entire content packages
         type description can be defined by a user.                           from the database that match into a new content package 252.
            In some embodiments, the content type description entries            FIG.3 presents a flow chart illustrating a process for deliv
         in content package 252 can be used to classify a collection of ering context-based content to a user in accordance with an
         content packages based on the type of content they contain. 55 embodiment of the present invention. The content manage
         The content type descriptions can be used to search for con ment system begins by receiving contextual information (op
         tent 253 with a matching or related content type description eration 310), and processing the contextual information to
         stored in content database 246 or any other database or source determine a context (operation 320). Next, the content man
         of content. For example, the user can search for content agement system determines whether the context satisfies a
         entries defined as “conjugations of the Japanese verb taberu.” 60 trigger condition (operation 330). If so, the content manage
         or "conjugations of Japanese verbs..”                                ment system selects content from the content database based
            In some embodiments of the present invention, content on the context (operation 340), and presents the selected
         management system 240 can use artificial intelligence to content to the user (operation 350).
         create a content package 252 that is tailored to a user. In one         FIG. 4 presents a flow chart illustrating a process for cre
         variation on these embodiments, content management system 65 ating context-based content in accordance with an embodi
         240 uses natural language processing (NLP) to parse text ment of the present invention. The content management sys
         entered by the user.                                                 tem begins by recording content provided by the user



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         (operation 410). Then, the content management system cre detects a context associated with the user (e.g., actions such as
         ates a content entry in the content database for the recorded going out to dinner or driving a car), and presents audio
         content (operation 420). Next, the system associates the con content that contains expressions in a target language that are
         tent entry with a predefined context by specifying one or more appropriate to the context, and at the right time. For example,
         trigger conditions for the content entry (operation 430). In 5 content management system 530 can present the following
         Some variations, a user can manually associate the content audio content under the appropriate context:
         entry with a predefined context.                                    When the user enters the garage or opens the car door: “I
            FIG. 5 illustrates an exemplary computing device 502 that           will drive my car.”
         facilitates creating and delivering context-based content in        When the user begins driving: “I am driving my car.”
         accordance with an embodiment of the present invention. 10 When the user leaves the car: “I drove my car.”
            Computing device 502 includes a processor 504, a memory Language in Context
         506, and a storage device 508. Furthermore, computing               In some embodiments, content management system 530
         device 502 comprises a display 510, a network interface 512, can retrieve geotagged content from a server to present con
         a vibration mechanism 514, a number of sensors 516, an input tent that is appropriate to the geographical location to the user.
         device 518, a speaker 520, a microphone 522, and a camera 15 For example, based on the mechanisms described above,
         524. Furthermore, computing device 502 is coupled to a users that visit a popular tourist location can create geotagged
         network 526 through network interface 512. In one embodi content that describes information about the location to help
         ment, network 526 includes a cellular network. In a further      others learn more about the location, and upload this content
         embodiment, network 526 includes the Internet.                   onto a public database. Furthermore, a number of users may
            Storage device 508 stores an operating system 528, a con- 20 upload geotagged content about the location in a number of
         tent management system 530, context definitions 542, and languages. Then, when another user visits this geographical
         content 544. Furthermore, content management system 530 location, content management system 530 can download con
         includes a user interface (UI) 532, an input mechanism 534, a tent that is geotagged with this location, and can present the
         context manager 536, a content database 538, and a content content to the user. A user that is learning a new language can
         delivery mechanism 540. In one embodiment, UI 532 is a 25 configure content management system 530, based on the
         graphical user interface (GUI). In another embodiment, UI mechanisms described above, to retrieve content in that lan
         532 is a voice-based user interface.                             guage, thereby listening to language examples that are appro
            During operation, content management system 530 is priate to the user's activities.
         loaded from storage device 508 into memory 506 and Collaborative To-Dos
         executed by processor 504. In one embodiment of the present 30 In some embodiments, content management system 530
         invention, content management system 530 presents content can create and transmit an electronic message or reminder to
         to a user based on a context associated with the user. To do so. a remote device so that the remote device presents the content
         input mechanism 534 of content management system 530 under a given user-defined context. The electronic messages
         gathers contextual information associated with the user from and reminders can be in the form of text, or audio content. In
         a number of input sources (e.g., network interface 512, sen- 35 Some variations on these embodiments, content management
         sors 516, input device 518, microphone 522, and/or camera system 530 can convert text messages and reminders into
         524), and context manager 536 of content management sys audio content using text-to-speech technology. These
         tem 530 interprets the basic contextual information to infer a embodiments can provide a user with a new medium for
         user-defined context from context definitions 542 that           sending important information to a recipient, and can ensure
         describes an eventor environmental factor associated with the 40 that the recipient will receive the content when the recipient is
         user. Context manager 536 then searches for a content pack in a Suitable context and activity state, and can complete the
         age in content database 538 that is triggered by a number of task.
         inferred contexts, and content delivery mechanism 540 of Live Connections to Experts
         content management system 530 presents the selected con             In some embodiments, content management system 530
         tent package.                                                   45 can communicate content between users that do not know
           In another embodiment of the present invention, content          each otherpersonally. For example, content management sys
         management system 530 allows a user to create a content            tem 530 can be used to implement a tutoring service, where
         package. To do so, input mechanism 534 gathers a content           students can Submit a shareable content package to the tutor
         stream and user interactions from a number of input sources,       ing service using content management system 530, and the
         and sends the content stream and the user interactions to 50 tutoring service forwards the content package to an appropri
         context manager 536. Context manager 536 creates a context ate tutor for the given topic. In some variations, the tutoring
         definition, or selects a user-defined context from context defi    service can be implemented by a distributed version of con
         nitions 542, based on the user interactions. Also, context         tent management system 530, where content management
         manager 536 creates a content file based on the content stream systems for students and teachers forward content requests
         and the user interactions, and creates a content package that 55 and content packages to each other. In some other variations,
         includes the content file and the context. Next, context man       the tutoring service can be implemented as an Internet Ser
         ager 536 provides content database 538 with the content vice, where students and teachers can upload and download
         package, and content database 538 creates an entry for the content packages and perform requests for relevant content
         content package.                                                   packages.
                                                                         60    A tutor can use the tutoring service to Subscribe to a process
                           Variations of Embodiments                        which monitors the content requests and incomplete content
                                                                            packages which are Submitted by other users and are related
         Activity-Triggered Grammatical Instruction                         to a given content type description. When a tutor is notified of
            In some embodiments, content management system 530 a content request or an incomplete content package from a
         can be configured by a user, based on the mechanisms 65 student, the tutor can provide feedback to the student by
         described above, to teach grammatical rules to the user by creating a new content package which includes a response to
         example. In doing so, content management system 530 the requests from the tutor, or can modify the content package



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         to insert feedback content into the content package. Then, the     ment system 530 could use speech or text recognition, and
         tutor’s content management system 530 can make the new or          deep sentence structure recognition, to provide the user with
         modified content package available to the student. The tutor’s     hints that the user should use language that is simpler for a
         new content can then be retrieved via the tutoring service by      foreigner to understand. For example, content management
         the student’s personal version of content management system        system 530 can suggest more common nouns, verbs, and
         S30.                                                               simpler sentence constructions.
         Progress Analytics                                                 Contextual Tagging
           In some embodiments, content management system 530                  In some embodiments, content management system 530
         can store state information associated with interactions from       can build context-based inferences for a situation, which can
         a user when presenting a content package. For example, a 10 be defined geographically or temporally, based on contextual
         content package that provides interactive lessons to a user information that is gathered at a location at a given time, day
         may record accuracy information for the user. Content man of week, or day of year. When a user of content management
         agement system 530 can utilize this information to perform system 530 enters a situation, the user will tend to interact
         progress analytics, and alter the pace and difficulty of the with the environment in a manner that is specific to the situ
         lesson plan in response to the goals and the learning rate for 15 ation. Content management system 530 can take advantage of
         the user. Content management system 530 may provide a user its observations of behaviors aggregated from a number of
         that is having trouble learning a specific Sub-topic with more users in the same situation to infer a context associated with
         lessons on that sub-topic, and may increase the pace or diffi that situation. In some embodiments, content management
         culty for a user that is learning the material relatively easily.    system 530 does not need to store personal information asso
         Furthermore, if a given user has a fixed deadline for studying ciated with a specific user, it only needs to store the predefined
         a specific topic, and the user is behind on lessons, content or user-defined behavior descriptions (e.g., “moving,” “walk
         management system 530 can increase the pace of the lesson ing.” “coffee break, etc.) it detects. For example, when a user
         plan to ensure the user is prepared by the deadline.                 is sitting at a coffee shop during opening hours while using
         Context-Dependent Versus Context-Independent Learning                content management system 530, the user may have a ten
            In some embodiments, content management system 530 25 dency to utter terms and phrases that are associated with a
         can strengthen a user's memory on a given lesson plan by coffee shop, including “coffee,” “beans.” “pastry.” “Wi-Fi.”
         alternating between providing lesson content within an “hot-spot,” “relaxing.” “great cup of coffee,” “tasty cookies.”
         appropriate context, and providing the lesson content out of “Internet access' and “Internet café” Based on predefined or
         any appropriate context. On some occasions, content man user-defined activities and/or observed words and phrases
         agement system 530 can present lessons to a user in a context 30 that are detected, content management system 530 can deter
         under which the user is most effective at learning. On other mine that a user's current situation is associated with the term
         occasions, content management system 530 can provide the "coffee” (e.g., the user is currently at a coffee shop).
         user with lessons in inappropriate and/or inconvenient con              In some variations on these embodiments, content man
         texts to radically separate the lesson content from any con agement system 530 can provide a public context database
         textual cues or reminders the user may be relying on.             35 with a collection of keywords that it gathers from detected
         Evolution                                                            user activities or utterances under a given context, thereby
            In some embodiments, content management system 530 contributing to the pool of contextual knowledge of the public
         can evolve a method for delivering a lesson plan to a user. In context database. The public context database can learn from
         Some variations on these embodiments, content management the keywords provided by a number of content management
         system 530 can lengthen the period of time it waits before 40 systems by identifying the terms and phrases that are most
         offering the user a correct response to a question when the common under a given context, and associating these key
         user is expected to know the lesson material. In other varia words and phrases with the context.
         tions, content management system 530 can allow a user with              In some other variations, content management system 530
         a decreasing period of time to provide a response to a ques monitors the text and speech communicated by a user as part
         tion. In yet other variations, content management system 530 45 of its context monitoring capability (receive contextual infor
         could decrease the clarity of the questions it asks when the mation 310), on a number of applications to gather context
         user has reached an advanced level of understanding of the specific keywords. For example, the user may communicate
         Subject.                                                             information using a number of applications on a mobile
         Context Creation                                                     device (e.g., e-mail, Internet search engines, text messages,
            In Some embodiments, publishers could create and publish 50 mobile Web 2.0, etc.) These variations allow users to provide
         their content on the Internet as content packages for content context-specific keywords and phrases to a public context
         management system 530. A user that is learning a new lan database, without having to tag a context with related key
         guage may prefer to pay for a professionally created and words. In some embodiments, content management system
         advanced language lesson, as opposed to spending significant 530 does not save the specific key words captured from a user,
         effort in gathering a multitude of content packages that pro 55 but can add a unit of weight to a word entry of a dictionary of
         vide language examples.                                              known words as words are detected within a given situation.
         Constant Audio Feedback                                              Over time, the public context database will give preference to
            In some embodiments, content management system 530 keywords and phrases that appear most commonly in a given
         can use speech recognition to complement an instructional situation, and can include these keywords within a database
         lesson. For example, content management system 530 could 60 that associates specific keywords and phrases with corre
         use speech recognition to Supply a user that is learning a new sponding situations.
         language with constant feedback on the user's grammar and               In some variations on these embodiments, content man
         pronunciation. In another example, content management sys agement system 530 includes a voice-activated keyword
         tem 530 could use speech recognition to help a user alter lookup mechanism, which uses a speech-to-text mechanism
         his/her communication style for a target audience. In yet 65 to convert speech to text when it detects verbal utterances.
         another example, when a user is creating basic second lan Content management mechanism 530 uses the text generated
         guage educational type content for others, content manage from these verbal utterances to search in a public context



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         database to infer a context that can be used to identify the         wherein the content package allows a recipient of the con
         current geographical location of the user. In some variations            tent package to insert, modify, and/or remove content or
         on these embodiments, the keyword lookup mechanism can                   trigger conditions from the content package.
         gather keywords from the environment using a microphone,              4. The method of claim 1, wherein the method further
         and/or can gather keywords from a phone conversation that 5 comprises defining a context by:
         the user is engaged in. In some other variations, the keyword         creating one or more context entries in a context manager;
         lookup mechanism can gather keywords from terms and                      and
         phrases that a user receives or sends using content manage            associating a respective context entry with a set of contex
         ment system 530, including words from a text message,                    tual information.
         e-mail, or any other communication mechanism.                   10
                                                                               5. The method of claim 4, wherein the method further
            The foregoing descriptions of embodiments of the present
         invention have been presented only for purposes of illustra comprises
                                                                            ing  the
                                                                                        updating entries in the content database and updat
                                                                                     context entries in the context manager responsive to
         tion and description. They are not intended to be exhaustive or actions performed      by the first user.
         to limit the present invention to the forms disclosed. Accord
         ingly, many modifications and variations will be apparent to 15 6. The method of claim 1, wherein the context is defined as
         practitioners skilled in the art. Additionally, the above disclo a combination of at least a high-level abstraction which cor
         Sure is not intended to limit the present invention. The scope responds to one or more low-level contextual information
         of the present invention is defined by the appended claims.        values, wherein the low-level contextual information values
            What is claimed is:                                             can correspond to one or more measurable parameters.
            1. A method for delivering context-based content to a first        7. The method of claim 1, wherein a respective rule is
         user, the method comprising:                                       defined with one or more high-level abstractions.
            receiving at least one content package, wherein the content        8. The method of claim 7, further comprising allowing the
               package includes at least one content piece and a set of first user to share the rules with a second user, wherein the
               rules associated with the content package, wherein the second user can redefine the shared rules based on the second
               set of rules includes a trigger condition and an expected 25 user's low-level contextual parameters.
               response, and wherein the trigger condition specifies a         9. The method of claim 1, wherein presenting the content
               context that triggers a presentation of the content piece; piece comprises sharing the content piece with a remote
            receiving a set of contextual information with respect to the device.
              first user;                                                      10. The method of claim 1, wherein the contextual infor
           processing the contextual information to determine a cur 30 mation includes one or more of time, date, location, proxim
              rent context for the first user;                             ity to a system-detectable tag, device orientation, Velocity,
           determining whether the current context satisfies the trig direction, distance, vibration, altitude, temperature, pressure,
              ger condition;                                               humidity, Sound, luminous intensity, camera image, and
           in response to the trigger condition being satisfied, present Video stream.
              ing the content piece to the first user,                  35    11. The method of claim 1, wherein the content piece
           receiving a response from the first user corresponding to includes one or more of audio clip, image, video stream,
              the presented content piece;                                 language lesson, e-mail, weather report, calendar reminder,
           determining whether the received response matches the news feed, rich site summary (RSS) feed, information update
              expected response; and                                       from a Web 2.0 application, and Internet blog.
           performing an action based on an outcome of the determi 40 12. A computer-readable storage medium storing instruc
              nation.                                                      tions that when executed by a computer cause the computer to
           2. The method of claim 1, wherein the method further            perform a method for delivering context-based content to a
         comprises creating the content package for the first user, first user, the method comprising:
         wherein creating the content package involves:                       receiving at least one content package, wherein the content
           recording the content piece that is provided by the first 45          package includes at least one content piece and a set of
              user,                                                              rules associated with the content package, wherein the
           creating an entry in a content database for the recorded              set of rules includes a trigger condition and an expected
              content piece, wherein the entry includes one or more              response, and wherein the trigger condition specifies a
              trigger conditions; and                                            context that triggers a presentation of the content piece;
           associating the one or more trigger conditions for the entry 50 receiving a set of contextual information with respect to the
              with a user-defined context; and                                   first user;
           wherein the method further comprises:                               processing the contextual information to determine a cur
             continuously comparing previously defined trigger con               rent context for the first user;
               ditions for the entry with the ongoing context of the           determining whether the current context satisfies the trig
                first user, and                                          55       ger condition;
              in response to the one or more trigger conditions being          in response to the trigger condition being satisfied, present
                 met, retrieving the content piece, and presenting the            ing the content piece to the first user,
                 retrieved content piece to the first user.                    receiving a response from the first user corresponding to
           3. The method of claim 2, wherein the method further                   the presented content piece;
         comprises creating a shareable content piece for the first user, 60   determining whether the received response matches the
         wherein creating the sharable content piece involves:                    expected response; and
           recording the sharable content piece that is provided by the        performing an action based on an outcome of the determi
              first user; and                                                    nation.
           creating a content package for the recorded sharable con    13. The computer-readable storage medium of claim 12,
             tent piece, wherein the content package includes the 65 wherein the method further comprises creating the content
             recorded sharable content piece, and wherein the con package for the first user, wherein creating the content pack
             tent package includes one or more trigger conditions;   age involves:



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           recording the content piece that is provided by the first           a context manager configured to process the contextual
              user,                                                               information to determine a current context for the first
           creating an entry in a content database for the recorded               user, and to determine whether the current context sat
             content piece, wherein the entry includes one or more               isfies the trigger condition;
             trigger conditions; and                                           wherein in response to the trigger condition being satisfied,
           associating the one or more trigger conditions for the entry          the content delivery mechanism is configured to present
              with a user-defined context; and
                                                                                 the content piece to the first user and
                                                                               wherein while presenting the content piece to the first user,
           wherein the method further comprises:                                 the content delivery mechanism is further configured to:
             continuously comparing previously defined trigger con 10            receive a response from the first user corresponding to
               ditions for the entry with the ongoing context of the                the presented content piece,
                first user, and                                                  determine whether the received response matches the
               in response to the one or more trigger conditions being              expected response, and
                  met, retrieving the content piece and presenting the           perform an action based on an outcome of the determi
                                                                                    nation.
                  retrieved content piece to the first user.             15
                                                                              20. The   apparatus of claim 19, wherein the apparatus fur
            14. The computer-readable storage medium of claim 13, ther comprises             a content management mechanism configured
         wherein the method further comprises creating a shareable to          create the content package for the first user, wherein cre
         content piece for the first user, wherein creating the sharable ating the content package involves:
         content piece involves:                                              recording the content piece that is provided by the first
            recording the sharable content piece that is provided by the         user,
               first user; and                                                creating an entry in a content database for the recorded
            creating a content package for the recorded sharable con             content piece, wherein the entry includes one or more
               tent piece, wherein the content package includes the              trigger conditions;
               recorded sharable content piece, and wherein the con           associating the one or more trigger conditions for the entry
                                                                                 with a user-defined context;
               tent package includes one or more trigger conditions; 25 continuously
            wherein the content package allows a recipient of the con                         comparing previously defined trigger condi
               tent package to insert, modify, and/or remove content             tions for the entry with the ongoing context of the first
                                                                                 user, and
               and/or trigger conditions from the content package.            in response to the one or more trigger conditions being met,
            15. The computer-readable storage medium of claim 12,                retrieving the content piece and presenting the retrieved
         wherein the method further comprises defining a context by: 30          content piece to the first user.
            creating one or more context entries in a context manager;        21. The apparatus of claim 20, wherein the content man
               and                                                          agement mechanism is further configured to create a share
            associating a respective context entry with a set of contex able content piece for the first user, wherein creating the
               tual information.                                         35
                                                                            sharable content piece involves:
            16. The computer-readable storage medium of claim 15,             recording the sharable content piece that is provided by the
         wherein the method further comprises updating entries in the            first user; and
         content database and updating the context entries in the con         creating a content package for the recorded sharable con
         text manager responsive to actions performed by the first user.         tent piece, wherein the content package includes the
            17. The computer-readable storage medium of claim 12, 40             recorded sharable content piece, and wherein the con
         wherein the contextual information includes one or more of:             tent package includes one or more trigger conditions;
         time, date, location, proximity to a system-detectable tag,          wherein the content package allows a recipient of the con
         device orientation, Velocity, direction, distance, vibration,           tent package to insert, modify, and/or remove content or
         altitude, temperature, pressure, humidity, Sound, luminous              trigger conditions from the content package.
         intensity, camera image, and video stream.                      45
                                                                              22.  The apparatus of claim 19, wherein the context man
            18. The computer-readable storage medium of claim 12, ager defines a context by:
         wherein the content piece includes one or more of audio clip,        creating one or more context entries for the context; and
         image, video stream, language lesson, e-mail, weather report,        associating a respective context entry with a set of contex
                                                                                 tual information.
         calendar reminder, news feed, rich site summary (RSS) feed,          23. The apparatus of claim 22, wherein the apparatus is
         information update from a Web 2.0 application, and Internet 50 further     configured to update entries in the content database
         blog.
            19. An apparatus for delivering context-based content to a and       update the user-defined context entries in the context
                                                                            manager responsive to actions performed by the first user.
         first user, comprising:
            a processor;                                                      24. The apparatus of claim 19, wherein the contextual
            an input mechanism configured to receive a set of contex 55 information       includes one or more of time, date, location,
                                                                            proximity to a system-detectable tag, device orientation,
               tual information with respect to the first user;
            a receiving mechanism configured to receive at least one Velocity,        direction, distance, vibration, altitude, temperature,
               content package, wherein the content package includes pressure,         humidity, Sound, luminous intensity, camera image,
               at least one content piece and a set of rules associated and25.videoThe
                                                                                        stream.
                                                                                        apparatus of claim 19, wherein the content piece
               with the content package, wherein the set of rules 60 includes one           or more of audio clip, image, video stream,
               includes a trigger condition and an expected response,
               and wherein the trigger condition specifies a context that language     lesson, e-mail, weather report, calendar reminder,
                                                                            news feed, rich site summary (RSS) feed, information update
               triggers a presentation of the content piece;
            a content delivery mechanism configured to present the from a Web 2.0 application, and Internet blog.
              context-based content to a first user, and                                            k   k   k   k   k




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                      CERTIFICATE OF COMPLIANCE

      I certify that the foregoing Brief for Xerox Corporation,

      1.     Complies with the type-volume limitation of FED. R. APP. P.

32(a)(7)(B). This brief contains 13,957 words, excluding the parts of the brief

exempted by FED. R. APP. P. 5(c), 21(d), 27(d)(2), 32(f), and FED. CIR. R. 32(b).

Microsoft Word was used to calculate the word count.

      2.     Complies with the typeface requirements of FED. R. APP. P. 32(a)(5)

and the type style requirements of FED. R. APP. P. 32(a)(6). This brief has been

prepared in a proportionally-spaced typeface using Microsoft Word in 14-point

Times New Roman type style.

Dated: November 17, 2023
                                        /s/ Joel L. Thollander
                                           Joel L. Thollander
